 Fill in this information to identify the case:

  United States Bankruptcy Court for the:


  EASTERN                   District of WASHINGTON
                                      (State)
  Case number (If known):                                     Chapter 11
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                             iCap Realty LLC



 2.   All other names debtor used
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names



 3.   Debtor’s federal Employer
                                                8 5         0 5      7    4 1 4 7
      Identification Number (EIN)



 4.   Debtor’s address                          Principal place of business                                Mailing address, if different from principal place
                                                                                                           of business

                                            3535            Factoria Boulevard
                                            Number          Street                                         Number      Street

                                            Suite 500                                                      P.O. Box 53232
                                                                                                           P.O. Box
                                                                                      98009-
                                            Bellevue                     WA           1298                 Bellevue                  WA          98015
                                            City                              State      ZIP Code          City                         State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                            King County
                                            County
      •   Office closed.
                                                                                                           Number      Street




                                                                                                           City                        State        ZIP Code




 5.   Debtor’s website (URL)




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1

           23-01260-WLH11                   Doc 1         Filed 09/29/23              Entered 09/29/23 19:13:32                  Pg 1 of 314
Debtor        iCap Realty LLC                                                                   Case number (if known)
              Name




 6.   Type of debtor                          Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                              Partnership (excluding LLP)
                                              Other. Specify:


                                          A. Check one:
 7.   Describe debtor’s business
                                              Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                              Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                              Railroad (as defined in 11 U.S.C. § 101(44))
                                              Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                              Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                              Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                              None of the above


                                          B. Check all that apply:

                                              Tax-exempt entity (as described in 26 U.S.C. § 501)
                                              Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                              Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                           C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                              http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                               5    3      1    3

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
                                              Chapter 7
      debtor filing?
                                               Chapter 9
                                               Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                               aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                           affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                          recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                           income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                             11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                statement of operations, cash-flow statement, and federal income tax return, or if
                                                                any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                § 1116(1)(B).

                                                                A plan is being filed with this petition.

                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                12b-2.
                                              Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 2

            23-01260-WLH11                Doc 1      Filed 09/29/23              Entered 09/29/23 19:13:32                    Pg 2 of 314
Debtor        iCap Realty LLC                                                                 Case number (if known)
               Name



 9.   Were prior bankruptcy cases          No
      filed by or against the debtor
                                                   District                            When                            Case number
      within the last 8 years?             Yes.
                                                                                               MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District                            When                            Case number
                                                                                               MM / DD / YYYY


 10. Are any bankruptcy cases              No
      pending or being filed by a
                                                   Debtor See Rider 1                                                  Relationship
      business partner or an               Yes.
      affiliate of the debtor?                     District                                                            When
                                                                                                                                       MM / DD / YYYY
      List all cases. If more than 1,
      attach a separate list.                      Case number, if known


 11. Why is the case filed in this       Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12. Does the debtor own or have             No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?

                                                      It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                      attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other options).

                                                      Other



                                                  Where is the property?
                                                                              Number          Street




                                                                              City                                                    State   ZIP Code

                                                  Is the property insured?

                                                      No
                                                      Yes. Insurance agency


                                                              Contact name

                                                              Phone




              Statistical and administrative information




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 3

            23-01260-WLH11              Doc 1       Filed 09/29/23              Entered 09/29/23 19:13:32                              Pg 3 of 314
Debtor       iCap Realty LLC                                                                    Case number (if known)
             Name




                                         Check one:
 13. Debtor’s estimation of
     available funds                          Funds will be available for distribution to unsecured creditors.
                                              After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.



                                              1-49                                1,000-5,000                              25,001-50,000
 14. Estimated number of
                                              50-99                               5,001-10,000                             50,001-100,000
     creditors
                                              100-199                             10,001-25,000                            More than 100,000
                                              200-999

                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 15. Estimated assets
                                              $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion


                                              $0-$50,000                          $1,000,001-$10 million                   $500,000,001-$1 billion
 16. Estimated liabilities
                                              $50,001-$100,000                    $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                              $100,001-$500,000                   $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                              $500,001-$1 million                 $100,000,001-$500 million                More than $50 billion



             Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of             petition.
     debtor
                                              I have been authorized to file this petition on behalf of the debtor.

                                              I have examined the information in this petition and have a reasonable belief that the information is true and
                                              correct.



                                         I declare under penalty of perjury that the foregoing is true and correct.

                                             Executed on 09/29/2023

                                                            MM / DD / YYYY


                                                                                                          Lance Miller
                                             Signature of authorized representative of debtor              Printed name

                                             Title Manager




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4

          23-01260-WLH11               Doc 1         Filed 09/29/23               Entered 09/29/23 19:13:32                     Pg 4 of 314
Debtor      iCap Realty llc                                                   Case number (if known)
             Name




 18. Signature of attorney      /s/ Dakota Pearce                                        Date         09/29/2023
                                  Signature of attorney for debtor                                     MM / DD / YYYY



                                  Dakota Pearce
                                  Printed name
                                  Buchalter, A Professional Corporation
                                  Firm name
                                  1420 5th Ave., Suite 3100
                                  Number      Street
                                  Seattle                                                     WA              98101
                                  City                                                        State           ZIP Code

                                  (206) 319-7052                                              dpearce@buchalter.com
                                  Contact phone                                               Email address



                                  57011                                                       WA
                                  Bar number                                                  State




Official Form 201                Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 5

         23-01260-WLH11       Doc 1      Filed 09/29/23              Entered 09/29/23 19:13:32                    Pg 5 of 314
                                                  Rider 1

        The Debtor and each of the affiliated entities listed in the table below filed in the Court a
voluntary petition for relief under chapter 11 of the United States Code, 11 U.S.C. §§ 101-15332.


                    Company
                    725 Broadway, LLC
                    iCap @ UW, LLC
                    iCap Broadway, LLC
                    iCap Campbell Way, LLC
                    iCap Enterprises, Inc. f/k/a Altius Development, Inc.
                    iCap Equity, LLC
                    iCap Funding LLC
                    iCap Investments, LLC
                    iCap Management LLC
                    iCap Northwest Opportunity Fund, LLC
                    iCap Pacific Income 4 Fund,, LLC
                    iCap Pacific Income 5 Fund, LLC
                    iCap Pacific Northwest Opportunity and Income Fund, LLC
                    Icap Pacific NW Management, LLC
                    iCap Realty, LLC
                    iCap Vault I, LLC
                    iCap Vault Management, LLC
                    iCap Vault, LLC
                    Senza Kenmore, LLC
                    UW 17TH AVE,LLC
                    Vault Holding 1, LLC
                    VH 1121 14TH LLC
                    VH 2nd Street Office LLC
                    VH Pioneer Village LLC
                    VH Senior Care LLC
                    VH Willows Townhomes LLC




BN 78829179v1


23-01260-WLH11            Doc 1     Filed 09/29/23       Entered 09/29/23 19:13:32            Pg 6 of 314
           


             


                                  $&7,21%<:5,77(1&216(172)7+(
                         &+,()5(6758&785,1*2)),&(52),&$3(17(535,6(6,1&
                                  $1'0$1$*(52)&(57$,1$)),/,$7(6

                                                          6HSWHPEHU

                     7KH XQGHUVLJQHG DFWLQJ DV WKH VROH PHPEHU RI WKH %RDUG RI 'LUHFWRUV DQG &KLHI
             5HVWUXFWXULQJ2IILFHURIL&DS(QWHUSULVHV,QF ³(QWHUSULVHV´ DQGRIHDFKRIWKHOLPLWHGOLDELOLW\
             FRPSDQLHV ZKRVH QDPHV DUH VHW IRUWK RQ 6FKHGXOH  DWWDFKHG KHUHWR HDFK D ³Company´ DQG
             FROOHFWLYHO\ZLWK(QWHUSULVHVWKH³Companies´ ZKHUHDSSOLFDEOHDV0DQDJHURIHDFKLQHDFK
             FDVH LQ DFFRUGDQFH ZLWK HDFK &RPSDQ\¶V UHVSHFWLYH RUJDQL]DWLRQDO GRFXPHQWV DQG ZLWK WKH
             DSSOLFDEOHOLPLWHGOLDELOLW\FRPSDQ\ODZVRIWKHMXULVGLFWLRQRIIRUPDWLRQRIHDFK&RPSDQ\ WKH
             ³LLC Laws´ KHUHE\FRQVHQWVWRDQGDSSURYHVWKHDGRSWLRQRIWKHIROORZLQJUHVROXWLRQVDQGHDFK
             DQGHYHU\DFWLRQHIIHFWHGWKHUHE\RUSXUVXDQWWKHUHWRE\ZULWWHQFRQVHQWDVLIVXFKDFWLRQVKDGEHHQ
             WDNHQDWDPHHWLQJRIWKH%RDUGRI'LUHFWRUVRUE\WKH0DQDJHURIHDFKVXFK&RPSDQ\

                     :+(5($6&KULV&KULVWHQVHQDJUHHGWRLUUHYRFDEO\UHVLJQIURPDOORIILFHUSRVLWLRQVKHOG
             ZLWK(QWHUSULVHVDQGIURPKLVSRVLWLRQDV0DQDJHURIHDFKRIWKH&RPSDQLHVSXUVXDQWWRWKH7HUP
             6KHHW GDWHG $XJXVW   WKDW ZDV VXEVHTXHQWO\ LQFRUSRUDWHG LQWR WKH Order Approving
             Stipulated Motion For (1) Modification of Temporary Restraining Order Against Defendants iCap,
             etc.HQWHUHGE\WKH+RQ%ULDQ0F'RQDOG6XSHULRU&RXUWRIWKH6WDWHRI:DVKLQJWRQIRU.LQJ
             &RXQW\RQ6HSWHPEHU WKH³Stipulated Resignation´ 

                     :+(5($6SXUVXDQWWRWKHWHUPVRIWKH6WLSXODWHG5HVLJQDWLRQDQGUHODWHGUHVROXWLRQVRI
             WKH&RPSDQLHVRQ6HSWHPEHU/DQFH0LOOHUZDVDSSRLQWHGDV&KLHI5HVWUXFWXULQJ2IILFHU
             RI (QWHUSULVHV DQG ZKHUH DSSOLFDEOH 0DQDJHU RI WKH &RPSDQLHV WKH ³Chief Restructuring
             Officer´ 

                      :+(5($6 WKH &KLHI 5HVWUXFWXULQJ 2IILFHU KDV UHYLHZHG DQG FRQVLGHUHG PDWHULDOV
             SUHVHQWHGE\OHJDODQGILQDQFLDODGYLVRUVRIWKH&RPSDQLHVDQGIRUPHUPDQDJHPHQWUHJDUGLQJWKH
             OLDELOLWLHVDQGOLTXLGLW\VLWXDWLRQRIWKH&RPSDQLHVWKHVWUDWHJLFDOWHUQDWLYHVDYDLODEOHWRHDFKRI
             WKHPDQGWKHLPSDFWRIWKHIRUHJRLQJRQHDFKRIWKH&RPSDQ\¶VEXVLQHVVHV

                     :+(5($6 WKH &KLHI 5HVWUXFWXULQJ 2IILFHU KDV UHFHLYHG DGYLFH IURP WKH OHJDO DQG
             ILQDQFLDO DGYLVRUV RI WKH &RPSDQLHV DQG IRUPHU PDQDJHPHQW UHJDUGLQJ WKH SRVVLEOH QHHG WR
             OLTXLGDWHRUUHVWUXFWXUHWKH&RPSDQLHVDQGKDVIXOO\FRQVLGHUHGHDFKRIWKHVWUDWHJLFDOWHUQDWLYHV
             DYDLODEOHWRHDFK&RPSDQ\DQGWKHLPSDFWRIWKHIRUHJRLQJRQHDFK&RPSDQ\¶VEXVLQHVVDQGLWV
             VWDNHKROGHUV

                     :+(5($6 WKH &KLHI 5HVWUXFWXULQJ 2IILFHU KDV UHYLHZHG DQG FRQVLGHUHG WKH
             UHFRPPHQGDWLRQVRIWKH&RPSDQLHV¶OHJDODQGILQDQFLDODGYLVRUVUHJDUGLQJWKHUHOLHIWKDWZRXOG
             EH QHFHVVDU\ DQG DGYLVDEOH WR REWDLQ IURP WKH %DQNUXSWF\ &RXUW WR DOORZ WKH &RPSDQLHV WR
             HIIHFWLYHO\WUDQVLWLRQLQWRRSHUDWLRQDVGHEWRUVLQSRVVHVVLRQ FROOHFWLYHO\WKH³First Day Relief´ 
             XQGHUFKDSWHURIWLWOHRIWKH8QLWHG6WDWHV&RGH WKH³Bankruptcy Code´ 

                    :+(5($6 WKH &KLHI 5HVWUXFWXULQJ 2IILFHU KDV GHWHUPLQHG WKDW LW LV IDLU DSSURSULDWH
             DGYLVDEOHQHFHVVDU\DQGLQWKHEHVWLQWHUHVWVRIHDFK&RPSDQ\LWVFUHGLWRUVPHPEHUVDQGRWKHU


             %1Y                                         

                 23-01260-WLH11         Doc 1      Filed 09/29/23       Entered 09/29/23 19:13:32     Pg 7 of 314
           


             

             VWDNHKROGHUVWKDWHDFK&RPSDQ\ILOHRUFDXVHWREHILOHGDYROXQWDU\SHWLWLRQIRUUHOLHIXQGHUWKH
             SURYLVLRQVRIFKDSWHURIWKH%DQNUXSWF\&RGHDQGVHHNWKH)LUVW'D\5HOLHIDQG

                      :+(5($6WKH&KLHI5HVWUXFWXULQJ2IILFHUGHVLUHVWRDSSURYHWKHIROORZLQJ5HVROXWLRQV

                      12:7+(5()25(%(,7

             &+$37(53(7,7,21$1'),567'$<5(/,()

                     5(62/9('WKDWLQWKHMXGJPHQWRIWKH&KLHI5HVWUXFWXULQJ2IILFHULWLVGHVLUDEOHDQG
             LQWKHEHVWLQWHUHVWVRIWKHFUHGLWRUVPHPEHUVDQGRWKHUVWDNHKROGHUVRIHDFK&RPSDQ\WKDWHDFK
             &RPSDQ\OLVWHGRQWKHDWWDFKHG6FKHGXOH L ILOHRUFDXVHWREHILOHGDYROXQWDU\SHWLWLRQIRUUHOLHI
             XQGHUWKHSURYLVLRQVRIFKDSWHURIWKH%DQNUXSWF\&RGH WKH³Filing Companies´ DQG LL VHHN
             WKH)LUVW'D\5HOLHI

                    5(62/9(' WKDW WKH &KLHI 5HVWUXFWXULQJ 2IILFHU EH DQG KHUHE\ LV DXWKRUL]HG DQG
             HPSRZHUHGWRH[HFXWHDQGILOHRQEHKDOIRIHDFK)LOLQJ&RPSDQ\DOOSHWLWLRQVVFKHGXOHVOLVWV
             DQGRWKHUPRWLRQVSDSHUVRUGRFXPHQWVDQGWRWDNHDQ\DQGDOODFWLRQWKDWWKH\GHHPQHFHVVDU\
             RUSURSHUWRREWDLQVXFKUHOLHILQFOXGLQJZLWKRXWOLPLWDWLRQDQ\DFWLRQQHFHVVDU\WRPDLQWDLQWKH
             RUGLQDU\FRXUVHRSHUDWLRQRIWKHEXVLQHVVRIHDFKVXFK)LOLQJ&RPSDQ\

             '(%725,13266(66,21),1$1&,1*

                       5(62/9('WKDWLQFRQQHFWLRQZLWKWKHFRPPHQFHPHQWRIWKHFKDSWHUFDVHVRIWKH
             )LOLQJ &RPSDQLHV   HQWU\ LQWR D GHEWRULQSRVVHVVLRQ ORDQ IDFLOLW\ LQ WKH DPRXQW RI XS WR
             SURYLGHGXQGHUWKDWFHUWDLQ'HEWRULQ3RVVHVVLRQ&UHGLWDQG6HFXULW\$JUHHPHQW
              WKH ³DIP Credit Agreement´  E\ DQG DPRQJ 6HUHQH ,QYHVWPHQW 0DQDJHPHQW //& DQGRU LWV
             DIILOLDWHG HQWLWLHV WKH OHQGHUV SDUW\ WKHUHWR IURP WLPH WR WLPH WKH ³DIP Lenders´  LQFOXGLQJ
             ZLWKRXWOLPLWDWLRQ L WKHH[HFXWLRQDQGGHOLYHU\RIDQ\FUHGLWGRFXPHQWV LL WKHFRQVXPPDWLRQ
             RI WKH WUDQVDFWLRQV FRQWHPSODWHG WKHUHE\ DQG LLL  WKH JUDQWLQJ RI WKH VHFXULW\ LQWHUHVW LQ OLHQV
             XSRQDQGSOHGJHRIFROODWHUDOWRVHFXUHWKHREOLJDWLRQVXQGHUWKH',3&UHGLW$JUHHPHQWEHDQG
             KHUHE\LVDXWKRUL]HGDQGDSSURYHGRQEHKDOIRIHDFKRIWKH&RPSDQLHVZKHUHDSSOLFDEOHDQG  
             WKH &KLHI 5HVWUXFWXULQJ 2IILFHU DFWLQJ LQ VRPH LQVWDQFHV DV 0DQDJHU EH DQG KHUHE\ LV
             DXWKRUL]HG HPSRZHUHG DQG GLUHFWHG LQ WKH QDPH DQG RQ EHKDOI RI WKH &RPSDQLHV ZKHUH
             DSSOLFDEOH D WRQHJRWLDWHWKHXVHRIFDVKFROODWHUDODQGWRJUDQWDGHTXDWHSURWHFWLRQLQWKHIRUP
             RI DGGLWLRQDO VHFXULW\ LQWHUHVWV RU SULRULW\ FODLPV LQ FRQQHFWLRQ WKHUHZLWK E  WR L  QHJRWLDWH
             H[HFXWH DQG GHOLYHU WKH ',3 &UHGLW $JUHHPHQW LL  FDXVH WKH &RPSDQLHV WR FRQVXPPDWH WKH
             WUDQVDFWLRQVFRQWHPSODWHGE\WKH',3&UHGLW$JUHHPHQWDQG LLL JUDQWVHFXULW\LQWHUHVWVLQOLHQV
             XSRQDQGSOHGJHRIWKH&ROODWHUDO DVGHILQHGLQWKH',3&UHGLW$JUHHPHQWRUDQ\RWKHUDJUHHPHQW
             RULQVWUXPHQWH[HFXWHGLQFRQQHFWLRQZLWKWKH',3&UHGLW$JUHHPHQW LQIDYRURIWKH',3/HQGHUV
             WRVHFXUHWKHREOLJDWLRQVXQGHUWKH',3&UHGLW$JUHHPHQWLQHDFKLQVWDQFHRQVXFKWHUPVDQG
             FRQGLWLRQVDVWKH&KLHI5HVWUXFWXULQJ2IILFHUPD\FRQVLGHUQHFHVVDU\SURSHURUGHVLUDEOHDQG F 
             WR WDNH VXFK DGGLWLRQDO DFWLRQ DQG WR H[HFXWH DQG GHOLYHU HDFK RWKHU DJUHHPHQW LQVWUXPHQW
             FHUWLILFDWH RU GRFXPHQW WR EH H[HFXWHG DQG GHOLYHUHG LQ WKH QDPH DQG RQ EHKDOI RI WKH &KLHI
             5HVWUXFWXULQJ2IILFHURQEHKDOIRIWKH&RPSDQLHVSXUVXDQWWKHUHWRRULQFRQQHFWLRQWKHUHZLWKDOO
             ZLWKVXFKFKDQJHVWKHUHLQDQGDGGLWLRQVWKHUHWRDVWKH&KLHI5HVWUXFWXULQJ2IILFHUDFWLQJRQLQ



                                                                   
             %1Y


                 23-01260-WLH11         Doc 1      Filed 09/29/23        Entered 09/29/23 19:13:32           Pg 8 of 314
           


             

             VRPHLQVWDQFHVDV0DQDJHUDSSURYHVVXFKDSSURYDOWREHFRQFOXVLYHO\HYLGHQFHGE\WKHWDNLQJ
             RIVXFKDFWLRQRUE\WKHH[HFXWLRQDQGGHOLYHU\WKHUHRI

             5(7(17,212)352)(66,21$/6

                     5(62/9(' WKDW WKH &KLHI 5HVWUXFWXULQJ 2IILFHU EH DQG KHUHE\ LV DXWKRUL]HG DQG
             GLUHFWHGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQLHVWRHPSOR\3DODGLQ0DQDJHPHQW*URXS//&
             DVUHVWUXFWXULQJILQDQFLDODGYLVRUSXUVXDQWWRWKHWHUPVRIWKHDWWDFKHGHQJDJHPHQWOHWWHUDQGWR
             FRQWLQXHWRKDYH/DQFH(0LOOHUVHUYHDV&KLHI5HVWUXFWXULQJ2IILFHULQFRQQHFWLRQZLWKDQ\FDVH
             FRPPHQFHGE\DQ\&RPSDQ\XQGHUWKH%DQNUXSWF\&RGHDQGDOOUHODWHGPDWWHUVDQGDQ\VXFK
             SULRUDFWLRQVDUHKHUHE\UDWLILHGLQWKHLUHQWLUHW\

                     5(62/9(' WKDW WKH &KLHI 5HVWUXFWXULQJ 2IILFHU EH DQG KHUHE\ LV DXWKRUL]HG DQG
             GLUHFWHG LQ WKH QDPH DQG RQ EHKDOI RI WKH &RPSDQLHV WR HPSOR\ WKH ODZ ILUP RI %XFKDOWHU $
             3URIHVVLRQDO&RUSRUDWLRQDVJHQHUDOEDQNUXSWF\FRXQVHOWRUHSUHVHQWDQGDVVLVWWKH&RPSDQLHVLQ
             FDUU\LQJRXWWKHLUUHVSHFWLYHGXWLHVXQGHUWKH%DQNUXSWF\&RGHDQGWRWDNHDQ\DQGDOODFWLRQVWR
             DGYDQFHWKH&RPSDQLHV¶ULJKWVDQGREOLJDWLRQVDQGDQ\VXFKSULRUDFWLRQVDUHKHUHE\UDWLILHGLQ
             WKHLUHQWLUHW\

                     5(62/9(' WKDW WKH &KLHI 5HVWUXFWXULQJ 2IILFHU EH DQG KHUHE\ LV DXWKRUL]HG DQG
             GLUHFWHGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQLHVWRHPSOR\%0&*URXS,QFDVFODLPVDQG
             QRWLFLQJ DJHQW DQG DGPLQLVWUDWLYH DGYLVRUV LQ FRQQHFWLRQ ZLWK DQ\ FDVH FRPPHQFHG E\ WKH
             &RPSDQLHV XQGHU WKH %DQNUXSWF\ &RGH DQG DOO UHODWHG PDWWHUV DQG DQ\ VXFK SULRU DFWLRQV DUH
             KHUHE\UDWLILHGLQWKHLUHQWLUHW\

                     5(62/9(' WKDW WKH &KLHI 5HVWUXFWXULQJ 2IILFHU EH DQG KHUHE\ LV DXWKRUL]HG DQG
             GLUHFWHGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQLHVWRHPSOR\DQ\RWKHUSURIHVVLRQDOVWRDVVLVW
             WKH&RPSDQLHVLQFDUU\LQJRXWWKHLUUHVSHFWLYHGXWLHVXQGHUWKH%DQNUXSWF\&RGHDQGWRWDNHDQ\
             DQGDOODFWLRQVWRDGYDQFHWKH&RPSDQLHV¶ULJKWVDQGREOLJDWLRQV

                    5(62/9(' WKDW WKH &KLHI 5HVWUXFWXULQJ 2IILFHU DFWLQJ RQ EHKDOI RI WKH 0DQDJHU LV
             KHUHE\ DXWKRUL]HG DQG GLUHFWHG LQ WKH QDPH RI DQG RQ EHKDOI RI WKH &RPSDQLHV WR H[HFXWH
             DSSURSULDWH UHWHQWLRQ DJUHHPHQWV SD\ DSSURSULDWH UHWDLQHUV DQG FDXVH WR EH ILOHG DSSURSULDWH
             DSSOLFDWLRQVIRUDXWKRULW\WRUHWDLQWKHVHUYLFHVRIWKHIRUHJRLQJSURIHVVLRQDOVDVQHFHVVDU\

             $'',7,21$/),/,1*6

                     5(62/9('WKDWWKH&KLHI5HVWUXFWXULQJPD\DWDQ\WLPHDQG IURPWLPHWRWLPHPD\
             GHWHUPLQHLQFRQVXOWDWLRQZLWKWKHILQDQFLDODQGOHJDODGYLVRUVRIVXFK&RPSDQLHVWKDWDQ\RQH
             RU PRUH DIILOLDWHG FRPSDQ\ QRW DPRQJ WKH )LOLQJ &RPSDQLHV HDFK DQ ³Additional Filing
             Company´DQGFROOHFWLYHO\WKH³Additional Filing Companies´ WKDWLVGHVLUDEOHDQGLQWKHEHVW
             LQWHUHVWVRIWKHFUHGLWRUVPHPEHUVDQGRWKHUVWDNHKROGHUVRIVXFK$GGLWLRQDO)LOLQJ&RPSDQ\WKDW
             VXFK$GGLWLRQDO)LOLQJ&RPSDQ\ L ILOHRUFDXVHWREHILOHGDYROXQWDU\SHWLWLRQIRUUHOLHIXQGHU
             WKHSURYLVLRQVRI FKDSWHURIWKH %DQNUXSWF\&RGH LL VHHNDQ\ )LUVW 'D\5HOLHIDVPD\EH
             UHTXLUHGDQG LLL EHFRPHDSDUW\WRWKH',3&UHGLW$JUHHPHQW

                    5(62/9('WKDWLIDGHWHUPLQDWLRQLVPDGHE\WKH&KLHI5HVWUXFWXULQJ2IILFHUWKDWDQ\
             RQHRUPRUH$GGLWLRQDO)LOLQJ&RPSDQLHVVKDOOILOHRUFDXVHWREHILOHGDYROXQWDU\SHWLWLRQIRU

                                                                
             %1Y


                 23-01260-WLH11         Doc 1      Filed 09/29/23     Entered 09/29/23 19:13:32          Pg 9 of 314
           


             

             UHOLHIXQGHUWKHSURYLVLRQVRIFKDSWHURIWKH%DQNUXSWF\&RGHWKHQWKHUHVROXWLRQVVHWIRUWKLQ
             WKLV$FWLRQE\:ULWWHQ&RQVHQWXQGHUWKHKHDGLQJV³&+$37(53(7,7,21$1'),567'$<
             5(/,()´ ³'(%725,13266(66,21 ),1$1&,1*´ DQG ³5(7(17,21 2)
             352)(66,21$/6´ VKDOO EH GHHPHG WR KDYH EHHQ DGRSWHG RQ EHKDOI RI HDFK VXFK $GGLWLRQDO
             )LOLQJ&RPSDQ\DVWKRXJKWKH$GGLWLRQDO)LOLQJ&RPSDQ\ZDVRULJLQDOO\DPRQJWKH&RPSDQLHV

             )857+(5$&7,216$1'35,25$&7,216

                     5(62/9('WKDWLQDGGLWLRQWRWKHVSHFLILFDXWKRUL]DWLRQVKHUHWRIRUHFRQIHUUHGXSRQWKH
             &KLHI5HVWUXFWXULQJ2IILFHUWKH&KLHI5HVWUXFWXULQJ2IILFHURUKLVGHVLJQHHVKDOOEHDQGHDFKRI
             WKHPDFWLQJDORQHKHUHE\LVDXWKRUL]HGGLUHFWHGDQGHPSRZHUHGLQWKHQDPHRIDQGRQEHKDOI
             RIDQ\&RPSDQ\WRWDNHRUFDXVHWREHWDNHQDQ\ DQGDOOVXFKIXUWKHUDFWLRQVWRH[HFXWHDQG
             GHOLYHUDQ\DQGDOOVXFKDJUHHPHQWVFHUWLILFDWHVLQVWUXPHQWVDQGRWKHUGRFXPHQWVDQGWRSD\DOO
             H[SHQVHV LQFOXGLQJ ILOLQJ IHHV LQ HDFK FDVH DV LQ VXFK RIILFHU¶V RU RIILFHUV¶ MXGJPHQW VKDOO EH
             QHFHVVDU\RUGHVLUDEOHWRIXOO\FDUU\RXWWKHLQWHQWDQGDFFRPSOLVKWKHSXUSRVHVRIWKH5HVROXWLRQV
             DGRSWHGKHUHLQ

                     5(62/9('WKDWDOODFWVDFWLRQVDQGWUDQVDFWLRQVUHODWLQJWRWKHPDWWHUVFRQWHPSODWHG
             E\WKHIRUHJRLQJ5HVROXWLRQVGRQHLQWKHQDPHRIDQGRQEHKDOIRIDQ\&RPSDQ\ZKLFKDFWVZRXOG
             KDYHEHHQDSSURYHGE\WKHIRUHJRLQJ5HVROXWLRQVH[FHSWWKDWVXFKDFWVZHUHWDNHQEHIRUHWKHVH
             5HVROXWLRQVZHUHFHUWLILHGDUHKHUHE\LQDOOUHVSHFWVDSSURYHGDQGUDWLILHGDQG

                    5(62/9('WKDWDFRS\RIWKHVH5HVROXWLRQVRIWKH0DQDJHUVKDOOEHILOHGLQWKHUHFRUGV
             RIHDFK&RPSDQ\


                                            >5HPDLQGHURI3DJH/HIW,QWHQWLRQDOO\%ODQN@

             




                                                                   
             %1Y


             23-01260-WLH11            Doc 1      Filed 09/29/23         Entered 09/29/23 19:13:32           Pg 10 of 314
            


             

                     ,1:,71(66:+(5(2)WKHXQGHUVLJQHGKDVH[HFXWHGWKLV$FWLRQE\:ULWWHQ&RQVHQW
             WREHHIIHFWLYHDVRIWKHGDWHILUVWZULWWHQDERYH


                                                          ,&$3(17(535,6(6,1&IND$/7,86'(9(/230(17,1&

                                                          %\/DQFH0LOOHU


                                                                                                                        
                                                          ,WV&KLHI5HVWUXFWXULQJ2IILFHU6ROH%RDUG0HPEHU

                                                          ,&$33$&,),&1:0$1$*(0(17//&
                                                          9$8/7+2/',1*//&
                                                          ,&$39$8/70$1$*(0(17//&
                                                          ,&$39$8/7//&
                                                          ,&$39$8/7,//&
                                                          9$8/7+2/',1*//&
                                                          ,&$3,19(670(176//&
                                                          ,&$33$&,),&1257+:(6723325781,7<$1',1&20(
                                                          )81'//&
                                                          ,&$3(48,7<//&
                                                          ,&$33$&,),&,1&20()81'//&
                                                          ,&$33$&,),&,1&20()81'//&
                                                          ,&$31257+:(6723325781,7<)81'//&
                                                          ,&$3)81',1*//&
                                                          ,&$30$1$*(0(17//&
                                                          ,&$33$&,),&'(9(/230(17//&
                                                          ,&$3+2/',1*//&
                                                          ,&$3+2/',1*//&
                                                          ,&$3+2/',1*//&
                                                          ,&$35($/7<//&
                                                          %52$':$<//&
                                                          6(1=$.(1025(//&
                                                          ,&$3&$03%(//:$<//&
                                                          8:7+$9(//&
                                                          ,&$3%52$':$<//&
                                                          9+7+//&
                                                          9+6(1,25&$5(//&
                                                          9+:,//2:672:1+20(6//&
                                                          ,&$3#8://&
                                                          9+1'675((72)),&(//&
                                                          9+3,21((59,//$*(//&
                                                          &65($/(67$7('(9(/230(17//&
                                                          /2)76#&$0$60($'2:63+$6(,//&
                                                          /2)76#&$0$60($'2:63+$6(,,//&
                                                          



                                                          %\                                                          
                                                          1DPH/DQFH0LOOHU
                                                          ,WV0DQDJHU




                                            6,*1$785(3$*(72$&7,21%<:5,77(1&216(17
             %1Y


             23-01260-WLH11            Doc 1      Filed 09/29/23          Entered 09/29/23 19:13:32           Pg 11 of 314
           




                                                               Schedule 1

                                  Company
                                  iCap Enterprises, Inc. f/k/a Altius Development, Inc.
                                  Icap Pacific NW Management, LLC
                                  Vault Holding, LLC
                                  iCap Vault Management, LLC
                                  iCap Vault, LLC
                                  iCap Vault I, LLC
                                  Vault Holding 1, LLC
                                  iCap Investments, LLC
                                  iCap Pacific Northwest Opportunity and Income Fund, LLC
                                  iCap Equity, LLC
                                  iCap Pacific Income 4 Fund,, LLC
                                  iCap Pacific Income 5 Fund, LLC
                                  iCap Northwest Opportunity Fund, LLC
                                  iCap Funding LLC
                                  iCap Management LLC
                                  iCap Pacific Development LLC
                                  iCap Holding LLC
                                  iCap Holding 5 LLC
                                  iCap Holding 6 LLC
                                  iCap Realty LLC
                                  725 Broadway, LLC
                                  Senza Kenmore, LLC
                                  iCap Campbell Way, LLC
                                  UW 17TH AVE,LLC
                                  iCap Broadway, LLC
                                  VH 1121 14TH LLC
                                  VH Senior Care LLC
                                  VH Willows Townhomes LLC
                                  iCap @ UW, LLC
                                  VH 2nd Street Office LLC
                                  VH Pioneer Village LLC
                                  CS2 Real Estate Development LLC
                                  Lofts@Camas Meadows Phase I, LLC
                                  Lofts@Camas Meadows Phase II, LLC




             BN 78827470v1


             23-01260-WLH11            Doc 1      Filed 09/29/23     Entered 09/29/23 19:13:32   Pg 12 of 314
           


             


                                                               6FKHGXOH
                                                                    
                                                                    
                                  ŽŵƉĂŶǇ
                                  ϳϮϱƌŽĂĚǁĂǇ͕>>
                                  ŝĂƉΛht͕>>
                                  ŝĂƉƌŽĂĚǁĂǇ͕>>
                                  ŝĂƉĂŵƉďĞůůtĂǇ͕>>
                                  ŝĂƉŶƚĞƌƉƌŝƐĞƐ͕/ŶĐ͘ĨͬŬͬĂůƚŝƵƐĞǀĞůŽƉŵĞŶƚ͕/ŶĐ͘
                                  ŝĂƉƋƵŝƚǇ͕>>
                                  ŝĂƉ&ƵŶĚŝŶŐ>>
                                  ŝĂƉ/ŶǀĞƐƚŵĞŶƚƐ͕>>
                                  ŝĂƉDĂŶĂŐĞŵĞŶƚ>>
                                  ŝĂƉEŽƌƚŚǁĞƐƚKƉƉŽƌƚƵŶŝƚǇ&ƵŶĚ͕>>
                                  ŝĂƉWĂĐŝĨŝĐ/ŶĐŽŵĞϰ&ƵŶĚ͕͕>>
                                  ŝĂƉWĂĐŝĨŝĐ/ŶĐŽŵĞϱ&ƵŶĚ͕>>
                                  ŝĂƉWĂĐŝĨŝĐEŽƌƚŚǁĞƐƚKƉƉŽƌƚƵŶŝƚǇĂŶĚ/ŶĐŽŵĞ&ƵŶĚ͕>>
                                  /ĐĂƉWĂĐŝĨŝĐEtDĂŶĂŐĞŵĞŶƚ͕>>
                                  ŝĂƉZĞĂůƚǇ͕>>
                                  ŝĂƉsĂƵůƚ/͕>>
                                  ŝĂƉsĂƵůƚDĂŶĂŐĞŵĞŶƚ͕>>
                                  ŝĂƉsĂƵůƚ͕>>
                                  ^ĞŶǌĂ<ĞŶŵŽƌĞ͕>>
                                  htϭϳd,s͕>>
                                  sĂƵůƚ,ŽůĚŝŶŐϭ͕>>
                                  s,ϭϭϮϭϭϰd,>>
                                  s,ϮŶĚ^ƚƌĞĞƚKĨĨŝĐĞ>>
                                  s,WŝŽŶĞĞƌsŝůůĂŐĞ>>
                                  s,^ĞŶŝŽƌĂƌĞ>>
                                  s,tŝůůŽǁƐdŽǁŶŚŽŵĞƐ>>
                                                                         




             %1Y


             23-01260-WLH11            Doc 1      Filed 09/29/23     Entered 09/29/23 19:13:32   Pg 13 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




             September 28, 2023

             Chris Christensen
             CEO
             iCap Enterprises, Inc.
             iCap Investments, LLC
             3535 Factoria Blvd., Suite 500
             Bellevue, WA 98006

             Re: Revised and Restated Engagement of Paladin Management Group, LLC - Consulting
             and CRO Services

             Dear Mr. Christensen:

             This Letter of Agreement (“Agreement”), effective as of July 14, 2023 (the “Effective Date”),
             confirms the terms under which the entities referenced on the attached schedule (each, a
             “Client” and collectively, the “Company”) have retained Paladin Management Group, LLC, a
             Nevada Limited Liability Company (“Paladin”) to provide professional services. This
             Agreement revises, restates, and supersedes that certain Engagement Agreement dated July
             14, 2023.
             1. Chief Restructuring Officer
             Effective as of the CRO Effective Date, Paladin will make Lance Miller available to serve as
             the Company's Chief Restructuring Officer (CRO). The CRO will be an independent officer
             with fiduciary duties to the Company, and will serve pursuant to corporate resolutions to be
             passed by the governing authority (e.g., Board of Managers, Board of Directors, or Managing
             Member) for each of the applicable Clients in form and substance acceptable to the CRO
             (the “Corporate Resolutions”). Among other things, the CRO will be vested with the following
             authority, delegated powers, and discretion (the “CRO Services”):
                 x   To devise and implement a strategy or strategies for addressing the Company’s
                     debt(s), solvency or insolvency, liquidity, and/or financial condition (collectively, a
                     “Restructuring”);
                 x   To retain and supervise professionals on behalf of the Company, including legal
                     counsel, in connection with a Restructuring;
                 x   To incur and authorize payment of expenses that the CRO determines are reasonably
                     necessary in connection with a Restructuring;
                 x   To authorize any Client to borrow funds, provide liens or other security, and/or to
                     enter into any financing, cash collateral, or lending agreement or facility in
                     connection with a Restructuring;


                     633 W. 5th Street, 28th Floor, Los Angeles, CA 90071 | 213.320.5500 | paladinmgmt.com


             23-01260-WLH11            Doc 1     Filed 09/29/23   Entered 09/29/23 19:13:32       Pg 14 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




                 x   In the reasonable exercise of the CRO’s business discretion and judgment, to
                     authorize the commencement of an insolvency proceeding or proceedings (an
                     “Insolvency Proceeding”) involving some or all of the Clients (including but not limited
                     to state or federal receivership proceedings, or proceedings under title 11 of the U.S.
                     Code (the “Bankruptcy Code”);
                 x   To supervise and otherwise manage all matters reasonably required in order to
                     pursue or otherwise incident to an Insolvency Proceeding;
                 x   To direct the Company’s response or strategy in connection with any litigation(s)
                     commenced by creditors of the Company;
                 x   To settle or otherwise resolve debts or obligations of the Company;
                 x   To authorize and direct the sale, disposition, abandonment, or other disposition of
                     Company assets, in connection with a Restructuring; and
                 x   Such other actions or omissions that the CRO reasonably determines are necessary
                     and appropriate to pursue a Restructuring.
             2. Consulting Services
             Commencing with the Effective Date, Paladin will provide the following services to the
             Company (the “Consulting Services,” and collectively with the CRO Services, the “Services”).
             Following the CRO’s appointment, Paladin’s professionals will report directly to the CRO.
                 x   Assist in devising various restructuring strategies and assessing the business and
                     financial impact of those strategies;
                 x   Assist in negotiations with the Company’s relevant stakeholders in connection with
                     such strategies;
                 x   Assist in developing and implementing cash management and cash flow forecasting
                     processes;
                 x   Assist in preparing and maintaining liquidity and cash projections and reporting of
                     actual results;
                 x   Prepare certain of the Clients to commence an Insolvency Proceeding;
                 x   Prepare financial forecasts and reports that may be required by the CRO, or the
                     Company’s lenders and stakeholders;
                 x   Strategic communication services, which will include but not be limited to, assessment
                     and development of a strategic communications plan, development of
                     communications materials, coordination of media contacts, interviews and other
                     placements and guidance in interactions with media outlets, customers/clients,
                     suppliers/vendors, and other business partners as appropriate;
                 x   Administer any Insolvency Proceeding, once commenced, and assist with any
                     negotiations and other interactions with the Company’s stakeholders and their
                     respective advisors in connection with the Insolvency Proceeding; and
                 x   Advice and recommendations with respect to other related matters as the Client or its
                     professionals may request from time to time, as agreed to by Paladin.

                                                                  2


             23-01260-WLH11            Doc 1     Filed 09/29/23       Entered 09/29/23 19:13:32   Pg 15 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




             3. Term and Termination
             The term of this Agreement and the Services will extend until terminated. Either Party may
             terminate this Agreement and the Services upon seven (7) days’ notice to the other Party;
             provided, however, that termination by any of the Clients shall automatically result in
             termination as to all Clients. Immediately following termination, the Company shall take all
             steps reasonably necessary to effectuate removal and replacement (as applicable) of the
             CRO from all governmental registrations. Following termination, the Services shall
             immediately cease. The following sections of the Terms and Conditions shall survive
             termination: 1, 9, 10, 11, 12, 13, 14, 15, 18, and any other provision that would reasonably
             be expected to survive termination.
             4. Retainer and Compensation
             As compensation for the Services, Paladin will be paid an hourly rate. Paladin’s hourly rates
             range from $375 to $850 per hour, depending on the personnel performing the work. The
             rate for Lance Miller is $850, and for Mike Lang is $650. In addition to the foregoing, in the
             event that the Company or any of the Clients commence preparation of an Insolvency
             Proceeding and thereafter for so long as the CRO Services are provided, the Company will pay
             a monthly fee of $50,000.
             There will be a $50,000 retainer (the “Retainer”) paid to Paladin promptly upon execution of
             this agreement. The Retainer will be an “evergreen” retainer, such that it will be replenished
             on a regular basis in order to ensure that the amount of the Retainer is, at all times, greater
             than Paladin’s work in progress and accrued fees.
             5. Conditions to Effectiveness
             The Consulting Services will commence on the Effective Date. The CRO Services will
             commence upon the first date following occurrence of each of the following, unless such
             conditions are waived by Paladin (the “CRO Effective Date”):
                 a) Passing of the Resolutions;
                 b) The Company has provided Paladin with written verification that the CRO has been
                    added as a named beneficiary to all existing Directors’ and Officers’ Liability
                    Insurance policies respecting the Company; and
                 c) The Company has paid the Retainer, as set forth in Section 4.
             6. Terms and Conditions
             Attached hereto as Appendix A are Paladin’s terms and conditions. By the Company’s
             execution of this agreement, the Company acknowledges that it has read these terms and
             conditions, and that it agrees to be bound by each of these terms and conditions, which are
             hereby incorporated by reference as if fully set forth herein.




                                                                  3


             23-01260-WLH11            Doc 1     Filed 09/29/23       Entered 09/29/23 19:13:32   Pg 16 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




             If the foregoing accurately sets forth the understanding between us, please so indicate by
             signing and returning this letter to Paladin.


                                                               Very truly yours,


                                                               PALADIN MANAGEMENT GROUP, LLC



                                                               By:
                                                               Name: Lance Miller
                                                               Title: Partner



             CONFIRMED AND AGREED:

             Chris Christensen
             on behalf of each Client

             By:
             Name: Chris Christensen
             Title: CEO




                                                                  4


             23-01260-WLH11            Doc 1     Filed 09/29/23       Entered 09/29/23 19:13:32   Pg 17 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




                                                                APPENDIX A

                                               General Terms and Conditions – CRO Services
                                                    Paladin Management Group, LLC


             1. Retainer and Compensation
                 (a) Hourly and Weekly Billing. Unless stated otherwise herein, the Company will be billed for Services
             provided by Paladin Personnel on an hourly basis at the current hourly rate of the Paladin Personnel
             performing the Services. Paladin adjusts its hourly rates periodically. The Company agrees to pay the hourly
             rates as reasonably adjusted. Paladin’s fees and expenses will be billed to the Company as frequently as
             weekly and are payable upon receipt. Billable Services include services provided to the Company by Paladin
             Personnel commencing with the date hereof and continuing after termination of the engagement.
                  (b) Flat Fee Services. If the parties have agreed to a Flat Fee or a monthly fee, the Fee shall be paid in full
             in advance and shall be deemed earned upon receipt. The Fee will constitute payment for all services
             performed by Paladin Personnel within the scope of the Flat or monthly Fee (“Flat Fee Services”). Services
             performed by Paladin Personnel at the Company’s request that are outside the scope of the Flat Fee Services
             will be billed on an hourly basis.
                 (c) Retainer. The Retainer ensures payment of Paladin’s fees. Paladin may apply the Retainer to unpaid
             invoices without prior notice. Paladin may increase the Retainer to the extent required to ensure that the
             Retainer is sufficient to cover work in progress and outstanding invoices. The Company shall replenish the
             Retainer upon Paladin’s request. The Retainer will not accrue interest. The balance of the Retainer after
             payment of Paladin’s final invoice, if any, will be returned to the Company.
                 (d) Travel. The Company will be responsible for Paladin Personnel travel time and expenses, including
             travel time and expenses incurred in traveling to and from the Paladin Personnel’s home offices to locations
             other than the Company’s offices. Paladin will bill travel time at one-half of the applicable hourly rate; provided
             that Paladin will bill travel time at its normal hourly rates to the extent Paladin Personnel are performing
             Services while traveling.
                  (e) Expenses. The Company will pay or reimburse Paladin, as applicable, for all documented out-of-pocket
             expenses reasonably incurred by Paladin and Paladin Personnel in the performance of the Services through
             the termination date and the reasonable expenses incurred in connection with the Services after the
             termination date such as travel, and other expenses. Such expenses shall include travel, meals and lodging,
             delivery services, etc. In addition, in states where Paladin is obligated to collect sales taxes on professional
             services, such taxes will be billed to the Company.
                  (f) Administrative Fee. Paladin is entitled to an administrative fee equal to 4 ½% of the professional fees
             billed during any billing period. The administrative fee will cover ordinary administrative expenses such as cell
             phone charges, faxes, general copying expenses and similar ordinary expenses.
                 (g) Payment Terms; Interest. Fees and other amounts owed hereunder are due immediately upon receipt
             of an invoice. In the event that any amounts become past due by more than thirty (30) days, such amounts will
             accrue interest in the amount of 18.0% per annum.
             2. Paladin Personnel
                 Except as otherwise provided in this Agreement, the Services may be performed by such employees,
             agents or independent contractors of Paladin, or of any subsidiary or affiliate of Paladin, as Paladin may
             determine. References to “Paladin Personnel” herein include those employees, agents, and independent
             contractors of Paladin and its subsidiaries or affiliates that perform Services for the Company.
             3. Independent Contractor Status
                  Paladin shall serve as an independent contractor under this Agreement. Paladin will have exclusive
             control over the management and operation of the Services provided by Paladin Personnel and will be
             responsible for hiring, supervising and paying the wages or other compensation due to the Paladin Personnel
             in connection with this Agreement. No Paladin Personnel will be employed or engaged by the Company either
             as a director, officer, member, manager, partner, control person, employee, representative, agent or

                                                                       i


             23-01260-WLH11            Doc 1      Filed 09/29/23           Entered 09/29/23 19:13:32            Pg 18 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




             independent contractor, or in any other capacity; provided that the CRO will serve as an officer of the Company.
             No Paladin Personnel will be entitled to receive from the Company any compensation, vacation pay, sick leave,
             retirement, pension or social security benefits, workers’ compensation, disability, unemployment insurance
             benefits or any other employee benefits. Paladin will be responsible for all employment, withholding, income
             and other taxes incurred in connection with the Services.
             4. Company Acknowledgements
                  The Company acknowledges and agrees that neither Paladin, nor any Paladin Personnel, make any
             representations, guarantees or predictions that, inter alia: (i) An appropriate restructuring proposal or strategic
             alternative can be formulated; (ii) Any restructuring proposal or strategic alternative formulated by Paladin will
             achieve the intended results or will be more successful than other possible restructuring proposals or strategic
             alternatives; (iii) Restructuring is the best course of action for the Company; (iv) Any restructuring proposal or
             strategic alternative formulated by Paladin will be accepted by the Board, or the Company’s creditors,
             shareholders and other stakeholders. The Company further acknowledges that numerous factors affect the
             Company’s actual financial and operational results, and that these results may materially and adversely differ
             from the objectives of the restructuring plan or strategy formulated or proposed by Paladin.
             5. Accuracy and Completeness of Information
                  The Company is responsible for providing Paladin with accurate and complete information and materials.
             The Company will provide Paladin with full and timely access to all Company personnel, books and records,
             including those of the Company’s attorneys, accountants, other agents and third-party representatives, that
             Paladin Personnel reasonably request in connection with the performance of the Services. Paladin Personnel
             are entitled to rely on the accuracy of the information and materials provided and shall have no duty to verify
             the reliability, accuracy or completeness of such information. The Company is responsible for the accuracy and
             reliability of any plans, strategies, forecasts, quantitative financial models, projections and related
             computations prepared by Paladin in reliance upon any inaccurate or incomplete information or materials
             provided. Paladin shall incur no liability to the Company or any third-party arising out of any unreliable,
             inaccurate or incomplete information or materials provided by the Company.
             6. Company Responsibilities
                  Except as set forth in the final sentence of this section, (i) the Company will make all decisions relating to
             whether the Company pursues or does not pursue a particular proposal, transaction, plan or strategy, and (ii)
             the Company is responsible for the implementation and outcome of any proposal, transaction, plan or strategy
             pursued by the Company. The Company is responsible for any Work Product (as defined below) that is modified
             in any material respect without Paladin’s approval. In the event that Paladin Personnel are appointed an
             officer or director of the Company, this Section will not apply with respect to the specific decisions made or
             directed by such appointed officer or director.
             7. Excluded Services
                 Neither Paladin nor any Paladin Personnel will perform any of the following services: insurance advice;
             investment advice; asset management services, legal, tax or regulatory advice or services; or accounting or
             audit services, including any financial statement reporting services that are subject to the rules of the AICPA,
             SEC or other state or national professional or regulatory body.
             8. Bankruptcy Proceedings
                 In the event the Company resolves to file for bankruptcy under Chapter 11 of the Bankruptcy Code or has
             reason to believe an involuntary petition is likely to be filed, the following provisions shall apply:
                 (a) Approval of Engagement. The Company will promptly seek the Bankruptcy Court's approval of
             Paladin’s engagement under this Agreement. The application, proposed order and other supporting documents
             submitted to the Bankruptcy Court seeking such approval must be satisfactory to Paladin in all respects.
             Unless agreed otherwise by Paladin, retention of Paladin shall be pursuant to section 363 of the Bankruptcy
             Code.
                 (b) Bankruptcy Services. The term Services as used in this Agreement shall include the services provided
             by Paladin Personnel in connection with any Bankruptcy Court proceedings (“Bankruptcy Services”). The term
             “Services” as used herein shall include the Bankruptcy Services.

                                                                      ii


             23-01260-WLH11            Doc 1      Filed 09/29/23           Entered 09/29/23 19:13:32           Pg 19 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




                 (c) Retainer. Paladin may increase the Retainer amount to account for the additional Bankruptcy Services
             and the Company shall promptly pay Paladin the additional Retainer amount.
                 (d) Reimbursement of Costs. Subject to the approval of the Bankruptcy Court, the Company shall pay or
             reimburse Paladin for all costs reasonably incurred by Paladin or Paladin Personnel in connection with the
             Bankruptcy Services, including attorney fees.
             9. Insurance, Indemnification & Limitation of Liability
                As an inducement to Paladin to agree to the Engagement and as further consideration for the Services, the
             Company agrees to indemnify, insure, defend and limit Paladin’s liability as provided below.
                  (a) Indemnification. The Company agrees to indemnify, defend and hold harmless Paladin, the CRO,
             Paladin Personnel, and their respective affiliates, former and present members, managers, insurers, directors,
             officers, employees, agents, independent contractors and controlling persons (each an "Indemnified Party" and
             collectively, the "Indemnified Parties") to the fullest extent permitted by law against any and all actual or
             threatened liabilities, losses, judgments, proceedings, litigations, or expenses (including legal fees and other
             costs reasonably incurred, including expert witness and investigator fees) (collectively, “Indemnified Claims”),
             arising out of or relating to (i) the Services performed under this Agreement, (ii) Paladin’s or the CRO’s
             involvement with the Company or its operations, or (iii) the Company’s restructuring efforts generally; provided
             that indemnity in the preceding sentence shall not apply to any loss, claim, damage, liability or expense to the
             extent it is found in a final judgment by a court of competent jurisdiction (not subject to further appeal) to have
             resulted primarily and directly from such Indemnified Party's gross negligence or willful misconduct.
             Promptly after receipt by an Indemnified Party of notice of its involvement in any threatened or actual action,
             matter, proceeding or investigation to which this Section might apply, the Indemnified Party shall, if a claim for
             indemnification in respect thereof is to be made hereunder, notify the Company of such involvement. Failure by
             an Indemnified Party hereunder to so notify the Company shall not relieve the Company from its obligations
             under this Section, except to the extent that the Company suffers actual prejudice as a result of such failure.
             The Indemnified Party shall have the option to control the defense of any Indemnified Claim, subject to
             reasonable consultation with the Company; in the event that the Indemnified Party so elects, the Company
             shall promptly advance or commence payment of any and all fees, expenses, and amounts incurred or to be
             incurred by the Indemnified Party in connection with the Indemnified Claim, in such frequency and amounts so
             as to ensure that the Indemnified Party does not pay any such amounts directly. In the event that the
             Indemnified Party elects for the Company to assume the defense of any Indemnified Claim:
                         i. the counsel selected by the Company for such defense shall be reasonably satisfactory to the
                            Indemnified Party;
                        ii. the Indemnified Party shall have the right to participate in such action or proceeding and to
                            retain its own counsel, but the Company shall not be liable for any legal expenses of other
                            counsel subsequently incurred by the Indemnified Party in connection with the defense thereof
                            unless (a) the Company has agreed to pay such fees and expenses, or (b) the Company shall
                            have failed to employ counsel reasonably satisfactory to the Indemnified Party in a timely
                            manner; and
                        iii. The Company shall not consent to the terms of any compromise or settlement of any
                             Indemnified Claim without the prior written consent of the Indemnified Party, which shall not be
                             unreasonably withheld or delayed.
             In the event that the parties dispute whether a claim, proceeding, or litigation constitutes an Indemnified
             Claim, the Company shall treat such claim, proceeding or litigation as an Indemnified Claim and honor its
             defense obligations with respect thereto until and unless a court of competent jurisdiction determines in a
             final, non-appealable order or judgment that the claim, proceeding, or litigation does not qualify for defense
             under this Section; in that event, the Indemnified Party shall be required to repay any out-of-pocket expenses
             or amounts previously paid by the Company as part of its defense obligations under this Section.
                 (b) Limitation of Liability. No Indemnified Party shall be liable (directly or indirectly, in contract or tort or
             otherwise) to the Company (including its successors and creditors) for any claim arising out of or relating to this
             Agreement, including any acts or omissions committed by Paladin Personnel in the performance of the
             Services. Notwithstanding the above, an Indemnified Party may be liable for such losses, claims, damages,

                                                                       iii


             23-01260-WLH11            Doc 1       Filed 09/29/23            Entered 09/29/23 19:13:32           Pg 20 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




             liabilities or expenses if they are found by a court of competent jurisdiction in a final judgment not subject to
             further appeal to have resulted primarily and directly from such Indemnified Party's gross negligence or willful
             misconduct or breach of Paladin’s obligations under this Agreement; provided that: (i) no Indemnified Party will
             have any liability for special, consequential, incidental or exemplary damages or loss (including lost profits,
             savings or business opportunity); and (ii) the Indemnified Parties’ aggregate liability is limited to and shall not
             exceed the total fees paid to Paladin by the Company for Services under this Agreement.
                 (c) Additional Indemnification and/or Insurance of the CRO.
                         i. Indemnification of CRO. The Company shall indemnify the CRO to the same extent as the most
                            favorable indemnification it extends to its officers or managers.
                        ii. Within thirty (30) days of the CRO’s appointment, the Company shall purchase, at its sole cost
                            and expense, a Side A Directors and Officers insurance policy with the CRO as the sole
                            beneficiary, with policy limits agreeable to the CRO from a carrier an subject to terms and
                            conditions acceptable to the CRO.
                 (d) The Company agrees that it will not, without the prior consent of the Indemnified Party, settle or
                     compromise or consent to the entry of any judgment in any pending or threatened claim, action, suit or
                     proceeding in respect of which such Indemnified Party seeks indemnification hereunder (whether or
                     not such Indemnified Party is an actual party to such claim, action, suit or proceedings) unless such
                     settlement, compromise or consent includes an unconditional release of such Indemnified Party from
                     all liabilities arising out of such claim, action, suit or proceeding.
                  (e) The indemnification and limited liability provisions contained in this Agreement, including those
             contained in Section, shall survive and remain in full force and effect upon the termination of this Agreement
             and the filing of a petition under Chapter 7 or 11 of the United States Bankruptcy Code (or the conversion of an
             existing case to one under a different chapter).
                  (f) The rights provided herein are in addition to and shall not be deemed exclusive of any other rights to
             which the Indemnified Parties may be entitled under this Agreement, applicable law or otherwise. The Parties
             agree that failure by the Company to honor its obligations under this Section will result in irreparable harm and
             injury to the affected Indemnified Party that monetary damages will not be sufficient to address. As such, the
             Company agrees that, in addition to any and all remedies provided hereunder, breach of this Section shall
             entitle the Indemnified Parties to injunctive and other equitable relief deemed appropriate by a court of
             competent jurisdiction, without the need for entry of a bond or other security.
             10. Conflicts
                  Paladin is not currently aware of any relationships with other clients that create actual or potential conflicts
             of interest with the Company. However, because Paladin serves clients on an international basis, it is possible
             that Paladin has rendered services to entities or individuals who are in competition with the Company or whose
             interests potentially conflict with the Company’s interests, including creditors of the Company. Nothing in this
             Agreement prevents Paladin from providing services to such other entities or individuals now or in the future,
             provided Paladin makes appropriate arrangements to ensure that the confidentiality of the Company’s
             information is maintained. Further, Paladin will not represent the interests of any entities or individuals whose
             interests are known by Paladin to directly conflict with the Company’s interests in connection with any matter in
             which Paladin is currently providing services to the Company.
             11. Confidential Information
                  Paladin acknowledges and agrees that Paladin Personnel will have access to certain Confidential
             Information belonging to the Company the disclosure or the use of which in a manner that does not serve the
             interests of the Company will cause irreparable damage and loss to the Company. For these reasons, Paladin
             covenants and agrees as follows:
                 (a) Use of Confidential Information. Except as otherwise expressly provided herein, Paladin will use the
             Confidential Information only in connection with the performance of the Services. Paladin will use reasonable
             efforts to maintain the confidentiality of the Confidential Information.
                 (b) Confidential Information.
                         i. “Confidential Information” means any data or information that is proprietary to the Company

                                                                      iv


             23-01260-WLH11            Doc 1       Filed 09/29/23          Entered 09/29/23 19:13:32             Pg 21 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




                            and/or its affiliates that is not generally known to the public, whether in tangible or intangible
                            form, in any and all mediums, including, but not limited to: (i) financial information, projections,
                            operations, sales estimates, business plans and performance results, marketing strategies, and
                            business plans; (ii) plans for products or services, and customer or supplier lists; (iii) any
                            scientific or technical information, invention, design, process, procedure, formula, improvement,
                            technology or method; (iv) any concepts, reports, data, know-how, works-in-progress, designs,
                            development tools, specifications, computer software, source code, object code, flow charts,
                            databases, inventions, information and trade secrets; (v) any other information that should
                            reasonably be recognized as confidential information of the Company; and (vi) any Work Product
                            excluding the Engagement Tools (as those terms are defined in Section 13). Confidential
                            Information need not be novel, unique, patentable, copyrightable or constitute a trade secret in
                            order to be designated Confidential Information.
                        ii. Confidential Information shall not include information which: (i) was lawfully possessed by
                            Paladin prior to receiving the Confidential Information from the Company; (ii) becomes rightfully
                            known by Paladin from a third-party source not under an obligation to Company to maintain
                            confidentiality; (ii) is generally known by the public through no fault of or failure to act by Paladin
                            inconsistent with its obligations under this Agreement; (iv) is required to be disclosed in a
                            judicial or administrative proceeding, or is otherwise requested or required to be disclosed by
                            law or regulation, although the requirements of paragraph 5 hereof shall apply prior to any
                            disclosure being made; and (v) is or has been developed by employees, consultants or agents of
                            Paladin without violation of the terms of this Agreement, including the Engagement Tools.
                  (c) Permitted Disclosures. Paladin may disclose Confidential Information: (i) to third parties in
             connection with the performance of its services under this Agreement so long as such disclosures are made
             pursuant to a confidentiality agreement in form and substance satisfactory to the Company or otherwise with
             the knowledge and consent of the Company; (ii) in connection with any dispute between Paladin and the
             Company under or concerning this Agreement, and (iii) pursuant to any request by FINRA, the Securities and
             Exchange Commission or any other regulatory authority, or pursuant to any order, subpoena or other regulatory
             or legal process. Paladin shall have the unrestricted right to use and disclose the Engagement Tools, and
             Paladin shall have the right to use the Company's name and logo, and to provide a description of the services
             provided by Paladin under this Agreement, in Paladin's public marketing materials.
                  (d) Compelled Disclosure of Confidential Information. In the event that Paladin becomes legally compelled
             to disclose any Confidential Information, to the extent practicable and permitted by applicable law, Paladin
             shall provide the Company with prompt notice thereof prior to any disclosure of Confidential Information so
             that the Company may contest such requirement or seek a protective order or other appropriate remedy.
             Paladin shall use its reasonable best efforts to assist Company in such efforts. In the event that disclosure is
             required, Paladin will furnish only that portion of the Confidential Information which is legally required.
                  (e) Warranty Regarding Authority to Disclose Confidential Information, Indemnification. The Company
             represents and warrants to Paladin that it has the authority to disclose the Confidential Information to Paladin
             and agrees to indemnify and defend Paladin against any claims or liability arising out of the Company’s
             disclosure of the Confidential Information to Paladin and/or Paladin’s use and disclosure of the Confidential
             Information pursuant to and in accordance with this Agreement.
                  (f) Survival. The rights and obligations of the Parties under this Agreement shall survive the termination
             of this Agreement and remain binding for a period of one (1) year from the termination date.
                  (g) Injunctive Relief. Paladin acknowledges and agrees a violation of this Agreement could cause
             irreparable injury to the Company and as there is no adequate remedy at law for such violation, the Company
             may, in addition to any other remedies available to it at law or in equity, enjoin Paladin in a court of equity for
             violating or threatening to violate this Agreement.
                (h) Ownership of Confidential Information. All Confidential Information disclosed to Paladin by the
             Company shall remain the property of the Company.
                 (i) Return or Destruction of Confidential Information. Upon written request of the Company, Paladin shall
             promptly return to the Company all Confidential Information and documents received or otherwise obtained
             from the Company and all copies and excerpts of the same. Upon written request of the Company, Paladin


                                                                       v


             23-01260-WLH11             Doc 1      Filed 09/29/23          Entered 09/29/23 19:13:32             Pg 22 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




             shall also permanently destroy all electronic and digital versions of the Confidential Information and the
             documents.
                  (j) This Agreement shall supersede any preexisting Confidentiality and/or Nondisclosure of Confidential
             Information Agreement between Paladin and the Company.
             12. Work Product; Engagement Tools
                 (a) Work Product. Work Product refers to all work product created or produced by Paladin Personnel
             directly for the Company and delivered to the Company as part of this Engagement, including advice, analyses,
             financial models, reports, strategies, plans, proposals, and presentation materials.
                 (b) Engagement Tools. Engagement Tools includes all methodologies, processes, techniques, ideas,
             concepts, know-how, procedures, software, templates, models and other intellectual property created,
             acquired or developed by Paladin Personnel independently of or in connection with this Engagement that are
             employed by Paladin Personnel in the development and creation of the Work Product.
                 (c) Ownership and License. The Engagement Tools are the sole and exclusive property of Paladin. The
             Company shall not acquire any interest in the Engagement Tools except that Paladin grants the Company a
             royalty free, worldwide, perpetual, non-transferable license to use the Engagement Tools to the extent they are
             contained in the Work Product. The Work Product, excluding the Engagement Tools contained therein, is the
             sole and exclusive property of the Company.
                  (d) No Third-Party Beneficiaries. The Work Product is intended solely for the use and benefit of the
             Company and this Agreement shall not be interpreted as conferring any rights on any other individual as a
             third-party beneficiary or otherwise.
                 (e) Time and Data Sensitive Material. The Company acknowledges that the appropriateness, accuracy
             and reliability of the Work Product is specific to factors existing at the time the Work Product is developed and
             that any changes in those factors including those resulting from the passage of time, and any modifications to
             the Work Product can materially affect the appropriateness, accuracy and reliability of the Work Product.
                 (f) Non-Disclosure. The Company covenants and agrees not to disclose Work Product to any persons
             other than the Company’s equity holders, board members, managers, officers, employees, attorneys, agents
             and other representative, unless:
                         i. Paladin consents to the disclosure;
                        ii. The Work Product contains no material modifications that have not been approved by Paladin;
                            and
                        iii. The disclosure includes a disclaimer approved by Paladin.
                  (g) Non-Responsibility; Indemnification. Neither Paladin nor any Indemnified Party (as defined in the
             Section entitled “Insurance, Indemnification & Limitation of Liability”) shall be liable for, and the Company shall
             indemnify, defend, and hold the Indemnified Parties harmless against, any claims, damages or expense,
             including attorney fees, arising out of the disclosure of Work Product by the Company or any of its
             representatives that is not authorized pursuant to subparagraph (f).
             13. Alternative Dispute Resolution Procedure
                  Any controversy or claim arising out of or relating to this Agreement, or any breach thereof, shall be settled
             by arbitration seated in New York, New York. The physical location of the arbitration hearings shall be held in
             New York, New York, unless the Parties agree otherwise. All proceedings, filings, and statements made in such
             arbitration shall be confidential. The arbitration shall be administered by the American Arbitration Association
             in accordance with its Commercial Arbitration Rules and, with respect to discovery and the taking of evidence,
             the International Bar Association’s Rules on the Taking of Evidence in International Arbitration (the “IBC
             Rules”). Notwithstanding the IBC Rules, however, the Parties shall be entitled to up to twenty-five (25) written
             requests for admission (“RFA’s”) and up to two (2) depositions, each without leave of the arbitral tribunal. The
             deponent’s attendance may be compelled by either request to the arbitral tribunal or order from a court of
             competent jurisdiction. Failure by either Party to timely respond to RFA’s shall be deemed an admission to
             such RFA’s. Failure by either Party to participate in the arbitration (including failure to attend a properly
             scheduled deposition, conference, or hearing) shall be deemed default and consent to the immediate entry by

                                                                     vi


             23-01260-WLH11            Doc 1      Filed 09/29/23          Entered 09/29/23 19:13:32            Pg 23 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




             the arbitral tribunal of an award in favor of the other Party in an amount equal to the maximum damages
             reasonably requested by such Party (giving all possible deference to the Parties’ limited ability to prove
             damages in the absence of the other Party’s participation). The arbitral tribunal shall immediately enter such
             award upon request by the participating Party. Any award granted to a Party pursuant to an arbitration in
             accordance with this Agreement shall be enforceable in foreign jurisdictions in the manner contemplated by
             the Convention on the Recognition and Enforcement of Foreign Arbitral Awards (the “New York Convention”).
             Notwithstanding the foregoing, any Party may seek and obtain injunctive and other equitable relief from a court
             of competent jurisdiction to enforce the provisions of this Agreement without first seeking or obtaining any
             decision of the arbitral tribunal, with respect to the subject matter of this Agreement.
             14. Company’s Joint and Several Liability; Right of Setoff
                 If the Company consists of one or more individuals or entities, then the Company’s obligations under this
             Agreement shall be joint and several obligations of each individual or entity comprising the “Company.” Each
             such individual or entity shall execute this Agreement. Without limiting any other remedy that may be available
             to Paladin under this Agreement or applicable law, where the “Company” under this Agreement consists of
             more than one individual or entity, then Paladin shall have against each such individual or entity a right of
             setoff (notwithstanding any lack of mutuality) under which Paladin may set off against any claim against
             Paladin by any individual or entity comprising the Company group, all of the claims that Paladin may have
             against any or all of the individuals or other entities that comprise the Company.
             15. Attorneys’ Fees and Expenses
                 In the event of any dispute arising from or relating to these terms or the Agreement, Paladin and the CRO
             shall be entitled to reimbursement of any and all reasonable costs, damages, and expenses, including
             attorneys' fees, expended or incurred in connection with such dispute (whether or not Paladin is the
             substantially prevailing party).
             16. Consent; Entire Agreement
                 In any instance under this Agreement where a party’s consent is permitted or required to be given, such
             consent shall not be withheld unreasonably. This Agreement contains the entire Agreement of the parties with
             respect to its subject matter and supersedes all prior agreements and understandings between the Company
             and Paladin with respect to such subject matter. Any modification of or supplement to this Agreement shall be
             effective only if such modification or supplement is in writing and signed by all parties.
             17. Multiple Originals
                  This Agreement may be executed in any number of counterparts, each of which shall be deemed an
             original, but all of which together shall constitute one and the same document. This Agreement may be
             executed by facsimile signatures or signatures forwarded via email.
             18. Governing Law; Venue
                This Agreement shall be governed by and construed and interpreted in accordance with the laws of
             Nevada (without regard to conflict of laws principles). Venue for all purposes shall be Washoe County, Nevada.




                                                                    vii


             23-01260-WLH11            Doc 1     Filed 09/29/23           Entered 09/29/23 19:13:32         Pg 24 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




                                                               CLIENT LIST
                                                               -Attached-




             23-01260-WLH11            Doc 1     Filed 09/29/23       Entered 09/29/23 19:13:32   Pg 25 of 314
 
      
                                
                                         
                                             
                                                  
                                                       
                                                         




                                                               Schedule 1

                                  Company
                                  iCap Enterprises, Inc. f/k/a Altius Development, Inc.
                                  Icap Pacific NW Management, LLC
                                  Vault Holding, LLC
                                  iCap Vault Management, LLC
                                  iCap Vault, LLC
                                  iCap Vault I, LLC
                                  Vault Holding 1, LLC
                                  iCap Investments, LLC
                                  iCap Pacific Northwest Opportunity and Income Fund, LLC
                                  iCap Equity, LLC
                                  iCap Pacific Income 4 Fund,, LLC
                                  iCap Pacific Income 5 Fund, LLC
                                  iCap Northwest Opportunity Fund, LLC
                                  iCap Funding LLC
                                  iCap Management LLC
                                  iCap Pacific Development LLC
                                  iCap Holding LLC
                                  iCap Holding 5 LLC
                                  iCap Holding 6 LLC
                                  iCap Realty LLC
                                  725 Broadway, LLC
                                  Senza Kenmore, LLC
                                  iCap Campbell Way, LLC
                                  UW 17TH AVE,LLC
                                  iCap Broadway, LLC
                                  VH 1121 14TH LLC
                                  VH Senior Care LLC
                                  VH Willows Townhomes LLC
                                  iCap @ UW, LLC
                                  VH 2nd Street Office LLC
                                  VH Pioneer Village LLC
                                  CS2 Real Estate Development LLC
                                  Lofts@Camas Meadows Phase I, LLC
                                  Lofts@Camas Meadows Phase II, LLC




             BN 78827470v1


             23-01260-WLH11            Doc 1     Filed 09/29/23      Entered 09/29/23 19:13:32   Pg 26 of 314
 Fill in this information to identify the case and this filing:


 Debtor Name    iCap Realty, LLC
 United States Bankruptcy Court for the: Eastern                     District of Washington
                                                                                 State)

 Case number (If known):




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



           Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

             Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule

             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

             Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.




       Executed on         09/29/2023                        
                           MM / DD / YYYY                        Signature of individual signing on behalf of debtor




                                                                  Lance Miller
                                                                  Printed name


                                                                  Manager
                                                                  Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors

          23-01260-WLH11                    Doc 1      Filed 09/29/23                 Entered 09/29/23 19:13:32              Pg 27 of 314
      Fill in this information to identify the case:

      Debtor name iCap Enterprises, Inc, and affiliated Debtors

      United States Bankruptcy Court for the: Eastern                       District of Washington

      Case number (If known):
                                                                                      (State)
                                                                                                                                                  Check if this is an
                                                                                                                                                      amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                         12/15

    A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
    largest unsecured claims.


     Name of creditor and complete                 Name, telephone number, and      Nature of the claim   Indicate if   Amount of unsecured claim
     mailing address, including zip code           email address of creditor        (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                   contact                          debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                    professional          unliquidated, total claim amount and deduction for value of
                                                                                    services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                    government
                                                                                    contracts)
                                                                                                                          Total claim, if    Deduction        Unsecured
                                                                                                                          partially          for value of     claim
                                                                                                                          secured            collateral or
                                                                                                                                             setoff
     Yongzhi Liang                         bonniebinbin@126.com                     Money Loaned
1    103-2-1105, Bai Zi Wan Home, Chaoyang
     District
     Beijing, Beijing 100124                                                                                                                                     $10,543,746.61
     China

     Mingyi Hu                              cansolh@gmail.com                       Money Loaned
2
     Room 2606, Qinzhou Mansion, No.6, Lane
     111, Qinzhou Road
     Shanghai
     China                                                                                                                                                        $9,619,348.65

     CWN Holdings Limited                         Lin Lan Sun                       Money Loaned
3
     Trinity Chambers, PO Box 4301                sun2015@vip.163.com
     Road Town, Tortola
     British Virgin Island                                                                                                                                        $5,000,011.40

     Devont Capital Limited                       Lin Lan Sun                       Money Loaned
4
     PO Box 4301, Road Town                       sun2015@vip.163.com
     Tortola, British Virgin Islands
     British Virgin Islands                                                                                                                                       $4,106,119.25

     Sinolite Industrial Co.                      Zhanyun Zheng                     Money Loaned
5    Bldg DEF, 19th Floor, Zhejiang Wuchan        kassy@sinolite.net
     Intl Plaza
     No.445 Kaixuan Road, Jianggan District
     Hangzhou                                                                                                                                                     $3,727,518.70
     China
     Cooperativa De Seguros Multiples             Ramon A. Rodriguez Rosa           Money Loaned
6
     PO Box 363846                                787-622-8585
     San Juan, PR 00936                           ramonr@segurosmultiples.com
                                                                                                                                                                  $2,765,640.46

     Ruihua Ji                                                                      Money Loaned
7    No. 11, Lane 688, Pingji Road, Minhang
     District                                     jiruihua@gmail.com
     Shangai, Shangai 201100                                                                                                                                      $2,678,960.88
     China



    Official Form 204                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                  page 1
               23-01260-WLH11                      Doc 1         Filed 09/29/23           Entered 09/29/23 19:13:32                         Pg 28 of 314
Debtor:     iCap Enterprises, Inc. and affiliated Debtors                                     Case number (if known)
            Name




      Name of creditor and complete                 Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
      mailing address, including zip code           email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                    contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated, total claim amount and deduction for value of
                                                                                  services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if    Deduction        Unsecured
                                                                                                                        partially          for value of     claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff

      Zheng Revocable Foreign Grantor Trust       Greg Bowman                     Money Loaned
8
      7307 N Division St. Suite 303               kassy@sinolite.net
      Spokane, WA 99208                           aburgeson@nwtrustee.com
                                                                                                                                                                $2,271,679.27

   Chunying Tian                                  wbyan1105@gmail.com             Money Loaned
9
   No. 102, 1st Floor, Unit 2, Building 11
   No. 1999 Beichen Avenue, Weiyang
   District
   Xi'an, Shanxi                                                                                                                                                $2,000,000.00
   China
   Universal Insurance Company                    Raul Ramirez                    Money Loaned
10 PO Box 71338                                   787-706-7150
   San Juan, PR 00936                             raramirez@universalpr.com
                                                                                                                                                                $2,000,000.00

   Ruzhen Zhang                              reneeyangny@gmail.com                Money Loaned
11 No.1904, Building 1, No. 1, Shangdi Xinxi
   Road
   Haidian District
   Beijing, Beijing 100085
   China                                                                                                                                                        $1,732,387.13

   Qingxiao Jiang                          nickeyjiang@163.com                    Money Loaned
12 Room 1201, Unit 2, BLD #8, Zhijing Yuan
   Xixi Cheng Yuan, Xihu District
   Hangzhou, Zhejiang 310000                                                                                                                                    $1,616,716.41
   China

   Tat Iu                                         iutat@sina.com                  Money Loaned
13 Room 2301,Block A, Gaxaly Intl Building
   167 Huancheng North Road
   Hangzhou, Zhejiang 310005                                                                                                                                    $1,422,689.57
   China

      Huimin Zhang                                dalianlfx@126.com               Money Loaned
14
      Xishan St, Building 1, Room 1-4-3
      Dalian, Liaoning 116000
      China                                                                                                                                                     $1,419,998.33

   Kun Wang                                  mayandmay@sina.com                   Money Loaned
15 No.144, Building 14, No.6 Crouching Tiger
   Bridge
   Haidian District
   Beijing, Beijing 100044
   China                                                                                                                                                        $1,315,140.86

   Zhuhua Li                                      springzhang66@gmail.com         Money Loaned
16 17225 NE 126th Pl
   Redmond, WA 98052
                                                                                                                                                                $1,296,196.01

   Ping Zhang                                     joannaheart@163.com             Money Loaned
17 Room 252, Unit 2, No. 67 East Orchard
   Tongzhou District
   Beijing, Beijing 101116                                                                                                                                      $1,258,981.43
   China




     Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 2
               23-01260-WLH11                      Doc 1           Filed 09/29/23     Entered 09/29/23 19:13:32                           Pg 29 of 314
Debtor:   iCap Enterprises, Inc. and affiliated Debtors                                     Case number (if known)
          Name




    Name of creditor and complete                 Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
    mailing address, including zip code           email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated, total claim amount and deduction for value of
                                                                                services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if    Deduction        Unsecured
                                                                                                                      partially          for value of     claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff

   Yunhua Liu                                   443-256-8594                    Money Loaned
18 1155 Northeast 55th Street                   1669043402@qq.com
   Seattle, WA 98105
                                                                                                                                                              $1,050,000.00

   Robert W. Alfini                             847-259-1871                    Money Loaned
19 419 E. Orchard St.                           bobalfini@aol.com
   Arlington Heights, IL 60005
                                                                                                                                                              $1,019,207.88

   Thomas and Jodi Temple w/ rights of          Thomas Temple                   Money Loaned
20 survivorship                                 484-467-3373
   21 Sycamore Ln.                              tom_temple@me.com
   Chester Springs, PA 19425                                                                                                                                  $1,015,984.76

   Azure Blue Service Limited                   Xueqin Yang                     Money Loaned
21 Trinity Chambers, PO Box 4301, Road          sun2015@vip.163.com
   Town
   Tortola, British Virgin VG1110
                                                                                                                                                              $1,000,002.08
   United Kingdom

   Peng Lyu and Li Tan                          Peng Lyu                        Money Loaned
22 1124 E Lake Sammamish Pkwy NE                lilian.tan@maxsolution.com.cn
   Sammamish, WA 98074
                                                                                                                                                              $1,000,000.00

   Shiying Chen                                 8407046@qq.com                  Money Loaned
23 1102, unit 1, building 5, Mingliyuan
   Xixi Chengyuan, Xihu District
   Hangzhou, Zhejiang 310012                                                                                                                                    $946,390.95
   China

   Ching-Ping Hu (Grace Shin)                   Ching-Ping Hu                   Money Loaned
24 3rd Flr, No. 143, Section 6                  jessica.cp.hu@gmail.com
   Nanjing East Road, Neihu District
   Taipei City, Taiwan 114                                                                                                                                      $942,299.35

   Barry M. Abzug Revocable Trust               Barry Abzug                     Money Loaned
25 1949 Leonard Road Falls Church               barry.abzug@verizon.net
   Falls Church, VA 22043
                                                                                                                                                                $902,229.86

   Yi Xia                                       xyi9458@gmail.com               Money Loaned
26 Building no.8, Lane 600
   Fei Hong Road, Yangpu District
   Shanghai, Shanghai                                                                                                                                           $880,307.51
   China

   Steven W. Shaw                               (860) 538-2347                  Money Loaned
27 11 River Park Drive                          dr.shaw@shawchiropractic.com
   Cormwell, CT 06416
                                                                                                                                                                $793,689.54




  Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 3
              23-01260-WLH11                     Doc 1         Filed 09/29/23       Entered 09/29/23 19:13:32                           Pg 30 of 314
Debtor:   iCap Enterprises, Inc. and affiliated Debtors                                     Case number (if known)
          Name




    Name of creditor and complete                 Name, telephone number, and   Nature of the claim   Indicate if   Amount of unsecured claim
    mailing address, including zip code           email address of creditor     (for example, trade   claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,    contingent, claim amount. If claim is partially secured, fill in
                                                                                professional          unliquidated, total claim amount and deduction for value of
                                                                                services, and         or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                      Total claim, if    Deduction        Unsecured
                                                                                                                      partially          for value of     claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff

   Junming Chen                                 jimmy@fsiheater.com             Money Loaned
28 10-2-402 Zhichengyuan Xixichengyuan,
   Xihu Dist.
   Hangzhou, Zhejiang 310030
   China                                                                                                                                                        $765,912.14

   Elizabeth Plaza                              eplaza@sconsultantsint.com      Money Loaned
29 1121 Parrotts Cove Rd
   Greensboro, GA 30642

                                                                                                                                                                $750,000.00

   Yulan Ren                                miloyezhu@gmail.com                 Money Loaned
30 No. 5, Building 15, Meidu Huating
   76 Lianhua North Road
   Dujiangyan City, Sichuan Province 611800
   China                                                                                                                                                        $730,063.95




  Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                    page 4
             23-01260-WLH11                      Doc 1        Filed 09/29/23        Entered 09/29/23 19:13:32                           Pg 31 of 314
                    IN THE UNITED STATES BANKRUPTCY COURT

                    FOR THE EASTERN DISTRICT OF WASHINGTON

In re:                                                Chapter 11

ICAP ENTERPRISES, INC., et al.,1                      Case No. 23-_____ (___)

                Debtors.                              (Joint Administration Requested)




                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

       Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
iCap Enterprises, Inc., a Washington corporation, (“iCap”) and the affiliated debtors and debtors
in possession (each a “Debtor”), hereby state as follows:

        1.       The ownership chart that follows identifies all entities having a direct or indirect
ownership interest in the Debtors. Unless otherwise indicated, each entity owns 100% of those
entities falling directly below it in the ownership chart.

                           [Remainder of Page Intentionally Left Blank]




1
  The last four digits of iCap’s federal tax identification number are 0913. The mailing address
for iCap is P.O. Box 53232, Bellevue, WA 98015. Due to the large number of debtors in these
cases, for which the Debtors have requested joint administration, a complete list of the Debtors,
the last four digits of their federal tax identification numbers, and their addresses are not
provided herein. A complete list of such information may be obtained on the website of the
Debtors’ proposed noticing and claims agent, at cases.creditorinfo.com/iCap, or by contacting
the proposed undersigned counsel for the Debtors.

                                                 1
BN 78727841v1


23-01260-WLH11         Doc 1    Filed 09/29/23       Entered 09/29/23 19:13:32        Pg 32 of 314
iCap Debtor Organizational Chart
                                                                                                                                 Christopher J.
                                                                                                                                  Christensen                                                                  Box A1

     Dotted Line indicates Class A Member. Class B Units
     were not issued with respect to: (i) iCap Northwest                  100% Sole                                                                                                            100% Sole
          Opportunity Fund, LLC and (ii) iCap Pacific                     Shareholder                                                                                                          Member
       Northwest Opportunity and Income Fund, LLC
                                                                           iCap Enterprises, Inc.                                                                                             iCap Investments, LLC
                                                                                   (WA)                                                                                                               (WA)


 100% Sole                                                                100% Sole                                                          100% Sole
 Member                                                                   Member                                                             Member
                                                                               iCap Vault
   iCap Vault, LLC (DE)                                                     Management, LLC3                                                 iCap Equity, LLC (WA)
                                                                                  (DE)

  100% Sole                                           100% Sole                          100% Sole                                          100% Sole                100% Sole
  Member                                              Member                             Member                                             Member                   Member
                                                                                           iCap Pacific NW
                                                           iCap Broadway, LLC                                                                 iCap Pacific Income
  iCap Vault 1, LLC (DE)                                                                  Management, LLC4                                                           iCap @UW, LLC (WA)
                                                                  (WA)                                                                          Fund 4, LLC (DE)
                                                                                                (WA)

 100% Sole                           100% Sole                                     100% Sole          100% Sole               100% Sole
 Member                              Member                                        Member             Member                  Member
                                                                                                       iCap Northwest        iCap Pacific Northwest
    Vault Holding, LLC               Vault Holding 1, LLC               iCap Pacific Income                                                                          UW 17th Ave, LLC5,6
                                                                                                     Opportunity Fund, LLC      Opportunity and
           (DE)                             (DE)                          Fund 5, LLC (DE)                                                                                 (WA)
                                                                                                            (DE)             Income Fund, LLC (DE)

 100% Sole
 Member

    VH Property                                                                                      725 Broadway, LLC 5,6                    iCap Campbell Way,                           Senza Kenmore, LLC5,6
   Owner Entities 2,5                                                                                       (WA)                                  LLC5,6 (WA)                                      (WA)


1. Box A consists of the Class A Units holders of Senza Kenmore, LLC: (i) Devout Capital Limited, (ii) Shiyu Zhang, (iii) Qiong Huang, and (iv) Fengdi Chen.
2. VH Property Owner Entities consists of the following prop co. Debtors, all of which are Delaware limited liability companies: (i) VH Willows Townhomes, LLC; (ii) VH Senior Care, LLC; (iii) VH 1121 14th,, LLC; (iv) VH 2nd
   Street Office, LLC; and (v) VH Pioneer Village, LLC.
3. iCap Vault Management, LLC is the Manager of (i) all prop co. Debtors included in VH Property Owner Entities, (ii) Vault Holding, LLC, (iii) Vault Holding 1, LLC, and (iv) iCap Vault 1, LLC.
4. iCap Pacific NW Management, LLC is the Manager of (i) 725 Broadway, LLC; (ii) iCap Campbell Way, LLC; (iii) UW 17th Ave, LLC; (iv) Senza Kenmore, LLC; (v) iCap Pacific Income Fund 4, LLC; (vi) iCap Pacific Income Fund
   5, LLC; (vii) iCap Northwest Opportunity Fund, LLC; (viii) iCap Northwest Opportunity and Income Fund, LLC; and (viiii) iCap Equity LLC.
5. Highlighted entities in green are prop co. Debtors.
6. See property specific organizational charts for further details and ownership percentages.




                                                      23-01260-WLH11                    Doc 1          Filed 09/29/23        Entered 09/29/23 19:13:32                Pg 33 of 314
 1       Dakota Pearce (WSBA #57011)                           HONORABLE
         BUCHALTER
 2       1420 5th Avenue, Suite 3100
         Seattle, Washington 98101
 3       Telephone: (206) 319-7052
         Email: dpearce@buchalter.com
 4
         Bernard D. Bollinger, Jr. (pro hac vice
 5       pending) (CA SBN: 132817)
         Julian I. Gurule (pro hac vice pending)
 6       (CA SBN: 251260)
         Khaled Tarazi (AZ SBN: 032446) (pro
 7       hac vice pending)
         BUCHALTER
 8       1000 Wilshire Blvd., Suite 1500
         Los Angeles, California 90017
 9       Telephone: (213) 891-0700
         Email: jgurule@buchalter.com
10
         Proposed Counsel to Debtors
11
                               UNITED STATES BANKRUPTCY COURT
12                             EASTERN DISTRICT OF WASHINGTON
13   In re:                                                      Chapter 11
14   iCAP ENTERPRISES, INC., et al.,                             Lead Case No. 23 -                        (___)
                                                                 Jointly Administered
15                                         Debtors.1
                                                                 CERTIFICATION OF CREDITOR
16                                                               MATRIX
17
18            Pursuant to Rule 1007(a)(1) of the Federal Rules of Bankruptcy Procedure, the
19   above captioned Debtor hereby certifies that the Creditor Matrix submitted herewith
20   contains the names and addresses of the Debtor’s creditors. To the best of the Debtor’s
21   1
      The Debtors (along with their case numbers) are iCap Enterprises, Inc. (Case No._____); 725 Broadway, LLC (Case
     No. _____); Icap Pacific NW Management, LLC (Case No. _____);.iCap Vault Management, LLC (Case No. _____);
22   iCap Vault, LLC (Case No. _____); iCap Vault 1, LLC (Case No. _____); Vault Holding 1, LLC (Case No. _____);
     iCap Investments, LLC (Case No. _____); iCap Pacific Northwest Opportunity and Income Fund, LLC (Case No.
23   _____); iCap Equity, LLC (Case No. _____); iCap Pacific Income 4 Fund, LLC (Case No. _____); iCap Pacific Income
     5 Fund, LLC (Case No. _____); iCap Northwest Opportunity Fund, LLC (Case No. _____); Senza Kenmore (Case No.
24   _____); iCap Campbell Way, LLC (Case No. _____); UW 17th Ave, LLC (Case No. _____); iCap Broadway, LLC (Case
     No. _____); VH 1121 14th LLC (Case No. _____); VH Senior Care LLC (Case No. _____); VH Willows Townhomes
25   LLC (Case No. _____); iCap @ UW, LLC (Case No. _____); VH 2nd Street Office, LLC (Case No. _____); VH Pioneer
     Village LLC (Case No. _____); iCap Funding, LLC (Case No. ______); iCap Management, LLC (Case No. ________);
26   and (iCap Realty, LLC (Case No. ______).


         CERTIFICATION OF CREDITOR MATRIX                                                  BUCHALTER
                                                                                       1420 FIFTH AVENUE, SUITE 3100
                                                                                         SEATTLE, WA 98101-1337
                                                                                         TELEPHONE: 206.319.7052
     BN 78737701v1
 23-01260-WLH11          Doc 1      Filed 09/29/23      Entered 09/29/23 19:13:32             Pg 34 of 314
 1   knowledge, the Creditor Matrix is complete, correct, and consistent with the Debtor’s
 2   books and records.
 3           The information contained herein is based upon a review of the Debtor’s books
 4   and records as of the petition date. However, no comprehensive legal and/or factual
 5   investigations with regard to possible defenses to any claims set forth in the Creditor
 6   Matrix have been completed. Therefore, the listing does not, and should not, be deemed
 7   to constitute: (1) a waiver of any defense to any listed claims; (2) an acknowledgement
 8   of the allowability of any listed claims; and/or (3) a waiver of any other right or legal
 9   position of the Debtor.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26


      CERTIFICATION OF CREDITOR MATRIX                                      BUCHALTER
                                                                       1420 FIFTH AVENUE, SUITE 3100
                                                                         SEATTLE, WA 98101-1337
                                                                         TELEPHONE: 206.319.7052
     BN 78737701v1
 23-01260-WLH11       Doc 1    Filed 09/29/23   Entered 09/29/23 19:13:32     Pg 35 of 314
  725 BROADWAY, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP BROADWAY, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP CAMPBELL WAY, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP ENTERPRISES INC F/K/A ALTIUS
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP EQUITY, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP INVESTMENTS, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP NORTHWEST OPPORTUNITY FUND, L
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP PACIFIC INCOME 4 FUND,, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP PACIFIC INCOME 5 FUND, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP PACIFIC NW MANAGEMENT, LLC
  PO BOX 53232
  BELLEVUE, WA 98015




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 36 of 314
  ICAP PACIFIC NW OPPORTUNITY & INCO
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP VAULT I, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP VAULT MANAGEMENT, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP VAULT, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  ICAP@UW, LLC
  PO BOX 53232
  BELLEVUE, WA    98015

  SENZA KENMORE, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  UW 17TH AVE,LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  VAULT HOLDING 1, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  VAULT HOLDING, LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  VH 1121 14TH ST LLC
  PO BOX 53232
  BELLEVUE, WA 98015




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 37 of 314
  VH 2ND STREET OFFICE LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  VH PIONEER VILLAGE LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  VH SENIOR CARE LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  VH WILLOWS TOWNHOMES LLC
  PO BOX 53232
  BELLEVUE, WA 98015

  BUCHALTER
  ATTN: B.D. BOLLINGER, J. GURULE
  1000 WILSHIRE BLVD, SUITE 1500
  LOS ANGELES, CA 90017-1730

  BUCHALTER
  ATTN: KHALED TARAZI
  15279 N SCOTTSDALE ROAD, SUITE 400
  SCOTTSDALE, AZ 85254-2659

  134TH STREET LOFTS
  ADDRESS UNAVAIL AT TIME OF FILING

  220 FIRST AVENUE, LLC
  PO BOX 3907
  BELLEVUE, WA 98009

  4740, LTD
  4740 CHAPEL HILL RD
  DALLAS, TX 75214

  5K FOR THE FALLEN
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 38 of 314
  5K PARTNERS LTD.
  319 E HICKORY RIDGE CIR
  ARGYLE, TX 76226

  725 BROADWAY LLC
  3535 FACTORIA BLVD SE #500
  BELLEVUE, WA 98006

  A&S DIIESO NOMINEE TRUST U/A 10/9/
  23 DESMOND AVE.
  WATERTOWN, MA 02472

  A3 ACOUSTICS, LLP
  241 S LANDER ST. SUITE 200
  SEATTLE, WA 98134

  AAR TESTING LABORATORY, INC
  7126 180TH AVE NE, SUITE C101
  REDMOND, WA 98052

  AARON AND CHRISTY GURLEY
  721 HILDEBRAND CIRCLE
  FOLSOM, CA 95630

  AARON SARNA AND TALYA HOUSMAN
  322 HARVARD ST.
  CAMBRIDGE, MA 02139

  AARON VAUGHAN
  ADDRESS UNAVAIL AT TIME OF FILING

  ABLE SPIFFY BIFFY
  33410 REDMOND-FALL CITY RD SE
  FALL CITY, WA 98024

  ABM
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 39 of 314
  ABOSSEIN ENGINEERING CORP
  18465 NORTHEAST 68TH STREET
  REDMOND, WA 98052

  ABOVE & BEYOND FENCING
  5931 238TH STREET SOUTHEAST
  STE 1C
  WOODINVILLE, WA 98072

  ABRAHAM AND MARIAMMA PETER
  47 BROAD AVENUE
  PARAMUS, NJ 07652

  ACCOUNT TEST
  ADDRESS UNAVAIL AT TIME OF FILING

  ACCOUNTEMPS A ROBERT HALF COMPANY
  PO BOX 743295
  LOS ANGELES, CA 90074-3295

  ACKERSON FAMILY LIVING TRUST
  4685 AMANDA CT
  PLANO, TX 75024

  ACME (SAMPLE)
  10 MAIN RD
  NEW YORK, NY 31349

  ACRE CAPITAL
  ADDRESS UNAVAIL AT TIME OF FILING

  ACY - DEUCY CRANE SERVICE
  3424 SOUTH 256TH STREET
  KENT, WA 98032

  ADAM AND ALYSON TROUTMAN
  2315 ASH LANE
  NORTHBROOK, IL 60062




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 40 of 314
  ADAM B AND SANDRA K YOUNKER
  1112 THOMPSON AVE
  LEHIGH ACRES, FL 33972

  ADAM B YOUNKER
  1112 THOMPSON AVE
  LEHIGH ACRES, FL 33972

  ADISA
  10401 NORTH MERIDIAN STREET
  SUITE 202
  INDIANAPOLIS, IN 46290

  ADP, INC
  255 S KING ST
  SEATTLE, WA 98134

  ADVANCED STRATEGIES, INC.
  362 NORTH MAIN STREET
  HURON, OH 44839

  ADVANTA
  PO BOX 660676
  DALLAS, TX 75266-0676

  ADVANTAGE UTILITY CONSULTING,LLC
  PO BOX 748
  MONROE, WA 98272

  ADVISORS ON CALL LLC
  23276 SOUTH POINTE DRIVE, STE 209
  LAGUNA HILLS, CA 92653

  ADVISORY GROUP EQUITY SERVICE, LTD
  444 WASHINGTON STREET, SUITE 407
  WODBURN, MA 01801

  ADVISORY GROUP EQUITY SERVICES
  10-12 PHOENIX ROW
  HAVERHILL, MA 01832




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 41 of 314
  AFFIRMA CONSULTING, LLC
  3380 146TH PL, SE, STE 200
  BELLEVUE, WA 98007

  AFH SENIOR CARE C CORP
  405 SW 41ST ST SUITE #407
  RENTON, WA 98057

  AGGREKO INC
  ADDRESS UNAVAIL AT TIME OF FILING

  AGORAPULSE
  132 RUE DE RIVOLI
  PARIS, 75001
  FRANCE

  AGV CONSTRUCTION LLC
  31920 162ND PLACE SOUTHEAST
  AUBURN, WA 98092

  AHLERS CRESSMAN & SLEIGHT PLLC
  999 3RD AVENUE, SUITE 3800
  SEATTLE, WA 98104

  AHMAD S MAZUMDER
  ADDRESS UNAVAIL AT TIME OF FILING

  AI INSIGHT
  659 HIGH ST.
  WORTHINGTON, OH 43085

  AIDA ILIYA ESTATE
  441 LIBERTY ST
  SAN FRANCISCO, CA 94114

  AIRLINK HOLDING LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  AIRLINK MARKETS LLC
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 42 of 314
  AJMP ANESTHESIA SERVICES RETIREMEN
  CARRION COURT ST. #6 APT 704,
  COND CARRION COURT PLAZA
  SAN JUAN, PR 00911

  ALAN C PURSLEY & KATHY L PURSLEY
  702 DURHAM COURT
  SAN ANGELO, TX 96073

  ALAN DEMAR
  612 STANFORD LANE
  BUFFALO GROVE, IL 60089

  ALAN GORSUCH
  743 BROADWAY
  TACOMA, WA 98402

  ALAN J ROSS
  15865 BABCOCK STREET
  SAN DIEGO, CA 92127

  ALAN SETH RUDOLPH
  4539 ROCKY MOUNTAIN RD
  LOVELAND, CO 80538

  ALAN SULLIVAN
  767 MARRON WAY
  GARDNERVILLE, NV 89460

  ALASKA AIRLINES INC
  PO BOX 68900
  SEATTLE, WA 98168

  ALBERT SEWELL
  96 SATINWOOD LANE
  PALM BEACH GARDENS, FL 33410

  ALBERT YALE & MARILYN YALE
  PO BOX 4421 DOWLING PARK DRIVE
  DOWLING PARK, FL 32064




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 43 of 314
  ALCHEMY REAL ESTATE
  88 EAST HAMLIN STREET
  SEATTLE, WA 98102

  ALDRICH WEALTH LP
  5946 PRIESTLY DR # 200
  CARLSBAD, CA 92008

  ALENE BERG
  4810 E STATE RD 64
  SAINT ANTHONY, IN 47575

  ALENE T BERG
  4810 E STATE RD 64
  SAINT ANTHONY, IN 47575

  ALERA MANAGEMENT GROUP
  ATTN: BEN WILTGEN
  5800 SW MEADOWS RD , #230
  LAKE OSWEGO, OR 97035

  ALFA ELECTRIC INC
  PO BOX 88466
  SEATTLE, WA 98138

  ALFONSE LEONARDIS
  34 MINE HILL ROAD
  HACKETTSTOWN, NJ 07840

  ALICE CHANG
  1201 N WILLET CIRCLE
  ARAHEIM, CA 92807

  ALICIA J THOMAS
  607 COLLEGE AVENUE
  KENNETT, MO 63857

  ALISA B BISHOP
  5482 S COOLIDGE COURT
  AURORA, CO 80016




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 44 of 314
  ALL DRYWALL SERVICES LLC
  17607 32ND AVENUE EAST
  TACOMA, WA 98446

  ALLAN AND JANISE KLAIMAN
  1602 HOLTS GROVE CIRCLE
  WINTER PARK, FL 32789

  ALLAN P KLAIMAN
  1602 HOLTS GROVE CIRCLE
  WINTER PARK, FL 32789

  ALLEN D ANDERSON
  8372 SE ENCHANTED WAY SPACE #266
  TURNER, OR 97392

  ALLEN ROBERT FINFROCK 2011 TRUST
  1288 ALABAMA DR
  WINTER PARK, FL 32789

  ALLIANCE 2020, INC.
  PO BOX 4248
  RENTON, WA 98057

  ALLIANT CREDIT UNION
  PO BOX 1098
  DES PLAINES, IL 60017-1098

  ALLIED NATIONAL
  PO BOX 29189
  SHAWNEE MISSION, KS 66201

  ALLISON SANTOS
  5 WEBSTER STREET
  LINCOLN, RI 02865

  ALLWAYS DRYWALL & REPAIR LLC
  PO BOX 1197
  EATONVILLE, WA 98328




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 45 of 314
  ALMIGHTY TECH INC
  1317 CYPRESS ST.
  VANCOUVER, BC V6J 3L1
  CANADA

  ALPHA 1 PHOTO + STUDIO
  14919 NE 20TH ST
  BELLEVUE, WA 98007

  ALPHA SOLUTIONS
  5033 227TH AVE SE
  ISSAQUAH, WA 98029

  ALPHONSE JOHN BALTES LL
  PEKING UNIV SHENZHEN GRAD SCHOOL
  BLDG 2, XILI UNIVERSITY TOWN
  SHENZHEN, GUANGDONG 518005 CHINA

  ALTIUS DEVELOPMENT, INC.
  PO BOX 3907
  BELLEVUE, WA 98009

  ALTIUS LEGAL, PLLC
  3535 FACTORIA BLVD SE
  SUITE 500
  BELLEVUE, WA 98006

  AM TRUST NORTH AMERICA, INC.
  PO BOX 6939
  CLEVELAND, OH 44101-1939

  AMANDA SEARLE
  ADDRESS UNAVAIL AT TIME OF FILING

  AMARILLO SKY
  1848 72ND AVE SE
  MERCER ISLAND, WA 98040

  AMAZON.COM, INC.
  410 TERRY AVE N
  SEATTLE, WA 98109-5210




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 46 of 314
  AMENDMENT AND RESTATEMENT OF THE W
  DTD. 6/30/1997
  233 KAVENISH ROAD
  RANCHO MIRAGE, CA 92270

  AMERICAN CAPITAL SECURITIES
  13769 MYATT AVE.
  FRISCO, TX 75035

  AMERICAN CUSTOM
  19405 68TH DRIVE NORTHEAST
  UNIT B
  ARLINGTON, WA 98223

  AMERICAN LIGHTING CORP
  ADDRESS UNAVAIL AT TIME OF FILING

  AMERICAN METAL SPECIALTIES
  ADDRESS UNAVAIL AT TIME OF FILING

  AML DEVELOPMENT LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  AMY HUDSON
  3402 GARDEN SHADOW LANE
  HOUSTON, TX 77018

  AMY WALTON PHOTOGRAPHY
  3739 138TH PLACE SOUTHEAST
  BELLEVUE, WA 98006

  ANDREA ENGELMAN
  8508 N 86TH STREET
  SCOTTSDALE, AZ 85258

  ANDREA MAKS
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 47 of 314
  ANDREA PINCUS AND JONATHAN PINCUS
  303 VILLAGE LANE
  ROCHESTER, NY 14610

  ANDREW AND MICHAEL OLSON
  2132 WESTLAKE AVENUE NORTH #110
  SEATTLE, WA 98109

  ANDREW COSTER
  708 GALLEGOS CIRCLE
  ERIE, CO 80516

  ANDREW DEVOLDER
  3865 EAST DUBOIS AVE.
  GILBERT, AZ 85297

  ANDREW DINKELMEYER
  6 ASTORIA COURT
  ALISO VIEJO, CA 92656

  ANDREW RING
  ADDRESS UNAVAIL AT TIME OF FILING

  ANDREW T MURDOCH
  4600 SW KELLY AVE
  PORTLAND, OR 97239

  ANDREW WILLETT
  8570 82ND AVE SE
  MERCER ISLAND, WA 98040

  ANDREW WILLINGER
  125 WESTCHESTER RD
  NEWTON, MA 02458

  ANDREWS FIXTURE CO
  ADDRESS UNAVAIL AT TIME OF FILING

  ANDY PING
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 48 of 314
  ANGEL G BERRÍOS AND IRIS A ORTIZ
  PO BOX 2725
  CIDRA, PR 00739-9608

  ANGEL G BERRIOS CASTRODAD
  RR 1 BOX 2725
  CIDRA, PR 00739-9871

  ANGEL OAK MORTGAGE SOLUTIONS LLC
  2493 NE LAUREL CREST LN
  ISSAQUAH, WA 98029

  ANGELA JANE ARENDSEE
  408 WATERTON CT
  BRENTWOOD, TN 37027

  ANGELA SCHRIMPL REVOCABLE LIVING T
  62 HUNTINGTON CT
  BURR RIDGE, IL 60527

  ANGELA WARM
  1228 HOLLOW PONE DRIVE
  OVIEDO, FL 32765

  ANIL G PEIRIS
  9838 HARLEY AVE
  DOWNEY, CA 90240

  ANITA C HENRY
  1197 LAKE SHORE DRIVE
  JEFFERSON, GA 30549

  ANITA DELLE HERRING
  PO BOX 214
  MILES, TX 76861

  ANJIE LI
  12-101, HEJIAYUAN DINGYUAN
  XIHU DISTRICT
  HANGZHOU, ZHEJIANG, 242332 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 49 of 314
  ANJU ANAND AND AMRAT ANAND
  4124 CASUEWAY VISTA DR
  TAMPA, FL 33615

  ANN MARIE DEIASI
  4054 MONTEVERDE WAY
  SAN ANTONIO, TX 78261

  ANN SULLIVAN
  1987 GARY COURT UNIT A
  SCHAUMBURG, IL 60193

  ANNETTE GOETZ
  191 BAY LAUREL LANE
  HENDERSONVILLE, NC 28791

  ANTHONY CICCOLO
  41 FIELDSTONE RD
  SUDBURN, MA 01776

  ANTHONY L G , PLLC
  625 N FLAGLER DRIVE, STE 600
  WEST PALM BEACH, FL 33401

  ANTHONY THOMPSON
  5655 S TROPICAL TRAIL
  MERRIT ISLAND, FL 32952

  ANTHONY WALLACE
  12087 HIDDEN LINKS DRIVE
  FORT MYERS, FL 33913

  ANTONIA D CHOWDHARI AND SHAUKAT H
  TENANTS BY ENTIRETY
  5181 NEAL DRIVE
  TAMPA, FL 33617

  ANUPAM ASHOK KUMAR GUPTA & KOMAL S
  TTEES OF ANUPAM ASHOK KUMAR GUPTA
  480 BRIDLE CT
  SAN RAMON, CA 94582




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 50 of 314
  APEX ENGINEERING LLC
  2601 S 35TH ST #200
  TACOMA, WA 98409

  APEX SPECIALTY COATINGS, INC.
  979 INDUSTRY DR
  SEATTLE, WA 98188

  APEXICO, LLC
  625 DAVID ROAD
  SANDUSKY, MI 48471

  APPLIANCE SERVICE STATION INC
  12546 AURORA AVE N
  SEATTLE, WA 98133-8036

  APPLIED PROFESSIONAL SERVICES INC.
  43530 SE NORTH BEND WAY
  NORTH BEND, WA 98045

  ARBOR OPTIONS, LLC
  21508 52ND PLACE WEST
  MOUNTLAKE TERRACE, WA 98043

  ARIANA HOLDINGS, LLC
  PO BOX 1847
  FRIDAY HARBOR, WA 98250

  ARISING PROPERTIES, LLC
  103 BROAD VISTA COURT
  GEORGETOWN, TX 78628

  ARIZONA CORPORATION COMISION, SECU
  1300 WEST WASHINGTON
  3RD FLOOR
  PHOENIX, AZ 85007

  ARLAN B AND SUEANN SHERRILL
  10114 BIRDIE CT
  ROWLETT, TX 75089




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 51 of 314
  ARLAN B SHERRILL
  10114 BIRDIE CT
  ROWLETT, TX 75089

  ARNDT COMPANY
  ADDRESS UNAVAIL AT TIME OF FILING

  ARNOLD CHO
  14581 MEDITERRANEAN DR
  FRISCO, TX 78035

  ARONT MASONRY
  ADDRESS UNAVAIL AT TIME OF FILING

  ARPAD FEJOS & MADELEINE FEJOS
  69 BROADFIELD ROAD
  HAMDEN, CT 06517

  ARPAD FEJOS
  69 BORADFIELD ROAD
  HAMDEN, CT 06517

  ARTHUR J GALLAGHER
  ADDRESS UNAVAIL AT TIME OF FILING

  ARTHUR NANNEY
  721 EVELAKE CT
  LEWISVILLE, TX 75056

  ARTHUR O KAPLAN
  24 SAGEWOOD DRIVE
  PELHAM, NH 03076

  ARTHUR PROTAS
  969 GRAPEVINE LN
  PRESCOTT, AZ 86305

  ARTURO BENAVENT
  1490 S 22ND STREET
  EL CENTRO, CA 92243




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 52 of 314
  ASAP QUALITY REPAIR, INC
  19216 SE 328TH PLACE
  KENT, WA 98042

  ASBESTO-TEST, INC
  1429 AVENUE D #187
  SNOHOMISH, WA 98290

  ASCENT CAPITAL
  500 108TH AVENUE NORTHEAST
  STE 2000
  BELLEVUE, WA 98004

  ASHBAUGH BEAL, LLP
  701 5TH AVE.
  SUITE 4400
  SEATTLE, WA 98104

  ASHLAND INVESTMENTS
  ADDRESS UNAVAIL AT TIME OF FILING

  ASI CAPITAL INVESTMENTS, LLC
  2150 S 1300 E , SUITE 360
  SALT LAKE CITY, UT 84106

  ASM AFFILIATES
  2034 CORTE DEL NOGAL
  CARLSBAD, CA 92011

  ASM AFFILIATES
  2034 CORTE DEL NOGAL
  CARLSBAD, CA 92011

  ASPECT CONSULTING
  350 MADISON AVENUE NORTH
  BAINBRIDGE ISLAND, WA 98110

  ASPHALT PATCH SYSTEMS, INC.
  8812 CANYON ROAD EAST
  PUYALLUP, WA 98371




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 53 of 314
  ASSET FINANCIAL GROUP (AFG)
  ADDRESS UNAVAIL AT TIME OF FILING

  ASSOCIATED EARTH SCIENCES
  911 5TH AVENUE
  KIRKLAND, WA 98033

  ASSURE FUND MANAGEMENT, LLC
  2150 S 1300 E , SUITE 360
  SALT LAKE CITY, UT 84106

  ASSURE HOLDINGS, LLC
  2150 S 1300 E , SUITE 360
  SALT LAKE CITY, UT 84106

  ASYA ROSENFELD
  67 BEACONWOOD RD
  NEWTON, MA 02461

  ATLAS GEOSCIENCES NW, LLC
  PO BOX 1009
  SUMNER, WA 98390

  ATTORNEY`S TITLE OF WASHINGTON
  3906 S 74TH STREET
  TACOMA, WA 98409

  ATWATER ONE, INCORPORATED
  17006 22ND STREET NORTHEAST
  SNOHOMISH, WA 98290

  AUSDAL FINANCIAL PARTNERS
  5187 UTICA RIDGE ROAD
  DAVENPORT, IA 52807

  AUSTIN M CAVELLI
  1750 SOUTH EL CAMINO REAL #103
  ENCINITAS, CA 92024




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 54 of 314
  AUTOMATED ACCOUNTS INC
  430 W SHARP AVE
  SPOKANE, WA 99201

  AUTOMATIC WILBERT VAULT CO
  ADDRESS UNAVAIL AT TIME OF FILING

  AVANTAX WEALTH MANAGEMENT
  ADDRESS UNAVAIL AT TIME OF FILING

  AVATAR FINANCIAL GROUP
  1200 WESTLAKE AVE NORTH
  SUITE 1006
  SEATTLE, WA 98109

  AVENUE5 RESIDENTIAL LLC
  901 5TH AVENUE, SUITE 3000
  SEATTLE, WA 98164

  AVI SURIEL
  1826 BAGLEY AVE.
  LOS ANGELES, CA 90035

  AXIS SURVEY & MAPPING, INC.
  15241 NORTHEAST 90TH STREET
  REDMOND, WA 98052

  AXOS CLEARING
  1200 LANDMARK CENTER, SUITE 800
  OMAHA, NE 68102

  AZURE BLUE SERVICE LIMITED
  TRINITY CHAMBERS, PO BOX 4301
  ROAD TOWN
  TORTOLA, BRITISH VIRGIN, VG1 110

  B & R PLUMBING INC
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 55 of 314
  B E E CONSULTING, LLC
  170 W DAYTON ST. SUITE 206
  EDMONDS, WA 98020

  B E WINTERS CO INC.
  CHADWICK & WINTERS LAND SURVEYING
  1422 N W 85TH ST.
  SEATTLE, WA 98117

  B EST PARTNERS, LTD.
  600 WILKINSON ST., SUITE 300
  ORLANDO, FL 32803

  B R AND E LAMORRIS THOMPSON
  6741 WOLTERS RD
  SCHUKENBURG, TX 78956

  B2
  ADDRESS UNAVAIL AT TIME OF FILING

  BABAROVICH BUILDERS, LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  BAKER & HOSTETLER LLP
  PO BOX 70189
  CLEVELAND, OH 44190

  BALANCE ARCHITECTS PLLC
  22927 INDIANOLA ROAD NE
  POULSBO, WA 98370

  BALLARD TREE SERVICE INC
  14419 GREENWOOD AVE N
  SUITE A - PMB 330
  SEATTLE, WA 98133

  BAMBOOHR LLC
  333 S 520 W
  LINDON, UT 84042-1911




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 56 of 314
  BANK OF AMERICA BUSINESS CARD (DO
  PO BOX 15796
  WILMINGTON, DE 19886

  BANKDIRECT CAPITAL FINANCE LLC
  PO BOX 660448
  DALLAS, TX 75266-044

  BANNER BANKS
  ADDRESS UNAVAIL AT TIME OF FILING

  BAOGUO LONG
  902 MILL CREEK N, UNIT 902
  ROSLYN, NY 11576

  BARBARA ANN VAN DRIEL
  PO BOX 953
  BANDERA, TX 78003

  BARBARA B WEYMOUTH
  297 OAK HILLS ROAD
  BAR HARBOR, MA 04609

  BARBARA BERRY
  8250 N 61ST PL.
  PARADISE VALLEY, AZ 85253

  BARBARA ENKE
  1226 VISTA SOL
  PALM SPRINGS, CA 92262

  BARBARA F AND MICHAEL J HOSKINS
  366 ENGLEWOOD DR
  KERRVILLE, TX 78028

  BARBARA LEE BUCEK MOELLENBERNDT EX
  U/A DATED 02/24/2012
  101 N UPTON AVE
  SCHULENBURG, TX 78956




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 57 of 314
  BARBARA M WILEY
  4014 102ND AVE E
  EDGEWOOD, WA 98371

  BARBARA R DEGNAN
  4157 COUNTY RD 328
  PROCTOR, TX 76468

  BARBARA SEITZINGER
  2935 STANBRIDGE CT
  BETHLEHEM, PA 18020

  BARBARA SPITZOCK
  14495 W WINDSOR AVE.
  GOODYEAR, AZ 85395

  BARCELO HOMES INC.
  PO BOX 1639
  MERCER ISLAND, WA 98040

  BARCELO HOMES, INC
  PO BOX 1639
  MERCER ISLAND, WA 98040

  BARGHAUSEN CONSULTING ENGINEERS IN
  18215 72ND AVE S
  KENT, WA 98032-1006

  BARRY ABZUG
  1949 LEONARD ROAD
  FALLS CHURCH, VA 20043

  BARRY M ABZUG REVOCABLE TRUST
  1949 LEONARD ROAD FALLS CHURCH
  FALLS CHURCH, VA 22043

  BARRY SARNACKI
  6000 ELDORADO PARKWAY #914
  FRISCO, TX 75033




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 58 of 314
  BARRY SCHNEIDER
  6616 RIVER BEND RD
  FORTH WORTH, TX 76132

  BASH CONSTRUCTION LLC
  4624 29TH AVENUE NORTHEAST
  TACOMA, WA 98422

  BBG
  600 UNIVERSITY ST. SUITE 1617
  SEATTLE, WA 98101

  BCRA
  2106 PACIFIC AVENUE, SUITE 300
  TACOMA, WA 98402

  BDI INSTALLED BUILDING PRODUCTS
  PO BOX 11388
  BAKERSFIELD, CA 93389

  BDR CAPITAL PARTNERS
  ADDRESS UNAVAIL AT TIME OF FILING

  BDR ISSAQUAH 15 LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  BEACHWORKS LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  BECKER HARDWOOD
  ADDRESS UNAVAIL AT TIME OF FILING

  BED BATH AND BEYOND
  650 LIBERTY AVE
  UNION, NJ 07083-8107

  BEIJING DHH LAW FIRM
  16 F S. TWR SHANGHAI STK EXCH BLDG
  528 S PUDONG RD
  SHANGHAI,   CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 59 of 314
  BELVIDERE
  ADDRESS UNAVAIL AT TIME OF FILING

  BENCHMARK RECYCLING, INC.
  3024 SOUTH MULLEN STREET SUITE E
  TACOMA, WA 98409

  BENJAMIN BROUWER
  16538 E WESTWIND CT
  FOUNTAIN HILLS, AZ 85268

  BENJAMIN CANNON
  4518 VISTA GRANDE
  ABILENE, TX 79606

  BENJAMIN SCHICK
  116TH 7TH AVE NE
  ST. PETERSBURG, FL 33701

  BENTLEY SECURITIES CORP
  250 PARK AVENUE, SUITE 1101
  NEW YORK, NY 10177

  BENTON-FRANKLIN TITLE COMPANY
  510 N COLORADO ST. STE B
  KENNEWICK, WA 99336

  BERG EQUIPMENT & SCAFFOLDING CO IN
  2130 EAST D ST
  TACOMA, WA 98421

  BERING FINANCIAL
  546 SILICON DRIVE #103
  SOUTHLAKE, TX 76092

  BERNTSON PORTER & COMPANY, PLLC
  155 108TH AVE NE STE 510
  BELLEVUE, WA 98004




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 60 of 314
  BERT GREENWALT
  913 FAIRWAY CIRCLE
  JONESBORO, AR 72401

  BERTRAND L POIRIER
  8790 MAPLE ASH TRAIL
  LELAND, NC 28451

  BERTRAND POIRIER & DIANA POIRIER
  8790 MAPLE ASH TRAIL NE
  LELAND, NC 28451

  BETTENCOURT FAMILY REVOCABLE TRUST
  377 OCEAN BLVD #6
  HAMPTON, NH 03842

  BETTY A HESSE
  14425 SE 240TH ST.
  KENT, WA 98042

  BETTY DOYLENE PILLANS
  1420 KARLA DR
  HURST, TX 76053

  BETTY INGLE TOD
  4327 S OHIO STREET
  ST. ANTHONY, IN 47575

  BETTY YURKANIN
  11596 W SIERRA DAWN BLVD #282
  SURPRISE, AZ 85378

  BEVERLY A BUCEK EXEMPT TRUST U/A D
  106 KEUPER AVE
  SCHULENBURG, TX 78956

  BEVERLY ANNE RAPP
  9805 CORNWELL DR
  HUNTINGTON BEACH, CA 92646




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 61 of 314
  BEVERLY MOSS
  2705 BRITTANY LANE
  GRAPEVINE, TX 76051

  BEYLER CONSULTING, LLC
  5920 100TH STREET SOUTHWEST
  LAKEWOOD, WA 98499

  BIG MOUNTAIN ENTERPRISES LLC
  PO BOX 1001
  ENUMCLAW, WA 98022

  BIG ROCK CAPITAL PARTNERS, LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  BILL C NG
  PO BOX #14857
  SCOTTSDALE, AZ 85267

  BILL WALNER
  ADDRESS UNAVAIL AT TIME OF FILING

  BILLIE POIROT
  PO BOX 217
  FORESTBURG, TX 76239

  BINA AND RENATO PENAFLOR
  1109 MACKIE DR
  CARROLLTON, TX 75007

  BINGBING MENG
  BEIFUMINGYUAN, HUANAN SQ, BLDNG 7
  UNIT 1, ROOM 301
  DALIAN, LIAONING, 116000 CHINA

  BINGQING GU
  ROOM 2102, BUILDING 2, NO. 1378,
  ZHONGHUA ROAD,, HUANGPU DISTRICT
  SHANGHAI, 200010 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 62 of 314
  BISMARK MORTGAGE
  ADDRESS UNAVAIL AT TIME OF FILING

  BITSURE AGENCY LLC
  1856 S ELMHURST RD
  MOUNT PROSPECT, IL 60056

  BKS HOLDINGS
  4500 WESTRIDGE AVE, APT #18
  FORT WORTH, TX 76116

  BLACK SHEEP DEVELOPMENT COMPANY
  810 N 36TH ST.
  SEATTLE, WA 98103

  BLACK TAP
  136 W 55TH ST.
  NEW YORK, NY 10019

  BLOOMINGWELL REAL ESTATE
  ADDRESS UNAVAIL AT TIME OF FILING

  BLUELINE
  25 CENTRAL WAY SUITE 400
  KIRKLAND, WA 98033

  BOBBIE DAWN LANDER ESTATE
  4516 LOVERS LANE SUITE 266
  DALLAS, TX 75225

  BOBENHOUSE INDUSTRIES
  952 N WOOD
  CHICAGO, IL 60622

  BOGY`S CONSTRUCTION & LANDSCRAPING
  ADDRESS UNAVAIL AT TIME OF FILING
  ELLENSBURG, WA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 63 of 314
  BOLONG HUANG
  48 AIRONG RD, YONG JING WAN
  BUILDING 7, UNIT 2, #28B
  SHENZHEN, CHINA

  BONNIE J ZULAWINSKI
  8135 W BERWYN AVE.
  CHICAGO, IL 60656

  BOULEVARD GROUP
  ADDRESS UNAVAIL AT TIME OF FILING

  BOWMAN CREEK CONTRACTING, LLC
  PO BOX 2234
  TACOMA, WA 98401

  BOYD AND MICHELE TAYLOR
  3410 WILLIAMS DR, SUITE 420.214
  MONTROSE, CO 81401

  BOYER ELECTRIC
  ADDRESS UNAVAIL AT TIME OF FILING

  BRADLEY DESIGN GROUP, INC.
  4330 N LEXINGTON STREET
  TACOMA, WA 98407

  BRADLEY LAWRENCE PRIVATE CAPITAL
  ADDRESS UNAVAIL AT TIME OF FILING

  BRADLEY VAN VECHTEN
  ADDRESS UNAVAIL AT TIME OF FILING

  BRADLEY WEALTH MANAGEMENT
  4422 N 75TH STREET, SUITE 8001
  SCOTTSDALE, AZ 85251

  BRALEY-GRAY & ASSOCIATES INC
  2818 E 2ND ST
  VANCOUVER, WA 98661




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 64 of 314
  BRALEY-GRAY
  ADDRESS UNAVAIL AT TIME OF FILING

  BRANDON AND ANDREA WOLFE
  567 PEBBLE BND
  NEW BRAUNFELS, TX 78130

  BRANDON N TZOU
  22704 SE 51ST ST
  ISSAQUAH, WA 98029

  BRENDA GARD
  125 BRIARCLIFF DR
  MONETA, VA 24121

  BRENDA L REID
  6004 PEDERNALES RIDGE
  NORTH RICHLAND HILLS, TX 76180

  BRENT A & KIMBRA L BISHOP
  PO BOX 232
  MEGORGEL, TX 76370

  BRENT B AND KARLA M BERRY
  1195 COUNTY RD 3545
  HONEY GROVE, TX 75446

  BRETT JOHNSON
  ADDRESS UNAVAIL AT TIME OF FILING

  BRIAN AND SHANNON LIEBROCK
  2062 EAST WESTCHESTER DR
  CHANDLER, AZ 85249

  BRIAN GOLDENBERG
  6706 SHELL FLOWER LN
  DALLAS, TX 75252




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 65 of 314
  BRIAN GORSKI
  30040 12TH AVE SW
  FEDERAL WAY, WA 98023

  BRIAN J SPITZOCK
  14494 WEST WINDSOR AVENUE
  GOODYEAR, AZ 85395

  BRIAN JEWELL
  8939 WINDING PRAIRIE TRAIL
  BELVIDERE, IL 61008

  BRIAN KIRSCHNER REVOCABLE TRUST AG
  1246 WOOD LILY CIRCLE
  LELAND, NC 28451

  BRIAN P NICKELS
  1412 TUCKER STATION ROAD APT #322
  LOUISVILLE, KY 40299

  BRIAN R AND KATHERINE B MALLORY
  3050 STANFIELD AVE
  ORLANDO, FL 32814

  BRIAN ROGER
  4015 FOREST BEACH BEACH DRIVE NW
  GIG HARBOR, WA 98335

  BRIDGE LENDING ASSOCIATES, LLC
  5150 VILLAGE PARK DR SE
  SUITE 107
  BELLEVUE, WA 98006

  BRINK CREATIVE LTD - PAY BY WIRE!
  20B REEF ST
  ISLAND BAY, WELLINGTON, 6023
  NEW ZEALAND

  BRONALYN REPPERT
  2231 DAWES PLACE
  ST. LOUIS, MO 63114




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 66 of 314
  BRONNER HANDWERGER FAMILY TRUST DA
  14326 TWISTED BRANCH RD
  POWAY, CA 92064

  BRONNER HANDWERGER
  14326 TWISTED BRANCH RD
  POWAY, CA 92064

  BRONNER HANDWERGER, N D APC
  14326 TWISTED BRANCH RD
  POWAY, CA 32131

  BRUCE BONADIES
  209 BOX MOUNTAIN DR
  VERNON, CT 06066

  BRUCE S BURCH TOD
  517 BUCKINGHAM RD
  MUNDELEIN, IL 60060-1406

  BRUCE S BURCH
  517 BUCKINGHAM RD
  MUNDELEIN, IL 60060-1406

  BRUCE WORRALL
  ADDRESS UNAVAIL AT TIME OF FILING

  BRUNETTE MASONRY
  8305 135TH ST. E
  PUYALLUP, WA 98373

  BRYAN AND COLLEEN BONADIES
  134 JONATHAN TRUMBULL HWY
  COLUMBIA, CT 06237

  BRYAN AND GEORGIA D TROUTMAN
  PO BOX 1292
  BOCA GRANDE, FL 33921




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 67 of 314
  BRYAN BROWN
  PO BOX 2054
  TACOMA, WA 98401

  BRYANT K ALLEMAN & JANICE N ALLEMA
  123 BAY VIEW ST.
  SEQUIM, WA 98382

  BSP HOLDING LLC
  COND PARK TERRACE
  1501 AVE. ASHFORD, APT. 11B
  SAN JUAN, PR 00911

  BU 1121 14TH AVE
  ADDRESS UNAVAIL AT TIME OF FILING

  BU 2412 10TH
  ADDRESS UNAVAIL AT TIME OF FILING

  BU 6647 WINDERMERE
  ADDRESS UNAVAIL AT TIME OF FILING

  BU 7902 GREENLAKE, LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  BUILD URBAN
  999 N NORTHLAKE WAY, SUITE 215
  SEATTLE, WA 98103

  BUILD WITH STYLE
  ADDRESS UNAVAIL AT TIME OF FILING

  BUILDER SALES GROUP, LLC
  11820 NORTHUP WAY, #E-130
  BELLEVUE, WA 98005

  BUILDERS CAPITAL
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 68 of 314
  BUMGARDNER ARCHITECTS
  2111 THIRD AVENUE
  SEATTLE, WA 98121

  BUSH KORNFELD LLP
  601 UNION STREET, SUITE 5000
  SEATTLE, WA 98101

  BUSH, ROED & HITCHINGS, INC
  15400 SE 30TH PLACE, SUITE 100
  BELLEVUE, WA 98007

  BUSINESS CARD (BANK OF AMERICA)
  PO BOX 15796
  WILMINGTON, DE 19886

  BUSINESS IMPACT GROUP LLC
  2411 GALPIN COURT SUITE 120
  CHANHASSEN, MN 55317

  BUTTONWOOD INVESTMENT SERVICES, LL
  7901 SOUTHPARK PLAZA, STE 212
  LITTLETON, CO 80120

  C AND K JOINT TRUST
  412 8TH ST.
  LAKE OSWEGO, OR 97034

  C&S CONSTRUCTION NW INC
  ADDRESS UNAVAIL AT TIME OF FILING

  CAI & ASSOCIATES P C
  355 118TH AVE SE
  BELLEVUE, WA 98005

  CAIFENG YU
  12A, BLOCK 1, DI TING XUAN, URBAN
  NO. 4003 XINZHOU ROAD, FUTIAN DST
  SHENZHEN, GUANGDONG 518048 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 69 of 314
  CAIJUAN CHEN
  605 W WISTARIA AVE
  ARCADIA, CA 91007

  CAIRNCROSS & HEMPELMANN
  524 2ND AVENUE SUITE 500
  SEATTLE, WA 98104

  CAIXIA CHEN
  ROOM 602, BUILDING 3, LANE 2466
  JINXIU ROAD
  SHANGHAI, 201204 CHINA

  CAL CONSTRUCTION
  3730 178TH PL NE
  ARLINGTON, WA 98223

  CALHOUN LIVING TRUST DTD 2/23/2010
  2100 FALCON`S ROOST DR
  PRESCOTT, AZ 86303

  CALIBER HOMES
  ADDRESS UNAVAIL AT TIME OF FILING

  CAMBRIDGE INVESTMENT RESEARCH, INC
  6905 GREENBAY RD #202
  KENSOUHA, WI 53142

  CANON FINANCIAL SERVICES, INC.
  14904 COLLECTIONS CENTER DRIVE
  CHICAGO, IL 60693

  CANOPY WORLD INC
  ADDRESS UNAVAIL AT TIME OF FILING

  CAPITAL INSURANCE GROUP
  PO BOX 630610
  CINCINNATI, OH 45263




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 70 of 314
  CAPITAL MARKETS IQ
  427 N TATNALL ST. STE 52811
  WILMINGTON, DE 19801

  CAPITAL ONE VISA
  ADDRESS UNAVAIL AT TIME OF FILING

  CAPITOL SERVICES
  108 LAKELAND AVE
  DOVER, DE 19901

  CAPTISCAPES CURB APPEAL MAINTENANC
  4029 EAST F STREET
  TACOMA, WA 98404

  CAREY C BURNS
  13 SAWMILL RD
  ATKINSON, NH 03811

  CARL B HINTON
  2331 GIRKIN ROAD
  BOWLING GREEN, KY 42101

  CARL S GEDER
  28 CLEEK CT
  NORTH READING, MA 01864

  CARLA P LANE
  14 BROWNE ST, UNIT 3
  BROOKLINE, MA 02446

  CARLENE E WRIGHT
  7244 SHADY OAK DR
  NEWBURGH, IN 47630

  CARLOS AMIGUET
  PO BOX 270094
  SAN JUAN, PR 00928




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 71 of 314
  CARLOS ESTRADA GUTIERREZ, MD
  1 AVE PALMA REAL APT 414
  GUAYNABO, PR 00969

  CARLOS M CHIPI
  ESTANCIAS DE TORRIMAR
  6 PALMA REAL
  GUAYNABO, PR 00966

  CARMEN M COLLADO
  MANSION REAL 522 CALLE CASTILLA
  COTTO LAUREL, PR 00780

  CARMEN TORRES CRUZ
  PO BOX 309
  NARANJITO, PR 00719

  CARMONA CONST. & RALPH`S CONC PUMP
  3229 PINE ST SUITE C
  EVERETT, WA 98201

  CAROL A POOL
  23535 HATTERAS ST.
  WOODLAND HILLS, CA 91367

  CAROL B MOORE
  427 BAKER STREET
  ORLANDO, FL 32806

  CAROL DONSBACH TRUST UAD 11/13/14
  2734 SHERBROOKE LANE #C
  PALM HARBOR, FL 34684

  CAROL L MONAHAN LIVING TRUST DATED
  14601 SHERBROOK PL. UNIT 206
  FORT MYERS, FL 33912

  CAROL MARTIN
  8 GLEN OAKS DR
  PRESCOTT, AZ 86305




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 72 of 314
  CAROL POOLE
  5107 MILBURN ROAD
  ST. LOUIS, MO 63129

  CAROL REED
  8531 VICTORY RD
  LA MESA, CA 91942

  CAROL S PORTORS TRUST DATED 1/24/2
  51 FERNWOOD AVE
  BRADFORD, MA 01835

  CAROL S PORTORS
  51 FERNWOOD AVE
  BRADFORD, MA 01835

  CAROLYN A DEAN
  3925 MASSIE AVENUE
  LOUISVILLE, KY 40207

  CAROLYN ANSLEY
  1430 SADDLE CT,
  WILLOW PARK, TX 76087

  CAROLYN GOINS
  133 PRAIRE STAR RD
  ABILENE, TX 79602

  CAROLYN J BRYANT
  244 PUEBLO
  HENRIETTA, TX 76365

  CARON ARCHITECTURE LLC
  PO BOX 31578
  SEATTLE, WA 98103

  CARRADA`S LANDSCAPING & HOUSE CLEA
  7303 NORTHEAST 143RD STREET
  KIRKLAND, WA 98034




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 73 of 314
  CARY DAVID MCMANUS
  201 JOSEPH DR
  GLENN HEIGHTS, TX 75154

  CASCADE BUILDER SERVICES
  3519 FOX CT
  GIG HARBOR, WA 98335

  CASCADE BUILT
  ADDRESS UNAVAIL AT TIME OF FILING

  CASCADE CLEAN TEAM, LLC
  PO BOX 2388
  NORTH BEND, WA 98045

  CASCADE COLORS
  ADDRESS UNAVAIL AT TIME OF FILING

  CASCADE DRILLING LP
  PO BOX 844046
  LOS ANGELES, CA 90084-4046

  CASCADE MILLWORK & SUPPLY
  6534 20TH ST E SUITE 200
  FIFE, WA 98424

  CASCADE WEST TITLE
  ADDRESS UNAVAIL AT TIME OF FILING

  CASEY REVOCABLE TRUST DTD 7/30/201
  2209 CHULA VISTA DRIVE
  PLANO, TX 75023

  CASSANDRA J JOHNSON
  ADDRESS UNAVAIL AT TIME OF FILING

  CASSONDRA GRAFF SEPARATE PROPERTY
  22 HANCOCK ST. UNIT #204
  PORTLAND, ME 04101




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 74 of 314
  CASTLE SOLO 401K TRUST
  35230A SE SEQUOIA PLACE
  SNOQUALMIE, WA 98065

  CATHERINE MIKHLIN
  1846 9TH ST. W
  KIRKLAND, WA 98033

  CATHY ZIEGENFUSS
  4349 KING GEORGE DR
  NAZARETH, PA 18064

  CBRE, INC.
  1300 SW FIFTH AVE, SUITE 3500
  PORTLAND, OR 97201

  CC EDWARDS CONSTRUCTION, INC.
  PO BOX 1387
  SUMNER, WA 98390

  CCM COMMERCIAL
  13500 BEL-RED ROAD
  BELLEVUE, WA 98005

  CECI MONTILLA
  PO BOX 20868
  SAN JUAN, PR 00928

  CECIL AND JOANNE WARD
  3979 SKYLAND DR
  KINGSPORT, TN 37664

  CECIL E AND BARBARA J MILLER TRUST
  6231 N MONTE BELLA RD APT 245
  TUCSON, AZ 85704

  CELIA HOWELL-OSBORNE
  1252 REED HOLLOW RD
  GATE CITY, VA 24251




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 75 of 314
  CENTER STREET SECURITIES, INC.
  2 INTERNATIONAL PLAZA
  SUITE 301
  NASHVILLE, TN 37217

  CENTURY PACIFIC LLLP
  920 5TH AVENUE
  SEATTLE, WA 98104

  CENTURYLINK COMMUNICATIONS, LLC (L
  BUSINESS SERVICES
  PO BOX 52187
  PHOENIX, AZ 85072-2187

  CERTIFIED MAIL ENVELOPES
  320 CHARLESTON PL.
  KISSIMMEE, FL 34747

  CES NW, INC.
  310 29TH ST NE STE 101
  PUYALLUP, WA 98372

  CFGI HOLDINGS, LLC
  PO BOX 791561
  BALTIMORE, MD 21279

  CHAD AND LINDSEY VALENZUELA
  820 EAST SAN LUCAS ROAD
  PALM SPRINGS, CA 92264

  CHANDRA SINHA
  5533 E MURIEL DR
  SCOTTSDALE, AZ 85254

  CHANDRAMANI GOWDA
  5838 ELO DORADO LANE
  DUBLIN, CA 94568

  CHANGGUO TANG
  8513 BRYAN AVE
  SAINT LOUIS, MO 63117




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 76 of 314
  CHANGHAO QIAN
  ROOM 906, NO. 86, CAOBAO RD
  XUHUI DISTRICT
  SHANGHAI, 200235 CHINA

  CHARBONEAU FAMILY FOUNDATION
  43536 CANLA DR
  PAW PAW, MI 49079

  CHARLES A MCCORD AND JANET E MCCOR
  15533 NORTHEAST STAG HOLLOW ROAD
  YAMHILL, OR 97148

  CHARLES B LEMPESIS, CHTD
  1950 BELLERIVE LANE, #110
  COEUR D` ALENE, ID 83814

  CHARLES C ALLABEN
  22510 NE 114TH ST
  REDMOND, WA 98053

  CHARLES J FEBEL TRUST U/T/D 9/10/1
  12941 SOUTH OAK PARK AVENUE
  PALOS HEIGHTS, IL 60463

  CHARLES L LANZA, SR
  7292 OAK VILLA DRIVE
  GERMANTOWN, TN 38138

  CHARLES LANZA
  119 INVERNESS DR
  TROPHY CLUB, TX 76262

  CHARLES MOORE
  2014 CHURCH
  SULPHUR SPRINGS, TX 75482

  CHARLES ROSS MCKENRICK
  32 WALKER STREET
  SEEKONK, MA 02771




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 77 of 314
  CHARLES S AND BETH A HALL
  516 SYLVAN DR
  WINTER PARK, FL 32789

  CHARLES T AND SANDRA C FROST
  905 CRESTMOOR DR
  ALLEN, TX 75013

  CHARLES W AND JOYLYN M WHITAKER
  149 E COVE RD
  SARATOGA SPRINGS, UT 84045

  CHARLES W WHITAKER
  149 E COVE RD
  SARATOGA SPRINGS, UT 84045

  CHARLOTTE PARNAGIAN
  38 GLENDALE ROAD
  BOXFORD, MA 01921

  CHARWYNNE SCHNEIDER
  6616 RIVER BEND RD
  FT WORTH, TX 76132

  CHASE BANK
  ADDRESS UNAVAIL AT TIME OF FILING

  CHAUNER SECURITIES
  666 DUNDEE RD , STE 903
  NORTHBROOK, IL 60062

  CHAYA VIVIAN KRASNOW FAMILY TRUST
  3 DOVE LN
  LAKEWOOD, NJ 08701

  CHEN JIN
  RM 1701, 100#, YU SHAN RD
  SHANGHAI,
  CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 78 of 314
  CHEN XI
  6910 OLD REDMOND RD APT 122
  REDMOND, WA 98052-6829

  CHENGLING SU
  NO.14, JIAJIA VILLAGE, DAQIAO TOWN
  TIANQIAO DISTRICT
  JINAN, SHANDONG, CHINA

  CHERIE BECK
  4903 NORTHAVEN AVE.
  SAN DIEGO, CA 92110

  CHERIE S NILES
  88 ENGLISH TURN DR
  NEW ORLEANS, LA 70131

  CHERYL HENLEY
  15 PALOMA
  PACIFICA, CA 94044

  CHICAGO TITLE COMPANY OF WASHINGTO
  ATTN: MELANIE MINOR
  701 5TH AVE SUITE 2700
  SEATTLE, WA 98101

  CHICAGO TITLE INSURANCE COMPANY
  701 FIFTH AVENUE,
  SUITE 2700
  SEATTLE, WA 98104

  CHIH-CHENG WANG (GRACE SHIN)
  2F, NO, 15-1, LANE 61, LINYI ST.,
  ZHONGZHENG DISTRICT
  TAIPEI CITY, TAIWAN 100012

  CHIHPING MICHAEL LO
  4720 227TH PL SE
  SAMMAMISH, WA 98075




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 79 of 314
  CHINA OFFICE
  ADDRESS UNAVAIL AT TIME OF FILING

  CHING-AN LIU (GRACE SHIN)
  19, JALAN DAUN INAI
  9 SUNWAY SPK DAMANSARA
  KUALA LUMPUR, 52200 MALAYSIA

  CHING-PING HU (GRACE SHIN)
  3RD FLR, NO. 143, SECTION 6
  NANJING EAST ROAD,, NEIHU DST
  TAIPEI CITY, TAIWAN 114

  CHINOISE CAFE
  936 NE PARK DR
  ISSAQUAH, WA 98029

  CHINOOK ROOFING & GUTTERS
  5113 PACIFIC HIGHWAY EAST
  SUITE 8
  FIFE, WA 98424

  CHRIS BOWN
  10222 WATERS AVE S
  SEATTLE, WA 98178

  CHRIS CHRISTENSEN
  3535 FACTORIA BLVD SE, SUITE 500
  BELLEVUE, WA 98006

  CHRIS SPARKS
  ADDRESS UNAVAIL AT TIME OF FILING

  CHRISTINA A WHITE
  19 WHIPPLE ROAD
  KITTERY, ME 03904

  CHRISTINA E HITE REVOCABLE TRUST
  426 W LYMAN AVENUE
  WINTER PARK, FL 32987




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 80 of 314
  CHRISTINA O SLIGAR
  4028 102ND AVE E
  EDGEWOOD, WA 98371

  CHRISTINE TAYLOR
  11664 SPOTTED MARGAY AVENUE
  VENICE, FL 34292

  CHRISTOPHER A AND JANICE A BREIT
  24108 W 79TH TERRACE
  LENEXA, KS 66227

  CHRISTOPHER AND MEGHAN CAIN DAVIS
  3315 SADDLEWOOD CT
  NEW ALBANY, IN 47150

  CHRISTOPHER CHRISTENSEN
  2493 NE LAUREL CREST LN
  ISSAQUAH, WA 98029-7613

  CHRISTOPHER D SNELLING
  ADDRESS UNAVAIL AT TIME OF FILING

  CHRISTOPHER J MATZ
  42 COMMONS DR
  PALOS PARK, IL 60464

  CHRISTOPHER JONES ARCHITECTS
  509 OLIVE WAY, SUITE 1416
  SEATTLE, WA 98101

  CHRISTOPHER KEARNEY
  2210 EAST LYNX PLACE
  CHANDLER, AZ 85249

  CHRISTOPHER KEEN
  3202 W PAUL AVE
  TAMPA, FL 33611




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 81 of 314
  CHUNYING TIAN
  NO. 102, 1ST FLR, UNIT 2, BLDNG 11
  NO. 1999 BEICHEN AVENUE, WEIYANG
  XI`AN, SHANXI, CHINA

  CIL GROUP LTD
  FLOOR 48, NO 3, HONGQIAO RD
  SHANGHAI,
  CHINA

  CITY BANK
  ADDRESS UNAVAIL AT TIME OF FILING

  CITY OF BELLEVUE
  PO BOX 90012
  BELLEVUE, WA 98009-9012

  CITY OF BREMERTON
  345 6TH STREET, SUITE 100
  BREMERTON, WA 98337

  CITY OF BUCKLEY
  ADDRESS UNAVAIL AT TIME OF FILING

  CITY OF CAMAS
  COMMUNITY DEV DEPT OF PLANNING
  616 NE FOURTH AVE
  CAMAS, WA 98607

  CITY OF KENMORE
  18120 68TH AVE NE
  KENMORE, WA 98028

  CITY OF KIRKLAND
  PO BOX 3865
  SEATTLE, WA 98124-3865

  CITY OF NEWCASTLE
  12835 NEWCASTLE WAY
  NEWCASTLE, WA 98056-1316




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 82 of 314
  CITY OF RENTON COMMUNITY & ECONOMI
  ATTN H BAHNMILLER RENTON CTY HALL
  1055 SOUTH GRADY WAY
  RENTON, WA 98055

  CITY OF RENTON
  CITY OF RENTON CLERK`S OFFICE
  1055 S GRADY WAY
  RENTON, WA 98055

  CITY OF RENTON, TAX & LICENSE
  PO BOX 35136
  SEATTLE, WA 98124

  CITY OF RUSTON
  ADDRESS UNAVAIL AT TIME OF FILING

  CITY OF SEATTLE - SDOT
  TREASURY DEPT ACCTS RECEIVABLE
  PO BOX 94626
  SEATTLE, WA 98124

  CITY OF SEATTLE - SEATTLE LIGHT &
  PO BOX 35177
  SEATTLE, WA 98124

  CITY OF SEATTLE
  DEPT OF PLANNING AND DEVELOPMENT
  700 FIFTH AVENUE, SUITE 2000
  SEATTLE, WA 98124-4019

  CITY OF TACOMA
  747 MARKET ST. ROOM 345
  TACOMA, WA 98402-3701

  CITY TREASURER
  PW CONSTRUCTION
  PO BOX 11367
  TACOMA, WA 98411-0367




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 83 of 314
  CLARAPHI ADVISORY NETWORK
  120 VANTIS DR SUITE 585
  ALISO VIEJO, CA 92656

  CLARENCE MILLER
  309 SPRINGFIELD LANE
  WAXAHACHIE, TX 75165

  CLARK COUNTY PUBLIC WORKS
  ATTN: LIZ APOSTOLIS
  1300 FRANKLIN STREET – 4TH FLOOR
  VANCOUVER, WA 98660

  CLARK COUNTY
  PO BOX 5000
  VANCOUVER, WA 98666

  CLARK REGIONAL WASTEWATER DISTRICT
  PO BOX 8979
  VANCOUVER, WA 98668

  CLEARVIEW VENTURE GROUP
  ADDRESS UNAVAIL AT TIME OF FILING

  CLIFFORD M KARLIN
  319 PROVINCIAL DR
  MORGANVILLE, NJ 07751

  CLINTON SANNER ARASELI SANNER JT
  600 NEW HOPE ROAD
  EAST MCKINNEY, TX 75071

  CLOSET CREATIONS
  3609 168TH ST NE
  #3008
  ARLINGTON, WA 98223

  CLOSING BALANCES CUSTOMER&VENDOR A
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 84 of 314
  CMS, CORP
  ADDRESS UNAVAIL AT TIME OF FILING

  CNA SURETY CORPORATION
  PO BOX 957312
  ST. LOUIS, MP 63195

  CNP TX VENMO
  ADDRESS UNAVAIL AT TIME OF FILING

  COAKLEY DEVELOPMENT GROUP LLC
  3933 LAKE WASHINGTON BLVD NE
  STE 100
  KIRKLAND, WA 98033

  COAL CREEK UTILITY DISTRICT
  6801 132ND PLACE SOUTHEAST
  NEWCASTLE, WA 98059

  COAST COMMUNICATIONS
  349 DAMON RD NE
  OCEAN SHORES, WA 98569

  COASTAL CLOUD, LLC
  1 HAMMOCK BEACH PKWY
  PALM COAST, FL 32137

  COBALT CAPITAL, INC
  250 INTERNATIONAL PARKWAY
  SUITE 270
  LAKE MARY, FL 32746

  COBALT DEVELOPMENT, LLC
  8215 SW TUALATIN SHERWOOD RD #200
  TUALATIN, OR 97062

  COHEN FAMILY TRUST UAD 10/26/11
  11725 SPRINGSIDE ROAD
  SAN DIEGO, CA 92128




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 85 of 314
  COHO CAFE
  8976 161ST AVE NE
  REDMOND, WA 98052-7554

  COLBY WANG
  125 BRANCH
  IRVINE, CA 92618

  COLLIERS INTERNATIONAL, SEATTLE
  ADDRESS UNAVAIL AT TIME OF FILING

  COLLIERS INTERNATIONAL, SEATTLE
  ADDRESS UNAVAIL AT TIME OF FILING

  COLLIERS VALUATION & ADVISORY SERV
  700 WASHINGTON STREET,
  SUITE 608
  VANCOUVER, WA 98660

  COLONIAL LIFE & ACCIDENT INSURANCE
  1200 COLONIAL LIFE BLVD W
  COLUMBIA, SC 29210-7670

  COLORADO FEDERAL
  ADDRESS UNAVAIL AT TIME OF FILING

  COLPITTS DEVELOPMENT COMPANY, LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  COLPITTS SUNSET, LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  COLUMBIA COMMERCIAL, LLC
  PO BOX 820406
  VANCOUVER, WA 98682

  COLUMBIA PROPERTY MANAGEMENT
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 86 of 314
  COMCAST XFINITY
  ADDRESS UNAVAIL AT TIME OF FILING

  COMERCIAL BERRÍOS, INC.
  CALLE BARCELO #64
  CIDRA, PR 00739

  COMMISSIONER OF SECURITIES
  STATE OF LA OFFICE OF FIN INST
  PO BOX 94095
  BATON ROUGE, LA 70804-9095

  COMMUNITY NATIONAL BANK
  225 MAIN STREET, PO BOX 225
  SENECA, KS 66538

  COMPACTION AND RECYCLING EQUIPMENT
  12250 SE CAPPS RD
  CLACKAMAS, OR 97015

  CONCUR INC
  ADDRESS UNAVAIL AT TIME OF FILING

  CONE ARCHITECTURE, LLC
  1319 N 49TH STREET
  SEATTLE, WA 98103

  CONNOR HUDSON
  ADDRESS UNAVAIL AT TIME OF FILING

  CONSTANCE CROTHERS
  3214 186TH PL. SE
  BOTHELL, WA 98012

  CONSTRUCTION TESTING LAB, INC
  400 VALLEY AVENUE NORTHEAST
  SUITE 102
  PUYALLUP, WA 98372




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 87 of 314
  CONTEMPORARY HOME SERIVES, INC.
  2002 WEST VALLEY HWY N STE 600
  AUBURN, WA 98001

  CONTOUR ENGINEERING LLC
  PO BOX 949
  GIG HARBOR, WA 98335

  COOPERATIVA DE SEGUROS MULTIPLES
  PO BOX 363846
  SAN JUAN, PR 00936

  CORE DESIGN, INC.
  14711 NE 29TH PL #101
  BELLEVUE, WA 98007

  CORPORATE CREATIONS INTERNATIONAL
  11380 PROSPERITY FARMS ROAD
  #221 E
  PALM BEACH GARDENS, FL 33410

  COSTAR
  ATTN: ACCOUNTING DEPT. - CONTRACTS
  1331 L STREET
  NW, WA 20005

  COSTCO BUSINESS CENTER
  19105 HIGHWAY 99
  LYNNWOOD, WA 98036

  COSTCO CHECKS - HARLAND CLARKE CHE
  PO BOX 351220
  NEW BRAUNFELS, TX 78135

  COSTCO.COM
  1801 10TH AVE NW
  ISSAQUAH, WA 98027

  COUNTERBALANCE CONSULTING GROUP LL
  932 W EMERSON ST, APT C
  SEATTLE, WA 98119




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 88 of 314
  COUNTRY GREEN TURF FARM
  ADDRESS UNAVAIL AT TIME OF FILING

  COURTESY GLASS (USI)
  15530 WOODINVILLE REDMOND RD NE
  SUITE B100
  WOODINNVILLE, WA 98072

  COURTNEY BARTON
  15507 SE 176TH PLACE
  RENTON, WA 98058

  COURTNEY PATTERSON
  15 PALOMA
  PACIFICA, CA 94044

  COX FAMILY TRUST
  11827 SOUTH TUZIGOOT COURT
  PHOENIX, AZ 85044

  COZY HEATING INC.
  20221 67TH AVE NE
  ARLINGTON, WA 98223

  CPH CONSULTANTS LLC
  11321-B NE 120TH STREET
  KIRKLAND, WA 98034

  CR GUTTERS INC. (DO NOT USE)
  ADDRESS UNAVAIL AT TIME OF FILING

  CR GUTTERS, INC.
  PO BOX 1602
  SUMNER, WA 98390

  CRAIG FREEBORN
  6421 MCKINNEY RANCH PARKWAY#4012
  MCKINNEY, TX 75070




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 89 of 314
  CRAIG HERRING
  100 SEAN LN
  GLENMORE, PA 19343

  CRANE WORKS 4X4 LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  CREATIVE CIRCLE LLC
  PO BOX 74008799
  CHICAGO, IL 60674-8799

  CRESCENT GROVE ADVISORS LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  CRESTRIDGE CAPITAL
  ADDRESS UNAVAIL AT TIME OF FILING

  CROWN CFR
  ADDRESS UNAVAIL AT TIME OF FILING

  CRUTTERS
  ADDRESS UNAVAIL AT TIME OF FILING

  CRYSTAL CLEAR CLEANING SERVICES
  20228 109TH STREET SOUTHEAST
  SNOHOMISH, WA 98290

  CS REAL ESTATE DEVELOPMENT LLC
  18323 BOTHELL EVERETT HWY
  SUITE 2200
  BOTHELL, WA 98012

  CS REAL ESTATE DEVELOPMENT LLC
  ADDRESS UNAVAIL AT TIME OF FILING

  CS REAL ESTATE DEVELOPMENT
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 90 of 314
  CS2 REAL ESTATE DEVELOPMENT LLC
  18323 BOTHELL EVERETT HWY STE 220
  BOTHELL, WA 98012-5246

  CUSHMAN & WAKEFIELD OF WASHINGTON,
  VALUATION & ADVISORY
  200 SW MARKET ST, SUITE 200
  PORTLAND, OR 97201

  CUSTOM CHOICE DOOR AND MILLWORK LL
  8607 DURANGO ST SW STE B
  LAKEWOOD, WA 98499

  CWN HOLDINGS LIMITED
  TRINITY CHAMBERS, PO BOX 4301
  ROAD TOWN,
  TORTOLA, BRITISH V ISLANDS

  CYAN
  ADDRESS UNAVAIL AT TIME OF FILING

  CYNTHIA M GAUTHIER
  4105 EAST HOOT OWL TRAIL
  CAVE CREEK, AZ 85331

  D BUGBEE & SCALIA, PLLC
  155 NORTHEAST 100TH STREET
  SUITE 205
  SEATTLE, WA 98125

  DALE AND MICHAEL BLANCHETTE
  1 CHASE LN
  LINCOLN, RI 02865

  DALE SHOE MAKER DO NOT USE
  ADDRESS UNAVAIL AT TIME OF FILING

  DALE SHOEMAKER
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 91 of 314
  DALE WILLIAMS
  755 SHADOW CREEK TRAIL
  AMHERST, OH 44001

  DAMIEN BEACH
  PO BOX 461
  ELDORADO, TX 76936

  DAN WANG
  ADDRESS UNAVAIL AT TIME OF FILING

  DANA HOOSTON
  59 SARATOGA
  NEWPORT BEACH, CA 92660

  DANFAN LIN
  ROOM 2001, 4C, WANKE HUXIN ISLAND
  HU LI DISTRICT
  XIAMEN, FUJIAN, CHINA

  DANIEL BERTONCINI
  2140 THORNBURY LN
  ALLEN, TX 75013

  DANIEL C VAN HESPEN
  12580 PATHOS LN
  SAN DIEGO, CA 92129

  DANIEL J HOFFMAN
  PO BOX 812
  SEAHURST, WA 98062

  DANIEL K SCHWARTZ
  14732 BEVERLY STREET
  OVERLAND PARK, KS 66223

  DANIEL M SUTCH
  422 GLENDORA AVE.
  DAYTON, OH 45409




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 92 of 314
  DANIEL STREHLOW
  12355 220TH STREET E
  HASTINGS, MN 55033

  DANIEL TOOMEY
  129 BRISTOL RD
  WELLESLEY, MA 02481

  DANNY G DEWOLF REVOCABLE LIVING TR
  DATED APRIL 14, 2021
  4450 PARK PLACE DR
  SHELBY TOWNSHIP, MI 48316

  DARLING FAMILY TRUST
  4 AVIS CT
  ORINDA, CA 94563

  DARREN P AND VIRGINIA M EVANS
  5012 MANCHESTER ROAD
  HIGHLAND VILLAGE, TX 75077

  DAVES SEPTIC SERVICES, INC.
  PO BOX 826
  SEABECK, WA 98380

  DAVID & EMILY TROUTMAN W/ RIGHTS O
  1331 WEST MOUNTAIN AVENUE
  FORT COLLINS, CO 80521

  DAVID & KATHERINE EMANUEL REVOCABL
  6745 MILPA ALTA NE
  RIO RANCHO, NM 87144

  DAVID A STRAZ, JR FOUNDATION
  4401 W KENNEDY BLVD , STE 105
  TAMPA, FL 33609

  DAVID A STRAZ, JR REVOCABLE TRUST
  4401 W KENNEDY BLVD , STE 105
  TAMPA, FL 33609




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 93 of 314
  DAVID AND LOIS GARDNER, TTEES OF C
  6915 E DAVIS RD
  SCOTTSDALE, AZ 85266

  DAVID ANSLEY
  1430 SADDLE COURT
  WILLOW PARK, TX 76087

  DAVID B SALTZMAN
  24 MULLARKEY DRIVE
  WEST ORANGE, NJ 07052

  DAVID C AND MARY SUE SCHICK
  2610 E PRAIRIE CREEK DRIVE
  RICHARDSON, TX 75080

  DAVID CRAIG COLLISON
  9752 TWIN CREEK DR
  DALLAS, TX 75228

  DAVID E AND PATRICIA BROWN, JTWROS
  5814 JESTER DR
  GARLAND, TX 75044

  DAVID EHRLICH
  340 GONOWABIE ROAD
  INCLINE VILLAGE, NV 89450

  DAVID ELKIN
  10701 STONEYHILL DRIVE
  SILVER SPRING, MD 20901

  DAVID EMANUEL & KATHERINE EMANUEL
  6745 MILPA ALTA NE
  RIO RANCHO, NM 87144

  DAVID F COOK 2011 TRUST
  801 VIA LUGANO
  WINTER PARK, FL 32789




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 94 of 314
  DAVID F COOK
  801 VIA LUGANO
  WINTER PARK, FL 32789

  DAVID G STEVANS
  771 FOLLY HILL RD
  WEST CHESTER, PA 19382

  DAVID GOLD
  782 MERCER LN
  WEST CHESTER, PA 19380

  DAVID JONES
  925 S HWY 208
  COLORADO CITY, TX 79512

  DAVID K GEDER
  245 ARROWHEAD RD
  MARSHFIELD, MA 02050

  DAVID KIMBLE
  3038 PRESTON CLUB DRIVE
  SHERMAN, TX 75092

  DAVID L RODGERS
  3106 MEADOW WOOD DR
  RICHARDSON, TX 75082

  DAVID M BURNS FAMILY TRUST
  75 FRANCIS STREET, UNIT 1
  BROOKLINE, MA 02446

  DAVID M DAVIS, JR
  7236 BAY HILL DR
  FRISCO, TX 75034

  DAVID M GARDNER IRA
  1905 B LYDIA COURT
  URBANA, IL 61802




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 95 of 314
  DAVID MADDOCK
  ADDRESS UNAVAIL AT TIME OF FILING

  DAVID P EMANUEL
  6745 MILPA ALTA NE
  RIO RANCHO, NM 87144

  DAVID P GIANAKOS
  21 MOUNTAIN HIGH CT
  LITTLETON, CO 80127

  DAVID SCOTT MCMANIS
  5304 CHINN CHAPEL RD
  FLOWER MOUND, TX 75028

  DAVID TROUTMAN
  1331 WEST MOUNTAIN AVENUE
  FORT COLLINS, CO 80521

  DAVID W CAMPBELL
  32 PHILLIPS DR
  MARBLEHEAD, MA 01945

  DAVIDO CONSULTING GROUP, INC (D C
  9706 4TH AVE NE, SUITE 300
  SEATTLE, WA 98115

  DAVIS CRAIG, PLLC
  13355 NOEL ROAD, SUITE 2018
  DALLAS, TX 75240

  DAWN BRADLEY
  2433 ARNOLD PALMER DRIVE
  BLAINE, MN 55449

  DEBORAH S HOFFMAN
  5844 112TH AVE E
  PARRISH, FL 34219




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 96 of 314
  DEBRA BENVENISTE
  1005 CARAWAY DRIVE
  WHITTIER, CA 90601

  DEBRA C WALLACE
  51 WINTERBERRY TRAIL
  CLAYTON, GA 30525

  DEBRA D PAYNE
  1008 HIDDEN OAKS CT
  COLLEYVILLE, TX 76034

  DEBRA J MAY
  331 REMINGTON RD
  EAST STROUDBURG, PA 18302

  DEBRA UNRUH
  2775 SHADOW DANCER TRAIL
  RENO, NV 89511

  DEEPAK KHUNTIA
  1358 COUNTRY CLUB DR
  LOS ALTOS, CA 94024

  DEFINITI LLC
  2201 TIMBERLOCH PLACE, STE 150
  THE WOODLANDS, TX 77380

  DEL FRISCO`S DOUBLE EAGLE STEAKHOU
  1221 6TH AVE
  NEW YORK, NY 10020

  DELICATE GRASS
  18824 SE 164TH ST
  RENTON, WA 98058

  DELIVERY EXPRESS INC.
  405 EVANS BLACK DRIVE
  TUKWILA, WA 98188




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 97 of 314
  DELONG LANDSCAPING
  9822 CANYON RD E
  PUYALLUP, WA 98373

  DELTA AIR LINES, INC.
  1030 DELTA BLVD
  ATLANTA, GA 30354-1989

  DELTA DENTAL
  ADDRESS UNAVAIL AT TIME OF FILING

  DENA KAPLAN
  6737 TEMA ST.
  SAN DIEGO, CA 92120

  DENALI TOWNHOMES
  ADDRESS UNAVAIL AT TIME OF FILING

  DENISE BROWN
  8345 CR 422
  CROSS PLAINS, TX 76433

  DENISE BRUNAL-HICKS
  300 DUNES BLVD #901
  NAPLES, FL 34110

  DENISE M ARNOLD TRUST
  5482 S COOLIDGE CT
  AURORA, CO 80016

  DENNIS MATYJA
  3812 PARK BLVD UNIT 313
  SANI DIEGO, CA 92103

  DENNIS ROSINI
  5113 MARBLE FALLS LN
  PLANO, TX 75093




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 98 of 314
  DENNIS SHIRLEY
  4531 EAST PEPPER TREE LANE
  PARADISE VALLEY, AZ 85253

  DEPT. OF TRANSPORATION NW REGION
  PO BOX 330310
  SEATTLE, WA 98133

  DEREK E WOODS
  2129 FOREST LAGOON PL.
  WILMINGTON, NC 28405

  DEREK SHEN
  ADDRESS UNAVAIL AT TIME OF FILING

  DERMOT ROGERS
  440 SW FOREST DR
  ISSAQUAH, WA 98027

  DEVINDRANAUTH S KISSOON
  1821 DITMARS BLVD
  ASTORIA, NY 11105

  DEVONT CAPITAL LIMITED
  PO BOX 4301, ROAD TOWN
  TORTOLA,
  BRITISH VIRGIN ISLANDS

  DEWEI ZOU
  4209 WHITMAN AVENUE N
  SEATTLE, WA 98103

  DIAMOND ENTERPRISES (DIAMOND PARKI
  605 FIRST AVE, SUITE 600
  SEATTLE, WA 98104-2224

  DIAMOND POLISHING SYSTEMS
  ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 99 of 314
   DIANA WHITE
   1201 C R 290
   RISING STAR, TX 76471

   DIANE M MORIN
   5 JUNIPER LN
   NEWTON, NH 03858

   DIANNE HOTMER
   817 KIMBERLY LANE
   WEST CHESTER, PA 19382

   DIANNE M SHEEHAN
   40494 CALLE LAMPARA
   MURRIETA, CA 92562

   DIANNE SCHECHTER TRUST DTD. 11/05/
   6738 E MORNING VISTA LN
   SCOTTSDALE, AZ 85266

   DICK AND KAREN HUMMEL JTWROS
   2233 N SAN CLEMENTE DR
   PALM SPRINGS, CA 92262

   DICK CRAIG
   1118 CANSLER DR
   ENID, OK 73703

   DICK`S SPORTING GOODS INC
   345 COURT ST, CORAOPOLIS
   CORAOPOLIS, PA 15108

   DILLARD AND PHYLLIS STONE
   10009 WANDERING WAY
   BENBROOK, TX 76126

   DILLE LAW, PLLC
   2010 CATON WAY SOUTHWEST
   OLYMPIA, WA 98502




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 100 of 314
   DIM SUM FACTORY
   4092 FACTORIA BLVD SE
   BELLEVUE, WA 98006

   DIRECT LENDING GROUP
   ADDRESS UNAVAIL AT TIME OF FILING

   DIRECT TRUST COMPANY
   3033 N CENTRAL AVE., SUITE 415
   PHOENIX, AZ 85012

   DIVYANG P AND DAYA D SORATHIA
   2524 REGAL RIVER RD
   VALRICO, FL 33596

   DIXITA P AND PRIYANK K DESAI,
   TENANTS BY THE ENTIRETY
   105 ASHMORE LN
   ROCKY MOUNT, NC 27804

   DK FISHER ARCHITECTS
   ADDRESS UNAVAIL AT TIME OF FILING

   DK WOZNIAK DESIGN BUILD, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   DLA PIPER
   PO BOX 75190
   BALTIMORE, MD 21275

   DM PLUMBING & BACKFLOW TESTING, LL
   PO BOX 11082
   TACOMA, WA 98411

   DOCUSIGN INC
   221 MAIN ST.,
   SUITE 1000
   SAN FRANCISCO, CA 94105




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 101 of 314
   DOMINIC AND MAGDALENA D`GUERRA
   316 PLEASANT VALLEY AVE.
   MOORESTOWN, NJ 08057

   DOMUS HOMES, LLC
   1420 NW GILMAN BLVD
   SUITE 2, #2617
   ISSAQUAH, WA 98027

   DON ECKROD
   1118 BASIL RD
   MCLEAN, VA 22101

   DON GAUBE
   3201 DANVILLE BLVD, SUITE 175
   ALAMO, CA 94507

   DON R AND MARY S MOORE
   3505 TURTLE CREEK BLVD 5G
   DALLAS, TX 75219

   DON W PELLEY
   5001 46TH AVENUE CT E
   TACOMA, WA 98443

   DONALD AND DEBRA UNRUH
   2775 SHADOW DANCER TRAIL
   RENO, NV 89511

   DONALD CRAIG SPARKS & SONS
   3416 107TH AVENUE COURT EAST
   EDGEWOOD, WA 98372

   DONALD GREENOUGH
   1725 DOGWOOD FOREST WAY
   LAKE MARY, FL 32746

   DONALD J AND DENESE J ODERMANN
   201 N 61ST ST.
   SUPERIOR, WI 54880




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 102 of 314
   DONALD J ODERMANN
   2564W COUNTY ROAD J
   MERCER, WI 54547

   DONALD TAYLOR
   11664 SPOTTED MARGAY AVENUE
   VENICE, FL 34292

   DONALD W WILLIAMS
   4787 GALICIA WAY
   OCEANSIDE, CA 92056

   DONARON FRICKS
   ADDRESS UNAVAIL AT TIME OF FILING

   DONNA DAVIS
   150 CHEROKEE RIDGE
   BERTRAM, TX 78605

   DONNA EVANS
   382 DAVOS ROAD,
   GIRDWOOD, AK 99587

   DONNA L BOYD
   791 FM 217
   VALLEY MILLS, TX 76689

   DONNA LOU KEIM
   802 A BRIARWOOD DR
   BETHLEHEM, PA 18020

   DORIS RIBALI
   2706 DOLLAR ST.
   LAKEWOOD, CA 90712

   DORIS ROBERTS
   118 ALBION RD
   WELLESLEY, MA 02481




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 103 of 314
   DOROTHY DEAN
   11543 LAKE RIDE DR
   JACKSONVILLE, FL 32223

   DOROTHY GIEREN
   9127 MALLARD RD
   BLAINE, WA 98230

   DOUBLE J RETIREMENT PLAN
   PO BOX 1570
   CAGUAS, PR 00726

   DOUGLAS AND JOSETTE CHRYSTALL
   396 WASHINGTON ST., UNIT 293
   WELLESLEY HILLS, MA 02481

   DOUGLAS C AND MARIE P HARTMAN
   1209 STONEWALL TRAIL
   HEATH, TX 75032

   DOUGLAS E SPROUSE & FRANCES KAY SP
   JOINT REVOCABLE TRUST
   110 ARAPAHO TRAIL
   GREENWOOD, MO 64034

   DOUGLAS HARTMAN
   1209 STONEWALL TRAIL
   HEATH, TX 75032

   DOUGLAS J WOOD
   10199 WIEGLEIB AVE
   LOUISVILLE, KY 40223

   DOUGLAS YOUNG
   2912 COTTAGE COVE DR
   RICHMOND, VA 23233

   DOYLEEN TERELL
   3334 FRONT NINE DR
   ABILENE, TX 79606




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 104 of 314
   DR ALAN ASKINAS AND MRS NANCY ASKI
   966 ROCK CREEK RD
   WEST CHESTER, PA 19380

   DR FARHAD ELMI AND DR ARAM YOUSEFI
   480 CHRISTINE ANN LN
   NAZARETH, PA 18064

   DR FARHAD ELMI
   480 CHRISTINE ANN LN
   NAZARETH, PA 18064

   DR FERNANDO REGIS
   PO BOX 3878
   AGUADILLA, PR 00605

   DR JOHN W BERRY
   27 MUSKET COURT
   WEST CHESTER, PA 19382

   DRAIN-PRO INC.
   5111 85TH AVENUE EAST C-2
   PUYALLUP, WA 98371

   DSE EXCAVATING, INC.
   14603 154TH ST E
   ORTING, WA 98360

   DSH TRUST
   8601 138TH AVE. SE
   NEWCASTLE, WA 98059

   DTK CONTRUCTION INC
   ADDRESS UNAVAIL AT TIME OF FILING

   DUKE B MOSELEY III
   7624 E SOLANO DRIVE
   SCOTTSDALE, AZ 85250




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 105 of 314
   DULCE DESIGN CO.
   4701 SW ADMIRAL WAY
   SEATTLE, WA 98116

   DWOLLA INC
   909 LOCUST ST, SUITE 201
   DES MOINES, IA 50309

   E&N INVESTMENTS, LLC
   6785 ERICA LN
   SARASOTA, FL 34241

   E78 PARTNERS
   ELEMENT 78, LLC
   1301 W 22ND ST, SUITE 410
   OAK BROOK, IL 60523

   EAGLE ASPHALT
   ADDRESS UNAVAIL AT TIME OF FILING

   EAGLE BUILDING SERVICES, INC.
   2525 BLUEBERRY RD STE 105
   ANCHORAGE, AK 99503

   EAGLE PINES, LLC
   676 N MICHIGAN AVE. STE 3860
   CHICAGO, IL 60611

   EARTH SOLUTIONS NW, LLC
   15365 NE 90TH ST
   SUITE 100
   REDMOND, WA 98052

   EASTSIDE FUNDING, LLC
   3927 LAKE WASH BLVD NE
   KIRKLAND, WA 98033

   EASTWEST BANK
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 106 of 314
   EBERHARDT FAMILY TRUST
   31281 VIA FAJITA
   SAN JUAN CAPISTRANP, CA 92675

   ECO ENVIRONMENTAL SERVICE, INC
   711 W TITUS ST
   KENT, WA 98032

   ECOLOGICAL LAND SERVICES
   1157 3RD AVE., SUITE 220A
   LONGVIEW, WA 98632

   EDDIE T AND JANICE L SATO
   CHARITABLE REVOCABLE TRUST
   804 JODY BROOK CT
   LAS VEGAS, NV 89145

   EDGE CONSTRUCTION, LLC
   PO BOX 2054
   TACOMA, WA 98401

   EDITE M AND TIMMY PACHECO
   916 SALEM RD
   DRACUT, MA 01826

   EDWARD AND JUDY ELLIS TRUST DATED
   2721 ERVIN WAY
   MANSFIELD, TX 76063

   EDWARD EARL MAINE, JR
   18691 MUSICK DR
   BRISTOL, VA 24202

   EDWARD GNADINGER
   714 RIVER PL.
   BUTLER, NJ 07405

   EDWARD WEBSTER
   3151 E COMMUNITY DRIVE
   JUPITER, FL 33458




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 107 of 314
   EFD
   ADDRESS UNAVAIL AT TIME OF FILING

   EL ARCHITECTS, PS
   3200 SOUTHEAST 164TH AVE
   SUITE 302
   VANCOUVER, WA 98683

   EL GAUCHO
   450 108TH AVE NE
   BELLEVUE, WA 98004

   ELAINE LAND DEXTER
   700 FRONT ST. UNIT 1403
   SAN DIEGO, CA 92101

   ELEANOR S BROOKS
   7885 LANDOWNE DRIVE
   SANDY SPRINGS, GA 30350

   ELECTRONIC BUSINESS MACHINES (EBM)
   ADDRESS UNAVAIL AT TIME OF FILING

   ELENA RUNYAN
   7861 WESTRA LN
   LA PALMA, CA 90623

   ELITE FABRICATION SYSTEMS
   5020 146TH ST E
   TACOMA, WA 98446

   ELITE FLOOR COVERINGS, INC.
   3902 AUBURN WAY NORTH
   AUBURN, WA 98002

   ELITE HOMES BY APEX
   PO BOX 50573
   BELLEVUE, WA 98105




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 108 of 314
   ELIZABETH A NIXON TRUST DTD 9/24/2
   1127 LOS CAMPANEROS
   SAN MARCOS, CA 92078

   ELIZABETH PLAZA
   1121 PARROTTS COVE RD
   GREENSBORO, GA 30642

   ELLEN B KRASNEY
   205 MEADOW STREET EXTENSION
   FRAMINGHAM, MA 01701

   ELLEN ROZENFELD
   2041 N HALSTED STREET
   CHICAGO, IL 60614

   EMERALD CITY ENGINEERS
   21705 HIGHWAY 99
   LYNNWOOD, WA 98036

   EMERALD CITY INTERNATIONAL CONSULT
   3535 FACTORIA BLVD SE, STE 500
   BELLEVUE, WA 98006

   EMERALD CITY STATEWIDE, LLC
   13728 BEACON COAL MINE ROAD SOUTH
   SEATTLE, WA 98178

   EMILY RUSSELL LANDSCAPE ARCHITECTU
   245 4TH STREET SUITE 501
   BREMERTON, WA 98337

   EMMA L QUINE
   2717 ALBATROSS LN
   FT WORTH, TX 76177

   ENGLISH LIVING TRUST DATED 9/15/17
   1207 CARNOUSTIE CT
   KATY, TX 77494




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 109 of 314
   ENUMCLAW LANDSCAPE MAINTENANCE
   ADDRESS UNAVAIL AT TIME OF FILING

   ENVIRONIX
   2027 196TH STREET SOUTHWEST
   SUITE A101
   LYNNWOOD, WA 98036

   ENVISION NORTHWEST
   ADDRESS UNAVAIL AT TIME OF FILING

   EQUITY SLICE TECHNOLOGIES INC
   ADDRESS UNAVAIL AT TIME OF FILING

   EQUITY TITLE OF WASHINGTON
   ADDRESS UNAVAIL AT TIME OF FILING

   EQUITY TRUST
   1 EQUITY WAY
   WESTLAKE, OH 44145

   ERIC AND SARAH SCHMIDT
   315 N UNION ST
   KENNETT SQUARE, PA 19348

   ERIC ENGEL
   908 W KINGBIRD DRIVE
   CHANDLER, AZ 85286

   ERIC STRADDECK
   1105 W LINDA LN
   RAYMORE, MO 64083

   ERIK NELSON
   1651 STARDANCE CIRCLE
   LONGMONT, CO 80504

   ERIK RADLE
   3162 SPUR TRAIL
   DALLAS, TX 75234




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 110 of 314
   ESPACIO INC. RETIREMENT PLAN
   PO BOX 192572
   SAN JUAN, PR 00919

   ESTATE OF LOIS ALTENKIRCH
   1105 SUMMIT AVE APT 2
   JERSEY CITY, NJ 07307

   ETHEL LINN LANDERS
   5956 MYRTLE BEACH DR
   BANNING, CA 92220

   EUGENE PUGH
   4740 S 900 W
   SAN PIERRE, IN 46374

   EUGENE SCHELLENBERGER
   90 FIELDSTONE CT
   NEW ALBANY, IN 47150

   EUROMONEY USA, LLC (IMN)
   1120 AVENUE OF THE AMERICAS
   6TH FLOOR, FINANCE DEPARTMENT
   NEW YORK, NY 10036

   EVELYN STEELE GILBERT
   1001 PIEDMONT AVE
   BRISTOL, VA 24201

   EVENTBRITE.COM
   ADDRESS UNAVAIL AT TIME OF FILING

   EVERGREEN BUILDERS
   2818 E 2ND STREET
   VANCOUVER, WA 98661

   EVERGREEN CERTIFIED
   502 RAINIER AVE S SUITE 206
   SEATTLE, WA 98144




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 111 of 314
   EVERGREEN CONCRETE CUTTING, INC.
   PO BOX 1751
   SUMMER, WA 98390

   EVERGREEN MANAGEMENT CAPITAL LLC
   11400 SE 8TH ST STE 225B
   SUITE 225B
   BELLEVUE, WA 98004

   EVERGREEN TREE CARE INC.
   PO BOX 11155
   SPOKANE, WA 99211

   EVOLUTION REAL ESTATE II, LLC
   16775 ADDISON ROAD SUITE 202
   ADDISON, TX 75001

   EVOLVE BANK AND TRUST
   9070 POPLAR AVE, STE 100
   MEMPHIS, TN 38119

   EXPLENDID VIDEOS
   45333 FREMONT BLVD,
   STE#5
   FREMONT, CA 94538

   FACTRIGHT LLC
   7500 FLYING CLOUD DR
   SUITE 755
   EDEN PRAIRIE, MN 55344

   FAIRCHILD RECORD SEARCH
   PO BOX 1368
   OLYMPIA, WA 98507-1368

   FAITH B ABZUG REVOCABLE TRUST
   1949 LEONARD ROAD
   FALLS CHURCH, VA 22043




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 112 of 314
   FAITH B ABZUG
   1949 LEONARD ROAD
   FALLS CHURCH, VA 22043

   FALCON RAILING & SUPER DECK INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   FAN SU
   #302 BUILD 12 LVLINYUAN, NANXI RD
   DAXING DIST.
   BEIJING, 100162 CHINA

   FAN YANG
   3-10-2 LONGQUAN COMMUNITY,
   LONGQUAN ROAD, XIXIU DISTRICT
   ANSHUN, GUIZHOU, 516000 CHINA

   FAN ZHANG
   GUANGTAI XIAOQU DONGQU NO.1
   BUILDING 3-102
   BEIJING, HAIDIAN, 100091 CHINA

   FANG LOU AND JINGFENG ZHAO
   18 ZHUANSHAN W RD, ROOM 2-3-101
   JINAN, SHANDONG, 250014
   CHINA

   FARALLON, INC
   PO BOX 94147
   SEATTLE, WA 98124

   FARRUKH AND SHELA ZAIDI TEN-BY-ENT
   3818 AMBASSADOR DR
   PALM HARBOR, FL 34685

   FARSIDEHR SOLUTIONS
   4313 BAT FALCON DRIVE
   AUSTIN, TX 78738




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 113 of 314
   FASTSIGNS
   12644 NORTHEAST 85TH STREET
   KIRKLAND, WA 98033

   FEDERAL GOV CARES ACT
   ADDRESS UNAVAIL AT TIME OF FILING

   FEDEX CORPORATION
   942 S SHADY GROVE RD
   MEMPHIS, TN 38120

   FEI HAN
   RM 601, BLDNG 26, SHANG FENG NO.1,
   ZHAO QUAN YING TOWN, SHUN YI DST
   BEIJING,   CHINA

   FEINBERG FAMILY TRUST DTD 1/24/12
   22 TURNER RD
   FRAMINGHAM, MA 01701

   FELIX J SEDA ENT PSC RETIREMENT PL
   URB MONTEHIEDRA
   CALLE BIEN TE VEO #2
   SAN JUAN, PR 00926

   FELIX SEDA
   PO BOX 70344 PMB 187
   SAN JUAN, PR 00936

   FENGDI CHEN
   NO. 2, LANE 208, GUANGYUAN RD
   XUHUI DISTRICT
   SHANGHAI, 200000 CHINA

   FERGUSON ENTERPRISES
   824 NW 18TH AVE
   PORTLAND, OR 97209




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 114 of 314
   FERNANDO FIGUEROA NEVAREZ
   LA VILLA DE TORRIMAR 267
   CALLE REY GUSTAVO #267
   GUAYNABO, PR 00969

   FERNANDO REGIS PURCHASE PLAN
   446 PLUMOSO STREET
   PASEOS DE PLAN BONITO
   CABO ROJO, PR 00623-9381

   FIDELITY INSURANCE
   ADDRESS UNAVAIL AT TIME OF FILING

   FIDELITY NATIONAL TITLE
   655 W COLUMBIA WAY, SUITE 200
   VANCOUVER, WA 98660

   FINANCE & BUSINESS OPERATIONS DIVI
   DEPARTMENT OF EXECUTIVE SERVICES
   401 5TH AVE STE 0300
   SEATTLE, WA 98104

   FINANCIAL GOAL SECURITIES, INC. (F
   35900 BOB HOPE DRIVE, SUITE 202
   RANCHO MIRAGE, CA 92270

   FINANCIAL INDUSTRY REGULATORY AUTH
   ADDRESS UNAVAIL AT TIME OF FILING

   FINANCIAL PLANNERS OF AMERICA
   ADDRESS UNAVAIL AT TIME OF FILING

   FINOP CONSULTING, LLC
   PO BOX 1015
   RYE, NH 03870

   FIRESIDE CONTRACTING SERVICES, LLC
   18389 SW BOONES FERRY RD
   PORTLAND, OR 97224




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 115 of 314
   FIRESIDE HOME SOLUTIONS
   18389 SW BOONES FERRY ROAD
   PORTLAND, OR 97224

   FIRGROVE MUTUAL INC
   ADDRESS UNAVAIL AT TIME OF FILING

   FIRST AMERICAN TITLE INSURANCE COM
   920 5TH AVENUE
   SUITE 1250
   SEATTLE, WA 98104

   FIRST WESTERN PROPERTIES, INC.
   6402 TACOMA MALL BOULEVARD
   TACOMA, WA 98409

   FISHER ARCHITECTS PS
   708 MARKET STREET, SUITE 415
   TACOMA, WA 98402

   FIVE STAR COMFORT, LLC
   2209 BEDAL LN
   EVERETT, WA 98208

   FJ TORRES MD PSC RETIREMENT PLAN
   HACIENDA SAN JOSÉ
   CALLE VIA SOL 673
   CAGUAS, PR 00725

   FLOQAST INC
   14721 CALIFA ST
   SHERMAN OAKS, CA 91411

   FLORIDA FINANCIAL ADVISORS
   2330 W HORATIO STREET
   TAMPA, FL 33609

   FORTUNE INSURANCE
   705 S 9TH ST. #302
   TACOMA, WA 98405




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 116 of 314
   FORTUNE SMART (HK) INTERNATIONAL L
   FLAT/RM 504, 5/F, HO KING COMM CTR
   2-16 FA YUEN STREET
   MONG KOK, KOWLOON, CHINA

   FOSTER GARVEY
   LAKE WASHINGTON CREST DIV II HOA
   8024 122ND AVE SE
   NEWCASTLE, WA 98056

   FOSTER PEPPER PLLC
   1111 3RD AVENUE, SUITE 3000
   SEATTLE, WA 98101

   FOUNDATION GROUP REAL ESTATE
   718 RAINIER AVENUE SOUTH
   SEATTLE, WA 98144

   FOX BROS DRYWALL
   PO BOX 4592
   SPANAWAY, WA 98387

   FOX ROTHSCHILD, LLP
   1001 FOURTH AVENUE
   SUITE 4500
   SEATTLE, WA 98154

   FP MAILING SOLUTIONS, INC
   PO BOX 157
   BEDFORD PARK, IL 60499-0157

   FRANCES J FONTI REVOLVING TRUST DT
   24950 N 90TH ST
   SCOTTSDALE, AZ 85255

   FRANCES M BUDD
   3322 GREAT MEADOW RD
   DEDHAM, MA 02026




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 117 of 314
   FRANCES WATERS TRUST
   6132 WALNUT DR
   FORT WORTH, TX 76114

   FRANCIS G SILVA
   11 MARILYN DR
   ATKINSON, NH 03811

   FRANCIS GANNON
   ADDRESS UNAVAIL AT TIME OF FILING

   FRANCIS SZYMBORSKI REVOCABLE TRUST
   1755 N MEADE STREET
   CHICAGO, IL 60639

   FRANCISCO A PACHECO
   30 LISA LN
   BRADFORD, MA 01835

   FRANCISCO J ARRAIZA RETIREMENT PLA
   B-5 URB LA COLINA
   GUAYNABO, PR 00969

   FRANCISCO SALA
   3 CALLE FLAMBOYAN APT. #311
   GUAYNABO, PR 00966

   FRANK BELCASTRO
   3403 SHINNSTON PIKE
   HEPZIBAH, WV 26369

   FRANK BRANCATO
   42 WESTMOOR TERRACE, W
   ROXBURY, MA 02132

   FRANK CHAUNER
   666 DUNDEE RD , STE 903
   NORTHBROOK, IL 60062




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 118 of 314
   FRANKLIN AND JULIE A BOSIA
   4785 SEA CORAL DR
   SAN DIEGO, CA 92154

   FREDERICK AND DORIS ROBERTS
   118 ALBION RD
   WELLESLEY, MA 02481

   FREDERICK B AND MARY WAYNE BYWATER
   3201 ARDSLEY DR
   ORLANDO, FL 32804

   FREDERICK L CHAPPELL
   6488 HWY 145
   CORYDON, KY 42406

   FREDRICK W CORWIN, JR
   4580 OSPREY DR S, APT. 201
   ST PETERSBURG, FL 33711

   FRIEDMAN LLP
   301 LIPPINCOTT DRIVE, 4TH FLOOR
   MARLTON, NJ 08053

   FUHONG LIANG
   18025 NE 136TH ST.
   REDMOND, WA 98052

   FUNG CHANG REVOCABLE TRUST (GRACE
   5111 N TRAVIS ST #311
   SHERMAN, TX 75092

   FUXIANG WU
   5900 138TH PLACE SOUTHEAST
   BELLEVUE, WA 98006

   FUXU LIANG
   XISHAN ST, BUILDING 1, ROOM 1-4-3
   DALIAN, LIAONING, 116000 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 119 of 314
   G & C CRANSTON, LLC
   4192 BAY BEACH LANE #866
   FORT MYERS BEACH, FL 33931

   G S CLEANING SERVICE
   ADDRESS UNAVAIL AT TIME OF FILING

   GAMUT 360
   ADDRESS UNAVAIL AT TIME OF FILING

   GARDNER FINANCIAL SERVICES
   ADDRESS UNAVAIL AT TIME OF FILING

   GARNER ELECTRIC WASHINGTON, LLC
   402 VALLEY AVENUE NORTHWEST
   PUYALLUP, WA 98371

   GARRETT MARKQUART
   WILLOWS UNIT 4922 A

   GARRY SANNER
   1006 FM 131 S
   DENISON, TX 75020

   GARRY SAVAGE
   1225 MARINA DR
   HURON, OH 44839

   GARY & DAWN GUGLIELMINO FAMILY TRU
   783 WOODWIND PLACE
   WALNUT CREEK, CA 94598

   GARY BRYANT
   8963 FM 2606
   HENRIETTA, TX 76365

   GARY F BROCK
   661 NORTH LONGVIEW PLACE
   LONGWOOD, FL 32779




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 120 of 314
   GARY G AND JANIS M BELCHER
   2085 SE ST. LUCIE BLVD
   STUART, FL 34996

   GARY L ALLGEIER
   709 WINDING OAKS TRAIL
   LOUISVILLE, KY 40223

   GARY L AND BARBARA A MORRISS, JTWR
   28131 232ND PL SE
   MAPLE VALLEY, WA 98038

   GARY LIND
   2265 CHIMNEY SWIFT CIR
   MARIETTA, GA 30062

   GARY SEARS
   241 DINANA DR
   GRAHAM, TX 76450

   GCM RETIREMENT PLAN
   3604 CALLE CUMBRE, URB EL MONTE
   PONCE, PR 00716

   GCW ELECTRIC
   ADDRESS UNAVAIL AT TIME OF FILING

   GE APPLIANCES
   PO BOX 840255
   DALLAS, TX 75284

   GEICO GENERAL INSURANCE COMPANY
   ONE GEICO PLAZA
   BETHESDA, MD 20810-0001

   GENE & MARGIE STRECKER
   3404 EDDY STREET
   AMARILLO, TX 79109




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 121 of 314
   GENE CHOI
   4350 VIA MAJORCA
   CYPRESS, CA 90630

   GENERAL BUILDERS SUPPLY, INC.
   510 STRANDER BOULEVARD
   TUKWILA, WA 98188

   GENNADIY VILCHIK
   520 NORTH CANON DRIVE
   BEVERLY HILLS, CA 90210

   GENNARO GIANVITO
   24673 N 118 ST.
   SCOTTSDALE, AZ 85255

   GENNARO SARNATARO
   10552 E WINROSE DR
   SCOTTSDALE, AZ 85259

   GENUINE AUTO GLASS
   2609 S TACOMA WAY
   TACOMA, WA 98409-7525

   GEO RESOURCES INC
   ADDRESS UNAVAIL AT TIME OF FILING

   GEORESOURCES, LLC
   4809 PACIFIC HWY E
   FIFE, WA 98424

   GEORGE A BEDNARZ
   13752 EVERGREEN DRIVE
   FRISCO, TX 75035

   GEORGE AND BARBARA CAMP
   4674 MONONGAHELA ST.
   SAN DIEGO, CA 92117




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 122 of 314
   GEORGE IVAN VACEK
   2330 SANDY FIELDS LN
   SPRING, TX 77386

   GEORGE R AND TINA M WALZ
   10 PINEWOOD DR
   COVINGTON TWP, PA 18424

   GEORGE T HOTTER
   15 SADDLEBACK RD
   LONDONDERRY, NH 03053

   GEORGE WHITE
   107 HUNTINGTON PLACE
   ORMOND BEACH, FL 32174

   GEORGE WITTMAN JR
   15 FIFTH LANE
   WINGDALE, NY 12594

   GEORGES BASSOUS
   180 SCHOLES ST, APARTMENT 1C
   BROOKLYN, NY 11206

   GEORGIA D TROUTMAN RVCB TRUST 0614
   PO BOX 1292
   BOCA GRANDE, FL 33921

   GEORGIA STEDRONSKY
   1345 SKYFIRE CT
   SPARKS, NV 89441

   GEOTECH CONSULTANTS, INC.
   2401 10TH AVE E
   SEATTLE, WA 98102

   GERALD GOLDMAN
   11885 E CHARTER OAK CIR.
   SCHOTTSDALE, AZ 85259




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 123 of 314
   GERALD L KIRKPATRICK
   311 WEST MAIN ST.
   HORSE CAVE, KY 42749

   GERALD LARSON
   ADDRESS UNAVAIL AT TIME OF FILING

   GERALD LARUE
   1611 SOUTH MELROSE DRIVE
   SUITE A399
   VISTA, CA 92081

   GERMAN AND GRACE CHAVEZ
   3604 CALLE CUMBRE, URB EL MONTE
   PONCE, PR 00716

   GIANCARLO AND DAPHNE ANDREANI
   127 PROFESSIONAL CENTER PKWY
   SAN RAFAEL, CA 94903

   GILLIAN MARY KRUSING
   2903 OAKWOOD CT
   MCKINNEY, TX 75070

   GLEN WAITE
   4800 SACHSE RD
   SACHSE, TX 75048

   GLENN R AND DIEDRA A PETERS, JTWRO
   1366 N GROSSMAN ST.
   SEYMORE, TX 76380

   GLOBAL MEDIA (SAMPLE)
   150 CHESTNUT STREET
   TORONTO, ON L4B 1Y3
   CANADA

   GLOTRADE S R O
   1321 UPLAND DRIVE SUITE 8441
   HOUSTON, TX 77043-4718




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 124 of 314
   GOLDSMITH LAND DEVELOPEMENT SERVIC
   PO BOX 3565
   BELLEVUE, WA 98009

   GOLDSTAR
   1401 4TH AVE
   CANYON, TX 79015

   GOOGLE PAYMENT
   ADDRESS UNAVAIL AT TIME OF FILING

   GOOSE DEVELOPMENT
   ADDRESS UNAVAIL AT TIME OF FILING

   GORDAN R TOEDMAN
   5308 FEAGAN
   HOUSTON, TX 77007

   GORDON DREAGER
   18501 WEST POST DR
   SURPRISE, AZ 85388

   GOVIND RAJAN
   4908 64TH DR W
   BRADENTON, FL 34210

   GRACE YUN RU SHIH
   22704 SE 51ST STREET
   ISSAQUAH, WA 98029

   GRAEME L HUDSON
   920 EVERGREEN LN
   CHESTER SPRINGS, PA 19425

   GRAFF FAMILY TRUST UAD 11/29/99
   10459 N 98TH STREET
   SCOTTSDALE, AZ 85258




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 125 of 314
   GRAYDON H FULLER DECLARATION OF TR
   5317 N 46TH ST.
   PHEONIX, AZ 85018

   GRAYS HARBOR COUNTY TREASURER
   PO BOX 831
   MONTESANO, WA 98563

   GRAYS HARBOR COUNTY UTILITIES DIVI
   100 W BROADWAY AVE - SUITE #31
   MONTESANO, WA 98563

   GRAYS HARBOR PUD
   PO BOX 510
   ABERDEEN, WA 98520-115

   GREATAMERICA FINANCIAL SERVICES CO
   PO BOX 660831
   DALLAS, TX 75266

   GREEN VISTA CAPITAL
   222 NORTH PARK AVENUE
   WINTER PARK, FL 32789

   GREENHOME SOLUTIONS
   ADDRESS UNAVAIL AT TIME OF FILING

   GREENTECH INDUSTRIES LLC
   130 LEGACY DR
   WOODLAND, WA 98674

   GREENWAY HOMES INC
   ADDRESS UNAVAIL AT TIME OF FILING

   GREG CLARK COPELAND
   3955 BELVEDERE COURT
   SPRINGFIELD, MO 65807




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 126 of 314
   GREG COLELLA
   6298 STABLE FALLS ACRE
   RANCHO CUCAMONGA, CA 91739

   GREG PIEKARSKI
   ADDRESS UNAVAIL AT TIME OF FILING

   GREGORY & MECCA DAYKO WITH RIGHT O
   514 SWEET BAY CIR.
   JUPITER, FL 33458

   GREGORY AND JAMIE ATWOOD
   758 E DESERT BLOOM COURT
   WASHINGTON, UT 84780

   GREGORY BUBB
   11838 E MARIPOSA GRANDE DR
   SCOTTSDALE, AZ 85255

   GREGORY DAYKO
   110 FRONT STREET, SUITE 300
   JUPITER, FL 33477

   GREGORY LYNN GILBERT
   159 BEAVER CREEK RD
   BLUFF CITY, TN 37618

   GREGORY S LUKENS
   408 NORTH 1ST STREET #707
   MINNEAPOLIS, MN 55401

   GRIFFIN FEIN
   ADDRESS UNAVAIL AT TIME OF FILING

   GRIFFIN FEIN
   ADDRESS UNAVAIL AT TIME OF FILING

   GRIFFITH WALTERS
   206 HIGHLAND TRAIL
   LAGRANGE, GA 30240




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 127 of 314
   GROUND UP BUILDERS INC
   ADDRESS UNAVAIL AT TIME OF FILING

   GROUND UP LLC
   250 EAST OSPREY LANE
   SHELTON, WA 98584

   GUANGZHOU OFFICE (WOFE)
   ADDRESS UNAVAIL AT TIME OF FILING

   GUANGZHOU PAWEI BUSINESS CONSULTIN
   1602A NORTH TOWER GUANGZHOU WORLD
   TRADE CENTER NO 371 375 HUASHI E
   YUEXIU DISTRICT, GUANDONG CHINA

   GUIFANG WANG
   3-303 NO. 38 YAN`AN RD , GUILIN ST
   ZHONGSHAN DISTRICT
   DALIAN CITY, LIAONING 116007 CHINA

   GUILAN ZHANG
   RM 503 UNIT 3, BLDG 4, HUIRUNYUAN
   TONGHUIJIAYUAN, GAOBEIDIAN TOWN,
   BEIJING CHAOYANG DISTRICT CHINA

   GUISON FAMILY TRUST
   5748 SPINNAKER DR
   LONG BEACH, CA 90803

   GUOQIANG WANG
   NO.51, LANE 1669, YINDU ROAD
   SHANGHAI, 201108
   CHINA

   GUOYU WANG
   14455 17A AVE
   SURREY, BC V4A 5P5
   CANADA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 128 of 314
   H JOSEPH SCHILMILLER
   6855 STILLER RD
   FLOYDS KNOBS, IN 47119

   HAI HUANG
   ADDRESS UNAVAIL AT TIME OF FILING

   HAIYAN LI
   ADDRESS UNAVAIL AT TIME OF FILING

   HAL RAYMOND DEUTSCH
   6508 APPLE VALLEY PL.
   PLANO, TX 75023

   HALCYON PI, LLC
   950 N KINDS RD UNIT 304
   WEST HOLLYWOOD, CA 90069

   HALCYON RETIREMENT TRUST
   950 N KINGS RD UNIT 304
   WEST HOLLYWOOD, CA 90069

   HAMPTON INN SEAPORT HOTEL
   320 PEARL ST
   NEW YORK, NY 10038

   HANG NGOC HOANG
   17017 TALBOT ROAD
   EDMONDS, WA 98026

   HANGZHOU QICHUANG CHEMICAL CO., LT
   75 WESTMORELAND AVENUE, WELLING
   LONDON, ENGLAND, DA16 2QB
   UNITED KINGDOM

   HANK JENKINS
   4920 B S WILLOW STREET
   SEATTLE, WA 98118




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 129 of 314
   HANNAH EAGLE
   56-783 KUALAPA PLACE
   HAWI, HI 96719

   HANS-CHRISTIAN WINKLER
   3505 72ND ST., APT. 6D
   JACKSON HEIGHTS, NY 11372

   HANSON BAKER
   HANSON BAKER LUDLOW DRUMHELLER PS
   2229 - 112TH AVE NE, SUITE 200
   BELLEVUE, WA 98004-2936

   HAO ZHANG
   3A1001, SHANGTANG JINMAO MANSION,
   LONGHUA DISTRICT
   SHENZEN, GUANGDONG 518000 CHINA

   HARBOR PLATFORM, INC
   580 PACIFIC AVE.
   SAN FRANCISCO, CA 94133

   HARBOR WEALTH SERVICES
   14987291
   SEATTLE, WA 98006

   HARDY DEVELOPMENT COMPANIES
   ADDRESS UNAVAIL AT TIME OF FILING

   HARLAND CLARKE CHECK PRINTING
   PO BOX 351220
   NEW BRAUNFELS, TX 78135

   HARLOW MONTAGUE
   20047 MCCRAY DRIVE
   ABINGDON, VA 24211

   HAROLD E WILLIAMS III
   6249 AMETHYST DRIVE
   WAUNAKEE, WI 53597




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 130 of 314
   HAROLD J MOLLOY
   608 EASTHAM CT
   MURRELLS INLET, SC 29576

   HAROLD S STEWART
   536 DETOUR RD
   BOWLING GREEN, KY 42101

   HARRELL & SON PLUMBING, INC.
   PO BOX 8213
   BONNEY LAKE, WA 98390

   HB PORTABLES
   PO BOX 1820
   MCCLEARY, WA 98557

   HD PARTNERS, LLC
   1535 NW 49TH ST
   SEATTLE, WA 98107

   HEADSETS.COM
   211 AUSTIN STREET
   SAN FRANCISCO, CA 94109

   HEALTH AND ASSOCIATES, INC
   2214 TACOMA ROAD
   PUYALLUP, WA 98371

   HEALY CAPITAL LLC
   2938 LIMITED LANE NW
   SUITE A-1
   OLYMPIA, WA 98502

   HEB BUSINESS SOLUTIONS
   375 SOUTH 300 WEST
   SALT LAKE CITY, UT 84101

   HELEN ANN DEAN ESTATE
   3925 MASSIE AVENUE
   LOUISVILLE, KY 40207




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 131 of 314
   HELEN WILKERSON AND STACI ROBINSON
   7068 FM 142
   STANFORD, TX 79553

   HELENE BROTMAN
   100 SOUTH EOLA DRIVE, UNIT 1008
   ORLANDO, FL 32801

   HEMA AND VIMAL SHAH
   20116 OAK ALLEY DR
   TAMPA, FL 33647

   HENGXIN PHARMA CO., LIMITED
   15/F , JSH906, HIGHGRADE BUILDING,
   117 CHATHAM ROAD,
   TSIMSHATSUI, KOWLOON, HK

   HENRI HENRIKSEN
   ADDRESS UNAVAIL AT TIME OF FILING

   HENRI HENRIKSEN
   ADDRESS UNAVAIL AT TIME OF FILING

   HENRY AND LANA VARSHAVSKY
   21 BRIAR HILL RD
   SHARON, MA 02067

   HENRY G TAYLOR
   20550 ROSEWOOD MANOR SQUARE
   ASHBURN, VA 20147

   HENTSCHELL & ASSOCIATES, INC.
   1436 S UNION AVE
   TACOMA, WA 98405-1925

   HERB YOUNGBLOOD
   6108 88TH PL.
   LUBBOCK, TX 79424




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 132 of 314
   HERITAGE BANK
   ADDRESS UNAVAIL AT TIME OF FILING

   HERMAN AVILA
   11435 STAPLETON CT
   CERRITOS, CA 90703

   HIGH COUNTRY HOMES 1, INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   HIGH COUNTRY SOUNDVIEW MANOR, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   HIGHGAZ DERBOGOSIAN
   HIGHGAZ DERBOGOSIAN C/O G JOHNSON
   PO BOX 7138
   RANCHO SANTA FE, CA 92067

   HIGHMARK HOMES, LLC
   700 M STREET NE
   AUBURN, WA 98002

   HILTON R MILLER
   199 BALLENGER RD
   MOOREBORO, NC 28114

   HILYER DISPUTE RESOLUTION (HDR)
   1000 2ND AVENUE
   30TH FLOOR
   SEATTLE, WA 98104

   HIMANSHU TIWARI
   ADDRESS UNAVAIL AT TIME OF FILING

   HINES LIVING TRUST
   1373 E PRESCOTT PL.
   CHANDLER, AZ 85249




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 133 of 314
   HIRSCH FAMILY REVOCABLE LIFETIME T
   5070 CORINTHIA WAY
   OCEANSIDE, CA 92056

   HIWAYS INTERNATIONAL, PLLC
   11900 NORTHEAST 1ST STREET
   SUITE 300
   BELLEVUE, WA 98005

   HOME DEPOT
   PO BOX 6032
   THE LAKES, NV 88901-6029

   HONEY BUCKET
   PO BOX 73399
   PUYALLUP, WA 98373

   HONG FAN
   ROOM 503, NO.9, LANE 1045
    TONGXIN ROAD, HONGKOU DISTRICT
   SHANGHAI, 200083 CHINA

   HONG JIANG
   RM 201, NO.2 KECHUANG BLDNG LINA
   1588 LIANHANG ROAD
   MINHANG, CHINA

   HONG LI
   14TH FLR MIDDLE TWR GT LAND PLAZA
   45 JIEFANG ROAD, JIANGGAN DST
   HANGZHOU, ZHEJIANG,   CHINA

   HONGKONG WILSUN HI-TECH MATERIALS
   13A FLOOR, GLOBAL FIN CTR SOUTH
   HARBOUR CITY, 17 CANTON RD,
   TSIM SHA TSUI,KOWLOON, HK

   HONGSHAO LIANG
   625 BUZZARD LAKE TRAIL
   FORT WORTH, TX 76120




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 134 of 314
   HORIZON VIEW HOMES
   ADDRESS UNAVAIL AT TIME OF FILING

   HOROWITZ INSURANCE, INC
   300 WEST 15TH STREET, SUITE 300-2
   VANCOUVER, WA 98660

   HOTEL CONCEPTS
   ADDRESS UNAVAIL AT TIME OF FILING

   HOUSE BROTHERS CONSTRUCTION
   PO BOX 1820
   MCCLEARY, WA 98557

   HOWARD AND LAURIE LAZOFF
   18010 COACHMANS ROAD
   GERMANTOWN, MD 20874

   HOWARD REICH
   1 OXFORD CT
   RANCHO MIRAGE, CA 92270

   HQC USA
   ADDRESS UNAVAIL AT TIME OF FILING

   HRISHI T & HIRAL H PATEL, TENANTS
   16447 IVY LAKE DR
   ODESSA, FL 33556

   HUA WANG
   # 802, BUILDING 8, QIUMA SIJI CMT
   DAYU STREET, MENTOUGOU DISTRICT
   BEIJING, 065001 CHINA

   HUAIYI HAN
   RM 1801, UNIT 3, BLDG 6, BAOYU
   NO.88, BEIMA RD, DAOWAI QU PRC
   HA`ERBIN, HEILONGJIANG, 150036




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 135 of 314
   HUASHENG, LLC
   1155 NE 55TH ST.
   SEATTLE, WA 98105

   HUGH DEVELOPMENT
   ADDRESS UNAVAIL AT TIME OF FILING

   HUIFANG YANG
   ROOM 302, UNIT 4, BUILDING 10,
   CHENGBEI JIEDAO, CHANGPING DIST.
   BEIJING,   CHINA

   HUIMIN ZHANG
   XISHAN ST, BUILDING 1, ROOM 1-4-3
   DALIAN, LIAONING, 116000 CHINA

   HUIWEI ZHANG
   ROOM 906, BLDNG 4, SOUTH RING ST
   GUANGNI GRD, TIANKUN 1ST RD,
   TIANHE GUANGZHOU GUANGDONG CHINA

   HULL-FAUDOA TRUST DTD 3/28/2002
   210 SWAN RETREAT ROAD
   BIGFORK, MT 59911

   HULTQUIST HOMES INC
   12570 OLD SEWARD HWY
   ANCHORAGE, AL 99515

   HUY T AND HEATHER MAI
   8104 W 130TH ST.
   OVERLAND PARK, KS 66213

   HYDE PARK PRIME STEAKHOUSE
   569 N HIGH ST.
   COLUMBUS, OH 43215

   I G B A
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 136 of 314
   I HAUL LLC
   1005 N MOUNTAIN VIEW AVE
   TACOMA, WA 98406

   IBN FINANCIAL
   404 OLD LIVERPOOL RD
   LIVERPOOL, NY 13088

   ICAP @ UW, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP 134TH STREET, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP B1, LLC
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP B2, LLC
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP BRISLAWN LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP BROADWAY, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP CAMPBELL WAY, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP DEVELOPMENT, LLC
   3535 FACTORIA BLVD SE #500
   BELLEVUE, WA 98006

   ICAP ENTERPRISES, INC.
   PO BOX 3907
   BELLEVUE, WA 98009




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 137 of 314
   ICAP EQUITY, LLC
   3535 FACTORIA BLVD SE, SUITE 500
   BELLEVUE, WA 98006

   ICAP EVO, LLC
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP FINN HILL, LLC
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP FINN MEADOWS, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP FUNDING INVESTMENTS
   3535 FACTORIA BLVD SE #500
   BELLEVUE, WA 98006

   ICAP FUNDING, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP INTERNATIONAL INVESTMENT LLC
   3535 FACTORIA BLVD SE #500
   BELLEVUE, WA 98006

   ICAP INVESTMENTS, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP INVESTOR RELATIONS
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP LAKE VIEW, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP MANAGEMENT, LLC
   3535 FACTORIA BLVD SW, STE 500
   BELLEVUE, WA 98006




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 138 of 314
   ICAP NORTHCREEK, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP NORTHWEST OPPORTUNITY FUND, L
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP PACIFIC INCOME FUND 4, LLC
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP PACIFIC INCOME FUND 5, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP PACIFIC NRTHWST OPORTUNITY &
   3535 FACTORIA BLVD SE, SUITE 500
   BELLEVUE, WA 98006

   ICAP PACIFIC NW FUND 2I
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP PACIFIC NW MANAGEMENT, LLC
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP PNW FUND 2I
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP REALTY
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP REALTY, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP RHODY RIDGE LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP VAULT HOLDING, LLC
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 139 of 314
   ICAP VAULT I, LLC
   PO BOX 3907
   BELLEVUE, WA 98009

   ICAP VAULT MANAGEMENT
   ADDRESS UNAVAIL AT TIME OF FILING

   ICAP VAULT, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ICON IMAGERY
   2620 BELLEVUE WAY NE #116
   BELLEVUE, WA 98004

   IFIC
   ONE NEWARK CENTER
   20TH FLOOR
   NEWARK, NJ 07102

   IGOR ZAIKA
   ADDRESS UNAVAIL AT TIME OF FILING

   IHG TRI CITIES, LLC
   2300 EAST 3RD LOOP, SUITE 100
   VANCOUVER, WA 98661

   ILYAS ILIYA
   441 LIBERTY STREET
   SAN FRANCISCO, CA 94114

   IMAGEARTS PRODUCTIONS
   13211 4TH AVE NW
   SEATLE, WA 98177

   IND: JIMBOY DE CASTRO
   ADDRESS UNAVAIL AT TIME OF FILING

   INDIGO REAL ESTATE SERVICES, INC
   5415 CALIFORNIA AVE SW
   SEATTLE, WA 98136




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 140 of 314
   INFINITI REAL ESTATE & DEVELOPMENT
   ADDRESS UNAVAIL AT TIME OF FILING

   INGA L HUGHES
   7500 CAMP WISDOM RD
   DALLAS, TX 75236

   INGALLINA`S BOX LUNCH
   135 S LUCILE ST.
   SEATTLE, WA 98108

   INLET CAPITAL GROUP LLC DEFINED BE
   110 FRONT STREET, SUITE 300
   JUPITER, FL 33477

   INMAN ENTERPRISES DESIGN & STAGE L
   19029 36TH AVE W, SUITE F
   LYNNWOOD, WA 98036

   INNOVATIVE LANDSCAPE TECHNOLOGIES
   10 - 108TH ST SE
   EVERETT, WA 98208

   INSPIRE PLANNER INC.
   PO BOX 75335 LESLIE STREET PO
   TORONTO, ON M4M 1B0
   CANADA

   INSTITUTIONAL CAPITAL NETWORK INC
   60 E 42ND ST
   FLOOR 26
   NEW YORK, NY 10165

   INSTITUTO CIRUGIA ORBITO FACIAL RE
   PO BOX 8508
   SAN JUAN, PR 00910

   INSULATION NORTHWEST, LLC
   PO BOX 790
   MILTON, WA 98354




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 141 of 314
   INTEGRAL NORTHWEST CORPORATION
   ADDRESS UNAVAIL AT TIME OF FILING

   INTEGRATED ADVISORS NETWORK, LLC
   PO BOX 6
   PALOS VERDES ESTATES, CA 90274

   INTEGRATED CONCRETE SYSTEMS
   PO BOX 1227
   PUYALLUP, WA 98371

   INTEGRATED DESIGN ENGINEERS
   2101 4TH AVE
   SUITE 1980
   SEATTLE, WA 98121

   INTEGRITY LAW GROUP, PLLC
   2033 6TH AVENUE, SUITE 920
   SEATTLE, WA 98121

   INTEGRITY WINDOW COVERINGS
   PO BOX 935
   MILTON, WA 98354

   INTELLASPHERE INC
   4725 200TH ST SW
   SUITE D226
   LYNNWOOD, WA 98036

   INTERAMERICAN INVESTMENT, INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   INTERNAL REVENUE SERVICE (IRS)
   ADDRESS UNAVAIL AT TIME OF FILING

   INTERNET DOMAIN NAME SERVICES, INC
   924 BERGEN AVE, SUITE #289
   JERSEY CITY, NJ 07306-3018




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 142 of 314
   INVALUS, LLC
   PO BOX 513
   PRESTON, WA 98050

   IPFS CORP
   24722 NETWORK PLACE
   CHICAGO, IL 60673-1247

   IPROMISE TECH CONSULTANT SERVICES
   6/F MANULIFE PLC, 348 KWUN TONG RD
   KOWLOON
   HONG KONG

   IRAR TRUST COMPANY
   1000 BROADWAY, STE 350
   OAKLAND, CA 94607

   IRMGARD WORDEN
   TTEE OF IRMGARD L WORDEN REV TRST
   1920 N CLARK ST. APT. 8A
   CHICAGO, IL 60614

   ISOLA FINANCIAL, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   ITR ECONOMICS
   77 SUNDIAL AVE, #510W
   MANCHESTER, NH 03103

   IVETT INFANTE
   PO BOX 330412
   MIAMI, FL 33233

   J KIPP WALL
   4655 WATERFORD CT NE
   ST. PETERSBURG, FL 33703

   J S JONES AND ASSOCIATES, INC
   PO BOX 1908
   ISSAQUAH, WA 98037




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 143 of 314
   JACEQULINE PEGELOW REV LIVING TRUS
   2017 E LAKEVIEW DRIVE
   SEBASTIAN, FL 32958

   JACK A OLMSTEAD TRUST DTD 3/1/2005
   104 12TH STREET EAST
   TIERRA VERDE, FL 33715

   JACK AND SHARON NOWLIN
   2217 NOTTINGHAM DR
   BEDFORD, TX 76022

   JACK G PREVOST
   1129 COUNTRY LN
   ORLANDO, FL 32804

   JACK LEIGHTON
   ADDRESS UNAVAIL AT TIME OF FILING

   JACK R THACKER
   909 CUMBERLAND STREET
   BRISTOL, VA 24201

   JACKS WELDING
   1826 112TH ST E SUITE C
   TACOMA, WA 98445

   JACOB J RUDEN
   3205 NILE ST.
   SAN DIEGO, CA 92104

   JACOB JORDAN
   6227 ST. ALBAN DR
   DALLAS, TX 75214

   JACQUELINE HOPKINS
   229 W RACHEL CT
   INDEPENDENCE, MO 64055




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 144 of 314
   JADE HOLIDAY TRAVEL, INC.
   4020 FACTORIA SQUARE MALL
   BELLEVUE, WA 98006

   JAIME BRAVO CASTRO
   LA VILLA DE TORRIMAR
   165 CALLE REINA ISABEL
   GUAYNABO, PR 00921

   JAIME BRAVO RETIREMENT PLAN
   LA VILLA DE TORRIMAR
   165 CALLE REINA ISABEL
   GUAYNABO, PR 00921

   JAIRO A ESTRADA CGM PROFIT SHARING
   26 URB DORADO BEACH ESTATE
   DORADO, PR 00646

   JAIRO A ESTRADA
   26 URB DORADO BEACH ESTATE
   DORADO, PR 00646

   JAKE EAGLE
   55-799 KEAHI POE PLACE
   HAWI, HI 96719

   JAMES A FRANDSEN
   1417 BRIGHTRIDGE DR
   KINGSPORT, TN 37664

   JAMES A MOLZHON
   ADDRESS UNAVAIL AT TIME OF FILING

   JAMES AND ANNA HALIKAS
   783 TRAMORE LANE
   NAPLES, FL 34108

   JAMES AND COURTNEY SMITH
   4529 DRUID HILLS
   FRISCO, TX 75034




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 145 of 314
   JAMES AND ELEANOR GUSTAFSON
   25 LIBERTY ST.
   HAVERHILL, MA 01832

   JAMES AND MARTHA MANION
   230 GROGHAM RD
   CLARKSON, KY 42726

   JAMES B BALDWIN
   873 LAKE COUNTRY DRIVE
   INCLINE VILLAGE, NV 89451

   JAMES BALDWIN FAMILY TRUST
   873 LAKE COUNTRY DRIVE
   INCLINE VILLAGE, NV 89451

   JAMES C CRAFTON TOD
   3725 SAND ROCK TRAIL
   OWENSBORO, KY 42303

   JAMES C SCHMITZ REVOCABLE TRUST
   PO BOX 1147, WILSON
   WILSON, WY 83014

   JAMES D BOHRI
   2485 HOUGHTON LEAN
   MACUNGIE, PA 18062

   JAMES EVANS
   382 DAVOS ROAD
   GIRDWOOD, AK 99587

   JAMES FERRARO
   14830 N 15TH DR
   PHOENIX, AZ 85023

   JAMES H WHITE
   35 LAMPREY RD
   BROKEN BOW, OK 74728




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 146 of 314
   JAMES HANSON
   1400 JULIE CT
   RENO, NV 89509

   JAMES HUMPHREY
   18270 W 157TH ST.
   OLATHE, KS 66062

   JAMES JOHNSON IRREVOCABLE TRUST
   111 N HOT SPRINGS DRIVE
   BOISE, ID 83712

   JAMES L ADAMS
   9421 PINE ST.
   LENEXA, KS 66220

   JAMES L BRENIZER
   53344 STATE HWY P,
   EDINA, MO 63537

   JAMES M HEALEY
   3802 N FRACE ST.
   TACOMA, WA 98407

   JAMES M MARZEC AND MARCIA S MARZEC
   1103 BUELL AVE
   JOLIET, IL 60435

   JAMES MACZKO
   31704 N CLEARWATER DR
   LAKEMOOR, IL 60051

   JAMES MARK JR & ELIZABETH MARK
   33 OCEAN OAKS LANE
   PALM COAST, FL 32137

   JAMES MARK
   33 OCEAN OAKS LANE
   PALM COAST, FL 32137




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 147 of 314
   JAMES N DEGNAN,
   BEN OF THE BARBARA R DEGNAN EST
   PO BOX 341243
   AUSTIN, TX 78734

   JAMES P SHERIDAN AND HELAINE M SHE
   REVOCABLE LIVING TRUST
   1600 CLEARBROOK DR
   ALLEN, TX 75002

   JAMES PENA
   1521 GETTYSVUE WAY
   PRESCOTT, AZ 86301

   JAMES R AND PAMELA ROETHLE, JTWROS
   3 CARRIAGE CT
   JOHNSON CITY, TN 37604

   JAMES REID
   6004 PEDERNALES RIDGE
   NORTH RICHLAND HILLS, TX 76180

   JAMES ROBERTSON
   1833 RICHLAND DR
   ABILENE, TX 79603

   JAMES SHERIDAN
   1600 CLEARBROOK DR
   ALLEN, TX 75002

   JAMES SPEIGHT
   17104 EARTHWIND DR
   DALLAS, TX 75248

   JAMES W LEWERT
   11 HOLLOW SPRING RD
   NORWALK, CT 06854

   JAMES WENTWORTH
   3 ASHLEY NICOLE DR
   PLAISTOW, NE 03865




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 148 of 314
   JAMI STEVENSON
   2528 LARCHMOUNT DR NE
   ISSAQUAH, WA 98029

   JAMIE D GARGOTTA
   2661 NW LEES SUMMIT RD
   LEE`S SUMMIT, MO 64064

   JAMS, INC.
   18881 VON KARMAN AVE. SUITE 350
   IRVINE, CA 92612

   JAN BUTTON-MINTON AND ROBERT P MIN
   5202 MOCCASIN TRAIL
   LOUISVILLE, KY 40207

   JAN J AND MARSHA L KLODNER
   3309 BUCKETHORN CT
   GARLAND, TX 75044

   JAN KRAMER
   35 CALLE JUAN C BORBON STE 67-333
   GUAYNABO, PR 00969

   JAN PHILLIPS-CLAR
   6923 PASEO LAREDO
   LA JOLLA, CA 92037

   JANE FUSSELL
   4410 ALYDAR DR
   BARLESON, TX 76028

   JANELLE F OUELLETTE
   157 TOWN CENTER BLVD #3412
   CLERMONT, FL 34714

   JANICE P MECCA
   379 SCHOOL ST.
   BOYLSTON, MA 01505




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 149 of 314
   JANINE R STERRITT
   1820 ROYAL FERN LN
   JACKSONVILLE BEACH, FL 32250

   JARED COX
   2715 HERMOSA VISTA DR
   MESA, AZ 85213

   JAWAHAR L AND VIJAY TAUNK
   4050 PRESIDENTIAL DR
   PALM HARBOR, FL 34685

   JCBH ENTERPRISE, LLC
   1-19 PASEO ALHAMBRA, TORRIMAR
   GUAYNABO, PR 00966

   JEAN AND ROBERT VESTAL
   1308 OLD MILL RD
   CEDAR PARK, TX 78613

   JEAN D COFFMAN
   324 HEDGEROW CT
   KINGSPORT, TN 37663

   JEANETTE M GRISSOM
   4529 SHELDON TRAIL
   FORT WORTH, TX 76244

   JEANNE BLAIR
   1010 9TH AVENUE S
   EDMONDS, WA 98020

   JEANNE M SCHAEFFER
   9755 E CTY RD 1850 N
   FERDINAND, IN 47532

   JEANNE RICOTTA
   2982 NIGHT WATCH WAY
   ALPINE, CA 91901




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 150 of 314
   JEFF LARSON
   2250 WEST ROSCOE UNIT 1
   CHICAGO, IL 60618

   JEFFERY A OSBORN
   3471 NEAL CREEK RD
   HOOD RIVER, OR 97031

   JEFFREY A KAPLAN
   5 CORLISS RD
   WINDHAM, NH 03087

   JEFFREY A RHONE
   5016 TIMBERVIEW DR
   FLOWER MOUND, TX 75028

   JEFFREY AND DIANA BRADY
   14780 CARMEL RIDGE RD
   SAN DIEGO, CA 92128

   JEFFREY AND JAMIE BUTLER
   29700 OLD PINK HILL RD
   GRAIN VALLEY, MO 64029

   JEFFREY DOSTER
   1840 PROSPECT AVE.
   ORLANDO, FL 32814

   JEFFREY GRAMM
   283 FRIENDSHIP DR
   BRISTOL, TN 37620

   JEFFREY HITTNER
   11055 N STARGAZER DR
   ORO VALLEY, AZ 85737

   JEFFREY J BEANE
   12 SKYLAR DR
   SOUTHBOROUGH, MA 01772




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 151 of 314
   JEFFREY J BRADLEY
   TRUSTEE OF JEFFREY J BRADLEY LVNG
   3309 117TH LANE NE
   BLAINE, MN 55449

   JEFFREY JEWETT
   943 CARVER ST
   MESQUITE, TX 75149

   JEFFREY R AND PATRICIA A SERMERSHE
   9304 S STATE RD 257
   STENDAL, IN 47585

   JEFFREY ROLLWITZ
   9670 ROBBIE JONES RD
   SAN ANGELO, TX 76904

   JEFFREY S CUMMINGS
   700 BOSTON POST RD
   WESTON, MA 02093

   JEFFREY T DEAN
   4001 CARRIAGE HILL DR
   CRESTWOOD, KY 40014

   JEFFREY WOOLNOUGH AND CLAUDETTE RO
   5178 KIPPER WAY
   VERO BEACH, FL 32967

   JEM CNSTRUCTION INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   JENNIFER A ELLINGTON DEC`D TRUST 1
   5714 25RD N
   ARLINGTON, VA 22207

   JENNIFER BJORNSLAD
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 152 of 314
   JENNIFER FELDMAN LICHTMAN
   7951 LAURELRIDGE RD
   SAN DIEGO, CA 92120

   JENNIFER GOODWIN
   3909 MERRIMAN DR
   PLANO, TX 75074

   JENNIFER LONG
   8090 N COFFELT CEMETERY RD
   BENTONVILLE, AR 72713

   JENNIFER S JOHNSON SPECIAL NEEDS T
   359 GEORGETOWN RD
   NAZARETH, PA 18064

   JENSEN HUGHES, INC
   JENSEN HUGHES, INC
   PO BOX 7410242
   CHICAGO, IL 60674

   JEREMY W FUNKHOUSER AND ANDREA M S
   790 MARIGOLD CT
   BRIDGEVILLE, PA 15017

   JEROME AND ANASTASIA ANGEL INTERVI
   REV TRUST DECLARATION OF 1985
   801 E TAHQUITZ CANYON WAY, STE 200
   PALM SPRINGS, CA 92262

   JEROME WASHINGTON
   4223 SAN LUIS ST.
   COMPTON, CA 90221

   JERRY ANDERSON AND SHARON ERIKSSON
   103 BROAD VISTA COURT
   GEORGETOWN, TX 28628

   JERRY MONARCH
   11150 STATE ROUTE
   REYNOLDS STATION, KY 42368




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 153 of 314
   JERRY W SMITH
   129 ASHLEY DR
   MOUNT CARMEL, TN 37645

   JESSE AND KACIE BURT
   334 GARTH RIDGE DR
   ABILENE, TX 79602

   JESSE AND RHODA ABZUG
   20928 SABER JET PLACE
   ASHBURN, VA 20147

   JESSE HOLBROOK III
   6845 OLD MILL ROAD
   NORTH RICHLAND HILLS, TX 76182

   JESSE L ABZUG
   20928 SABER JET PLACE
   ASHBURN, VA 20147

   JESSICA LENNARD
   8405B 8TH AVE NW
   SEATTLE, WA 98117

   JESUS BONILLA
   DORADO BEACH EAST 398
   DORADO, PR 00646

   JESUS LUCIO JR
   1042 KNOXBRIDGE ROAD
   FORNEY, TX 75126

   JI YANG
   80 DASHI W RD QINGYANG DISTRICT
   HE JIA GARDEN, ROOM 513A
   CHENGDU, SICHUAN, 610041 CHINA

   JIA LU
   ROOM 7B, BUILDING 2 FENGLIN OASIS
   DA TUN ROAD, CHAOYANG DISTRICT
   BEIJING,   CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 154 of 314
   JIA MENG
   902, UNIT 1 BLDG 18 SHOUCHENG INTL
   36 GUANGQU ROAD,
   CHAOYANG D, BEIJING 100022 CHINA

   JIA YUAN
   #7A, NO.8 LANE 688, YAN`AN WEST RD
   CHANGNING DISTRICT
   SHANGHAI, 200000 CHINA

   JIAMEI SUN
   ROOM 3705, RUNFU PHASE 3
   NO.36 TONGGU ROAD, NANSHAN DIST
   SHENZHEN, GUANGDONG 511464 CHINA

   JIAN LU
   ADDRESS UNAVAIL AT TIME OF FILING

   JIANLIN FU
   1-1-202, LANTIAN CITY GARDEN,
   168 TIANCHENG ROAD, JIANGGANDST
   HANGZHOU, ZHEJIANG,   CHINA

   JIANQING HE
   RM 33, NO.2, LANE 209, CHANGSHU RD
   XUHUI DISTRICT
   SHANGHAI, 200031 CHINA

   JIAYING ZHENG
   615 WINDSOR LAKE PL
   VIRGINIA BEACH, VA 23452

   JIAZHI YANG
   ROOM 3103, BLDNG #8, REGENTS PARK
   88 HUICHUAN ROAD, CHANGNING DST
   SHANGHAI, 200050 CHINA

   JIAZHU LI
   9141 PINCH SHOT DR
   WINTER GARDEN, FL 34787




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 155 of 314
   JIHONG LIN
   ROOM 210, BUILDING 12, BEIYUAN 2,
   CHAOYANG DISTRICT
   BEIJING, 100012 CHINA

   JIJUN WANG
   4226 129TH PL SE APT 4
   BELLEVUE, WA 98006

   JILL R SANTANGELO LIVING TRUST
   16082 ALISSA COURT
   HOMER GLEN, IL 60491

   JIM CAMPBELL & SONS INC
   ADDRESS UNAVAIL AT TIME OF FILING

   JIM CHRISTENSEN
   22828 SE 268TH PLACE
   MAPLE VALLEY, WA 98038

   JIM WAGNER
   ADDRESS UNAVAIL AT TIME OF FILING

   JIMMY C WHITE
   2933 N HWY 208
   COLORADO CITY, TX 79512

   JING JING XIE
   ADDRESS UNAVAIL AT TIME OF FILING

   JING LU
   B01, BLDG #55, NO 1, GONGYUAN AVE
   PANLONG DISTRICT
   KUNMING CITY, YUNNAN 650224 CHINA

   JING ZHANG
   2445 132ND AVE. SE
   BELLEVUE, WA 98005




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 156 of 314
   JINGHUA LIU
   2-5-4, NO. 9, QINGYUN YUNJI
   ZHONGSHAN DISTRICT,
   DALIAN CITY, LIAONING 110621 CHINA

   JINGYING LOU
   7A VIEW ROAD, GLENFIELD
   AUCKLAND,
   NEW ZEALAND

   JJ WAVRO FAMILY TRUST
   1598 30TH CT
   KENOSHA, WI 53144

   JMW GROUP | WINDERMERE PROPERTY MA
   210 SUMMIT AVE E
   SEATTLE, WA 98102

   JO ANN BEVERLY
   10655 N 9TH ST. #127
   PHOENIX, AZ 85020

   JOAN PARMAN
   250 E ALAMEDA APT 307
   SANTA FE, NM 87501

   JOANN AMICK AND RICHARD AMICK JTWR
   1410 HOBSON
   RICHMOND, TX 77469

   JOANN VON PLINSKY
   8460 RIVERWALK LANDING
   SUWANEE, GA 30024

   JOANNE OWENS-PECK
   9 ENGLISH STATION ROAD
   ROCHESTER, NY 14616

   JODI B MCKINNEY REVOCABLE TRUST
   OS152 CATLIN SQUARE
   GENEVA, IL 60134




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 157 of 314
   JOE AND TAMMY JONES
   125 WEST CLINTON STREET
   DUBLIN, TX 76446

   JOE JONES
   125 W CLINTON ST
   DUBLIN, TX 76446

   JOE KANNER
   200 EAST 58TH STREET
   NEW YORK, NY 10022

   JOEL BERMAN
   27 GREAT POND DR
   BOXFORD, MA 01921

   JOEL KOCEN
   ADDRESS UNAVAIL AT TIME OF FILING

   JOEL M SNYDER
   4960 ROCKFORD DR
   SAN DIEGO, CA 92115

   JOHAN ANDERSSON
   2750 GLORY LN
   TROPHY CLUB, TX 76262

   JOHN A AND MARY E MANOS
   23536 QUAIL HOLLOW DR
   WESTLAKE, OH 44145

   JOHN AND CARMEN HAMMEL
   URB PARKVILLE SUR, B28 CALLE ADAMS
   GUAYNABO, PR 00969

   JOHN AND CYNTHIA EVERS
   3064 GREYWALLS DRIVE
   POWHATAN, VA 23139




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 158 of 314
   JOHN AND DONNA MCDONALD
   PO BOX 880848
   PORT ST. LUCIE, FL 34988

   JOHN AND JUDITH MCCLELLAN
   6387 FAWN LANE
   CIRCLE PINES, MN 55014

   JOHN AND JUDY FRAZIER
   4308 CHENNY LANE
   LOUISVILLE, KY 40299

   JOHN AND RUTH PAYNE
   3220 CANTERBURY LANE
   LOUSIVILLE, KY 40207

   JOHN ARIKO
   271 PRESCOTT DRIVE
   ORLANDO, FL 32801

   JOHN ATZBACH
   15127 NE 24TH ST, SUITE 118
   REDMOND, WA 98052

   JOHN B PHILLIPS
   2404 HEMLOCK FARMS
   HAWLEY, PA 18428

   JOHN BRINDISI
   242 SMITH NECK ROAD
   SOUTH DARTMOUTH, MA 02748

   JOHN C AND TAMMY S RUFF
   828 E POWELL AVE.
   EVANSVILLE, IN 47713

   JOHN CROUCH
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 159 of 314
   JOHN CUOZZO
   16 SABINE LANE
   FRANKLIN, NJ 07416

   JOHN D SURYAN SOLO 401K TRUST
   16531 SE 59TH PLACE
   BELLEVUE, WA 98006

   JOHN DARRAH
   2539 QUAIL GLEN DR
   CARROLLTON, TX 75006

   JOHN F HOGAN
   33 DIKE DR
   CLINTON, MA 01510

   JOHN F SULLIVAN REVOCABLE TRUST UT
   44 HAWTHORNE LN
   BARRINGTON HILLS, IL 60010

   JOHN GEHRON
   55 W DELAWARE PL. #1017
   CHICAGO, IL 60610

   JOHN GEIB
   3449 POTOSI RD
   ABILENE, TX 79602

   JOHN GRIFFIN AND CONSTANCE GRIFFIN
   7425 GAINEY RANCH RD #16
   SCOTTSDALE, AZ 85258

   JOHN H CARLSON
   1601 MINNEAPOLIS AVE
   DULUTH, MN 55803

   JOHN HOWIE STEAK
   11111 NE 8TH ST #125,
   BELLEVUE, WA 98004




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 160 of 314
   JOHN J WILBERT
   4800 COUNTY LINE RD
   MACEDON, NY 14502

   JOHN K GOODNOW AND LUCILLE GOODNOW
   43678 WARBLER SQUARE
   LEESBURG, VA 20176

   JOHN KAISER
   7410 W ECKERTY RD
   ECKERTY, IN 47116

   JOHN KEITH BENTLEY
   2300 KINGS COUNTRY DR
   IRVING, TX 75038

   JOHN L MALISIA REVOCABLE TRUST DTD
   612 STANFORD LANE
   BUFFALO GROVE, IL 60089

   JOHN M AND PATRICIA K JERNEJCIC, J
   3757 WILKES LN
   GIG HARBOR, WA 98332

   JOHN M SAGER
   6720 AMERICAN WAY
   BETHLEHEM, PA 18017

   JOHN MCCARLEY DAVIS
   1851 LEGION DRIVE
   WINTER PARK, FL 32789

   JOHN NASON, ARCHITECT D/B/A NASON
   PO BOX 7385
   CONVINGTON, WA 98042

   JOHN PAUL REID
   119 GOLD CREEK CIRCLE
   FOLSOM, CA 95630




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 161 of 314
   JOHN R AND COLLEEN P HENNING
   24272 HILLVIEW DR
   LAGUNA NIGUEL, CA 92677

   JOHN R HOLMES
   17508 S STATE ROUTE D
   BELTON, MO 64012

   JOHN S SCHOPPE
   216 GERARD CIR.
   MCCORMICK, SC 29835

   JOHN STANLEY QUANTRILL
   5959 COUNTY RD 441
   PRINCETON, TX 75407

   JOHN VAN BRUNT
   11984 GLADSTONE CT
   FRISCO, TX 75035

   JOHN WETTERSTEN
   19 LONGMEADOW RD
   WIMMETKA, IL 60093

   JOHN WILBER
   16389 N 108TH PL.
   SCOTTSDALE, AZ 85255

   JOHN WILLIAM WEISS 2002 TRUST
   4318 WEST PINE BLVD
   ST. LOUIS, MO 63108

   JOHNETTE H VAN EEDEN
   451 WESTPARK WAY, STE 1
   EULESS, TX 76040

   JOHNSON ECONOMICS
   621 SW ALDER SUITE 605
   PORTLAND, WA 97205




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 162 of 314
   JON M AND HELEN C JOHNSTON, JTWROS
   13982 VINTAGE VW
   ABINGDON, VA 24210

   JON M GRACE
   4007 E SAGINAW HWY
   GRAND LEDGE, MI 48837

   JONATHAN D PINCUS + ELEANOR E CLAP
   10 WHITESTONE LANE
   ROCHESTER, NY 14618

   JONATHAN SARNA
   1215 COMMONWEALTH AVENUE
   WEST NEWTON, MA 02465

   JONATHAN SIEGEL
   ADDRESS UNAVAIL AT TIME OF FILING

   JORDAN STONE
   13174 N 100TH PLACE
   SCOTTSDALE, AZ 85260

   JORDON SHELTON
   9717 72ND AVE CT E
   PUYALLUP, WA 98373

   JORGE ASENCIO WEBER
   PO BOX 932
   CAGUAS, PR 00926

   JORGE L PADILLA
   COND LAS OLAS - APT 1C
   1503 AVE ASHFORD
   SAN JUAN, PR 00911

   JORGE L RIVERA JIMENEZ
   PO BOX 1570
   CAGUAS, PR 00726




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 163 of 314
   JORGE SALA
   8169 CALLE CONCORDIA, STE 102
   PONCE, PR 00717

   JOSÉ A ALONSO ALONSO
   65 AVENIDA CONDADO APT. 1, CONDADO
   SAN JUAN, PR 00907

   JOSÉ A ALONSO RETIREMENT PLAN
   URB PASEO MAYOR CALLE10 C36
   SAN JUAN, PR 00926

   JOSE A CHIPI CASAS
   40 CALLE CAOBA
   ESTANCIAS DE TORRIMAR
   GUAYNABO, PR 00966

   JOSE A RODRIGUEZ-RUIZ AND MARIA MU
   2815 W SANDERS DR
   TAMPA, FL 33611

   JOSE AND MARIA MEDINA
   URB MONTE CLARO ME 32 PLAZA 17
   BAYAMON, PR 00961

   JOSE C BENITEZ ULMER
   COND PARKSIDE PH4 D14 CALLE 6
   GUAYNABO, PR 00968

   JOSÉ G MATOS MALAVE RETIREMENT PLA
   CAPITAL CENTER SUR SUITE
   1202 AVA HOSTOS 239
   SAN JUAN, PR 00918

   JOSÉ R CUMBA PROFIT SHARING PLAN
   B-19 SOUTHVIEW COURT BALDWIN PARK
   GUAYNABO, PR 00969




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 164 of 314
   JOSÉ SALA
   URB LA VILLA DE TORRIMAR
   10 CALLE REINA ISABEL
   GUAYNABO, PR 00966

   JOSEPH AIELLO
   6331 DWANE AVE.
   SAN DIEGO, CA 92120

   JOSEPH AND GAIL A MALOCHESKI
   583 ASH LN
   SAYLORSBURG, PA 18353

   JOSEPH AND KAREN SANTONE
   2945 PINE BLOOM WAY
   LELAND, NC 28451

   JOSEPH C AND BARBARA ANSLEY
   6812 MEADOWS WEST DR S
   FORT WORTH, TX 76132

   JOSEPH E KUHN AND CHARLOTTE G KUHN
   REVOCABLE LIVING TRUST
   149 SETTLEMENT DR UNIT 1-9
   BASTROP, TX 78602

   JOSEPH F HORVATH
   6486 KIRKWALL POINT SW
   OCEAN ISLE BEACH, NC 28469

   JOSEPH M JONES
   44 LINDA LANE
   FREMONT, NH 03044

   JOSEPH OCCIPINTI
   727 TYLER DR
   STROUDSBURG, PA 18360

   JOSEPH SANFILIPPO
   116 TOR CIR.
   GIBSONIA, PA 15044




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 165 of 314
   JOSEPH T MURDOCH AND JANICE H MURD
   30 FITZWILLIAMS RD
   WASHINGTON, PA 15301

   JOSEPH V DALLI, CPA, A PROF CORPOR
   540 RALSTON AVE SUITE J
   BELMONT, CA 94002

   JOSH AND LEANN HASLAM FAMILY TRUST
   3180 E WATERMAN COURT
   GILBERT, AZ 85297

   JOSH RIDDELL
   ADDRESS UNAVAIL AT TIME OF FILING

   JOSHUA C PINCUS AND NATALIE A PINC
   57 RENSSELAER DR
   ROCHESTER, NY 14618

   JOSHUA LOWE
   13 LAKE COURT
   NORTH OAKS, MN 55127

   JOY CREECH
   2825 CR 2600
   STANTON, TX 79782

   JOY NECESSARY
   909 CUMBERLAND STREET
   BRISTOL, VA 24201

   JOYCE BYRD
   PO BOX 5832
   CLOVIS, NM 88101

   JOYCE FAMILY TRUST
   ADDRESS UNAVAIL AT TIME OF FILING

   JOYCE ZHONG
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 166 of 314
   JOYFUL HAVEN CLEANING, LLC
   1023 S FERRY ST
   TACOMA, WA 98405

   JP MORGAN SECURITIES, LLC
   605 NORTH MICHIGAN AVENUE
   CHICAGO, IL 60611

   JPMORGAN CHASE & CO.
   270 PARK AVE
   NEW YORK, NY 10017-2001

   JR SAMPSON COMPANY
   4040 ORCHARD ST W
   FIRCREST, WA 98466

   JS COATS
   570 KIRKLAND WAY, SUITE 101
   KIRKLAND, WA 98033

   JSH PROPERTIES, INC
   7325 166TH AVENUE NORTHEAST
   F-260
   REDMOND, WA 98052

   JSM EQUITIES, LLC DBA CALIBER HOME
   ADDRESS UNAVAIL AT TIME OF FILING

   JUAN A NEVAREZ RETIREMENT PLAN
   1699 CALLE PARANA URB RIO
   PIEDRAS HEIGHTS
   SAN JUAN, PR 00926

   JUAN F CANCIO RETIREMENT PLAN
   MIRAMAR ROYAL
   CALLE ROOSEVELT 706 APT. 1001N
   SAN JUAN, PR 00907

   JUAN GUO
   1771 MONROE AVE NE
   RENTON, WA 98056




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 167 of 314
   JUAN R FERNANDEZ
   1717 PONCE DE LEON, APT. 1901
   SAN JUAN, PR 00909

   JUDD WHITE
   2541 JOHN C STEVENS
   ABILENE, TX 79601

   JUDITH A BURNS REVOCABLE TRUST DTD
   16 SHIP ST.
   JAMESTOWN, RI 02835

   JUDITH ESPINAR
   369 MONTEZUMA PERSONAL
   MAIL BOX 553
   SANTA FE, NM 87501

   JUDITH FABRICANT
   24 MULLARKEY DRIVE
   WEST ORANGE, NJ 07052

   JUDITH M GREEN
   4015 FOREST BEACH DR NW
   GIG HARBOR, WA 98335

   JUDITH WILLIAMS
   4524 FOXFIRE WAY
   FT WORTH, TX 76133

   JULIA FALVEY
   ADDRESS UNAVAIL AT TIME OF FILING

   JULIANA GOLDENBERG
   6706 SHELL FLOWER LANE
   DALLAS, TX 75252

   JULIE A BOSIA
   4785 SEA CORAL DR
   SAN DIEGO, CA 92154




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 168 of 314
   JULIE A COOMBS-TUPPER FAMILY TRUST
   70 MORNING MIST LANE
   WAYNESVILLE, NC 28785

   JULIE A FERRELL
   4135 BRIAGROVE LN
   DALLAS, TX 75287

   JULIE COOMBS-TUPPER
   70 MORNING MIST LANE
   WAYNESVILLE, NC 28785

   JULIE HOERR
   1220 EAST ECHO LANE
   PHOENIX, AZ 85020

   JULIE M BEEMAN DEC`D TRUST 12/15/9
   28739 SW SERENITY WAY
   WILSONVILLE, OR 97070

   JULIE MAYKISH TRUST DTD. MAY 24, 2
   20 BEVERLY RD
   WEST CALDWELL, NJ 07006

   JULIE ROBERTS
   259 WINDSOR DRIVE
   EPHRATA, PA 17522

   JUMIO INC
   395 PAGE MILL RD
   PALO ALTO, CA 94306

   JUN SHEN
   #1009, #6, ALLEY 476, CHANGNING RD
   CHANGNING DISTRICT,
   SHANGHAI,   CHINA

   JUNE DEAN
   6600 LOOKOVER CIRCLE
   CRESTWOOD, KY 40014




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 169 of 314
   JUNFEI WANG
   9620 HEATHER PLACE
   RICHMOND, BC V7A 2T3
   CANADA

   JUNMING CHEN
   10-2-402 ZHICHENGYUAN XIXICHENGYUA
   XIHU DIST.
   HANGZHOU, ZHEJIANG, 310030 CHINA

   JUSTIN C KROLL
   ADDRESS UNAVAIL AT TIME OF FILING

   JUYING PENG
   15919 SOUTHEAST 44TH WAY
   BELLEVUE, WA 98006

   KAI AND MICHELLE OGSTON
   911 EAST WILD ROSE ROAD
   COLBERT, WA 99005

   KAI OGSTON
   911 EAST WILD ROSE ROAD
   COLBERT, WA 99005

   KALOS FINANCIAL INC
   11525 PARK WOODS CIR
   ALPHARETTA, GA 30005

   KAMIAK REAL ESTATE
   ADDRESS UNAVAIL AT TIME OF FILING

   KARA M CHAPMAN
   4024 E FAIRMONT AVE
   PHOENIX, AZ 85018

   KAREEM ILIYA
   70 GLEN VIEW DR
   SHOREHAM, VT 05770




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 170 of 314
   KAREN L RICHE
   1292 CHEROKEE RD
   LOUISVILLE, KY 40204-2205

   KAREN MCALLISTER
   328 LAFAYETTE ROAD
   COATESVILLE, PA 19320

   KAREN WATKINS
   873 GARDEN GLENN LOOP
   LAKE MARY, FL 32746

   KARIS PROPERTIES TI
   2701 SYLVAN DRIVE W
   TACOMA, WA 98466

   KAROL MAYER
   1227 BRENHAM DR
   ALLEN, TX 75013

   KAROLEE KASSNER-SAMAC
   16725 3RD AVE S
   BURIEN, WA 98148

   KATHERINE S DEAN
   725 KAPIOLANI BLVD
   APT. 3002
   HONOLULU, HI 96813

   KATHLEEN A ANDERSON
   35 W 979 FIELDCREST DR
   ST. CHARLES, IL 60175

   KATHLEEN A BISHOP DESCENDANTS TRUS
   22W040 GLENDALE TERRACE
   MEDINAH, IL 60157

   KATHLEEN WHISTANCE
   209 SE COYLE CT
   LEE`S SUMMIT, MO 64063




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 171 of 314
   KATHRYN ANN COLE INDV
   79090 VIA SAN CLARA
   LA QUINTA, CA 92253

   KATHRYN HECHT
   146 BEAUMONT AVE
   SAN FRANCISCO, CA 94118

   KATHRYN S LINDQUIST
   847 WASHINGTON STREET
   ANOKA, MN 55303

   KATHY CONN AND KEITH RIEGELSBERGER
   161 WILLIAMSBURG DRIVE
   AVON LAKE, OH 44012

   KATHY CONN
   161 WILLIAMSBURG DRIVE
   AVON LAKE, OH 44012

   KATIE J GALE
   12308 N 90TH WAY
   SCOTTSDALE, AZ 85260

   KAVI MARKETPLACE
   3300 NW 185TH AVENUE, SUITE 158
   PORTLAND, OR 97229

   KAY DELGADO
   4515 FOREST BEND COURT
   GARLAND, TX 75040

   KAYLA WOOD
   ADDRESS UNAVAIL AT TIME OF FILING

   KBRI6
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 172 of 314
   KE LI
   ROOM 2502, NO. 11 LANE 58,
   SOUTH LONGZHOU ROAD, MINHANG DST
   SHANGHAI, CHINA

   KE REN
   ROOM 3206 BUILDING 1,,
   FENGHUANGHEMEI CTY, CHANGHONG RD
   YUHUAT NANJING, JIANGSU 210000 PRC

   KEITH A RIEGELSBERGER
   3259 NAPA BLVD
   AVON, OH 44011

   KEITH A WILSON
   1302 CASA MARINA LANE NW
   ALEXANDRIA, MN 56308

   KELLE TYSON
   216 GLITCHEGUMEE DR
   BUCKLEY, MI 49620

   KELLEN M WOLFE
   14596 RANCH TRAIL DR
   EL CAJON, CA 92021

   KELLER WILLIAMS REALTY INC
   1000 SE EVERETT MALL WAY #201
   EVERETT, WA 98208

   KELLY BAGGETT
   4802 117TH STREET
   LUBBOCK, TX 79424

   KENNEDY WILSON INC
   151 S EL CAMINO DR
   BEVERLY HILLS, CA 90212

   KENNETH AND BEVERLY KNIGHT, JTWROS
   3900 RIDGE ROAD
   WILLOW PARK, TX 76087




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 173 of 314
   KENNETH AND DONNA CHARBONEAU
   43536 CANLA DR
   PAW PAW, MI 49079

   KENNETH AND GLORIA GLOVER
   8851 HARDWICK RD
   ABILENE, TX 79606

   KENNETH AND JULIANA BARROW
   2107 HEMLOCK LN
   EAST STROUDSBURG, PA 18302

   KENNETH AND KATHLEEN THOMPSON
   2314 QUARTERPATH DRIVE
   RICHMOND, TX 77406

   KENNETH AND PATRICIA CASON
   817 NE COLLEEN DR
   LEE`S SUMMIT, MO 64086

   KENNETH CHARBONEAU
   43536 CANLA DR
   PAW PAW, MI 49079

   KENNETH E ADAMS
   11 SOUTH LAKE BRIDGE
   INLET BEACH, FL 32461

   KENNETH G AND CARLA M STEVENS
   9752 NEW CALIFORNIA DR
   PLAIN CITY, OH 43064

   KENNETH G STEVENS
   9752 NEW CALIFORNIA DR
   PLAIN CITY, OH 43064

   KENNETH L MICHAELIS & ELAINE A MIC
   134 CRYSTAL SPRINGS DRIVE
   GEORGETOWN, TX 78633




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 174 of 314
   KENNETH PODPESKAR
   14096 BURGUNDY COURT
   ROSEMOUNT, MN 55068

   KENNETH PORTER
   1850 KEARNEY CT, NE
   LELAND, NC 28451

   KENNETH ROCHEN
   5504 80TH ST.
   LUBBOCK, TX 79424

   KENT CHARBONEAU
   64683 77TH AVE
   HARTFORD, MI 49057

   KENT HOLMES PAINTING
   4720 BROWNS POINT BLVD
   TACOMA, WA 98422

   KERRY M GOLDS AND DEREK C MAZIQUE
   511 MADISON STREET
   HOBOKEN, NJ 07030

   KEVIN AND PAMELA LONG
   PO BOX 105
   BLAKESLEE, PA 18610

   KEVIN BENTSON
   ADDRESS UNAVAIL AT TIME OF FILING

   KEVIN C BERRY LIVING TRUST
   24083 N 76TH PL.
   SCOTTSDALE, AZ 85255

   KEVIN C BERRY
   24083 N 76TH PL.
   SCOTTSDALE, AZ 85255




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 175 of 314
   KEVIN COE
   1727 CLARKE SPRINGS DR
   ALLEN, TX 75002

   KEVIN J POUCHE
   10 COUNTRY ROAD
   CHESTNUT HILL BROOKLINE, MA 02476

   KEVIN M MEDEIROS
   18 ORCHARD DR
   HUDSON, MA 01749

   KEVIN M WEST
   160 UNIVERSITY RD
   BROOKLINE, MA 02445

   KEVIN R CROCKETT
   28188 DESERT PRINCESS DRIVE
   CATHEDRAL CITY, CA 92234

   KEVIN RUPERT
   1834 ADAMS AVE
   SAN DIEGO, CA 92116

   KEVIN SUMMA
   731 LOWER DEER VALLEY RD
   TANNERSVILLE, PA 18372

   KEYSTONE NATIONAL GROUP, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   KIDDER MATHEWS
   500 108TH AVE NE, SUITE 2400
   BELLEVUE, WA 98004

   KIM A PARR
   3945 MILITARY ROAD NW
   WASHINGTON, DC 20015




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 176 of 314
   KIM M FIGLIULO
   12512 LAKE VIEW DR
   ORLAND PARK, IL 60467

   KIM MEACHAM
   ADDRESS UNAVAIL AT TIME OF FILING

   KIMLEY-HORN AND ASSOCIATES, INC.
   421 FAYETTEVILLE ST
   RALEIGH, NC 27601

   KIN+CARTA (AKA:SPIRE DIGITAL)
   PO BOX 2619
   LITTLETON, CO 80161

   KING COUNTY FINANCE
   201 S JACKSON ST STE 710
   SEATTLE, WA 98104

   KING COUNTY HOUSING AUTHORITY
   600 ANDOVER PARK W
   TUKWILA, WA 98188

   KING COUNTY TREASURY
   201 S JACKSON ST. #710
   SEATTLE, WA 98104

   KINGBOND INTERNATIONAL INVESTMENT
   RM A, 20/F, KIU FU COMMERCIAL BLDG
   300 LOCKHART RD
   WANCHAI, HONG KONG

   KINGDOM TRUST
   PO BOX 870
   MURRAY, KY 42071

   KINGSBURY CAPITAL, INC.
   1560 SHERMAN AVENUE, SUITE 520
   EVANSTON, IL 60201




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 177 of 314
   KIRK D HARTMAN
   998 WEST ARCHERFIELD DRIVE
   MERIDIAN, ID 83646

   KIRKLAND DEVELOPMENT, LLC
   2300 E 3RD LOOP, SUITE 100
   VANCOUVER, WA 98661

   KIRKLAND GMC
   12335 120TH AVE NE
   KIRKLAND, WA 98034

   KIT L MCMANUS
   153 OAK BRANCH CT
   WAXAHACHIE, TX 75167

   KITSAP COUNTY
   614 DIVISION ST
   PORT ORCHARD, WA 98366-4614

   KITTIAS COUNTY
   ADDRESS UNAVAIL AT TIME OF FILING

   KLEENSWEEP CONSTRUCTION, INC.
   PO BOX 611
   MILTON, WA 98354

   KLEPPS
   ADDRESS UNAVAIL AT TIME OF FILING

   KLIEMANN BROTHERS HEATING & AIR
   4703 116TH STREET EAST
   TACOMA, WA 98446

   KOSNIK ENGINEERING, PC
   10505 19TH AVE SE, SUITE B
   EVERETT, WA 98208




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 178 of 314
   KPFF, INC.
   1601 FIFTH AVE.
   SUITE 1600
   SEATTLE, WA 98101

   KRISTINA D CRAWFORD
   514 ROCHESTER CLOSE
   FRANKLIN, TN 37064

   KRISTON TRETTON
   185 MANVILLE HILL RD UNIT 507
   CUMBERLAND, RI 02864

   KUN WANG
   NO.144, BLD 14 #6 CRHNG TIGER BRDG
   HAIDIAN DISTRICT
   BEIJING, 100044 CHINA

   KUNZMAN & BOLLINGER, INC
   5100 N BROOKLINE AVE
   SUITE 600
   OKLAHOMA CITY, OK 73112

   KUO ZHONG
   6TH FLR, BLDG B, RAYCOM INFO CNTR
   HAIDIAN DISTRICT
   BEIJING,   CHINA

   KURT M RAWDING
   331 REMINGTON ROAD
   EAST STROUDSBURG, PA 18301

   KURT R BALDRY
   12868 90TH ST. NE
   OTSEGO, MN 55330

   KVCF, PLC
   1401 E CARY STREET
   RICHMOND, VA 23219




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 179 of 314
   KVH CONSTRUCTION
   ADDRESS UNAVAIL AT TIME OF FILING

   KWAN CHAN AND DEWEI ZOU
   4209 WHITMAN AVENUE NORTH
   SEATTLE, WA 98103

   KYLE RIVA
   4563 TIGUA ISLAND CT
   WINTER PARK, FL 32792

   L & L PRINTING, INC.
   1430 E MAIN AVE SUITE E
   PUYALLUP, WA 98372

   L&R CORPORATION
   PO BOX 643
   YAUCO, PR 00698

   LA ARBOLEDA, LLC
   MCS PLAZA, SUITE 804, 255 AVE.
   PONCE DE LEON
   SAN JUAN, PR 00917

   LAFFERTY & ASSOCIATES
   7719 S 124TH ST.
   SEATTLE, WA 98178

   LAKE UNION ESTATES, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   LAKE WASHINGTON HUMAN RESOURCES AS
   2150 NORTH 107TH STREET
   SUITE 205
   SEATTLE, WA 98133

   LANDMARK DESIGN INC
   1202 MAIN STREET #104
   SUMNER, WA 98390




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 180 of 314
   LARRY D HAYES
   4910 HACKBERRY LN
   PARKER, TX 75002

   LARRY DREW KEMP
   9509 FM 860
   MONTALBA, TX 75853

   LARRY E AND RITA S VEST (JTWROS)
   4212 CENTERFIELD DR
   CRESTWOOD, KY 40014

   LARRY GLANVILLE
   361 BARKS ROAD
   CALEDONIA, NY 14423

   LARRY HAHN
   2383 CAMDEN LAKE CIRCLE NORTHWEST
   ACWORTH, GA 30101

   LARRY J LUCKIE
   PO BOX 1962
   OZONA, TX 76943

   LARRY L PENKA AND JANICE L PENKA T
   5417 W 141ST ST. TERRACE
   LEAWOOD, KS 66224

   LARRY MCCORD
   3775 GUMTREE LANE
   ST. LOUIS, MO 63129

   LARRY W HAIRGROVE
   453 ANDERSON COUNTY RD #1209
   GRAPELAND, TX 75844

   LARSON & ASSOCIATES
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 181 of 314
   LATCHMIN KISSOON
   1821 DITMARS BLVD
   ASTORIA, NY 11105

   LAUCHLIN R BETHUNE ASSOCIATES, INC
   P O.BOX 1442
   MAPLE VALEEY, WA 98038

   LAURA D JONES TRUST DATED 9/28/201
   5989 BUTTONWOOD SQ
   VERO BEACH, FL 32966

   LAURA M STEVENS
   11981 CYPRESS VALLEY DR
   SAN DIEGO, CA 92131

   LAURA SCIBA
   ADDRESS UNAVAIL AT TIME OF FILING

   LAUREN C HART
   2160 CALLAHAN DRIVE
   FORNEY, TX 75126

   LAW OFFICE OF HANZHANG XU
   1901 AVENUE OF THE STARS,
   STE 200
   LOS ANGELES, CA 90067

   LAWN BOYS INC.
   1836 TERMINAL DR
   RICHLAND, WA 99354

   LAWRENCE E MAGEE
   16311 CANYON SHADOW
   SAN ANTONIO, TX 78232

   LAWRENCE S AND BETTY L FRIES
   703 MARDEL DR #503
   NAPLES, FL 34104




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 182 of 314
   LEANDRO C & TERESITA V CENTENERA
   11206 SPYGLASS HILL LANE NE
   ALBUQUERQUE, NM 87111

   LEANNE KUHLMAN
   24419 30TH AVENUE EAST
   SPANAWAY, WA 98387

   LEASE DIRECT
   ADDRESS UNAVAIL AT TIME OF FILING

   LEBLANC FINANCIAL
   ADDRESS UNAVAIL AT TIME OF FILING

   LEE & ASSOCIATES COMMERCIAL
   701 PIKE STREET, SUITE 1025
   SEATTLE, WA 98101

   LEGAL & COMPLIANCE LLC
   330 CLEMATIS ST
   WEST PALM BEACH, FL 33401-4614

   LEGENDS ROOFING CO., INC.
   PO BOX 731249
   PUYALLUP, WA 98373

   LEI (RAYMOND) ZHANG (DON`T USE)
   APT. 1204 NO. 17, LANE 28,
   GUILIN DONG JIE, XUHUI DISTRICT
   SHANGHAI,   CHINA

   LEI (RAYMOND) ZHANG
   APT. 1204 NO. 17, LANE 28,
   GUILIN DONG JIE,, XUHUI DISTRICT
   SHANGHAI, 200000 CHINA

   LEI WANG
   ROOM 209, BUILDING 3 BEIJING ZUNFU
   NO. 9 NAOSHIKOU STREET, XICHENG DS
   BEIJING,   CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 183 of 314
   LEROY W FRICK LIVING TRUST
   124 E OAK ST.
   DALE, IN 47523

   LESA ROSS
   8201 THOMPSON PKWY
   ABILENE, TX 79606

   LESLIE D GARDNER
   9710 MAIN STREET UNIT A
   BOTHELL, WA 98011

   LESTER KOBZIK
   279 KELTON AVE.
   SAN CARLOS, CA 94070

   LEVAIN BAKERY INC
   167 WEST 74TH STREET
   NEW YORK, NY 10023

   LI GAO
   SENAVERA WATERSCAPE GARDEN
   CHAOYANG DISTRICT
   BEIJING, 100020 CHINA

   LI LI
   1004, #1, BLD 2 JIANYE TIANZHU,
   SHANGDING RDKANGNING, GUANCHENG DS
   ZHENGZHOU,HENAN, 450016 CHINA

   LI SI
   4-1202 WANJIAHUACHENG
   NO.380 PINGSHUI ST, GONGSHU DIST
   HANGZHOU, ZHEJIANG,   CHINA

   LIANXUE YAN
   2-14-2 WOBOYUAN COMMUNITY
   SOUTH WUMA RD, HEPING DISTRICT
   SHENYANG, LIAONING 110000 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 184 of 314
   LIBERTY LAND DEVELOPMENT
   ADDRESS UNAVAIL AT TIME OF FILING

   LIBERTY MUTUAL INSURANCE
   PO BOX 91013
   CHICAGO, IL 60680-1171

   LIBERTY TRUST CO.
   8226 DOUGLAS AVE, SUITE 520
   DALLAS, TX 75225

   LIGHTHOUSE LENDERS, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   LIMA ONE CAPITAL, LLC
   201 EAST MCBEE AVE SUITE 300
   GREENVILLE, SC 29601

   LIN LAN SUN
   ADDRESS UNAVAIL AT TIME OF FILING

   LINCOLN FINANCIAL GROUP
   PO BOX 2248
   FORT WAYNE, IN 46801

   LINDA BENENATO
   10114 NE 63RD ST
   KIRKLAND, WA 98033

   LINDA E SMEDBERG TRUST NUMBER 01E4
   2135 N JUNPER LN
   ARLINGTON HEIGHTS, IL 60004

   LINDA HANSON
   1400 JULIE CT
   RENO, NV 89509

   LINDA J WILLIAMS
   4787 GALICIA WAY
   OCEANSIDE, CA 92056




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 185 of 314
   LINDA OLSON-SCHOPPE
   216 GERARD CIR.
   MCCORMICK, SC 29835

   LINDA S JONES HOULE
   15 EVERGREEN RD
   LINCOLN, RI 02865

   LINDA SUE CUNNINGHAM
   106 ROWAN DR
   BRISTOL, TN 37620

   LINDEN PARK HEATED STORAGE
   2102 E MAIN AVE
   PUYALLUP, WA 98372

   LING CAI
   ADDRESS UNAVAIL AT TIME OF FILING

   LING LUO
   1923 KNOXBRIDGE RD
   FORNEY, TX 75126

   LING-LING TSOU
   348 8F-1 KUANG FU SOUTH ROAD
   TAIPEI CITY, TAIWAN, 10693
   CHINA

   LINGYI ZHONG
   NO.153 CHAOHUI ROAD
   JINDUHUATING 5-3-902, GONGSHU DST
   HANGZHOU, ZHEJIANG, 310000 CHINA

   LINJI SUN
   ROOM 501, NO. 10, LANE 100,
   TIANLIN EAST ROAD, AIJIANYUAN
   XUHUI DST, SHANGHAI, 200030 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 186 of 314
   LINKAGE INTERNATIONAL TECHNOLOGIES
   RAL 88 88 DES VOEUX RD CENTRAL
   HONG KONG,
   CHINA

   LINVILLE LAW FIRM, PLLC
   800 5TH AVE STE 3850
   SEATTLE, WA 98104

   LISA CLARE-YEAGER
   537 NORTH 75TH STREET
   SEATTLE, WA 98103

   LIYA JIN (GRACE SHIN)
   RM 401, UNIT 3, BLD 7, LE`AN LI
   WEITANG TOWN,
   JIASHAN CTY, ZHEJIANG 314103 CHINA

   LIYUN DONG
   ADDRESS UNAVAIL AT TIME OF FILING

   LIYUN JIN
   1B-2803, QIANHAI PLAZA
   NO. 9 QIANHAI ROAD, NANSHAN DIST
   SHENZHEN, GUANGDONG 518054 CHINA

   LIZHENG SUN
   NO.73, NO.115 NEI, LINYUSI STREET
   NANSHI DISTRICT
   BAODING, HEBEI, 071000 CHINA

   LMLAL, LLC
   5238 LOLETA AVENUE
   LOS ANGELES, CA 90041

   LOBERG ROOFING
   5800 188TH ST SW STE A
   LYNNWOOD, WA 98037

   LOIS BICHERAY
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 187 of 314
   LOLA
   2000 4TH AVE
   SEATTLE, WA 98121

   LONG YU
   RM 101 BUILDING 35 NO.55 YUEFU RD
   BAOSHAN DISTRICT
   SHANGHAI, 2019000 CHINA

   LOREN F HALVERSON
   2233 KNOLL CIR.
   ANCHORAGE, AK 99501

   LORI MCGOVERN
   25115 S E 146TH STREET
   ISSAQUAH, WA 98027

   LORI YOUNGBERG
   3802 HERON DR
   LORAIN, OH 44053

   LORIN D RONNOW
   1370 E STRATFORD AVE.
   SALT LAKE CITY, UT 84106

   LORRAINE HIBBERT
   3639 E INDIGO BAY CT
   GILBERT, AZ 85234

   LORRAINE KULPA
   605 W MADISON STREET 3-2611
   CHICAGO, IL 60661

   LOTS PLUS, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   LOUIS C MITCHELL JR
   4870 1/2 OLD CLIFFS ROAD
   SAN DIEGO, CA 92120




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 188 of 314
   LOWELL FAMILY TRUST
   70 MORNING MIST LANE
   WAYNESVILLE, NC 28785

   LPL FINANCIAL
   126 HOLIDAY HILLS DRIVE
   BRISTOL, NH 03222

   LSN SOFT INC
   24919 SE 43RD ST.
   SAMMAMISH, WA 98029

   LU GAO
   RM 2201, BLD #3, LANE 168
   NANDAN DONG RD , XUHUI DISTRICT
   SHANGHAI, 200000 CHINA

   LUCHA MALATO
   19 WINCHESTER DR
   CALIFON, NJ 07830

   LUIS E CUMMINGS CARRERO
   3417 PASEO VERSATIL
   URB VISTA POINT
   PONCE, PR 00716

   LUIS ORTIZ RIVERA AND ANA M CERVER
   CONDOMINIO GALAXY APT 904
   CAROLINA, PR 00979

   LUIS PIO SANCHEZ RETIREMENT PLAN
   PO BOX 1246
   GUAYNABO, PR 00970

   LUKEA MIGRATION SERVICE LIMITED
   RM 1701, 17/F , NEW TREND CENTRE,
   704 PRINCE EDWARD ROAD EAST,
   SAN PO KONG, KLN, HONG KONG




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 189 of 314
   LUNCHBOX LABORATORY
   989 112TH AVE NE #105
   BELLEVUE, WA 98004

   LUX CUSTOM HOMES
   ADDRESS UNAVAIL AT TIME OF FILING

   LV LONG
   IPOH LANE 7, #13-02
   SINGAPORE, 438610
   SINGAPORE

   LVM IRONWORKS LLC
   566 LEHMAN DRIVE
   CAMANO ISLAND, WA 98282

   LYLE HOMES, INC.
   10604 NE 38TH PLACE
   KIRKLAND, WA 98033

   LYNN WALLS BUSSMAN
   18208 PRESTON RD #D9-427
   DALLAS, TX 75252

   LYNNE C MARGOLIN REVOCABLE TRUST D
   17941 FAIROAKS WAY
   BOCA RATON, FL 33498

   LYNNE R LEVIN REVOCABLE TRUST U/A
   415 OAK KNOLL TERRACE
   ROCKVILLE, MD 20850

   M AND J DOYLE REVOCABLE TRUST
   10001 TIMOTHY LN
   VILLA PARK, CA 92861

   M2 COMPLIANCE LLC
   501 EAST LAS OLAS BLVD
   SUITE 30C
   FORT LAUDERDALE, FL 33301




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 190 of 314
   MADRONICA CLARKE
   809 E 40TH ST. APT. 6-4
   CHICAGO, IL 60653

   MAI HUANG
   3288 NE MAGNOLIA ST
   ISSAQUAH, WA 98029

   MAINSTAR TRUST
   214 WEST 9TH ST
   ONAGA, KS 66521

   MALLORY REVOCABLE TRUST
   3050 STANFIELD AVENUE
   ORLANDO, FL 32814

   MALSAM TSANG ENGINEERING CORP
   122 S JACKSON ST
   SUITE 210
   SEATTLE, WA 98104

   MAÑALAC, MADELLAINE
   ADDRESS UNAVAIL AT TIME OF FILING

   MANUEL A SUAREZ MENDEZ
   PO BOX 366029
   SAN JUAN, PR 00936

   MANUEL AND ELDA W CARRILLO
   1126 SUNSET LANE
   CHELAN, WA 98816

   MANUEL GONZALEZ
   PO BOX 367382
   SAN JUAN, PR 00936

   MANUEL MARTINEZ
   563 BARBOSA AVE
   SAN JUAN, PR 00923




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 191 of 314
   MANUEL MEDINA
   PO BOX 1498
   VEGA BAJA, PR 00694

   MARC WELLS
   ADDRESS UNAVAIL AT TIME OF FILING

   MARCUM LLP
   601 ROUTE 73 NORTH, SUITE 400
   MARLTON, NJ 08053

   MARCUS & MILLICHAP
   601 UNION STREET
   SEATTLE, WA 98101

   MARGARET LAYFIELD
   7766 BURNT OAK TRAIL
   JACKSONVILLE, FL 32256

   MARGARET SCHELLENBERGER
   90 FIELDSTONE CT
   NEW ALBANY, IN 47150

   MARGARET WHITE
   3905 EAST 3RD STREET
   LEHIGH ACRES, FL 33936

   MARIA FERNANDEZ-CABRERA
   83125 EXETER CT
   THERMAL, CA 92274

   MARIA M PORTILLA DELGADO
   9 CALLE FRAY INIGO
   BOSQUE DE LOS FRULIES
   GUAYNABO, PR 00969

   MARIANA ROCHEN
   5504 80TH ST.
   LUBBOCK, TX 79424




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 192 of 314
   MARILYN J VARCOE
   4751 GULFSHORE BLVD N #1402
   NAPLES, FL 34103

   MARILYN Z MENDELL REVOCABLE TRUST
   529 SOUTH FLAGLER DR APT 17G
   WEST PALM BEACH, FL 33401

   MARIO AND PAMELA VITALE
   1003 BRAZOS DR
   SOUTHLAKE, TX 76092

   MARIO TEMPESTA
   48 W AMY LN
   ROCHESTER, NY 14626

   MARK A & CRYSTAL T LANG
   105 VIA AMALFI
   NEW SMYRNA BEACH, FL 32169

   MARK AND ELAINE GERSHENSON
   1133 N VISTA VESPERO
   PALM SPRINGS, CA 92262

   MARK AND JUDITH STOLNITZ
   2801 HARBOR BLVD
   OXNARD, CA 93035

   MARK AND LINDA MOULDING
   25484 SW PETES MOUNTAIN RD
   WEST LINN, OR 97068

   MARK AND MONIQUE SULLIVAN TRUST UA
   15516 ARTESIAN RIDGE ROAD
   SAN DIEGO, CA 92127

   MARK AND MONIQUE SULLIVAN
   714 MARLITA ST.
   HERMOSA BEACH, CA 92054




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 193 of 314
   MARK BORENSTEIN
   1024 STANFORD STREET
   SANTA MONICA, CA 90403

   MARK D GERSHENSON
   1133 N VISTA VESPERO
   PALM SPRINGS, CA 92262

   MARK E BEAUGARD
   633 PLUM RUN DRIVE
   WEST CHESTER, PA 19382

   MARK E TOMPKINS
   838 MENTELLE DR NE
   ATLANTA, GA 30308

   MARK GRACE
   5501 PETOSKEY ST.
   ALANSON, MI 49706

   MARK HADENFELDT
   220 PIEDRAS DEL NORTE
   SEDONA, AZ 86351

   MARK J FINKELSTEIN
   1071 COMMONWEALTH AVE
   NEWTON CENTRE, MA 02459

   MARK KEATEN
   101 COYOTE RUN
   WAXAHACHIE, TX 76165

   MARK ROTH
   17837 29TH AVE NE
   LAKE FOREST PARK, WA 98155

   MARK TRAVERS ARCHITECT
   2315 EAST PIKE STREET
   SEATTLE, WA 98122




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 194 of 314
   MARK W HERTEL
   1300 N KELLY DR
   SEYMOUR, TX 76380

   MARKET FRESH FRUIT, LLC
   1916 PIKE PL SUITE #12-350
   SEATTLE, WA 98101

   MARKET FRESH
   NEWARK LIBERTY INT AIRPORT
   NEWARK, NJ 07114

   MARKETPLACE REALTY ADVISORS LLC
   23515 NORTHEAST NOVELTY HILL ROAD,
   SUITE B221 #237
   REDMOND, WA 98053

   MARKETS GROUP
   44 E 32ND STREET
   4TH FLOOR
   NEW YORK, NY 10016

   MARKTPLACE REALTY ADVISORS LLC
   23515 NOVELTY HILL ROAD
   SUITE B221 #237
   REDMOND, WA 98053

   MARLA BASSLER
   1130 LONGVIEW DR
   PRESCOTT, AZ 86305

   MARLIN CAPITAL SOLUTIONS
   MARLIN BUSINESS BANK
   PO BOX 13604
   PHILADELPHIA, PA 19101

   MARLYN TRUST
   105 AVE. ORTEGON, APT. 1601
   GUAYNABO, PR 00966-2513




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 195 of 314
   MARTHA ANN MCCARLEY SMITH
   17619 WOODS EDGE DR
   DALLAS, TX 75287

   MARTIN F STONE
   4304 37TH STREET NORTHWEST
   WASHINGTON, DC 20008

   MARTIN FREDERICK STONE REVOCABLE T
   4304 37TH ST. NW,
   WASHINGTON, DC 20008

   MARTIN HEDMAN
   ADDRESS UNAVAIL AT TIME OF FILING

   MARTIN T SORGE
   #7 ASHWOOD CIR.
   ROCHESTER, NY 14624

   MARTINSON PAINTING, LLC
   PO BOX 1848
   MILTON, WA 98354

   MARVIN L AND LAUREL A RODE
   2621 E BLOCHER RD
   SCOTTSBURG, IN 47170

   MARVIN OR GAYLE ARRUDA
   ADDRESS UNAVAIL AT TIME OF FILING

   MARY AND AUGUST ROSSANO, COMM PROP
   2178 NE NELSON LANE
   ISSAQUAH, WA 98029

   MARY AND BERNARD BRADY, JTWROS
   700 COUNTRY ROAD HM
   TWIN LAKES, WI 53181




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 196 of 314
   MARY BEALL
   TTEE OF THE SURVIVOR`S TRUST
   21 SPINNAKER WAY
   CORONADO, CA 92118

   MARY BRADY
   700 COUNTY ROAD HM
   TWIN LAKES, WI 53181

   MARY D AMES,
   BEN OF BARBARA R DEGNAN EST
   PO BOX 892
   PROCTOR, TX 76468

   MARY D KEMPER
   2245 WALL ST.
   EAGAN, MN 55122

   MARY G CASH
   7120 KING RANCH RD
   NORTH RICHLAND HILLS, TX 76182

   MARY H BREEN
   21 AUSTIN LANE
   LITTLE COMPTON, RI 02837

   MARY JANE AND THOMAS D SULLIVAN
   7722 STEVENS ST
   DARIEN, IL 60561

   MARY JANE TOLLEY
   1312 STOKES STATION RD
   GOOCHLAND, VA 23063

   MARY L ALFINI TRUST
   419 E ORCHARD ST.
   ARLINGTON HEIGHTS, IL 60005

   MARY L ALFINI
   419 E ORCHARD ST.
   ARLINGTON HEIGHTS, IL 60005




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 197 of 314
   MARY LOU CRIQUI
   1918 COLTRANE PL.
   ESCONDIDO, CA 92027

   MARY SUE SCHICK
   2610 E PRAIRIE CREEK DRIVE
   RICHARDSON, TX 75080

   MASHINDER BAHIA
   ADDRESS UNAVAIL AT TIME OF FILING

   MASTER ZHANG REMODELING LLC
   5040 117TH AVE SE
   BELLEVUE, WA 98006

   MATADOR RESTAURANT
   110 N WAYNE AVE
   WAYNE, PA 19087-3315

   MATERIALS TESTING CONSULTING INC (
   777 CHRYSLER DRIVE
   BURLINGTON, WA 98233

   MATTHEW J SCHMIDT
   427 WOLLERTON STREET
   WEST CHESTER, PA 19382

   MATTHEW LONGHURST
   ADDRESS UNAVAIL AT TIME OF FILING

   MATTHEW PROFFITT
   4330 CIELO TRAIL
   MIDLOTHIAN, TX 76065

   MAUREEN F CARDIFF
   12244 LA MAIDA STREET
   VALLEY VILLAGE, CA 91607




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 198 of 314
   MAUREEN H HALL
   631 WILLIAMS DR
   WINTER PARK, FL 32789

   MAUREEN H MCNEIL
   1271 TUSCANY BOULEVARD
   VENICE, FL 34292

   MAXIE AND BEVERLY CARDOZA, JTWROS
   1105 ROCKMOOR DR
   FORT WORTH, TX 76134

   MAXIE CARDOZA
   1105 ROCKMOOR DR
   FORT WORTH, TX 76134

   MAXIMUM PERFORMANCE INC
   16603 MERIDIAN E
   PUYALLUP, WA 98375

   MAYA SINHA
   5533 E MURIEL DR
   SCOTTSDALE, AZ 85254

   MAYES TESTING ENGINEERS, INC.
   PO BOX 959673
   ST LOUIS, MO 63195

   MC FINANCIAL SERVICES INC.
   9117 FELSMERE CIR.
   LOUISVILLE, KY 40241

   MCCULLOUGH HILL LEARY, P S
   701 FIFTH AVE., SUITE 6600
   SEATTLE, WA 98104

   MCCULLOUGH HILL LEARY, PS (DONOTUS
   701 FIFTH AVE SUITE 6600
   SEATTLE, WA 98104




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 199 of 314
   MCDOWELL NW PILE KING, INC
   18905 84TH AVE S
   KENT, WA 98032

   MEDOVA HEALTHCARE FINANCIAL GROUP
   345 RIVERVIEW ST #600
   WICHITA, WA 67203

   MEENU SAINI
   55 STALTONSTALL ROAD
   HAVERHILL, MA 01830

   MEGA PACIFIC INVESTMENTS, LTD
   ADDRESS UNAVAIL AT TIME OF FILING

   MEIFANG PAN
   RM1302, BLD 5, CENTURY NEW CITY
    GUDANG ST., XIHU DISTRICT
   HANGZHOU, ZHEJIANG, 310000 CHINA

   MEIHUA CHEN
   29-3-601, HUSHU NEW VILLAGE
   GONGSHU DISTRICT
   HANGZHOU, ZHEJIANG, 310005 CHINA

   MEREDITH DEE MCCUE
   1051 OCEAN SHORE BLVD APT 804
   ORMOND BEACH, FL 32176

   MEREDITH ZYETZ
   8600 SILVER RIDGE DR
   AUSTIN, TX 78759

   MERIDIAN CAFE
   ADDRESS UNAVAIL AT TIME OF FILING

   MERIDIAN CENTER ELECTRIC (MCE)
   11109 66TH AVE E
   PUYALLUP, WA 98373




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 200 of 314
   MERIDIAN GREENS HOLDINGS
   ADDRESS UNAVAIL AT TIME OF FILING

   MERIDIAN VILLAGE DEVELOPMENT, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   METAL ROOF SPECIALTIES
   712 54TH AVE E
   FIFE, WA 98424

   MEYER FAMILY TRUST DTD 11/09/1993
   23005 NORTH 74TH ST #3004
   SCOTTSDALE, AZ 85255

   MEYERS ASSOCIATES LP
   ADDRESS UNAVAIL AT TIME OF FILING

   MF GONZALEZ MELENDEZ RETIREMENT PL
   PO BOX 367382
   SAN JUAN, PR 00936

   MGSM HOLDINGS LLC
   9527 EAST VERDE GROVE VIEW
   SCOTTSDALE, AZ 85255

   MIC HOLDING LLC
   268 AVE PONCE DE LEON STE 1005
   SAN JUAN, PR 00918

   MICHAEL A ADELIZZI
   1765 33RD ST. SW
   ALLENTOWN, PA 18103

   MICHAEL A GERMANA
   3239 DEER CHASE RUN
   LONGWOOD, FL 32779

   MICHAEL AND KAREN DIKES
   366 CR323
   TUSCOLA, TX 79562




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 201 of 314
   MICHAEL AND KATHLEEN BAILEY
   10780 E WILDCAT HILL RD
   SCOTTSDALE, AZ 85262

   MICHAEL BUCKA
   12951 SLEEPY WIND
   MOOREPARK, CA 93021

   MICHAEL CHARBONEAU
   64683 77TH AVE
   HARTFORD, MI 49057

   MICHAEL COBURN
   PO BOX 391
   ARGYLE, TX 76226

   MICHAEL COLE
   482 S SOUTH LONG LAKE ROAD
   TRAVERSE CITY, MI 49685

   MICHAEL D AND MARILYNN CHANCE
   3800 FOREST
   KANSAS CITY, MO 64109

   MICHAEL D WESDELL
   13272 SPARREN AVE
   SAN DIEGO, CA 92129

   MICHAEL DEAN
   9910 STONESTREET RD
   LOUISVILLE, KY 40272

   MICHAEL E FLUSCHE
   1601 SHADY BEND DR
   MCKINNEY, TX 75071

   MICHAEL FITZPATRICK
   1885 SCOTT VALLEY ROAD
   RENO, NV 89523




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 202 of 314
   MICHAEL FONDREN
   12547 HIGH MEADOW DR
   DALLAS, TX 75244

   MICHAEL FOSS
   ADDRESS UNAVAIL AT TIME OF FILING

   MICHAEL GARLOCH
   7881 RED SKY DRIVE
   LANESVILLE, IN 47136

   MICHAEL HASSEBROCK
   960 RAMSDEN RUN
   ALPHARETTA, GA 30022

   MICHAEL INSLER
   848 OAK STREET
   CHATTANOOGA, TN

   MICHAEL J AND NANCY L ENGLISH
   871 VIA LUGANO
   WINTER PARK, FL 32789

   MICHAEL J CADA
   5246 ROCKINGHAM COURT
   WINDSOR, CO 80550

   MICHAEL J ENRIGHT SR. TRUST
   333 NW THOREAU CIR.
   LEE`S SUMMIT, MO 64081

   MICHAEL J VALLILLO, DDS
   648 OSCEOLA AVE.
   WINTER PARK, FL 32789

   MICHAEL J WITTMAN AND MARY JO WITT
   REVOCABLE TRUST
   3140 E LINDY LANE
   OAK CREEK, WI 53154




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 203 of 314
   MICHAEL JOHN AND MARY JO WITTMAN
   3140 LINDY LN
   OAK CREEK, WI 53172

   MICHAEL KORETSKY
   2821 NORTH OCEAN BLVD PH5-SOUTH
   FT LAUDERDALE, FL 33308

   MICHAEL KUHN
   2104 FM 956
   SCHULENBURG, TX 78956

   MICHAEL LAI
   3401 RAINIER AVENUE S , SUITE B
   SEATTLE, WA 98144

   MICHAEL M PHILLIPS
   138 JACKSON DR
   EAST STROUDSBURG, PA 18302

   MICHAEL MURRAY
   508 QUEENSBURY TURN
   SOUTHLAKE, TX 76092

   MICHAEL P CASEY
   6 THE TRILLIUM
   PITTSBURGH, PA 15238

   MICHAEL P POTOCHNIAK
   3301 ALT 19 LOT 343
   DUNEDIN, FL 34698

   MICHAEL P ROBERTS
   479 WAVERLY RD
   NORTH ANDOVER, MA 01845

   MICHAEL RUNDLE
   1427 EAST LAKE SAMMAMISH PARKWAY
   SAMMAMISH, WA 98075




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 204 of 314
   MICHAEL SZYMBORSKI
   11943 INDIAN TRAIL
   HALES CORNERS, WI 53130

   MICHAEL UHLE
   1020 S CORNELL AVE
   VILLA PARK, IL 60181

   MICHAEL V BRADLEY
   16430 N SCOTTSDALE RD
   STE 230
   SCOTTSDALE, AZ 85254

   MICHAEL W AND DEBBIE L HANNA FAMIL
   8604 RIDGEWAY
   RAYMORE, MO 64138

   MICHAEL YOUNGBERG
   3923 COVENTRY LN
   HURON, OH 44839

   MICHELE C SAUNDERS
   718 KEY ROYALE DR
   HOLMES BEACH, FL 34217

   MICHELE L GILBERT
   5000 SW RIDGE MONT RD
   BENTONVILLE, AR 72713

   MICHELLE BOUTIN
   550 OKEECHOBEE BLVD APT. 1419
   WEST PALM BEACH, FL 33401

   MICHELLE COLL
   102 CENTRAL PARK STREET
   BAYAMON, PR 00969

   MICHELLE PULEO BOUTIN LIVING TRUST
   550 OCKEECHOBEE BLVD UNIT #1419
   WEST PALM BEACH, FL 33401




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 205 of 314
   MICK LAW P C
   816 SOUTH 169TH STREET
   OMAHA, NE 68118

   MICKEY AND RUTH DODDS
   2072 COUNTRY CLUB ESTATES
   SAN ANGELO, TX 76904

   MICROBIAL REMEDIATION SOLUTIONS, I
   16212 BOTHELL EVERETT HWY
   SUITE F-124
   MILL CREEK, WA 98012-1602

   MIGUEL A MALDONADO LOPEZ AND ROSAR
   URB SAN ALFANSO
   CALLE NARANJITO B5
   CAGUAS, PR 00726

   MIKA TOMINAGA
   3-5-20 KAMISHOGAKUJI HIRANO-KU
   OSAKA, 5470006
   JAPAN

   MILBRANDT ARCHITECTS, INC
   25 CENTRAL WAY SUITE 210
   KIRKLAND, WA 98033

   MILLENNIUM TRUST
   2001 SPRING ROAD. SUITE 700
   OAK BROOK, IL 60523

   MILLER NASH LLP
   111 SW 5TH AVE., SUITE 3400
   PORTLAND, OR 97204

   MILO`S LOCKSMITH
   ADDRESS UNAVAIL AT TIME OF FILING

   MILTON CONSTRUCTION INC
   PO BOX 435
   GRAHAM, WA 98338




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 206 of 314
   MING LI
   6-1-2301, HUACHENG XIAOQU ,
   16 XIZHAOSHI ST GUANGQUMEN
   DONGCHENG BEIJING, 100061 CHINA

   MINGJUAN DONG
   NO. 405 SADDLE TENG ROAD
   ANSHAN, LIAONING, 1144200
   CHINA

   MINGLI FENG
   ROOM 202, UNIT 1 BUILDING NO. 1,
   LANTIAN CHENGSHI GARDEN
   HANGZHOU, ZHEJIANG, 310004 CHINA

   MINGYI HU
   ROOM 2606, QINZHOU MANSION, NO.6,
   LANE 111, QINZHOU ROAD
   SHANGHAI,   CHINA

   MINJIA ZHANG
   ROOM 601, NO. 2, LANE 175
   HONGSON ROAD
   SHANGHAI, 200000 CHINA

   MINNESOTA UNEMPLOYMENT INSURANCE
   MINNESOTA UI FUND
   PO BOX 64621
   SAINT PAUL, MN 55164

   MINTING WU
   1306, TOWER B, GALAXY YINHUGU GRDN
   YANAN ROAD, LONGGANG DISTRICT
   SHENZHEN, GUANGDONG 518000 CHINA

   MINUTEMAN PRESS OF ISSAQUAH
   180 NE JUNIPER
   ISSAQUAH, WA 98027




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 207 of 314
   MINYAO ZHENG
   2001 CITY ROOM, BUILDING 7TH
   1299 CLOVE ROAD,, PUDONG NEW AREA
   SHANGHAI, 200127 CHINA

   MIRU MONTE
   1914 CHAMBERLAIN DR
   CARROLLTON, TX 75007

   MITCHELL MYERS
   25 LEE ST.
   BROOKLINE, MA 02445

   MITCHELL WILLIS
   5802 CLINTON ST.
   ERIE, PA 16509

   MITER MASTERS, INC.
   4721 127TH AVE E
   EDGEWOOD, WA 98372

   MIZUKI CORPORATION
   17950 SOUTHCENTER PKWY
   TUKWILA, WA 98188

   MK WEST
   2701 13TH STREET PLACE SW
   PUYALLUP, WA 98373

   MM FASHION RETIREMENT PLAN
   PO BOX 362613
   SAN JUAN, PR 00936

   MODERN SIDING
   10121 EVERGREEN WAY
   SUITE 25-180
   EVERETT, WA 98204

   MOELLENBERNDT, INC.
   105 FOSTERS TRACE
   SCHULENBURG, TX 78956




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 208 of 314
   MOLNAR CONCRETE CONSTRUCTION, LLC
   2507 123RD ST. E
   TACOMA, WA 98445

   MONA ASHER
   23511 TIARA ST.
   WOODLAND HILLS, CA 91367

   MONEYSHOW
   50 CENTRAL AVE, SUITE 980
   SARASOTA, FL 34236

   MONICA PEASE
   1011 W STEWART STREET - 21
   PUYALLUP, WA 98371

   MONIQUE SULLIVAN
   15516 ARTESIAN RIDGE ROAD
   SAN DIEGO, CA 92127

   MORRIE G GOLD
   1708 YARDLEY DRIVE
   WEST CHESTER, PA 19380

   MR. 99 & ASSOCIATES, INC
   15562 LAKESHORE BLVD NE
   LAKE FOREST PARK, WA 98155

   MR. HANDYMAN OF SE BELLEVUE
   13300 SE 30TH ST ,#209
   BELLEVUE, WA 98005

   MSB COLLECTIONS
   PO BOX 16755
   AUSTIN, TX 78761

   MU-CHEN TZOU
   NO. 11, HUIMIN STREET
   LI ZHENG ROAD
   JIASHAN CTY, ZHEJIANG 314100 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 209 of 314
   MUTCHNIK LIQUIDITY, LLC
   7211 HERITAGE GRAND PLACE
   BRADENTON, FL 34212

   MUTUAL OF ENUMCLAW INSURANCE CO
   PO BOX 34983
   SEATTLE, WA 98124

   MYLA LIND
   2265 CHIMNEY SWIFT CIR
   MARIETTA, GA 30062

   MY-LINH HUYNH
   463 HOQUIAM PLACE NE
   RENTON, WA 98059

   MYRTLE J STIASZNY INTERVIVOS TRUST
   10734 WALME
   OVERLAND PARK, KS 66211

   NAI PUGET SOUND PROPERTIES
   10900 NE 8TH STREET
   SUITE 1500
   BELLEVUE, WA 98004

   NANCY C MOLVIG
   15 A S COMMONS
   LINCOLN, MA 01773

   NANCY DICKEY
   701 MAIN ST.
   HAVERHILL, MA 01830

   NANCY G DAVIS
   PO BOX 101141
   FORT WORTH, TX 76185

   NANCY G DAVIS,
   BEN OF THE BARBARA R DEGNAN ESTATE
   3120 CAMELLIA ROSE DR, #312
   FORT WORTH, TX 76116




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 210 of 314
   NANCY L CARLSON & DONALD C GREENOU
   1725 DOGWOOD FOREST WAY
   LAKE MARY, FL 32746

   NANCY MARTINEZ
   735 WESTWOOD
   ABILENE, TX 79803

   NANCY MEHLER
   107 HUNTINGTON PLACE
   ORMOND BEACH, FL 32174

   NAOMI RUTH STONE 1993 LIVING TRUST
   1044 E SAN JACINTO WAY
   PALM SPRINGS, CA 92262

   NASAA EFD FILING
   ADDRESS UNAVAIL AT TIME OF FILING

   NASH & ASSOCIATES ARCHITECTS
   8003 118TH AVENUE NORTHEAST
   KIRKLAND, WA 98033

   NASON & ASSOCIATES
   PO BOX 7385
   COVINGTON, WA 98042

   NATALIE QUICK CONSULTING LLC
   1620 150TH AVENUE SOUTHEAST
   BELLEVUE, WA 98007

   NATALIE ROGER
   4015 FOREST BEACH DR NW
   GIG HARBOR, WA 98335

   NATIOANL DOOR, INC (NDI)
   17625 NE 65TH STREET, SUITE 165
   REDMOND, WA 98052




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 211 of 314
   NATIONWIDE LIFE AND ANNUITY INS CO
   PO BOX 644022
   CINCINNATI, OH 45264-4022

   NATIONWIDE
   PO BOX 514540
   LOS ANGELES, CA 90051

   NAVIA BENEFIT SOLUTIONS
   PO BOX 3961
   SEATTLE, WA 98124

   NBI
   PO BOX 3067
   EAU CLAIRE, WI 54702

   NCP CAPITAL, LLC
   847 GREENWICH DR
   AMBLER, PA 19002

   NE IVY CONDOS, LLC
   9700 SE CAPITOL HWY
   PORTLAND, OR 97219

   NEHASRI, LTD
   C/O MANOJ DONTHINENI
   4008 NICOLE DR
   RICHARDSON, TX 75082

   NEIL A YOUTSLER
   6310 98TH AVE NW
   GIG HARBOR, WA 98335

   NEIL J ROSENBERG
   70 COURT ST.
   NORTH ANDOVER, MA 01845

   NEIL PERTIZ
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 212 of 314
   NEIL WALTER CO.
   1940 EAST D STREET
   TACOMA, WA 98421

   NELSON GEOTECHNICAL ASSOC INC
   17311 135TH AVE NE, STE A-500
   WOODINVILLE, WA 98072

   NELSON LIVING TRUST DTD 8/29/18
   78815 BIRCHCREST CIRCLE
   LA QUINTA, CA 92253

   NELSON N PECK, JR
   9 ENGLISH STATION ROAD
   ROCHESTER, NY 14616

   NEW VISION TRUST
   135 BROAD STREET
   ASHEVILLE, NC 28801

   NEW VISIONS DEVELOPMENT LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   NEWMARK COATINGS LLC
   PO BOX 1475
   BELLEVUE, WA 98009

   NEXT LEVEL
   4701 SW ADMIRAL WAY #362
   SEATTLE, WA 98116

   NEXUS HOMES, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   NI NI MAY
   46, KANNAR RD, RIVER VIEW GARDEN
   SINMIN WARD, AHLONE TOWNSHIP
   YANGON, MYANMAR




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 213 of 314
   NICHOLAS A DELEO
   1 YARROW HALL
   WEST HENRIETTA, NY 14586

   NICHOLAS C ALTER
   12732 STEADMAN FARMS DR
   FT WORTH, TX 76244

   NICHOLAS FLUMARA CHARITABLE REMAIN
   18 DUFF ST.
   WATERTOWN, MA 02472

   NICHOLAS HARSHFIELD
   ADDRESS UNAVAIL AT TIME OF FILING

   NICKISHA HAINE
   ADDRESS UNAVAIL AT TIME OF FILING

   NICOLE KIDD
   68 BRADHURST AVE 7N
   NEW YORK, NY 10039

   NICOLE SU
   8322 NE 119TH STREET
   KIRKLAND, WA 98034

   NICOLLE SALA
   URB.LAS RAMBLAS
   77 VIA BARCELONA
   GUAYNABO, PR 00969

   NOAH AMLAND
   1601 SHADOW LANE
   IRVING, TX 75060

   NOBLE RIDGE CONSTRUCTION, INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   NONE
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 214 of 314
   NORA HANSEN
   1320 N STATE PKWY #8C
   CHICAGO, IL 60610

   NORMA AND SANTANA GALLEGO NIGOXA
   MIRAMAR 658 CALLE SUAU
   SAN JUAN, PR 00907

   NORMAN COLE
   450 BENNS HILL RD
   BANGOR, PA 18013

   NORMAN TOWLE
   10191 QUAIL COVEY RD
   BOYNTON BEACH, FL 33436

   NORTH BY BNORTHWEST REALTY
   118 130TH AVENUE NORTHEAST
   BELLEVUE, WA 98005

   NORTH CAPITAL INVESTMENT TECHNOLOG
   623 E FORT UNION BLVD, SUITE 101
   MIDVALE, UT 84047

   NORTH CAPITAL PRIVATE SECURITIES C
   623 E FORT UNION BLVD
   MIDVALE, UT 84047

   NORTH PACIFIC DOOR CORPORATION
   20021 85TH AVE S
   KENT, WA 98031

   NORTH WEST HANDLING SYSTEMS, INC.
   18008 NE AIRPORT
   PORTLAND, OR 97230

   NORTHBOUND
   815 WESTERN AVENUE, SUITE 410
   SEATTLE, WA 98104




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 215 of 314
   NORTHLAKE CAPITAL & DEVELOPMENT LL
   ADDRESS UNAVAIL AT TIME OF FILING

   NORTHSHORE UTILITY DISTRICT
   PO BOX 82489
   KENMORE, WA 98028

   NORTHWEST BANK - OREGON
   ADDRESS UNAVAIL AT TIME OF FILING

   NORTHWEST CAPITAL
   ADDRESS UNAVAIL AT TIME OF FILING

   NORTHWEST ELECTRIC & SERVICE, INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   NORTHWEST MULTIPLE LISTING SERVICE
   PO BOX 34341
   SEATTLE, WA 98124

   NORTHWEST TERRACE LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   NORVELL R MOSS
   4812 PRESTWICK DR
   COLLEYVILLE, TX 76034

   NOTHING BUNDT CAKES
   755 NW GILMAN BLVD
   ISSAQUAH, WA 98027

   NOVASTAR DEVELOPMENT, INC.
   18215 72ND AVENUE SOUTH
   KENT, WA 98032

   NOW BE LIGHT TRUST
   25034 N ROPING RD
   SCOTTSDALE, AZ 85255




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 216 of 314
   NURI SELLES AND RAFAEL ECHEVERRIA
   106 SUR MUNOZ RIVERA CUIDAD JARDIN
   SAN LORENZO, PR 00754

   NUVIEW IRA
   280 S RONALD REAGAN BLVD
   SUITE 200
   LONGWOOD, FL 32750

   NW NATURAL
   PAYMENT PROCESSING
   PO BOX 3288
   PORTLAND, OR 97208-9825

   NWG COMPASS
   5000 30TH AVE NE SUITE 102
   SEATTLE, WA 98105

   O MARK GJOVLK
   TTEE OF THE OLAF E GJOVLK TRUST
   17 SAN MATEO WAY
   NEWPORT BEACH, CA 92625

   O`CONNOR CONSULTING GROUP
   500 UNION STREET, SUITE 650
   SEATTLE, WA 98101

   OAK HILLS CONSTRUCTION
   7802 PACIFIC HWY E
   MILTON, WA 98354

   OAKBROOK 4TH ADDITION HOA, INC.
   1201 PACIFIC AVE, #2100
   TACOMA, WA 98402

   OCEANAIRE, LLC
   PO BOX 3907
   BELLEVUE, WA 98009




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 217 of 314
   OLD REPUBLIC TITLE CO
   1111 3RD AVE #820
   SEATTLE, WA 98101

   OLD REPUBLIC TITLE COMPANY OF OREG
   1 SW COLUMBIA ST., SUITE 750
   PORTLAND, OR 97204

   OLD REPUBLIC TITLE, LTD.
   1111 3RD AVE #820
   SEATTLE, WA 98101

   OLIVIA STEVENSON
   ADDRESS UNAVAIL AT TIME OF FILING

   OLSON ENGINEERING INC
   222 E EVERGREEN BLVD
   VANCOUVER, WA 98660

   OLYMPIC CASCADE DRIVE INS LLC
   120 W DAYTON STREET
   SUITE D5
   EDMONDS, WA 98020

   OLYMPIC TRANSMISSIONS
   ADDRESS UNAVAIL AT TIME OF FILING

   ONPAY, INC.
   PROMENADE II
   1230 PEACHTREE STREET NW #1250
   ATLANTA, GA 30309

   ONYXX INVESTMENT GROUP, INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   OPAL FINANCIAL GROUP INC
   132 WEST 36TH ST, SUITE 510
   NEW YORK, NY 10018




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 218 of 314
   OPM ENTERPRISES LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   OPUS BANK
   ADDRESS UNAVAIL AT TIME OF FILING

   ORION COMMERCIAL PARTNERS
   1218 3RD AVE
   SEATTLE, WA 98101

   OSBORN CONSULTING INC
   1800 112TH AVE NE, SUITE 220-E
   BELLEVUE, WA 98004

   OSCAR HERNANDEZ LOPEZ RETIREMENT P
   189 DORADO BEACH
   EAST DORADO, PR 00646

   OTOVIC FAMILY REVOCABLE TRUST OF 2
   2 PERIMETER PARK SOUTH SUITE 100W
   BIRMINGHAM, AL 35243

   OWL CREEK LLC
   676 N MICHIGAN AVE STE 3860
   CHICAGO, IL 60611

   PABLO DEL VALLE AND MARIA MARTINEZ
   PO BOX 2319
   TOA BAJA, PR 00951-2319

   PABLO DEL VALLE
   PO BOX 2319
   TOA BAJA, PR 00951-2319

   PACIFIC CREST BANK
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 219 of 314
   PACIFIC ENGINEERING TECHNOLOGIES
   2150 NORTH 107TH STREET
   SUITE 320
   SEATTLE, WA 98133

   PACIFIC LANDSCAPE MANAGEMENT, INC.
   7345 164TH AVE NE STE 145-319
   REDMOND, WA 98052

   PACIFIC NORTHWEST TITTLE OF KITSAP
   2021 MYHRE ROAD SUITE 300
   SILLVERDALE, WA 98383

   PACIFIC OFFICE AUTOMATION
   14747 NW GREENBRIER PKWY
   BEAVERTON, OR 97006

   PACIFIC PINE LLC
   260, 1603 CAPITOL AVE
   SUITE 413 A
   CHEYENNE, WY 82001

   PACTERRA, LLC
   29620 SE 82ND ST
   ISSAQUAH,, WA 98027

   PADMA J THAKRAR
   496 WILLIAMSBURGH RD
   GLEN ELLYN, IL 60137

   PALETTE PROPERTY MANAGEMENT, LLC
   8201 164TH AVE NE, STE 200
   REDMOND, WA 98052

   PAMELA A PELTON
   25 WOODLAWN DRIVE
   NORTHFIELD, NH 03276

   PAMELA B ADELMAN DECLARATION OF TR
   25 E SUPERIOR #4002
   CHICAGO, IL 60611




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 220 of 314
   PAMELA BRESNAHAN
   8759 CUYAMACA ST.
   CORONA, CA 92883

   PAMELA J FERGUSON
   2513 S FLAGLER AVE.
   FLAGLER BEACH, FL 32136

   PAMELA M NEVILLE REVOCABLE TRUST D
   16 SHIP ST.
   JAMESTOWN, RI 02835

   PAMELA WOODHURST
   1925 E GRAND CANYON DR
   CHANDLER, AZ 85249

   PAMELA ZAPFFE
   6720 KENWOOD
   DALLAS, TX 75214

   PANGEO, INC.
   3213 EASTLAKE AVE E # B
   SEATTLE, WA 98102

   PARAGON REAL ESTATE ADVISORS INC.
   600 UNIVERSITY ST
   SEATTLE, WA 98101

   PARIS REVOCABLE TRUST DATE MAY 13,
   103 RUSSELL DR
   HIGHLAND VILLAGE, TX 75077

   PARITER SECURITIES
   ROAD #2, #243 CAPARRA
   GUAYNABO, PR 00966

   PARKER ECO PEST CONTROL
   1906 HOYT AVE
   EVERETT, WA 98201




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 221 of 314
   PARKER MCNULTY
   ADDRESS UNAVAIL AT TIME OF FILING

   PARKER SMITH & FEEK, INC
   2233 112TH AVENUE NORTHEAST
   BELLEVUE, WA 98004

   PARKVIEW FINANCIAL, LLC
   11601 WILSHIRE BLVD, SUITE 2100
   LOS ANGELES, CA 90025

   PARLEY ACKER
   2528 RUSSWOOD DR
   FLOWER MOUND, TX 75028

   PARR LUMBER COMPANY
   5630 N W CENTURY BLVD
   HILLSBORO, OR 97124

   PATANO STUDIO ARCHITECTURE, LLC
   603 STEWART STREET, SUITE 500
   SEATTLE, WA 98101

   PATRICIA A WHITAKER
   2931 LAKE PINELOCH BLVD
   ORLANDO, FL 32806

   PATRICIA JANCAUSKAS
   6806 AZALE LN
   DALLAS, TX 75230

   PATRICIA L PAULS
   925 APACHE MOUNTAIN LANE
   GEORGETOWN, TX 78633

   PATRICIA M MENENDEZ
   3321 SW KESSLER DRIVE, APT. 7306
   LEE`S SUMMIT, MO 64081




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 222 of 314
   PATRICIA MALONE COX
   800 ELK HOLLOW CT
   CROWLEY, TX 76036

   PATRICIA MINCE
   225 BAY CIR.
   COPPELL, TX 75019

   PATRICIA MURRAY REARDON REVOCABLE
   1706 BROKEN ARROW DR
   PRESCOTT, AZ 86303

   PATRICIA O`BRIEN TAYLOR REVOCABLE
   20550 ROSEWOOD MANOR SQUARE
   ASHBURN, VA 20147

   PATRICK J MOSSEY
   519 W SUPERIOR ST.
   OTTAWA, IL 61350

   PATRICK OBEID
   1401 ART DILLY DRIVE, UNIT 331
   AUSTIN, TX 78702

   PATRICK PAYNE
   201 CORALBERY ROAD
   LOUISIVILLE, KY 40207

   PATRICK SHEEHAN
   11 BEDFORD CT
   LINCOLNSHIRE, IL 60069

   PATRICK THOMAS FILES JR
   2818 E 2ND ST
   VANCOUVER, WA 98661

   PAUL & REGINA GURTLER
   27559 LOFALL CT NW
   POULSBO, WA 98370




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 223 of 314
   PAUL AND JUDITH V HAMBELTON
   14619 S EDGERTON RD
   GARDNER, KS 66030

   PAUL C PFLUEGER
   1323 WINDWALKER
   PRESCOTT, AZ 86305

   PAUL D STONE
   PO BOX 2365
   RANCHO MIRAGE, CA 92270

   PAUL E AND CHILLYS E CASE
   10256 FOREST HILL DR
   GLADE SPRING, VA 24340

   PAUL E AND PHYLLIS B RUDOLPH
   609 SEA ISLAND WAY
   NORTH MYRTLE BEACH, SC 29582

   PAUL G AND DOREN M MIELE
   26 STEVENS RD
   HUDSON, MA 01749

   PAUL G MIELE
   26 STEVENS RD
   HUDSON, MA 01749

   PAUL J WONG
   20161 CROMWELL WAY
   PORTER RANCH, CA 91326

   PAUL M AND JANICE C FRANK
   4 S LAKESIDE AVE
   BRADFORD, MA 01835

   PAUL M AND MAUREEN F MCNEIL
   50 PROUTY LN
   WORCESTER, MA 01602




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 224 of 314
   PAUL M MCNEIL
   50 PROUTY LN
   WORCESTER, MA 01602

   PAUL MOUNTAIN
   2503 N MILLER RD
   SCOTTSDALE, AZ 85257

   PAUL STEPHANCHICK
   4808 SOUTHWEST GULL POINT DRIVE
   LEE`S SUMMIT, MO 64082

   PAUL T WEISS REVOCABLE TRUST DTD M
   4318 WEST PINE BLVD
   ST. LOUIS, MO 63108

   PAUL WEISS
   4318 WEST PINE BLVD
   ST. LOUIS, MO 63108

   PAUL ZERR
   1241 E SPUR AVE.
   GILBERT, AZ 85296

   PAULA J FULLER DECLARATION OF TRUS
   5317 N 46TH ST.
   PHEONIX, AZ 85018

   PAYCHEX, INC.
   20829 72ND AVENUE SOUTH SUITE 400
   KENT, WA 98032

   PAYNEWEST INSURANCE INC
   2925 PALMER STREET, SUITE B
   PO BOX 4386
   MISSOULA, MT 59806

   PAYSCALE INC
   75 REMITTANCE DR DEPT. 1343
   CHICAGO, IL 60675




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 225 of 314
   PBRELF I, LLC
   1420 5TH AVE, SUITE 2000
   SEATTLE, WA 98101

   PCNW LOAN SERVICING, LLC
   8227 44TH AVE W, SUITE K
   MUKILTEO, WA 98275

   PENG LYU AND LI TAN
   1124 E LAKE SAMMAMISH PKWY NE
   SAMMAMISH, WA 98074

   PENSCO TRUST COMPANY
   PO BOX 981012
   BOSTON, MA 02298

   PERKINS COIE LLP
   ATTN: CLIENT ACCOUNTING
   1201 THIRD AVENUE, 49TH FLOOR
   SEATTLE, WA 98101

   PERMIT CONSULTANTS, LLC
   PO BOX 1482
   SUMNER, WA 98390

   PERSHING LLC FBO ANGELA JANE AREND
   ACCOUNT #054894
   ONE PERSHING PLAZA
   JERSEY CITY, NJ 07399

   PERSHING, LLC
   ONE PERSHING PLAZA
   JERSEY CITY, NJ 07399

   PETER ARREOLA
   12162 FREMONT STREET
   YUCAIPA, CA 92399

   PETER ROPPO
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 226 of 314
   PETER SANTOS
   3953 E EXPEDITION WAY
   PHEONIX, AZ 85050

   PETER SHIMKUS
   8 LYNBROOK RD
   SOUTHBOROUGH, MA 01772

   PETER W MCKINNEY TRUST U/A AUGUST
   1242 N LAKE SHORE DR
   CHICAGO, IL 60610

   PETERSON RUSSELL KELLY PLLC
   10900 NE 4TH STREET, SUITE 1850
   BELLEVUE, WA 98004

   PETERSON SULLIVAN LLP
   601 UNION ST
   SUITE 2300
   SEATTLE, WA 98101-2322

   PGH EXCAVATING, INC
   PO BOX 1151
   ENUMCLAW, WA 98022

   PHILADELPHIA INSURANCE COMPANIES
   PO BOX 70251
   PHILADELPHIA, PA 19176

   PHILIP ADAIR GILBERT
   801 E VALLEY DR
   BRISTOL, VA 24201

   PHILIPPUS AND CELESTE VAN STADEN
   222 NORTH PARK AVENUE
   WINTER PARK, FL 32789

   PHILLIP SEHNERT
   4629 WINDMILL LN
   FLOWER MOUND, TX 75028




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 227 of 314
   PIERCE COUNTY AUDITORS OFFICE
   930 TACOMA AVENUE S
   TACOMA, WA 98402

   PIERCE COUNTY TREASURY
   ADDRESS UNAVAIL AT TIME OF FILING

   PINFANG YU
   #1303, NO.3 ALLEY 1013 SHUIDIAN RD
   HONGKOU DISTRICT, NANCUN, PANYU
   SHANGHAI,   CHINA

   PING HUANG
   ROOM 202, NO. 48, LINFEN GARDEN
   LINFEN ROAD
   SHANGHAI, JING`AN D 200435 CHINA

   PING ZHANG
   RM 252 UNIT 2, NO. 67 EAST ORCHARD
   TONGZHOU DISTRICT
   BEIJING, 101116 CHINA

   PIONEER PLUMBING & HEATING LLC
   2400 NORTHWEST 80TH STREET, 3286
   SEATTLE, WA 98117

   PIPER BAGLEY
   ADDRESS UNAVAIL AT TIME OF FILING

   PK ENTERPRISES
   23035 SE 263RD STREET
   MAPLE VALLEY, WA 98038

   PLAID INC.
   PLAID INC.
   DEPT CH 10801
   PALATINE, IL 60055-0801

   PLANB CONSULTANCY
   696 MCVEY AVE. SUITE 202
   LAKE OSWEGO, OR 97034




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 228 of 314
   PLAZA PROFIT SHARING PLAN
   1121 PARROTTS COVE RD
   GREENSBORO, GA 30642

   POTTERY BARN
   ADDRESS UNAVAIL AT TIME OF FILING
   LYNNWOOD, WA

   POWELL PAVERS LLC
   1402 LAKE TAPPS DRIVE SOUTH EAST
   AUBURN, WA 98092

   PQT CONSTRUCTION
   PO BOX 1601
   WOODINVILLE, WA 98072

   PRECISION REPAIR COMPANY
   2102 24TH STREET S E
   PUYALLUP,, WA 98372

   PREFERRED ENGINEERING LLC
   11627 SOUTHEAST 58TH STREET
   BELLEVUE, WA 98006

   PRE-METCO
   3420 C ST NE #401
   AUBURN, WA 98002

   PRICE BUSTERS PLUMBING
   16309 INGLEWOOD RD NE
   KENMORE, WA 98028

   PRICEWATERHOUSECOOPERS LLP
   PO BOX 514038
   LOS ANGELES, CA 90051

   PRISCILLA WILLIS
   4822 104TH ST.
   LUBBOCK, TX 79424




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 229 of 314
   PRIVATE CAPITAL NORTHWEST
   8227 44TH AVE. W , SUITE K
   MUKILTEO, WA 98275

   PRIVATE WEALTH MANAGEMENT SOLUTION
   11232 NE 15TH STREET, SUITE 100
   BELLEVUE, WA 98004

   PRO VISION COMPANIES LLC
   PO BOX 869
   SUMMER, WA 98390

   PRO VISION WINDOW AND DOOR LLC
   402 VALLEY AVE NW BLDG A, #108
   PUYALLUP, WA 98371

   PRO-DUCT HEATING & AIR INC
   24710 FISK ROAD EAST
   ORTING, WA 98360

   PROVIDENT ELECTRIC, INC.
   PO BOX 7087
   COVINGTON, WA 98042

   PROVIDENT TRUST GROUP
   PO BOX 847470
   LOS ANGELES, CA 90084-7470

   PROVISION WINDOW AND DOOR
   PO BOX 869
   SUMNER, WA 98390

   PROVOKE SOLUTIONS INC
   2010 156TH AVENUE NORTHEAST #301
   BELLEVUE, WA 98007

   PUBLIC STORAGE, INC.
   701 WESTERN AVE
   GLENDALE, CA 91201-2349




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 230 of 314
   PUGET SOUND ENERGY
   ATTN: LUKE GIUSTRA
   6905 SOUTH 228TH ST
   KENT, WA 98032

   PUGET SOUND INVESTORS, INC.
   ADDRESS UNAVAIL AT TIME OF FILING

   PYATT/BROADMARK
   1420 5TH AVE, SUITE 2000
   SEATTLE, WA 98101

   QIANXI FAN
   ROOM 302, NO.342, LAODONG XI ROAD
   TIANXIN DISTRICT
   CHANGSHA, HUNAN, 410007 CHINA

   QIAO JIANG
   ROOM 1506, NO.11, LONG ZHOU YI DU
   TIANNING DISTRICT
   CHANGZHOU, JIANGSU,   CHINA

   QING WU
   RM 3-1601 TAOJINSHAN GARDEN
   LUOHU DISTRICT
   SHENZHEN, GUANGDONG 518019 CHINA

   QINGXIAO JIANG
   #1201, UNIT 2 BLD #8, ZHIJING YUAN
   XIXI CHENG YUAN, XIHU DISTRICT
   HANGZHOU, ZHEJIANG, 310000 CHINA

   QIONG HUANG
   14843 SOUTHEAST 65TH STREET
   BELLEVUE, WA 98006

   QIONG ZHOU
   ROOM 1103, BUILDING 5, PHASE II,
   YINGLUN MINGYUAN, SHAHE WEST ROAD,
   NANSHAN D GUANDONG 511464 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 231 of 314
   QUADRANT HOMES, INC.
   15900 SE EASTGATE WAY, STE 300
   BELLEVUE, WA 98008

   QUALITY CUSTOM EXTERIORS, LLC
   3115 81ST AVE CT NW
   GIG HARBOR, WA 98335

   QUALITY MIGRANT CONSULTING CO., LI
   ROOM 2201, LIFE INS BLD NO. 1001,
   FUZHONG 1ST ROAD
   SHENZEN, FUTIAN DIST 518000 CHINA

   QUANTUM RESIDENTIAL INC
   601 E 16TH ST
   VANCOUVER, WA 98663

   R B WILLIAM COMPANY, INC.
   1676 N CALIFORNIA BLVD SUITE 620
   WALNUT CREEK, CA 94596

   R D COMPUTER SOLUTIONS
   8029 162ND STREET CT E
   PUYALLUP, WA 98375-8502

   R EDWARD AND GINGER ANN COOLEY
   5501 JOBETH DR
   NEW PORT RICHY, FL 34652

   R GREG GENTILE
   4025 TIMBER LANE
   ORLANDO, FL 32804

   R LANCE WALKER, SR.
   817 GOLFVIEW TERRACE
   WINTER PARK, FL 32789

   R N C LATH & PLASTER
   47902 288TH AVE SE
   ENUMCLAW, WA 98022




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 232 of 314
   RADESKY FAMILY TRUST
   4960 ROCKFORD DR
   SAN DIEGO, CA 92115

   RADLEY D PEARSALL PREMARITAL TRUST
   332 S BERKSHIRE DRIVE
   LAKE FOREST, IL 60045

   RADLEY D PEARSALL
   332 S BERKSHIRE DRIVE
   LAKE FOREST, IL 60045

   RADOSLAV RAYCHEV
   530 S HEWITT STREET, APT 333
   LOS ANGELES, CA 90013

   RAE JEAN WILSON REVOCABLE LIVING T
   1302 CASA MARINA LANE NW
   ALEXANDRIA, MN 56308

   RAFAEL E ROJO
   PO BOX 20868
   SAN JUAN, PR 00928

   RAFAEL URREA O (HAPPYHANDYMAN)
   3836 RENTON AVE S
   SEATTLE, WA 98108

   RAIDA RABAH
   5 SOUTH FOREST HILLS RD
   DOWNINGTON, PA 19335

   RAJASHREE AND SATYA SHAW
   19402 JACOBS RIVER RUN
   LUTZ, FL 33559

   RAJUL R SHAH
   4923 QUILL CT
   PALM HARBOR, FL 34685




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 233 of 314
   RALPH A PINCUS REVOCABLE FAMILY TR
   321 COUNCIL ROCK RD
   ROCHESTER, NY 14610

   RALPH BENDER
   2651 ULTRA VISTA BLVD
   MAITLAND, FL 32751

   RALPH DIBARI
   327 GOOSECREEK
   WINTER SPRINGS, FL 32708

   RALPH J DI BARI IRREVOCABLE TRUST
   327 GOOSECREEK
   WINTER SPRINGS, FL 32708

   RALPH R HENRY
   25410 SE 247TH PL.
   RAVENSDALE, WA 98051

   RALPH TASH TRUST DTD 5/28/71
   9 PARKWAY NORTH, SUITE 300
   DEERFIELD, IL 60015

   RAMON ERINNA
   583 N BROADWAY
   HAVERHILL, MA 01832

   RAMON J ABARCA
   PO BOX 13928
   SAN JUAN, PR 00908

   RAMONA HEFTY
   24002 GOLDENEYE DR
   LAGUND NIQUEL, CA 92677

   RANCE AND KAYE G BORDERICK
   AS JOINT TENANTS WITH RGHT OF SURV
   37407 N COUNTRY ROAD 44A
   EUSTIS, FL 32736




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 234 of 314
   RANCHO MIRAGE FLORIST
   2923, 70053 CA-111
   RANCHO MIRAGE, CA 92270

   RANDAL AND DEBORA SNOW
   6132 WALNUT DRIVE
   FT WORTH, TX 76114

   RANDALL D EINHORN TRUST DTD 9/6/02
   5815 LARAMIE WAY
   SAN DIEGO, CA 92120

   RANDALL J FOSS
   ADDRESS UNAVAIL AT TIME OF FILING

   RANDY CHAMBERS
   2250 HWY 163
   COLORADO CITY, TX 79512

   RANDY WOODRUFF
   5335 SOUTH ISLAND DRIVE EAST
   BONNEY LAKE, WA 98391

   RAUL RAMIREZ
   300 AVE LA SIERRA BOX 112
   SAN JUAN, PR 00926

   RAY EDWARD HINES
   1373 E PRESCOTT PL.
   CHANDLER, AZ 85249

   RAY SCHY TRUST U/A DTD 3/14/1991
   1031 INDIAN ROAD
   GLENVIEW, IL 60025

   RAZAULLAH KHWAJA AND PAMELA SCOTT
   311 MARLBORO RD
   KENNETT SQUARE, PA 19348




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 235 of 314
   RB CONSTRUCTION CORPORATION
   PO BOX 366029
   SAN JUAN, PR 00936

   RB CONSTRUCTION GROUP
   PO BOX 366029
   SAN JUAN, PR 00936

   RBC CAPITAL MARKETS
   60 SOUTH 6TH STREET
   MINNEAPOLIS, MN 55402

   RBL REALTY AND CONSULTING, INC.
   243 ROAD 2
   GUAYNABO, PR 00966

   RE/MAX METRO REALTY, INC.
   2312 EASTLAKE AVE E
   SEATTLE, WA 98102

   REAL ASSETS PROPERTY SERVICES INC.
   270 S HANFORD ST.
   SUITE 205
   SEATTLE, WA 98134

   REAL ESTATE INVESTMENT SERVICES
   ADDRESS UNAVAIL AT TIME OF FILING

   REAL PROPERTY MANAGEMENT
   ADDRESS UNAVAIL AT TIME OF FILING

   REBECCA JEAN DAVIS
   7236 BAY HILL DR
   FRISCO, TX 75034

   REBECCA RIVA
   4563 TIGUA ISLAND CT
   WINTER PARK, FL 32792




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 236 of 314
   RED GROUP, LLC
   2022 NW LARKSPUR STREET
   CAMAS, WA 98607

   RED QUOTE COBRA TRUST
   ADDRESS UNAVAIL AT TIME OF FILING

   RED ROBIN GOURMET BURGERS, INC.
   3921 FACTORIA SQUARE MALL SE
   BELLEVUE, WA 98006

   REDMOND FUNDING GROUP
   22500 NE MARKETPLACE DR - #206C
   REDMOND, WA 98053

   REDTAIL, LLC
   PO BOX 2394
   SNOHOMISH, WA 98291

   REGINALD MORRIS
   1703 W 153RD ST.
   GARDENA, CA 90247

   REGINALD ROORDA
   19240 INGLESIDE COURT
   LAKEVILLE, MN 55044

   REGISTERED AGENT SOLUTIONS, INC.
   1701 DIRECTORS BLVD, SUITE 300
   AUSTIN, TX 78744

   REICH FAMILY TRUST
   1 OXFORD COURT
   RANCHO MIRAGE, CA 92270

   REID JOHNSON
   10836 34TH AVE. SW
   SEATTLE, WA 98146




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 237 of 314
   REINALDO SEGUROLA PEREZ RETIREMENT
   URB MONTE ALVERINA VIA, PONTICO #4
   GUAYNABO, PR 00969

   RELIANCE STANDARD LIFE INSURANCE C
   ADDRESS UNAVAIL AT TIME OF FILING

   RESTORX OF WASHINGTON
   1307 WEST VALLEY HWY N
   SUITE 107
   AUBURN, WA 98001

   REVEL STRATEGIES, LLC
   4681 NORTHWEST 173RD PLACE
   BEAVERTON, OR 97006

   REVERIE AT SILVER CREEK
   ADDRESS UNAVAIL AT TIME OF FILING

   REVIVED STAGING LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   REVOCABLE TRUST AGREEMENT FBO TIFF
   DTD 12/12/11
   277 ROYAL POINCIANA WAY MB 173
   PALM BEACH, FL 33480

   REVOCABLE TRUST OF WILLIAM D MACAL
   DTD. 4/15/10
   535 GRADYVILLE RD , V200
   NEWTOWN SQUARE, PA 19073

   REX C TANNER
   ADDRESS UNAVAIL AT TIME OF FILING

   REX EXECUTIVE LEADERSHIP, LLC
   2201 LONG PRAIRIE ROAD
   SUITE 107-843
   FLOWER MOUND, TX 75022




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 238 of 314
   REYNOLDS & KLINE APPRAISAL, INC.
   13401 NE BEL ROAD #B9
   BELLEVUE, WA 98005

   RHODA ABZUG
   20928 SABER JET PLACE
   ASHBURN, VA 20147

   RICARDO CHIPI
   PO BOX 193497
   SAN JUAN, PR 00919

   RICARDO MEXICAN RESTAURANT
   4065 FACTORIA BLVD SE
   BELLEVUE, WA 98006

   RICH JACKSON
   ADDRESS UNAVAIL AT TIME OF FILING

   RICHARD A BARNES
   27719 KINGS KEW ROAD
   BONITA SPRINGS, FL 34134

   RICHARD A FENTERS, DMD
   2555 SOUTH ATLANTIC AVENUE
   APT. 1905
   DAYTONA BEACH SHORES, FL 32118

   RICHARD A WERNER
   630 25TH ST.
   TELL CITY, IN 47586

   RICHARD AND CHERYL SHADICK JTWROS
   3007 KERNS CT
   OREFIELD, PA 18069

   RICHARD AND DONNA STEVENS, TRUST D
   6 FIVE OAKS LANE
   VALLEY COTTAGE, NY 10989




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 239 of 314
   RICHARD AND LOUISE ANSLOW LIVING T
   WOLFPAW LANE
   PINE, AZ 85544

   RICHARD ANSLOW LIVING TRUST
   ADDRESS UNAVAIL AT TIME OF FILING

   RICHARD CHRYSLER AND VICTORIA CHRY
   555 WEST GATEWAY COURT
   MERRITT ISLAND, FL 32952

   RICHARD E PORTORS
   51 FERNWOOD AVE
   BRADFORD, MA 01835

   RICHARD E WINTERMANTEL REVOCABLE T
   DTD 11/20/98
   6166 N SCOTTSDALE RD , UNIT A1008
   PARADISE VALLEY, AZ 85253

   RICHARD FOSTER THOMAS
   9800 E LOFTY POINT RD
   SCOTTSDALE, AZ 85262

   RICHARD J HENRY
   17 MANU TRAIL
   ANDOVER, NJ 07821

   RICHARD L FLECK
   405 PLEASANT VIEW DR
   HUNTINGBURG, IN 47542

   RICHARD L WILKERSON & ASSOCIATES,
   6712 GLEN ECHO LANE SW
   LAKEWOOD, WA 98499

   RICHARD LUCAS
   950 BAY ROAD
   WEBSTER, NY 14580




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 240 of 314
   RICHARD N AND DENISE A HORNE-KAPLA
   2067 PADRE ISLAND DR
   PUNTA GORDA, FL 33950

   RICHARD N KAPLAN
   2067 PADRE ISLAND DR
   PUNTA GORDA, FL 33950

   RICHARD P GRAFF
   22 HANCOCK STREET, APT# 304
   PORTLAND, ME 04101

   RICHARD PITMAN
   810 SE PINE ST
   CEDAREDGE, CO 81413

   RICHARD R ROTHE
   12610 SORRENTO WAY UNIT 103
   BRADENTON, FL 34211

   RICHARD SULLIVAN
   9127 MALLARD ROAD
   BLAINE, WA 98230

   RICHARD TETTAMANT
   1008 HIDDEN OAKS CT
   COLLEYVILLE, TX 76034

   RICHARD WIGAND
   377 ST. CHARLES ST
   JASPER, IN 47546

   RICHLAND ACQUISITION
   ADDRESS UNAVAIL AT TIME OF FILING

   RICKIE WAYNE TAYLOR
   PO BOX 310
   PERRIN, TX 76486




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 241 of 314
   RICTER ENTERPRISES INC
   13129 N ECHO LAKE RD
   SNOHOMISH, WA 98296

   RITA F TANNER
   213 FIRESIDE DR
   BRADENBURG, KY 40108

   RITA KANNEL
   248 MONTEREY WAY
   ROAL PALM BEACH, FL 33411

   RITA MILLWEE
   3828 SHENANDOAH
   DALLAS, TX 75205

   RIVERBEND LENDING
   ADDRESS UNAVAIL AT TIME OF FILING

   RLI INSURANCE COMPANY
   PO BOX 3967
   PEORIA, IL 61612-3967

   ROBBINS FAMILY REVOCABLE LIVING TR
   4020 CARL THOMAS DR
   SCOTTSBURG, IN 47170

   ROBERT A AND RUTH ANN MORGENROTH
   105 LEGENDS CT
   EAST STROUDSBURG, PA 18302

   ROBERT A KAPUSCINSKI
   21 SQUIRRELS HEATH RD
   FAIRPORT, NY 14450

   ROBERT A MORGENROTH
   5604 52ND AVE W
   BRADENTON, FL 34210




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 242 of 314
   ROBERT AND CHRISTINA CAPETZ
   REVOCABLE FAMILY TRUST DTD 4/5/07
   40775 SMOKETREE LANE
   RANCHO MIRAGE, CA 92270

   ROBERT AND JULIE CADENHEAD
   220 CONVENTION DR, APT 4128
   FAIRVIEW, TX 75069

   ROBERT AUSTIN
   5959 FM 698
   NACOGDOCHES, TX 75964

   ROBERT C AND JENNIFER J DAVIS
   1583 GLENELLEN WAY
   BRENTWOOD, TN 37027

   ROBERT C AND VICKI A JOHNSON
   3036 CAVE HOLLOW WAY
   BOUNTIFUL, UT 84010

   ROBERT C JOHNSON
   3036 CAVE HOLLOW WAY
   BOUNTIFUL, UT 84010

   ROBERT C SHINN
   877 ISLAND AVE, UNIT 301
   SAN DIEGO, CA 92101

   ROBERT D FINFROCK 2001 TRUST UAD 4
   4040 TIMBER LN
   ORLANDO, FL 32804

   ROBERT E MECCA
   379 SCHOOL ST.
   BOYLSTON, MA 01505

   ROBERT E STUTZ
   451 YORKTOWNE LN
   LAKE FOREST, IL 60045




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 243 of 314
   ROBERT F BURNETT
   510 GOODRIDGE LN
   CASSELBERRY, FL 32730

   ROBERT G BERRYMAN
   4512 N AGNES AVE
   KANSAS CITY, MO 64117

   ROBERT HARDY
   4200 196TH STREET SW, SUITE 201
   LYNNWOOD, WA 98036

   ROBERT HUNTER
   214 ADDISON WAY
   TITUSVILLE, FL 32780

   ROBERT J AND CHARLENE R FLECK
   4246 S 50 E
   HUNTINGBURG, IN 47542

   ROBERT J OUELLETTE
   157 TOWN CENTER BLVD #3412
   CLERMONT, FL 34714

   ROBERT JAMES DUMAIS
   21403 GRANITE SPRING
   SAN ANTONIO, TX 78258

   ROBERT KELLER
   10204 W 125TH TERR
   OVERLAND PARK, KS 66213

   ROBERT KNELL
   401 TRAIL RIDGE ROAD
   WIMBERLY, TX 78676

   ROBERT L AND BARBARA D MCCRAY
   2233 MORRISON AVE.
   KINGSPORT, TN 37660




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 244 of 314
   ROBERT L OTOVIC JR
   5 LONGVIEW DRIVE#402
   ATKINSON, NH 03811

   ROBERT LARA
   2513 BEDFORD
   MIDLAND, TX 79701

   ROBERT LAWRENCE
   15 YATES AVE.
   OSSINING, NY 10562

   ROBERT MOLONEY AND GRETA MOLONEY
   3140 19TH AVE
   FAIRBANK, AK 99709

   ROBERT N SMITH
   20220 BOCA WEST DR APT. 501
   BOCA RATON, FL 33434

   ROBERT PATTON
   3 NEW STREET
   MENDHAM, NJ 07945

   ROBERT R HARVEY
   230 KINCHLOE MILL RD
   JONESBOROUGH, TN 37659

   ROBERT SCHECHTER REVOCABLE TRUST D
   6738 E MORNING VISTA LN
   SCOTTSDALE, AZ 85266

   ROBERT SZYMBORSKI
   1755 N MEADE STREET
   CHICAGO, IL 60639

   ROBERT W ALFINI
   419 E ORCHARD ST.
   ARLINGTON HEIGHTS, IL 60005




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 245 of 314
   ROBERT W SCHLUNDT
   190 BROOKLINE ST.
   NEWTON, MA 02459

   ROBERT WORTHINGTON HUGHES
   304 SOUTH JONES BLVD SUITE 2384
   LAS VEGAS, NV 89107

   ROBERTO ALFONSO CASALS RETIREMENT
   29 CALLE WASHINGTON, STE 209-A
   SAN JUAN, PR 00907

   ROBERTO ALFONSO CASALS
   29 CALLE WASHINGTON, STE 209-A
   SAN JUAN, PR 00907

   ROBERTO BERRÍOS CASTRODAD
   URB FERNANDEZ
   CALLE FRANCISCO CRUZ NO. 24
   CIDRA, PR 00739

   ROBIN EARLES
   420 LOGAN CIR.
   BLUFF CITY, TN 37618

   ROBIN YOUNGBLOOD
   6108 88TH PL.
   LUBBOCK, TX 79424

   ROBYN ABZUG
   1612 CAMDEN AVENUE UNIT 105
   LOS ANGELES, CA 90025

   ROCKWOOD REALTY ADVISORS
   ADDRESS UNAVAIL AT TIME OF FILING

   RODGER ERICKSON AND LORENE GONIA
   77441 SIOUX DRIVE
   INDIAN WELLS, CA 92210




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 246 of 314
   RODGER SPROUSE
   110 ARAPAHO TRAIL
   GREENWOOD, MO 64034

   ROGAN HOMES, LLC
   1402 LAKE TAPPS PKWY SE
   STE F104, #339
   AUBURN, WA 98092

   ROGER AND SHARON MICHAEL
   4404 EQUESTRIAN WAY
   FLOWER MOUND, TX 75028

   ROGER CONRAD
   1211 A SIGLER ST.
   NASHVILLE, TN 37203

   ROGER MUELLER
   14020 N 82ND ST.
   SCOTTSDALE, AZ 85260

   ROGER RICHMOND
   1324 TWISTING WIND DR
   HASLET, TX 76052

   ROLAND BROWN
   1010 SHEPARKON DR
   MIDLOTHIAN, TX 76065

   ROMAN SCHWARTZ
   104 SHORE DRIVE
   NASHUA, NH 03062

   ROMANO PROPERTIES, LLC
   4660 NE 77TH AVE SUITE 200
   VANCOUVER, WA

   ROMSPEN US MORTGAGE LP
   300-162 CUMBERLAND STREET
   TORONTO, ON M5R 3N5




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 247 of 314
   RONALD AND LEANDRA BYRD
   865 IRONWOOD DR
   FARWELL, TX 79325

   RONALD ANDERSON
   2294 NOVA WAY
   CORONA, CA 92883

   RONALD CROSS
   3205 STEAMERS CT
   GRANBURY, TX 76049

   RONALD D BYRD
   865 IRONWOOD DR
   PO BOX 156
   FARWELL, TX 79325

   RONALD DOMZALSKI
   49 PERRIN AVE.
   SHAVERTOWN, PA 18708

   RONALD R KOCH
   8300 E MCDOWELL RD APT# 2036
   SCOTTSDALE, AZ 85257

   RONNIE BERRY AND TANYA O`COYNE FAM
   8265 E COUNTY DR
   EL CAJON, CA 92020

   ROOF TRUSS SUPPLY, INC.
   PO BOX 532
   WOODINVILLE, WA 98072

   ROOT OF DESIGN LLC
   2020 MALTBY RD
   SUITE 7, PMB 370
   BOTHELL, WA 98021

   ROSALEE FLECK
   405 PLEASANT VIEW DR
   HUNTINGBURG, IN 47542




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 248 of 314
   ROSE ANN GIANNELLI
   3594 DRAGON PL.
   THE VILLAGES, FL 32163

   ROSE DERBOGOSIAN REVOCABLE TRUST O
   325 CONCORD ST.
   HAVERHILL, MA 01830

   ROSE M EGIDI TRUST DTD 1/28/16
   2057 VALOR CT
   GLINVIEW, IL 60026

   ROSE M OLSZEWSKI
   64 UNIVERSITY ROAD, APT 3
   BROOKLINE, MA 02445

   ROSINI FAMILY TRUST
   5113 MARBLE FALLS LN
   PLANO, TX 75093

   ROTE CORPORATION
   CAMINO ALEJANDRINO #4
   VILLA CLEMENTINA
   GUAYNABO, PR 00969

   ROY W PARKER REV TRUST UAD 3-22-20
   641 COLUMBIA DR
   WINTER PARK, FL 32789

   ROYAL CABINETS, INC.
   10324 CANYON RD E #101, 1013
   PUYALLUP, WA 98373

   RTS
   7217 45TH ST. CT E SUITE 107
   FIFE, WA 98424

   RUBY 62 HOLDINGS LLC
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 249 of 314
   RUEL HARDER
   ADDRESS UNAVAIL AT TIME OF FILING

   RUIHUA JI
   NO. 11, LANE 688, PINGJI ROAD
   MINHANG DISTRICT
   SHANGAI, 201100 CHINA

   RUIZHAO CHEN
   ROOM 702 UNIT 2 BLDG 2, ZHUQUEMEN
   #8 TAIPINGJIE ST
   BEIJING, 100031 CHINA

   RUMBLE BEE TRANSPORTS & MOVERS, LL
   16006 35TH AVE SE
   MILL CREEK, WA 98012

   RUSSELL AND ELIZABETH WEATHERSBY
   225 CR.127
   TUSCOLA, TX 79562

   RUTH LANGER
   1215 COMMONWEALTH AVE
   WEST NEWTON, MA 02465

   RUTH SHAN
   15919 SE 44TH WAY
   BELLEVUE, WA 98006

   RUTHANN BRUCATO
   1338 COUNTY RD 385
   ERA, TX 76238

   RUZHEN ZHANG
   NO.1904, BUILDING 1
   NO 1, SHANGDI XINXI ROAD,
   HAIDIAN DIST BEIJING 100085 CHINA

   RYAN KLEMANN
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 250 of 314
   RYAN SEAY
   4120 GILBERT AVE., UNIT #104D
   DALLAS, TX 75219

   RYAN STEVENS
   10943 IRONWOOD RD
   SAN DIEGO, CA 92131

   S GARY SHULLAW
   3707 E ZACHARY DRIVE
   PHOENIX, AZ 85050

   S SCOTT STANDA
   3025 CASCO POINT RD
   WAYZATA, MN 55391

   SABAL FINANCIAL
   ADDRESS UNAVAIL AT TIME OF FILING

   SABATINO FICICCHIA
   84 ROCK HILL RD
   ROCHESTER, NY 14618

   SABINA KAPLUNOV
   20387 KENT WAY
   LOS GATOS, CA 95033

   SAEGER CONSTRUCTION
   3134 LIBBY RD NE
   OLYMPIA, WA 98506

   SAFECO PLAZA PARKING
   1001 4TH AVE
   SEATTLE, WA 98154

   SAFEWAY INC.
   3903 FACTORIA MALL S E
   BELLEVUE, WA 98006




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 251 of 314
   SAFRANEK GROUP LLC
   5217 KENSINGTON PLACE NORTH
   SEATTLE, WA 98103

   SAGE HOMES
   ADDRESS UNAVAIL AT TIME OF FILING

   SALA BUSINESS CORP
   COND SAN VICENTE
   8169 CALLE CONCORDIA STE 303
   PONCE, PR 00717

   SALESFORCE COM, INC.
   PO BOX 203141
   DALLAS, TX 75320-3141

   SALESFORCE.COM (SAMPLE)
   ONE MARKET ST
   SUITE 300
   SAN FRANCISCO, CA 94105

   SALLY JOHNSON
   359 GEORGETOWN RD
   NAZARETH, PA 18064

   SALOMY THOMAS
   3365 BEAUFORT DR
   BETHLEHEM, PA 18017

   SALVADOR ANTONETTI ZEQUEIRA RETIRE
   1360 CALLE LUCHETTI, APT. 10
   SAN JUAN, PR 00907

   SALVADOR ANTONETTI ZEQUEIRA
   1360 CALLE LUCHETTI, APT. 10
   SAN JUAN, PR 00907

   SAM SCIABBARRA
   115 JADE CREEK DR
   HILTON, NY 14468




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 252 of 314
   SAMMAMISH PLATEAU WATER
   1510 228TH AVENUE SOUTHEAST
   SAMMAMISH, WA 98075

   SAMPIERI FAMILY TRUST DTD 6/4/1994
   29334 N 108TH PL.
   SCOTTSDALE, AZ 85262

   SAMPSON 45TH AVE LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   SAMUEL HERNANDEZ
   593 N SATURMINO DR
   PALM SPRINGS, CA 92262

   SAN JORGE ASSOCIATES MONEY PURCHAS
   PO BOX 361738
   SAN JUAN, PR 00936

   SANDIP N SHAH AND NIRALI SHAH
   7916 ORCHARD COURT
   WEST CHESTER TOWNSHIP, OH 45069

   SANDRA A BATTAGLIA
   909 LOTUS VISTA DRIVE
   APARTMENT 302
   ALTAMONTE SPRINGS, FL 32714

   SANDRA BARKER
   3 PARK ST.
   BOSTON, MA 02108

   SANDRA K TAYLOR
   5026 SUMMER MANOR LN
   SUGAR LAND, TX 77479

   SANDRA L BOWER CREDIT TRUST
   1923 KNOXBRIDGE RD
   FORNEY, TX 75126




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 253 of 314
   SANDRA MAROTTE
   22 ROSE CT
   MORRIS PLAINS, NJ 07950

   SANDRA PHILLIPS
   361 FARMS RD
   MCKINNEY, TX 75071

   SANNER FAMILY REVOCABLE TRUST
   361 FARMS RD
   MCKINNEY, TX 75071

   SARA ANN KING REVOCABLE TRUST
   33672 EAST HUNTERS RUN
   LEWES, DE 19958

   SARA PERKINS SHROTH
   2409 AMARILLO DRIVE
   O`FALLON, MO 63368

   SARAH MARTHA PUCKETT
   5932 BROADMOOR DR
   PLANO, TX 75093

   SARAH SHUTE
   8329 SOUTHWEST 33RD AVENUE
   PORTLAND, OR 97219

   SARESS AND ERNESTO SMITH
   EXT ALAMEDA CALLE B A18
   SAN JUAN, PR 00926

   SARI J ROTTER
   2 MASON TERRACE
   BROOKLINE, MA 02446

   SCALE DESIGN NW LLC
   2216 THIRTEENTH AVE EAST
   SEATTLE, WA 98102




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 254 of 314
   SCHAEFER, DAVID W & BOBBI D
   15123 19TH AVE. CT NW
   GIG HARBOR, WA 98332

   SCHROETER SURVEYING, INC
   PO BOX 813
   SEAHURST, WA 98062

   SCHWABE, WILLIAMSON & WYATT TRUST
   1211 SW FIFTH AVENUE SUITE 1900
   PORTLAND, OR 97204

   SCOTT & TARA COOK
   95 FROST COURT
   TAYLORSVILLE, KY 40071

   SCOTT AND JANE MOFFITT
   4603 84TH AVENUE SOUTHEAST
   MERCER ISLAND, WA 98040

   SCOTT B CHRISTMAS
   ADDRESS UNAVAIL AT TIME OF FILING

   SCOTT HOULE
   13 COLUMBIA AVE
   LINCOLN, RI 02865

   SCOTT K AND MICHELE C SAUNDERS
   718 KEY ROYALE DR
   HOLMES BEACH, FL 34217

   SCOTT MCDONALD REVOCABLE TRUST AGR
   DTD 6/14/13
   277 ROYAL POINCIANA WAY MB 173
   PALM BEACH, FL 33480

   SCOTT SPRAGUE
   6504 EDGEWORTH DR
   ORLANDO, FL 32819




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 255 of 314
   SCOTT WALKER
   ADDRESS UNAVAIL AT TIME OF FILING

   SDWB HOLDINGS INC.
   201 JOSEPH DRIVE
   GLENN HEIGHTS, TX 75154

   SEABROOK CONSTRUCTION COMPANY, LLC
   PO BOX 422
   PACIFIC BEACH, WA 98571

   SEABROOK COTTAGE RENTALS
   24 FRONT STREET
   PACIFIC BEACH, WA 98571

   SEACITY CONSULTING LLC
   520 SOUTH KING STREET
   SEATTLE, WA 98104

   SEAN GILDEA
   22 CHURCH ST.
   WESTON, MA 02493

   SEAN GILL
   PO BOX 250
   HAMPSTEAD, NH 03841

   SEAN MAHONEY
   1137 W LYNWOOD ST
   PHOENIX, AZ 85007

   SEASTAR RESTAURANT
   205 108TH AVE NE #100
   BELLEVUE, WA 98004

   SEATTLE DEPARTMENT OF CONSTRUCTION
   700 FIFTH AVE, SUITE 2000
   PO BOX 34019
   SEATTLE, WA 98124




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 256 of 314
   SEATTLE DEPARTMENT OF TRANSPORTATI
   PO BOX 34996
   SEATTLE, WA 98124-4996

   SEATTLE FUNDING GROUP, LTD.
   ADDRESS UNAVAIL AT TIME OF FILING

   SEATTLE MARRIOTT BELLEVUE
   200 110TH AVE NE
   BELLEVUE, WA 98004

   SEATTLE MODERN LIVING, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   SEATTLE WALLPAPER PROS
   4004 NE 4TH ST #107
   RENTON, WA 98056

   SEBRIS BUSTO JAMES
   14205 S E 36TH STREET
   SUITE 325
   BELLEVUE, WA 98006

   SECURITIES AND EXCHANGE COMMISSION
   US BANK, GOVT LOCKBOX 979081
   1005 CONVENTION PLAZA
   ST. LOUIS, MS 63101

   SECURITIZE, LLC.
   655 MONTGOMERY ST. 7TH FLR
   SAN FRANCISCO, CA 94111

   SECURITY SAFE & LOCK, INC.
   10502 MAIN STREET
   BELLEVUE, WA 98004-5903

   SEI PRIVATE TRUST CO.
   PO BOX 781800
   PHILADELPHIA, PA 19178-1800




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 257 of 314
   SEKHAR BANERJEE
   3538 YORK LANE
   SAN RAMON, CA 94582

   SELAH REALTY, INC
   PO BOX 695
   SELAH, WA 98942

   SELECT PORTFOLIO SERVICING, INC. (
   PO BOX 65450
   SALT LAKE CITY, UT 84165-0450

   SELECT WEALTH ADVISORS
   322 DE DIEGO AVE, SUITE 202
   SAN JUAN, PR 00920

   SELF CUSTODIED
   ADDRESS UNAVAIL AT TIME OF FILING

   SENTRY CREDIT , INC.
   PO BOX 12070
   EVERETT, WA 98206-2070

   SENZA KENMORE
   ADDRESS UNAVAIL AT TIME OF FILING

   SENZA SAMMAMISH
   ADDRESS UNAVAIL AT TIME OF FILING

   SERENA LYNN VOSS
   709 W MAIN ST.
   POST, TX 79356

   SERGIO BAUTISTA
   ADDRESS UNAVAIL AT TIME OF FILING

   SFG MORTGAGE SERVICING LLC
   188 106TH AVENUE NORTHEAST
   SUITE 600
   BELLEVUE, WA 98004




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 258 of 314
   SHAILESH PATEL AND VANESSA DESAI
   15313 LAKE BELLAVISTA DR
   TAMPA, FL 33625

   SHALINA BUDHRANI
   2903 REDWOOD DR
   CARROLLTON, TX 75007

   SHANGHAI HUACHENG SOUTHWEST TRAVEL
   1465 BEIJING W RD, JINGAN QU
   SHANGHAI SHI, 200040, CHINA

   SHAOMING ZHANG
   RM 310-312, HANFU CENTRE BLDG ,
   3RD RD , BAGUA, BAGUALING, FUTIAN
   SHENZEN, GUANGDONG 518000 CHINA

   SHARLA ADAM
   7393 RATLIFF RD
   SAN ANGELO, TX 76904

   SHARON C WEBB
   380 MATHER STREET, APT 3110
   HAMDEN, CT 06514

   SHARP ELECTRONICS CORPORATION
   DBA SHARP BUSINESS SYSTEMS
   DEPT. LA 21648
   PASADENA, CA 91185-1648

   SHARTSIS FRIESE LLP
   ONE MARITIME PLAZA, 8TH FLOOR
   SAN FRANCISCO, CA 94111

   SHAUKAT H CHOWDHARI
   11707 CLUB DR
   TAMPA, FL 33612

   SHELTER HOMES
   88 E HAMLIN ST
   SEATTLE, WA 98102




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 259 of 314
   SHENZHEN SINOUS FIRST INVESTMENT C
   308 BLK B, SHENNAN GARDEN PODIUM
   KEYUAN NORTH RD, NANSHAN DISTRICT
   SHENZHEN GUANGDONG 518057 CHINA

   SHERMAN WADE DEVORE
   1605 GREEN CORNER CT
   FORT WORTH, TX 76008

   SHERRY CAPITAL ADVISORS, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   SHERRY DEVELOPMENT LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   SHERYL L JARRETT
   3621 VISTA CAMPANA S #2
   OCEANSIDE, CA 92057

   SHIJIA WANG
   1-2-601, YANSHANHE COMMUNITY,
   NO. 201 BAOCHU RD, XIHU DISTRICT,
   HANGZHOU, ZHEJIANG, 310000 CHINA

   SHIRAZALI AND GULZAR SUNDERJI
   26060 N 104TH WAY
   SCOTTSDALE, AZ 85255

   SHIXUAN DENG
   4 QIANCHAOMIAN HUTONG
   DONGCHENG QU,
   BEIJING, 10009 CHINA

   SHIYING CHEN
   1102, UNIT 1, BUILDING 5,
   MINGLIYUAN, XIXI CHENGYUAN, XIHU
   HANGZHOU, ZHEJIANG, 310012 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 260 of 314
   SHIYU ZHANG
   GUYAN CHUNXIAO, DUJIANGYAN CITY
   CHENGDU CITY, SICHUAN, 611800
   CHINA

   SHO-CHIN AND PING SHANG
   2549 ESSEX DR
   KINGSPORT, TN 37660

   SHOPE CONCRETE PRODUCTS COMPANY
   1618 E MAIN
   PUYALLUP, WA 98372

   SHRED-IT USA
   28883 NETWORK PLACE
   CHICAGO, IL 60673

   SHUTTLEPARK 2
   3610 S 158TH ST
   TUKWILA, WA 98188

   SHUYIN LI
   ADDRESS UNAVAIL AT TIME OF FILING

   SHUYUN ZHENG
   16-2607 SUNLITUN SOHO APARTMENT
   CHAOYANG DIST
   BEIJING, 100020 CHINA

   SICHUAN DIPONT VISA INFORMATION SE
   ROOM 2101-2105, HUAMIN EMPIRE PLZ
   1 FUXING STREET, JINGJIANG DST,
   CHENGDU SICHUAN, 610016 CHINA

   SID (BEIJING) CONSULTING CO. LTD
   ROOM 605 BUILDING 3 DELTA CENTER
   OFFICE BUILDING NO. 7 QINGNIAN RD
   CHAOYANG DISTRICT BEIJING CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 261 of 314
   SIDNEY FRANK
   2001 SPRING ROAD, SUITE 700
   OAK BROOK, IL 60523

   SIGN PROS INC
   PO BOX 2518
   REDMOND, WA 98073

   SIGNATURE INTERIORS & DESIGN, LLC
   6404 S 209TH ST
   KENT, WA 98032

   SIMEON MONTGOMERY
   7805 TROON DR
   ROWLETT, TX 75089

   SIMON TODD
   2213 CAMERON CROSSING
   GRAPEVINE, TX 76051

   SIMPLUS
   OUTBOX SYS DBA SIMPLUS DEPT 3758
   PO BOX 123758
   DALLAS, TX 75312-3758

   SINOLITE INDUSTRIAL CO.
   BLDG DEF, 19 FL, ZHEJIANG WUCHAN
   INTNL PLZ,, NO.445 KAIXUAN RD,
   JIANGGAN DIST, HANGZHOU, CHINA

   SITE SURVEY MAPPING
   21923 NE 11TH STREET
   SAMMAMISH, WA 98074

   SIU YIN MARCO CHAN
   ROOM A302, DAYUAN APARTMENT, NO. 7
   PINGSHAN ROAD, XILI TAOYUAN ST,
   NANSHANSHNZHN GUANGDONG 518055 PRC




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 262 of 314
   SIX CHILDREN, LLC
   141 CHESTNUT ST.
   NEEDHAM, MA 02492

   SIXIANG SHEN
   901, #1, BLD B HEHUALONG HEHUAYUAN
   XUNYANG DISTRICT
   JIUJIANG, JIANGXI, 332000 CHINA

   SIZER DESIGNS, LLC
   12722 NORTHEAST 111TH PLACE
   KIRKLAND, WA 98033

   SIZHEN WANG
   04 BUILDING 18, NO. 68
   TIYUGONGYUAN ROAD, LISHUI DST
   NANJING, JIANGSU, 210000, CHINA

   SKAGIT BANK
   ADDRESS UNAVAIL AT TIME OF FILING

   SKY RIVER INVESTMENT, LLC.
   15533 SE 79TH PL
   NEWCASTLE, WA 98059

   SKYE BELOTE
   ADDRESS UNAVAIL AT TIME OF FILING

   SKYLINE PRO CLEANING
   ADDRESS UNAVAIL AT TIME OF FILING

   SKYWAY CAPITAL MARKETS
   100 NORTH TAMPA ST SUITE 3550
   TAMPA, FL 33602

   SMARSH, INC.
   851 SW 6TH AVE
   PORTLAND, OR 97204




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 263 of 314
   SMART HOSUE CLEANING LLC
   463 EDMONDS COURT NORTHEAST
   RENTON, WA 98056

   SNOHOMISH COUNTY PLANNING & DEVELO
   3000 ROCKEFELLER AVENUE M/S 604
   EVERETT, WA 98201

   SNOHOMISH COUNTY TREASURER
   DREWEL BLDG
   3000 ROCKEFELLER AVE, 1ST FLOOR
   EVERETT, WA 98201

   SOCOTRA CAPITAL, INC
   2208 29TH STREET, SUITE 100
   SACRAMENTO, CA 95817

   SOMERSET SECURITIES, INC.
   4600 SW KELLY AVENUE
   PORTLAND, OR 97239

   SONGJUN HAN
   UNIT 901-6 BUILDING 6, NO. 59,
   WEST DAWANG ROAD, CHAOYANG DST
   BEIJING, 100022 CHINA

   SORENSEN MECHANICAL, LLC
   13407 SE 339TH STREET
   AUBURN, WA 98092

   SORI FARSHEED
   ADDRESS UNAVAIL AT TIME OF FILING

   SOUND EQUITY - DO NOT USE.
   ADDRESS UNAVAIL AT TIME OF FILING

   SOUND EQUITY
   929 108TH AVE NE, STE 1030
   BELLEVUE, WA 98004




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 264 of 314
   SOUND SURVEYING LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   SOUNDEARTH STRATEGIES INC.
   2811 FAIRVIEW AVE E
   SEATTLE, WA 98102

   SOUREN CHAKMAKJIAN FAMILY, LIMITED
   3855 BRANCHFIELD DR
   DALLAS, TX 75214

   SOUTH SOUND SYSTEM
   ADDRESS UNAVAIL AT TIME OF FILING

   SOUTHTOWNE ENTERPRISES
   2449 S WILLIS – SUITE 106
   ABILENE, TX 79605

   SOUTHWESTERN RADIOLOGY SERVICES RE
   PO BOX 1498
   VEGA BAJA, PR 00694

   SPARKOL.COM
   ADDRESS UNAVAIL AT TIME OF FILING

   SPARKS INTERIORS INC
   2711 152ND AVE N E
   REDMOND, WA 98052

   SPECIALTY`S CAFE & BAKERY
   500 108TH AVE NE
   BELLEVUE, WA 98004

   SPOT-ON PRINT & DESIGN
   1803 132ND AVE NE #1
   BELLEVUE, WA 98005

   SQUARE LOTUS
   3540 FACTORIA BLVD SE A,
   BELLEVUE, WA 98006




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 265 of 314
   SSA ACOUSTICS
   7409 GREENWOOD AVENUE N, SUITE A
   SEATTLE, WA 98103

   ST. JULIEN FAMILY TRUST
   777 MATAGUAL DR
   VISTA, CA 92081

   STACEY PIKE
   5357 BRISTOL ST.
   ARVADA, CO 80002

   STAFFORD LAND COMPANY
   ADDRESS UNAVAIL AT TIME OF FILING

   STANDARD PARKING
   8037 COLLECTION CENTER DRIVE
   CHICAGO, IL 60693

   STANLEY AND LINDA GURECKI
   914 STEARNS RD
   NEW MILFORD, PA 18834

   STANLEY B STARR MONEY PURCHASE PLA
   34 SQUIRE SHALER LN
   LANCASTER, MA 01523

   STANLEY B STARR, JR
   34 SQUIRE SHALER LN
   LANCASTER, MA 01523

   STANLEY MCLELLAN
   2446 VAUGHN AVE
   DELTONA, FL 32725

   STAPLES INC.
   500 STAPLES DR
   FRAMINGHAM, MA 01702-4478




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 266 of 314
   STATE OF CALIFORNIA
   ADDRESS UNAVAIL AT TIME OF FILING

   STATE OF DELAWARE
   DIVISION OF CORPORATIONS
   PO BOX 5509
   BINGHAMTON, NY 13902-5509

   STATE OF NORTH CAROLINA
   ADDRESS UNAVAIL AT TIME OF FILING

   STATE OF OH
   ADDRESS UNAVAIL AT TIME OF FILING

   STATE OF PENSILVANIA
   ADDRESS UNAVAIL AT TIME OF FILING

   STEFAN PAGIOS
   43 DEPINEDO ST.
   PROVIDENCE, RI 02094

   STELLA KINDRED
   8275 HILLANDALE DRIVE
   SAN DIEGO, CA 92120

   STEPHANIE MORRIS
   3815 ROSE AVE,
   LONG BEACH, CA 90807

   STEPHEN BELOKOPITSKY
   4160 W 1000 N,
   ALEXANDRIA, IN 46001

   STEPHEN C WILKINSON
   2076 SUTTON WAY
   HENDERSON, NV 89074

   STEPHEN D ATKINSON
   4214 42ND ST.
   LUBBOCK, TX 79413




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 267 of 314
   STEPHEN J TWILLIGER
   223 MELWOOD DR
   ROCHESTER, NY 14626

   STEPHEN THAYER
   2642 BEVERLY GLEN DR
   LAKE HAVESU, AZ 86403

   STEPHEN W TRIVETT
   1891 SANCTUARY PLACE
   MURFREESBORO, TN 37128

   STERLING GRIFFIN
   ADDRESS UNAVAIL AT TIME OF FILING

   STERLING REALTY ORGANIZATION CO.
   777 108TH AVENUE NE, SUITE 2150
   BELLEVUE, WA 98004

   STERLING
   PO BOX 35626
   NEWARK, NJ 07193

   STERN 1987 FAMILY TRUST
   9570 VIRGINIA PLACE
   BEVERLY HILLS, CA 90212

   STEVE HARBERTSON
   8813 TRACY DRIVE
   SANDY, UT 84093

   STEVE N ODELL
   2052 CANNES
   PLANO, TX 75074

   STEVE WHITE
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 268 of 314
   STEVEN A HENRIKSEN
   215 VALLEYVIEW PLACE
   MINNEAPOLIS, MN 55419

   STEVEN C AND KATHERINE M JISKRA
   254 HAWK HOLLOW DRIVE
   BARTLETT, IL 60103

   STEVEN COSTALAS
   5 KATHRYN LANE
   BROOMALL, PA 19008

   STEVEN D BENTZ
   10218 MISSISSIPPI BLVD NW
   COON RAPIDS, MN 55433

   STEVEN D MOONBLATT
   815 SOUTH 7TH ST. UNIT #6
   PHILADELPHIA, PA 19147

   STEVEN G LOMBARDO
   ADDRESS UNAVAIL AT TIME OF FILING

   STEVEN GABLE
   2602 BRUNNER RD
   EMMANS, PA 18049

   STEVEN J EVANS
   25 POINT O WOODS ROAD
   DARIEN, CT 06820

   STEVEN N BOYD
   1043 GOLFSIDE DR
   WINTER PARK, FL 32792

   STEVEN PETERSEN
   10366 LUNA MAGICO AVE
   LAS VEGAS, NV 89135




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 269 of 314
   STEVEN SPERRING
   706 BRASS LANTERN PL.
   BRENTWOOD, TN 37027

   STEVEN W SHAW
   11 RIVER PARK DRIVE
   CORMWELL, CT 06416

   STEVEN WESTERBERG
   7750 SOUTH LAKESHORE ROAD #6
   CHELAN, WA 98816

   STEW COGAN
   1420 FIFTH AVENUE, SUITE 3400
   SEATTLE, WA 98101

   STEWARD K SELLERS
   2830 LINDEN STREET, UNIT 2B
   BETHLEHEM, PA 18017

   STILLPOINT CAPITAL - SKYWAY CAPITA
   100 N TAMPA ST SUITE 3550
   TAMPA, FL 33602

   STILLWATER CONSULTING GROUP
   ADDRESS UNAVAIL AT TIME OF FILING

   STOEL RIVES LLP
   101 S CAPITOL BLVD STE 1900
   BOISE, ID 83702

   STONECREST PARTNERS
   300 WEST 6TH STREET, SUITE 1520
   AUSTIN, TX 78701

   STORYBUILT
   900 1ST ST S
   AUSTIN, TX 78704




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 270 of 314
   STRUCTURAL WORKS PLLC
   35341 11TH CT SW
   FEDERAL WAY, WA 98023

   STUART ACKERMAN AND ANN ACKERMAN R
   7034 E CROCUS DR
   SCOTTSDALE, AZ 85254

   STUART L PINKERT INSURANCE TRUST U
   666 DUNDEE ROAD, SUITE 903
   NORTHBROOK, IL 60062

   STUART L PINKERT
   89 CRESTVIEW DRIVE
   DEERFIELD, IL 60015

   STUDIO PACIFICA
   2144 WESTLAKE AVENUE NORTH
   SUITE F
   SEATTLE, WA 98109

   STUDIO19 ARCHITECTS
   PO BOX 4127
   SEATTLE, WA 98194

   SUCCESS CIRCLE HOLDINGS, LLC
   119 FOXBORO RD
   TRAVERLERS REST, SC 29690

   SUMMIT DEVELOPMENT GROUP
   ADDRESS UNAVAIL AT TIME OF FILING

   SUMMIT DRYWALL INC
   ADDRESS UNAVAIL AT TIME OF FILING

   SUNSET 1725 LLC
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 271 of 314
   SUPERGRAPHICS, INC.
   2201 15TH AVE W
   SEATTLE, WA 98119

   SUPERIOR INSULATION PRODUCTS, LLC
   3511 136TH ST. NORTHEAST
   MARYSVILLE, WA 98271

   SURVIVOR OF GRIFFITH FAMILY TRUST
   28452 CALLE PINON
   SAN JUAN CAPISTANO, CA 92675

   SUSAN ALVARADO
   2639 HARRISON STREET
   CARSON, CA 90810

   SUSAN B SKARECKY TRUST UTD 12-17-0
   501 OAKWOOD AVE. APT. 2-A
   LAKE FOREST, IL 60045

   SUSAN B STEINER REV TRUST
   444 TOAD RD
   CORRALES, NM 87048

   SUSAN C BROUTMAN
   2340 SPRUCE ST. UNIT C
   BOULDER, CO 80302

   SUSAN J HUBELE
   4220 FAIRWAY DR
   FLOWER MOUND, TX 75028

   SUSAN LOWDER
   12495 GREENLEAF WAY
   TRUCKEE, CA 96161

   SUSAN MCLAUGHLIN
   724 EAST RAMONA AVE
   SALT LAKE CITY, UT 84105




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 272 of 314
   SUSAN SELBE
   61 JEANNE STREET
   PORTLAND, ME 04102

   SUSAN STEINER
   444 TOAD RD
   CORRALES, NM 87048

   SUSAN STEINER
   444 TOAD RD
   CORRALES, NM 87048

   SUSAN THORNE
   168 KNOXVIEW LANE
   MOORESVILLE, NC 28117

   SUZANNE CARTER
   149 SEA COTTON CIR.
   CHARLESTON, SC 29412

   SWICKARD REAL ESTATE INVESTMENTS,
   5200 EVERGREEN WAY
   EVERETT, WA 98203

   SYLVIA GARDNER
   907 ROCK CANYON RD
   DUNCANVILLE, TX 75137

   T S DANCE CONSTRUCTION LLC
   17902 120TH STREET CT E
   BONNEY LAKE, WA 98391

   T&L ONE, LLC
   17169 6TH PLACE SW
   SEATTLE, WA 98166

   TACOMA PACIFIC PARTNERS, LLC - DO
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 273 of 314
   TACOMA PACIFIC PARTNERS, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   TACOMA PUBLIC UTILITIES
   3628 S 35TH ST.
   TACOMA, WA 98409

   TACOMA RUBBER STAMP
   919 MARKET ST
   TACOMA, WA 98402

   TAHOMA MARKET
   MARKET STREET
   TACOMA, WA 98402

   TAI SHAN
   155 EVERHOLLOW HEIGHTS SW
   CALGARY, AB T2Y 5B3
   CANADA

   TAIT WELLER & BAKER LLP
   50 SOUTH 16TH ST, SUITE 2900
   PHILADELPHIA, PA 19102

   TALIESIN HOMES NW, LLC
   12042 SE SUNNYSIDE ROAD, #475
   CLACKAMAS, OR 97015

   TAMI Y ISAACS
   10701 STONEYHILL DRIVE
   SILVER SPRING, MD 20901

   TAMMY WHITE
   546 EAST NAVAJO TRAIL
   SAN TAN VALLEY, AZ 85143

   TAT IU
   ROOM 2301,BLOCK A, GAXALY INTL BLD
   167 HUANCHENG NORTH ROAD
   HANGZHOU, ZHEJIANG, 310005 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 274 of 314
   TATIANA DESSAIN 2015 REVOCABLE TRU
   62 CONANT RD
   LINCOLN, MA 01773

   TATIANA PANTCHENKO
   7705 135TH PLACE NE
   REDMOND, WA 98052

   TATYANA ULYANCHENKO
   3480 GRANADA AVE, APT 255
   SANTA CLARA, CA 95051

   TAX DOCUMENT HOLDER
   ADDRESS UNAVAIL AT TIME OF FILING

   TAXI SERVICE - NY
   ADDRESS UNAVAIL AT TIME OF FILING

   TAYLOR AND PADGETT FINANCIAL
   1555 PLAZA WEST DR
   PRESCOTT, AZ 86303

   TCD, LLC
   32781 NE 52ND STREET
   CARNATION, WA 98014

   TCG
   ADDRESS UNAVAIL AT TIME OF FILING

   TD AMERITRADE CLEARING, INC.
   200 S 108TH AVE. ATTN: AI DEPT
   OMAHA, NE 68154

   TD CROSHAW
   32968 NE 52ND STREET
   CARNATION, WA 98014

   TEAL GROUP TECHNOLOGIES, LLC
   19438 185TH AVE SE SUITE 100
   RENTON, WA 98058




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 275 of 314
   TEC REAL ESTATE
   40 LAKE BELLEVUE DR #245
   BELLEVUE, WA 98005

   TED E AND EVA M CASON
   1421 YOUNG CIR.
   RAYMORE, MO 64083

   TERESA ELIZABETH PIERE INTERVIVOS
   6813 OAKVIEW ST.
   SHAWNEE, KS 66216

   TERESA MCDADE & MARK MCDADE
   3540 NE 147TH ST
   LAKE FOREST PARK, WA 98115

   TERESA MCDADE
   3540 NE 147TH ST
   LAKE FOREST PARK, WA 98115

   TERI CAMPBELL KING LIVING TRUST
   3524 PINEHURST CR.
   FARMERS BRANCH, TX 75234

   TERRANE
   ADDRESS UNAVAIL AT TIME OF FILING

   TERRENCE CASELLA
   44370 ONTARIO COURT
   INDIAN WELLS, CA 92210

   TERRENCE L HUCKE
   1812 56TH ST NE
   TACOMA, WA 98422

   TERRENCE W ALLEN
   135 WALKING TRAIL
   YOUNGSVILLE, NC 27596




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 276 of 314
   TERRILL J AND MICHELLE R MARTIN
   5321 NW BLUFFS WAY
   PARKVILLE, MO 64152

   TERRY L AND LYNN M MANNING
   548 NORTH LEAVITT AVENUE
   ORANGE CITY, FL 32763

   TEST 3
   ADDRESS UNAVAIL AT TIME OF FILING

   TEST ACCOUNT 5
   5243 11TH AVE NE
   SEATTLE, WA 98105

   TEST ACCOUNT
   TEST ADDRESS

   TEST CONTACT 6
   5243 11TH AVE NE
   SEATTLE, WA 98105

   TEST ICAP
   3535 FACTORIA BLVD SE
   SUITE 500
   BELLEVUE, WA 98006

   TEST TEST
   ADDRESS UNAVAIL AT TIME OF FILING

   TEST TESTING
   ADDRESS UNAVAIL AT TIME OF FILING

   TEST VAULT
   963 2ND AVE.
   TUCSON, AZ 81345-000

   TEST
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 277 of 314
   TESTER INVESTOR
   ADDRESS UNAVAIL AT TIME OF FILING

   THAI GINGER
   3717 FACTORIA BLVD SE
   BELLEVUE, WA 98006

   THANH PHAT NGUYEN
   15706 CHADRON AVE.
   GARDENA, CA 90249

   THE ADAMS FAMILY LIVING TRUST
   1907 WATERFORD DR
   GRAPEVINE, TX 76051

   THE AIELLO FAMILY TRUST
   6331 DWANE AVE.
   SAN DIEGO, CA 92120

   THE ALTHEA KAY TALENTO REVOCABLE I
   TRUST DATED 8/20/19
   1915 HAZELNUT COURT
   AGOURA HILLS, CA 91301

   THE B+K BROUWER REVOCABLE TRUST
   16538 E WESTWIND CT
   FOUNTAIN HILLS, AZ 85268

   THE BARRY AND DOLORES SCHNEIDER CH
   6616 RIVER BEND RD
   FT WORTH, TX 76132

   THE BARRY AND DOLORES SCHNEIDER LI
   6616 RIVER BEND RD
   FT WORTH, TX 76132

   THE BARSTOW FAMILY REVOCABLE TRUST
   PO BOX 54864
   HURST, TX 76054




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 278 of 314
   THE BELLEVUE COLLECTION
   575 BELLEVUE SQUARE
   BELLEVUE, WA 98004

   THE BLECKER FAMILY TRUST DTD. 04/0
   PO BOX 90337
   SAN DIEGO, CA 92169

   THE BOWMAN LAW FIRM, LLC
   840 TOM WHEELER LANE
   MCEWEN, TN 37101

   THE BROCKMAN LIVING TRUST
   1000 DOGWOOD CT
   COLLEYVILLE, TX 76034

   THE CHEESECAKE FACTORY
   401 BELLEVUE SQUARE
   BELLEVUE, WA 98004

   THE CHRIS ANDERSEN FAMILY TRUST
   1044 E SAN JACINTO WAY
   PALM SPRINGS, CA 92262

   THE CYNTHIA HOFFMAN REVOCABLE TRUS
   429 OCEAN DR W
   STAMFORD, CT 06902

   THE DARIUS KING LIVING TRUST
   23180 VIRGINIA TRAIL
   BRISTOL, VA 24202

   THE DARLING FAMILY TRUST
   4 AVIS CT
   ORINDA, CA 94563

   THE DAVID AND GAYLE JOHNSON
   REVOCABLE FAMILY LIVING TRUST
   4583 S GREYTHORNE WAY
   CHANDLER, AZ 85248




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 279 of 314
   THE DENG IRREVOCABLE TRUST
   7307 N DIVISION #303, PO BOX 18969
   SPOKANE, WA 99228-0969

   THE DON AND LINDA WILLIAMS TRUST
   4787 GALICIA WAY
   OCEANSIDE, CA 92056

   THE DON AND SUSAN LOWDER REV TRUST
   12495 GREENLEAF WAY
   TRUCKEE, CA 96161

   THE DOTY LIVING TRUST UAD 06/12/97
   41300 WOODHAVEN DR W
   PALM DESERT, CA 92211

   THE EDERER FAMILY TRUST UAD 2/23/0
   8530 MELROSE LN
   EL CAJON, CA 92021

   THE EDWARD K & SANDRA L BOWER REVO
   1923 KNOXBRIDGE RD
   FORNEY, TX 75126

   THE EDWARDS FAMILY TRUST DTD 10/12
   2126 MONTGOMERY AVE.
   CARDIFF, CA 92007

   THE FINAL CLEAN
   12910 16TH ST NE
   LAKE STREVENS, WA 98258

   THE FIRM REAL ESTATE SERVICES
   838 PEACE PORTAL DRIVE
   BLAINE, WA 98230

   THE GERALD H RISSMAN TRUST
   1470 SANDERS ROAD
   NORTHBROOK, IL 60062




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 280 of 314
   THE GLORIA A WIERCIOCH TRUST DATED
   13215 WOOD DUCK DR
   PLAINFIELD, IL 60585

   THE GREEN THUMB
   3104 161ST AVE. SE
   BELLEVUE, WA 98008

   THE HANOVER INSURANCE GROUP
   PO BOX 580045
   CHARLOTTE, NC 28258

   THE HARDING FAMILY LIVING TRUST UA
   76-448 VIA CHIANTI
   INDIAN WELLS, CA 92210

   THE HAROLD E HOPF LIVING TRUST UAD
   273 N 325 E
   JASPER, IN 47546

   THE HARTMAN LIVING TRUST
   2146 EAST FIELDSTONE DRIVE
   ST. GEORGE, UT 84790

   THE JAMES & MICHELLE FRANKIE FAMIL
   3701 MADISON ROAD
   FLINTRIDGE, CA 91011

   THE JOANN MCKNIGHT LIVING TRUST
   2701 S SIOUX AVE.
   INDEPENDENCE, MO 64057

   THE KIMBERLY ANNE ANGEL FAMILY TRU
   512 HARVEST RAIN AVENUE
   HENDERSON, NV 89011

   THE LADY TRUST
   271 PR 5987
   YANTIS, TX 75497




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 281 of 314
   THE LANDER FAMILY 2020 TRUST
   4428 HYER ST.
   DALLAS, TX 75205

   THE LEROY PARK AND MARY JANE PARK
   REVOCABLE LIVING TRUST
   334 SOUTHSHORE DR
   LAKE WINNEBAGO, MO 64034

   THE LESLIE J SCHEIL TRUST DTD. 12/
   69330 LAS BEGONIAS
   CATHEDRAL CITY, CA 92234

   THE LOAN DOCTOR
   ADDRESS UNAVAIL AT TIME OF FILING

   THE LYNDA D EARHART TRUST
   3229 HIGHWAY 126
   BOUNTVILLE, TN 37617

   THE MAC HYTKEN TRUST DTD 25 OCT 93
   PO BOX 794055
   DALLAS, TX 75379

   THE MICHAEL BRADLEY TRUST
   16430 N SCOTTSDALE RD
   STE 230
   SCOTTSDALE, AZ 85254

   THE MICHAEL VARRIN TRUST
   825 PURCHASE BROOK ROAD
   SOUTHBURY, CT 06488

   THE NATIONAL DUE DILLIGENCE ALLIAN
   1810 CEDAR CREEK COURT
   HOUSTON, TX 77077

   THE NOCHUR TRUST
   295 WOODCLIFF RD
   NEWTON, MA 02461




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 282 of 314
   THE PILLING TRUST DTD. APRIL 18, 1
   1608 SKYLINE DRIVE
   FULLERTON, CA 92831

   THE PREVIEW GROUP
   ADDRESS UNAVAIL AT TIME OF FILING

   THE REMLINGER GROUP
   ADDRESS UNAVAIL AT TIME OF FILING

   THE RESTATED JEROME & ANASTASIA AN
   JEROME ANGEL, TRSTEE
   801 E TAHQUITZ CANYON WAY, STE 200
   PALM SPRINGS, CA 92262

   THE REV TRUST OF CHRISTINE C TAYLO
   11664 SPOTTED MARGAY AVENUE
   VENICE, FL 34292

   THE RHODES AND SMITH FAMILY TRUST
   2701 MERRYGLEN LANE
   FLOWER MOUND, TX 75022

   THE RONALD HEAPE REVOCABLE TRUST U
   7279 E GOODNIGHT LANE
   PRESCOTT VALLEY, AZ 86314

   THE RUSSELL AND JENNY MCCLURE FAMI
   1698 SIKES ST.
   GRAFORD, TX 76449

   THE SCHWARTZ COMPANY
   108 S WASHINGTON STREET
   SUITE 310
   SEATTLE, WA 98104

   THE SHAW BYPASS TRUST DATED 06/17/
   940 WINGED FOOT DR
   FAIRVIEW, TX 75069




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 283 of 314
   THE SOD LEGACY TRUST DTD 5/24/19
   9527 EAST VERDE GROVE VIEW
   SCOTTSDALE, AZ 85255

   THE STANLEY AND MARIAN PRAVER TRUS
   39-905 VIA SCENA, UNIT 140
   PALM DESERT, CA 92260

   THE STONE FAMILY TRUST DTD 04/08/0
   PO BOX 2365
   RANCHO MIRAGE, CA 92270

   THE STONE FAMILY TRUST
   10009 WANDERING WAY
   BENBROOK, TX 76126

   THE SUZANNE CHAMBERS BLUM 2018 TRU
   18 MEADOWVIEW DRIVE
   NORTHFIELD, IL 60093

   THE THOMAS RICHARD & SANDRA ANN BA
   REVOCABLE LIVING TRUST
   101 WOODLAND DR
   HIGHLAND VILLAGE, TX 75077

   THE TLS INVESTMENT TRUST
   361 FARMS RD
   MCKINNEY, TX 75071

   THE TONY AND HEATHER ASBELL LIVING
   13042 N RED QUAIL PLACE
   MARANA, AZ 85658

   THE WADE LIVING TRUST
   PO BOX 10187
   PRESCOTT, AZ 86304

   THEODORE R SCHAUMBURG
   1730 PEBBLEWOOD CT
   SYCAMORE, IL 60178




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 284 of 314
   THERESA M BONESS
   RT 4 BOX 484
   AVA, MO 65608

   THIERRY FAMILY TRUST
   3401 CORTE PINO
   CARLSBAD, CA 92009

   THINK JOULE
   929 NW 19TH AVE
   PORTLAND, OR 97209

   THOMAS A GOLDSBOROUGH
   8304 GIANTSTEP PL.
   GAITHERSBURG, MD 20886

   THOMAS AND JODI TEMPLE W/ RIGHTS O
   21 SYCAMORE LN
   CHESTER SPRINGS, PA 19425

   THOMAS AND MAUREEN SLOBIG
   1329 W SHELLFISH DR
   GILBERT, AZ 85233

   THOMAS AUSTIN GUSTAFSON
   3113 PADDLE CREEK DR
   JACKSONVILLE, FL 32223

   THOMAS B HAMLIN
   4600 SW KELLY AVENUE
   PORTLAND, OR 97239

   THOMAS C GUSTAFSON
   PO BOX 520879
   LONGWOOD, FL 32752

   THOMAS E AND NANCY E EROH
   28 DAWN DRIVE
   DOUGLASSVILLE, PA 19518




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 285 of 314
   THOMAS E SORCE
   1915 HAZEL NUT COURT
   AGOURA HILLS, CA 91301

   THOMAS H HAMM, IV
   5399 E BIG RICHLAND CREEK RD
   MCEWEN, TN 37101

   THOMAS HUEBINGER
   30703 LOWER OX BOW TRACE
   FULSHEAR, TX 77441

   THOMAS L & SANDRA RAWLINGS JTWROS
   PO BOX 271
   WHARTON, TX 77488

   THOMAS L GREENE
   5921 PARKVIEW DR
   WESTERN SPRINGS, IL 60558

   THOMAS L WELLING
   28 LINDSEY AVE.
   DANVILLE, PA 17821

   THOMAS MARGIE
   4416 EAST WILLOW AVE
   PHOENIX, AZ 85032

   THOMAS MARTIN WOODWARD
   5307 GLIDE SLOPE CT
   GRANBURY, TX 76049

   THOMAS MCCAUSLAND, JR 1994 IRREVOC
   1437 EDGEWOOD LN
   WINNETKA, IL 60093

   THOMAS R FOGARTY
   PO BOX 483
   WAYNESVILLE, NC 28786




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 286 of 314
   THOMAS R HELLER
   3510 E OVERBY ROAD
   LAKE LEELANAU, MI 49653

   THOMAS RICOTTA
   2982 NIGHT WATCH WAY
   ALPINE, CA 91901

   THOMAS SAXBY AND LEANNE SAXBY
   759 LIME HOLLOW ROAD
   NORFOLK, NY 13667

   THOMAS SAXBY
   759 LIME HOLLOW ROAD
   NORFOLK, NY 13687

   THOMAS SLOBIG
   1329 W SHELLFISH DR
   GILBERT, AZ 85233

   THOMAS TILBROOK
   1233 HARDISON LN
   ABILENE, TX 79602

   THOMPSON HINE LLP
   41 SOUTH HIGH ST
   SUITE 1700
   COLUMBUS, OH 43215

   THOMSON REUTERS TAX & ACCOUNTING -
   PO BOX 71687
   CHICAGO, IL 60694-1687

   THURSTON COUNTY TITLE
   ADDRESS UNAVAIL AT TIME OF FILING

   TICOR TITLE CO
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 287 of 314
   TIEGS PROPERTY SERVICES LLC
   PO BOX 2214
   TACOMA, WA 98401

   TIKVOT PTE LTD.
   20 EMERALD HILL ROAD
   SINGAPORE, 229302
   SINGAPORE

   TIM AND JILL MULLER
   1334 WINONA DR
   SAN JOSE, CA 95125

   TIM RUSHER
   ADDRESS UNAVAIL AT TIME OF FILING

   TIM TYLER
   ADDRESS UNAVAIL AT TIME OF FILING

   TIMBERLAND
   ADDRESS UNAVAIL AT TIME OF FILING

   TIMBREL CAPITAL LLC
   2200 CENTURY PARKWAY
   SUITE 500
   ATLANTA, GA 30345

   TIMOTHY J AND SUE MCKAY
   11030 GULF SHORE DR UNIT 102
   NAPLES, FL 34108

   TIMOTHY R NEWCOMB
   438 35TH AVE.
   EAST MOLINE, IL 61244

   TIMOTHY VIOLETTE
   22568 TULIP COURT
   SANTA CLARITA, CA 91390




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 288 of 314
   TINA M WALZ
   10 PINEWOOD DR
   COVINGTON TWP, PA 18424

   TING SHAO
   1158 230TH AVE NE
   SAMMAMISH, WA 98074-6529

   TITAN SECURITIES
   16775 ADDISON RD STE 525
   ADDISON, TX 75001

   TLS INVESTMENT TRUST
   361 FARMS RD
   MCKINNEY, TX 75071

   T-MOBILE
   PO BOX 790047
   ST. LOUIS, MO 63179-0047

   TODD MCCOY
   ADDRESS UNAVAIL AT TIME OF FILING

   TOKENY SOLUTIONS
   9, RUE DU LABORATOIRE
   L-1911 LUXEMBOURG
   GARE, L-1911 LUXEMBOURG

   TOKYO RESTAURANT
   3500 FACTORIA BLVD SE
   BELLEVUE, WA 98006

   TOM FILES
   8721 SE PORTER CIRCLE
   VANCOUVER, WA 98664

   TOM J BLONG
   190 HEDGES
   ABILENE, TX 79605




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 289 of 314
   TOP GUN BAR AND GRILL
   ADDRESS UNAVAIL AT TIME OF FILING

   TORO ESPECIALISTA EN ORTODONCIA
   PASEO LAS BRISAS #13
   CALLE MARBELLA
   SAN JUAN, PR 00926

   TOTAL GROUNDS MANAGEMENT
   PO BOX 9
   PUYALLUP, WA 98371

   TP ICAP C/O NORRIS MCLAUGHLIN, PA
   JEANNE M. HAMBURG, ESQ.
   7 TIMES SQUARE, 21ST FLOOR
   NEW YORK, NY 10036

   TRACEY TYSON
   216 GITCHEGUMEE DRIVE
   BUCKLEY, MI 49620

   TRACY SMITH
   2701 MERRYGLEN LANE
   FLOWER MOUND, TX 75022

   TRAFFIC MANAGEMENT INC
   4900 AIRPORT PLAZA DR
   SUITE 300
   LONG BEACH, CA 90815

   TRAILSIDE HOMES
   ADDRESS UNAVAIL AT TIME OF FILING

   TRAILSIDE HOMES
   ADDRESS UNAVAIL AT TIME OF FILING

   TRANSPORTATION ENGINEERING NW, LLC
   PO BOX 65254
   SEATTLE, WA 98155




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 290 of 314
   TRAVIS BAKER
   ADDRESS UNAVAIL AT TIME OF FILING

   TREASURER, STATE OF CONNECTICUT
   DEPT. OF BANKING SEC DIV
   260 CONSTITUTION PLAZA
   HARTFORD, CT 06103-1800

   TREASURER, STATE OF MAINE
   121 STATE HOUSE STATION
   AUGUSTA, ME 04333

   TREE SOLUTIONS INC.
   2940 WESTLAKE AVE N
   SEATTLE, WA 98109

   TREZ CAPITAL LIMITED PARTNERSHIP
   SUITE 1700, 745 THURLOW ST
   VANCOUVER, BC V6E 0C5
   CANADA

   TRIMONT REAL ESTATE ADVISORS
   3500 LENOX RD NE SUITE G1
   ATLANTA, GA 30326

   TRIPLE GROWTH FUND, LLC
   2104 W FIRST STREET
   FORT MYERS, FL 33901

   TRIPLE POINT, LLC
   227 BELLEVUE WAY NE, #125
   BELLEVUE, WA 98004

   TRITALENT FUNDING GROUP INC
   1201 SW 12TH AVENUE, SUITE 308
   PORTLAND, OR 97025

   TROUTMAN FAMILY REVOCABLE TRUST
   PO BOX 1292
   BOCA GRANDE, FL 33921




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 291 of 314
   TRUE CONSTRUCTION CLEANING
   ADDRESS UNAVAIL AT TIME OF FILING

   TRUELINE CAPITAL
   ADDRESS UNAVAIL AT TIME OF FILING

   TRUST FBO DONALD J TAYLOR
   11664 SPOTTED MARGAY AVENUE
   VENICE, FL 34292

   TUFF TURF INC.
   PO BOX 820566
   VANCOUVER, WA 98607

   TWO DEALS, LLC
   8485 E MCDONALD DR #280
   SCOTTSDALE, AZ 85250

   TYLER PAYNE
   7208 LEAFLAND PLACE
   PROSPECT, KY 40059

   TYSON KIEHN
   6608 84TH ST. E
   PUYALLUP, WA 98371

   UBER
   ADDRESS UNAVAIL AT TIME OF FILING

   UC FUNDING, LLC
   745 BOYLSTON STREET
   BOSTON, MA 02116

   ULTRA QUIET FLOORS
   403 N MAIN ST
   NEWBERG, OR 97132

   UMPQUA
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 292 of 314
   UNITED HEALTH CARE
   PO BOX 94017
   PALATINE, IL 60094-4017

   UNITED STATES POSTAL SERVICE
   12224 NE BEL - RED RD
   BELLEVUE, WA 98009

   UNIVERSAL INSURANCE COMPANY
   PO BOX 71338
   SAN JUAN, PR 00936

   UPGROW INC
   3525 DEL MAR HEIGHTS RD #257,
   SAN FRANCISCO, CA 92130

   URBAN FT NORTH AMERICA LLC
   200 SPECTRUM CENTER DRIVE
   SUITE 300
   IRVINE, CA 92618

   URBAN NORTHWEST HOMES
   ADDRESS UNAVAIL AT TIME OF FILING

   US ASSURE
   PO BOX 10197
   JACKSONVILLE, FL 32247

   US ASSURE
   US ASSURE INS SVCS OF FLORIDA, INC
   PO BOX 935597
   ATLANTA, GA 31193

   US TREASURY
   ADDRESS UNAVAIL AT TIME OF FILING

   USASIA PACIFIC
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 293 of 314
   USB MAKERS INTL
   1055 WEST 7TH STREET
   LOS ANGELES, CA 90017

   USI
   ADDRESS UNAVAIL AT TIME OF FILING

   USI
   ADDRESS UNAVAIL AT TIME OF FILING

   USPS
   12224 NE BEL-RED RD
   BELLEVUE, WA 98009

   UW 17TH AVE, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   V ALLEN AND LYNDA M STAFFORD REVOC
   17932 FM 362
   NAVASOTA, TX 77868

   VALLERIE RUIZ
   5341 E PAGEANTRY ST.
   LONG BEACH, CA 90808

   VALLEY SUPPLY COMPANY
   8310 MALTBY ROAD
   WOODINVILLE, WA 98072

   VAN BRUNT LIVING TRUST
   11984 GLADSTONE CT
   FRISCO, TX 75035

   VAN HOOF CONSTRUCTION, LLC
   718 GRIFFIN AVENUE #907
   ENUMCLAW, WA 98022

   VANCOUVER SIGN COMPANY, INC
   PO BOX 5828
   VANCOUVER, WA 98668




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 294 of 314
   VANESSA BARR (STOP USING)
   PO BOX 2054
   TACOMA, WA 98401

   VANESSA BARR
   ADDRESS UNAVAIL AT TIME OF FILING

   VANTAGE RETIREMENT PLANS
   20860 N TATUM BLVD SUITE 240
   PHOENIX, AZ 85050

   VASILI ARVANITIDIS
   ADDRESS UNAVAIL AT TIME OF FILING

   VAULT TEST
   TEST ADDRESS
   TEST CITY, WA 00000

   VC STUDIO
   ADDRESS UNAVAIL AT TIME OF FILING

   VEER ARCHITECTURE
   520 112TH AVENUE NE, SUITE 250
   BELLEVUE, WA 98004

   VEGA CONSTRUCTION COMPANY CORP
   16624 1ST AVE S
   BURIEN, WA 98148

   VERA GILMER
   3 DEERCREEK PRIVATE DR
   KINGSPORT, TN 37660

   VERBEEK PROPERTIES, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   VERISTONE CAPITAL
   ADDRESS UNAVAIL AT TIME OF FILING




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 295 of 314
   VERIZON WIRELESS
   PO BOX 660108
   DALLAS, TX 75266-0108

   VERNON S AND KATHRYN L WESTRICH
   9357 S SULLIVAN PL.
   TERRE HAUTE, IN 47802

   VERNON WESTRICH
   9357 S SULLIVAN PLACE
   TERRE HAUTE, IN 47802

   VH 1121 14TH AVE LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   VH 2ND STREET OFFICE LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   VH 2ND STREET OFFICE, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   VH PIONEER VILLAGE LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   VH SENIOR CARE LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   VH WILLOWS TOWNHOMES, LLC
   ADDRESS UNAVAIL AT TIME OF FILING

   VIC AND LINDA MONSON
   11303 46TH STREET EAST
   EDGEWOOD, WA 98372

   VICKY HUNTER
   214 ADDISON WAY
   TITUSVILLE, FL 32780




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 296 of 314
   VICTOR AND JULIE RACZKOWSKI
   3112 WOODLEY RD NW
   WASHINGTON, DC 20008

   VIJAY TEST
   ADDRESS UNAVAIL AT TIME OF FILING

   VIJAY
   ADDRESS UNAVAIL AT TIME OF FILING

   VIJAYA MASINA
   24919 SE 43RD STREET
   SAMMAMISH, WA 98029

   VILMA M VARGAS RETIREMENT PLAN
   URB PASCO ALTO 10 CALLE
   SAN JUAN, PR 00926

   VINAY GOWDA
   10 STIRLING WAY
   HAYWARD, CA 94542

   VINCENT SHAN
   15919 SE 44TH
   BELLEVUE, WA 98006

   VIRGINIA D AND PAUL P WOROBEY
   14 POND ST.
   TOPSFIELD, MA 01963

   VIRGINIA D WOROBEY TRUST
   3000 N OCEAN DRIVE, APARTMENT 19E
   SINGER ISLAND, FL 33404-3248

   VIRGINIA K VAN HESPEN
   12580 PATHOS LN
   SAN DIEGO, CA 92129




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 297 of 314
   VOGELER, PLLC
   2255 E SUNNYSIDE AVE #581347
   SALT LAKE CITY, UT 84108

   VSP VISION CARE
   ADDRESS UNAVAIL AT TIME OF FILING

   W DAVID THOMAS
   6 CHURCH ST.
   KINGSTON, NH 03848

   WA DEPARTMENT OF LICENSING
   ADDRESS UNAVAIL AT TIME OF FILING

   WA EMPLOYMENT SECURITY DEPARTMENT
   PO BOX 9046
   OLYMPIA, WA 98507-9046

   WACHTEL LIVING TRUST
   7286 E EL CAMINITO DR
   SCOTTSDALE, AZ 85258

   WAGIH IBRAHIM
   2912 N CEDAR CREST BLVD
   ALLENTOWN, PA 18104

   WALKER-FINEGOLD TRUST REVOCABLE LI
   DTD. 6/30/2015
   3729 VEGA DR
   LAKE HAVASU CITY, AZ 86404

   WALL STREET STRATEGIES
   ADDRESS UNAVAIL AT TIME OF FILING

   WANDA CHAPPELL
   6488 STATE ROUTE 145
   CORYDON, KY 42406




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 298 of 314
   WANG KIEN LU
   1022 S DANCOVE DR
   WEST COVINA, CA 91791

   WANLU HUANG
   ADDRESS UNAVAIL AT TIME OF FILING

   WARREN BELL
   926 8TH ROAD
   BURLINGTON, KS 66839

   WARREN T CONRAD
   7 CABORCA LANE
   HOT SPRINGS VILLAGE, AR 71909

   WARREN W BELL & LINDA J BELL
   926 8TH ROAD
   BURLINGTON, KS 66839

   WASHINGTON DEPT OF LICENSING
   1175 NW GILMAN BLVD B3
   ISSAQUAH, WA 98027

   WASHINGTON PROFESSIONAL SEMINARS,
   1076 LETHBRIDGE AVENUE
   RICHLAND, WA 99352

   WASHINGTON SECRETARY OF STATE
   PO BOX 40234
   OLYMPIA, WA 98504

   WASHINGTON STATE BAR ASSOCIATION
   1325 FOURTH AVE., SUITE 600
   SEATTLE, WA 98101

   WASHINGTON STATE DEPARTMENT OF ECO
   PO BOX 47611
   OLYMPIA, WA 98504-7611




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 299 of 314
   WASHINGTON STATE DEPARTMENT OF REV
   BUSINESS LICENSING SERVICE
   PO BOX 9034
   OLYMPIA, WA 98507

   WASTE MANAGEMENT NATIONAL SERVICES
   DUWAMISH OFFLOADING OPERATIONS
   7400 8TH AVE SOUTH
   SEATTLE, WA 98108

   WASTEXPRESS
   PO BOX 31100
   PORTLAND, OR 97231

   WATER TECH NW, LLC
   PO BOX 2874
   KIRKLAND, WA 98083

   WATERSHED HOLDINGS
   ADDRESS UNAVAIL AT TIME OF FILING

   WAYNE & MELODY WORTHEN
   5302 EDGEWOOD DR E
   EDGEWOOD, WA 98372

   WEALTH ADVISORS
   ADDRESS UNAVAIL AT TIME OF FILING

   WEALTHFORGE TECHNOLOGIES, LLC
   3015 W MOORE STREET
   SUITE 102
   RICHMOND, VA 23230

   WEI LV
   #501-503 BLDG A RONGHUI SQ FIN CTR
   CHANGJIANG RD & SANMA RD INTERS
   NANKAI D TIANJIN 300000 CHINA

   WEI WANG
   4450 94TH AVE NE
   YARROW POINT, WA 98004




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 300 of 314
   WEIFAN PENG
   ROOM 503, BLDG 9, JUNLAN 2 ST.
   YAJULE BEIYUN, NANCUN, PANYU
   GUANGZHOU CITY, 511442 CHINA

   WEIFENG HUANG
   3316 SPRINGLEAF DR
   PLANO, TX 75026

   WEIRONG MAO
   5-101 YANGMEI HEJIAYUAN JINGYUAN
    YANGMEI MNTN RD, XIHU DISTRICT
   HANGZHOU, ZHEJIANG, 310000 CHINA

   WEISU GE
   ROOM 402, BUILDING 6, NO. 1008,
   SHUANGLONG AVENUE, JIANGNING DST
   NANJING, JIANGSU, 211106, CHINA

   WELLMON
   ADDRESS UNAVAIL AT TIME OF FILING

   WELLS FARGO
   ADDRESS UNAVAIL AT TIME OF FILING

   WENDY MCCORMICK
   22304 N VIA MONTOYA
   SUN CITY WEST, AZ 85375

   WESTERN PACIFIC FENCE, LLC
   3420 AUBURN WAY N
   AUBURN, WA 98002

   WESTERN RESIDENTIAL SOLUTION, INC
   347 ILO LANE
   DANVILLE, CA 94526

   WESTERN VAN & STORAGE CO
   8521 S 190TH ST
   KENT, WA 98031




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 301 of 314
   WETHERHOLT AND ASSOCIATES, INC.
   14715 NE 95TH STREET, SUITE 100
   REDMOND, WA 98052

   WETLAND RESOURCES
   9505 19TH AVE SE
   SUITE 106
   EVERETT, WA 98208

   WEYERHAEUSER COMPANY
   33663 WEYERHAEUSER WAY S
   FEDERAL WAY, WA 98001-9620

   WHISTLE WORKWEAR PUYAL
   ADDRESS UNAVAIL AT TIME OF FILING

   WHITE SUMMERS CAFFEE & JAMES, LLP
   805 SOUTHWEST BROADWAY
   SUITE 2440
   PORTLAND, OR 97205

   WILBERT
   ADDRESS UNAVAIL AT TIME OF FILING

   WILD CREEK ESTATES
   ADDRESS UNAVAIL AT TIME OF FILING

   WILDERNESS INVESTMENTS
   ADDRESS UNAVAIL AT TIME OF FILING

   WILLIAM & RITA BRUCE
   239 FIDDLER`S COVE DRIVE
   KINGSLAND, GA 31548

   WILLIAM A FINFROCK 2011 TRUST
   747 GREEN OAKS CT
   WINTER PARK, FL 32789




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 302 of 314
   WILLIAM AND DEANNA STERIOUS JTWROS
   1310 BRIGHTON WAY
   NEWTOWN SQUARE, PA 19073

   WILLIAM D TRACY
   300 HARBOUR DR UNIT 105C
   VERO BEACH, FL 32963

   WILLIAM ENKE
   1226 VISTA SOL
   PALM SPRINGS, CA 92262

   WILLIAM GARD, JR
   125 BRIARCLIFF DRIVE
   MONETA, VA 24121

   WILLIAM GREEN
   4524 SOUTHGATE DR
   PLANO, TX 75024

   WILLIAM H FERGUSON, MD
   2513 S FLAGLER AVE.
   FLAGLER BEACH, FL 32136

   WILLIAM HENDERSON
   45 BRONTE WAY UNIT 23B
   MARLBORO, MA 01752

   WILLIAM HOWARD
   PO BOX 2393
   CYORESS, CA 90630

   WILLIAM M AND PATRICIA D WALTON
   1809 CASTLE DR
   CLYDE, TX 79510

   WILLIAM MCCORMICK AND WENDY MCCORM
   22304 N VIA MONTOYA
   SUN CITY WEST, AZ 85375




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 303 of 314
   WILLIAM MCNEILL
   4519 103RD LANE NE
   KIRKLAND, WA 98033

   WILLIAM O STETTER
   4101 E 300 N
   JASPER, IN 47546

   WILLIAM POLACK
   1730 N PEARSON
   ROANOKE, TX 76262

   WILLIAM R AND CANDACE C LYNN
   7335 LINDEN TERRACE
   CARLSBAD, CA 92011

   WILLIAM SCISM
   11 PINE TREE LN
   ANDOVER, MA 01810

   WILLIAM SCORSE
   121 HUTCHINGS ROAD
   ROCHESTER, NY 14624

   WILLIAM SCOTSMAN
   901 SOUTH BOND STREET SUITE 600
   BALTIMORE, MD 21231

   WILLIAM TONY INNMON
   211 RIDGE VIEW LANE
   TROPHY CLUB, TX 76262

   WILLIAM W SHAFFER
   13675 N ORCA TRAIL
   HAYDEN, ID 83835

   WILLIAM WHALEN
   955 AIRPORT ROAD APT. 223
   DESTIN, FL 32541




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 304 of 314
   WINDERMERE REAL ESTATE CO.
   2420 2ND AVENUE
   SEATTLE, WA 98121

   WISS, JANNEY, ELSTNER ASSOCIATES,
   9511 NORTH LAKE CREEK PARKWAY
   AUSTIN, TX 78717

   WLW TRUST DTD JANUARY 24, 2019 WIL
   8703 S SANTA ELIZABETH DRIVE
   GOODYEAR, AZ 85338

   WOLFE FAMILY TRUST
   14596 RANCH TRAIL DR
   EL CAJON, CA 92021

   WOOD HILL HOMES
   ADDRESS UNAVAIL AT TIME OF FILING

   WOODBLOCK ARCHITECTURE, INC.
   827 SW 2ND AVENUE, SUITE 300
   PORTLAND, OR 97204

   WSI NET ADVANTAGE
   85 BASSETT ST
   SAN JOSE, CA 95110

   XI YU
   ADDRESS UNAVAIL AT TIME OF FILING

   XIANXING HU
   3-1601 TAOJINSHAN GARDEN
   NO. 268 CUIYIN ROAD, LUOHU DST
   SHENZHEN, GUANGDONG 518019 CHINA

   XIAO WU
   110 AVILA RD
   SAN MATEO, CA 94402




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 305 of 314
   XIAOBAI ZHANG
   UNIT.1404, BLD 11, NO.19
   ZHONGSHANJINGDIANYUAN, JINMA RD
   QIXIAQU NANJING JIANGSU 210046 PRC

   XIAOCHUAN LI
   30-A, BUILDING 6, DONGHAI GARDEN
   XIANGXUAN ROAD
   SHENZHEN, GUANGDONG 518000 CHINA

   XIAOJIA LIAO
   29 LONG KAN XIN JIE
   FLOOR 48, ROOM H
   CHONGQING, 400049 CHINA

   XIAOWAN TIAN
   BEIJING RUNJI ENTERPRISE
   MGMT CONSULTING CO, LTD
   JIANWAISOHO BLA 1208 BEIJING CHINA

   XIAOYAN YANG
   1-101 BD 6 HUAXIA XIANB DIANCHI RD
   DIANCHI KUNMING RESORT
   KUNMING, YUNNAN, 650000 CHINA

   XIAOYU SU
   ROOM 1102, 1 BLDG WAN XU XIU YE LI
   NO.3 XIU YE LI, GU LOU DISTRICT
   FUZHOU, FUJIAN PRVC, 350000 CHINA

   XIN LI
   ROOM 1802, UNIT 1, BUILDING 40,
   ZHANGJIACUN HUIRUNYUAN, GANJINGZI
   DALIAN, LIAO NING, 116082 CHINA

   XING FANG
   15919 SE 44TH WAY
   BELLEVUE, WA 98006




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 306 of 314
   XINGZHI ZHU
   8-2-1201, HAIYI CHANGZHOU LIANHAI
   SOUTH YOUYI ROAD, HEXI DISTRICT
   TIANJIN, 300074, CHINA

   XINLU BAO
   301, GT 2, TWR D, NO 55, DASHIQIAO
   JIUGULOU AVE. XICHENG DISTRICT
   BEIJING,   CHINA

   XINYI WU
   66 KEJI ROAD, JIMEI DISTRICT
   XIAMEN, FUJIAN, 361024
   CHINA

   XINZE LIU
   4108, SAINAWEILA SHUIJING GARDEN,
   CHAOYANG DISTRICT
   BEIJING,   CHINA

   XIU WEN GONG
   21580 NE 16TH ST
   SAMMAMISH, WA 98074

   XU IRREVOCABLE TRUST
   NORTHWEST TTEE & MGMT SVCS, LLC
   7307 N DIVISION#303, PO BOX 18969
   SPOKANE, WA 99228

   XU LIN
   9630 HILLTOP ROAD
   BELLEVUE, WA 98004

   YAKIMA BRANDING (COLOR BARREL LLC)
   ADDRESS UNAVAIL AT TIME OF FILING

   YAN LI
   RM 801 #3, BLD 17 DONG YI SHI QU
   #12 YUAN SHUANGQIAO E RD
    CHAOYANG BEIJING 100024 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 307 of 314
   YANBO SUN
   BEIFUMINGYUAN, HUANAN SQ
   BUILDING 7, UNIT 1, ROOM 301
   DALIAN, LIAONING, 116000 CHINA

   YANFEI HAN
   13316 22ND AVENUE NORTHEAST
   SEATTLE, WA 98125

   YANFEN WANG
   22433 NE MARKETPLACE DR
   APT. H3049
   REDMOND, WA 98053-1920

   YANGFUXIAO MEI
   15522 SOUTHEAST 5TH COURT
   BELLEVUE, WA 98007

   YANHUA ZHANG
   8158 169TH AVE NE
   REDMOND, WA 98052

   YANMEI TANG
   DRESSING TABLE VILLAGE, LAISU TOWN
   YONGCHUAN DISTRICT
   CHONGQING, 400000 CHINA

   YANQIAN CHAI
   #201, NO.90, LANE 1895, HUALING           R
   BAOSHAN DISTRICT
   SHANGHAI, 201900 CHINA

   YANYAN XU AND ZHENG FANG
   29 WANGJIANG RD QING NIAN
   JIAO SHI APT ROOM 1012
   CHENGDU, SICHUAN, CHINA

   YAO WANG
   1702 BLDG 1, SHOU CHUANG XI RUI DU
   NO.139 CHAO YANG ROAD, CHAO YANG
   BEIJING, 100026 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 308 of 314
   YEN HO
   1874 SAN FRANCISCO AVE.
   LONG BEACH, CA 90806

   YI SHAN
   NO. 7 UNIT 1, 33RD BLD BIN HE LANE
   NANCAIYUAN, XICHENG DISTRICT
   BEIJING, 100053 CHINA

   YI XIA
   BUILDING NO.8, LANE 600,
   FEI HONG ROAD,, YANGPU DISTRICT
   SHANGHAI,   CHINA

   YI ZHENG
   #1204, NO. 17, LANE 28,
   GUILIN DONG JIE,, XUHUI DISTRICT
   SHANGHAI, 200235 CHINA

   YIBING LUO
   #101, BLDG 59,#1 GUANGHUA
   JIANGHAN PETRO ADMIN BUR
   QIANJIANG, HUBEI, 433100, CHINA

   YIDA ZHENG
   ADDRESS UNAVAIL AT TIME OF FILING
   BEIJING,
   CHINA

   YING WU - STOP USING THIS ACCOUNT
   5900 138TH PLACE SE
   BELLEVUE, WA 98006

   YING WU AND ERIC FU
   5900 138TH PLACE SOUTHEAST
   BELLEVUE, WA 98006

   YING WU
   5900 138TH PLACE SE
   BELLEVUE, WA 98006




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 309 of 314
   YING ZHENG
   RM L3-401 PHASE II TWELVE OAKS MNR
   PUTIAN STREET, LONGGANG DISTRICT
   SHENZHEN, GUANGDONG 518129 CHINA

   YIRU HUANG
   RM 1701 #100, YUSHAN ROAD
   PUDONG NEW AREA
   SHANGHAI, CHINA

   YISROEL AND CHANA GURARY
   212 S HIGHLAND AVE
   LAS ANGELES, CA 90036

   YIWEI AN
   225 CHERRY STREET, APT 7C
   NEW YORK, NY 10002

   YI-YUAN CHEN (GRACE SHIN)
   3F , NO. 15, ZHENGDA 3RD ST.
   WENSHAN DIST
   TAIPEI CITY, TAIWAN

   YONGZHEN OU
   5900 138TH PL SE
   BELLEVUE, WA 98006

   YONGZHI LIANG
   103-2-1105, BAI ZI WAN HOME
   CHAOYANG DISTRICT
   BEIJING, 100124 CHINA

   YOUFU ZHENG
   ROOM 601, UNIT 1, BUILDING A
   JINGUANGHOU SHENCAI ZHENG GONGNONG
   HEGANG, HEILONGJIANG 154108 CHINA

   YOUZHEN LU
   NO. 16, XINGHUA ROAD, KEJI AVENUE,
   XIUYING DISTRICT
   HAIKOU, HAINAN, 570100 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 310 of 314
   YSHINE HONGKONG LIMITED
   UNIT D 16/F, ONE CAPITAL PLACE
   18 LUARD ROAD
   WAN CHAI, CHINA

   YU & TROCHALAKIS, PLLC
   13555 SE 36TH STREET, SUITE 310
   BELLEVUE, WA 98005

   YUAN LI
   RM 101, NO. 41, NONG 238
   HUOXIANG RD, PUDONG NEW AREA
   SHANGHAI, 201203 CHINA

   YUAN MU
   11007 NE 18TH PL
   BELLEVUE, WA 98004

   YUAN TIAN
   DONG SI SAN TIAO #49
   DONG CHENG DISTRICT
   BEIJING, 100010 CHINA

   YUANJUN LOU
   22802 SE 5TH TERRACE
   SAMMAMISH, WA 98074

   YUANQING SHAN
   15919 SE 44TH WAY
   BELLEVUE, WA 98006

   YUANYUAN LI
   6652 135TH CT SE
   NEWCASTLE, WA 98059

   YUANZHE CHENG
   9-2-1702, GREENLAND HUAJIACHIYIN,
   SHANGCHENG DISTRICT
   HANGZHOU, ZHEJIANG, 310009 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 311 of 314
   YULAN REN
   NO. 5, BLDNG 15, MEIDU HUATING, 76
   LIANHUA NORTH RD, DUJIANGYAN CITY,
   SICHUAN PROVINCE, 611800 CHINA

   YUN HAN
   4226 129TH PL SE, #4
   BELLEVUE, WA 98006

   YUN LIU
   #104, BLDG 23, HAIYUEHUAYUAN
   PHASE 1, NANSHAN DISTRICT
   SHENZHEN, GUANGDONG 511400 CHINA

   YUNHUA LIU
   1155 NORTHEAST 55TH STREET
   SEATTLE, WA 98105

   YUTAO WU
   308 BLK B, SHENNAN GARDEN PODIUM
   KEYUAN NORTH RD, NANSHAN DISTRICT
   SHENZHEN, GUANGDONG 518057 CHINA

   ZAIPING LAO
   21ST FLOOR, MENGHU VILLA,
   NO.188 ZHIJIANG ROAD,, XIHU DST
   HANGZHOU, ZHEJIANG, 310024 CHINA

   ZARCO EINHORN SALKOWSKI
   2 S BISCAYNE BLVD
   34TH FLOOR
   MIAMI, FL 33131

   ZAVEN CHRISTOPHER AND SARA CHAKMAK
   1118 NEWCASTLE
   ROCKWALL, TX 75032

   ZELIN WANG
   BLDG E-24, ORIENTAL GRDN
   OVERSEAS CHINESE TWN, NANSHAN DIST
   SHENZHEN, GUANGDONG 518000 CHINA




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 312 of 314
   ZHANYUN ZHENG
   19D, ZHEJIANG MATERIAL INDUST BLDG
   445 KAIXUAN ROAD
   HANGZHOU, ZHEJIANG, 310021 CHINA

   ZHAO WANG
   2402, UNIT 1, US FEDERAL APARTMENT
   NO.1 DONGFANGDONG ROAD, CHAOYANG
   BEIJING, 100027 CHINA

   ZHAOJUN LI AND BING HU
   307-3233 KETCHESON ROAD
   RICHMOND, BC V6X OR3
   CANADA

   ZHENG REVOCABLE FOREIGN GRANTOR TR
   7307 N DIVISION ST. SUITE 303
   SPOKANE, WA 99208

   ZHIDUO WU
   59-2-2503,JIADU INTL COMMUNITY,
   YANJIAO GAOXIN DISTRICT, SANHE
   LANGFANG, HEBEI, 065202 CHINA

   ZHIJIAN CAI
   11-20B, SANGTAIDANHUA,
   PING SHAN YI ROAD, XI LI
   NAN SHAN D SHNZHN, GUANGDONG CHINA

   ZHIQIAN LIANG
   RM 1803, BLD NO. 1
   PHASE 7 OVERS CHINESE CITY NANSHAN
   SHENZHEN, GUANGDONG 510000 CHINA

   ZHIQIANG ZHOU
   ROOM 222, UNIT 2, BUILDING 44,
   JUNZHENG CHANGHE HUAFU, HAIBOWAN
   WUHAI, INNER MONGOLIA, 016000




23-01260-WLH11   Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 313 of 314
   ZHIXIONG SHENG (GRACE SHIN)
   FLAT 12F, TOWER 1, THE BELCHER’S,
   NO. 89 POK FU LAM ROAD
   HONG KONG

   ZHIYU CHEN
   ROOM 501, BLD 18, HENGDA KUNHAI HU
   ANNING TAIPING NEW TOWN
   KUNMING, YUNNAN, 650399 CHINA

   ZHIYUAN LIU
   FLAT 9C, 22 JOHNSTON ROAD, YORK PL
   WANCHAI
   HONG KONG

   ZHONGYUAN MAO
   APT. 1202, UNIT 2, BUILDING 10,
   WAN JIA XING CHENG PHASE 3
   XIACHNG HANGZHOUZHEJIANG310000 PRC

   ZHUHUA LI
   17225 NE 126TH PL
   REDMOND, WA 98052

   ZIAN WANG
   ROOM 3602, 580 NANJING WEST ROAD
   SHANGHAI, 200000
   CHINA

   ZIPLY FIBER
   ATTN: SHELLEY HAUGSTAD
   1800 41ST ST. N-100, 2OS
   EVERETT, WA 98203

   ZIPPER GEO ASSOCIATES, LLC
   19019 36TH AVENUE WEST, SUITE E
   LYNNWOOD, WA 98036

#OF RECORDS: 2,787




23-01260-WLH11       Doc 1   Filed 09/29/23   Entered 09/29/23 19:13:32   Pg 314 of 314
